Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 1 of 129 PageID# 5577




                    EXHIBIT U
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 2 of 129 PageID# 5578


                                                                         Page 1
  1                 IN THE UNITED STATES DISTRICT COURT
  2                 FOR THE EASTERN DISTRICT OF VIRGINIA
  3                             Alexandria Division
  4

  5    ---------------------------------x
  6    LEAGUE OF UNITED LATIN AMERICAN                 Civil Action No.
  7    CITIZENS - RICHMOND REGION COUNCIL              1:18-cv-00423
  8    4614, et al.,
  9             Plaintiffs,
 10    v.
 11    PUBLIC INTEREST LEGAL FOUNDATION,
 12    an Indiana Corporation, and
 13    J. CHRISTIAN ADAMS,
 14             Defendants.
 15    ---------------------------------x
 16

 17

 18             VIDEOTAPED DEPOSITION OF 30(b)(6) DESIGNEE
 19                             J. CHRISTIAN ADAMS
 20                              Washington, D.C.
 21                         Thursday, April 18, 2019
 22

 23

 24

 25       Job No. 158969


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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 3 of 129 PageID# 5579

                                                     Page 2                                                         Page 3
  1                                                                   1    A P P E A R A N C E S:
  2                                                                   2
  3                                                                   3           Skadden, Arps, Slate, Meagher & Flom
  4                                                                   4           On Behalf of Plaintiffs
  5           Thursday, April 18, 2019                                5           BY: Sean Tepe, Esq.
  6              9:16 a.m.                                            6           BY: Andrew Hanson, Esq.
  7                                                                   7           1440 New York Avenue, NW
  8                                                                   8           Washington, DC 20005
  9                                                                   9
 10                                                                  10
 11          The following is the transcript of the                  11           Foley & Lardner
 12   videotaped deposition of 30(b)(6) designee J.                  12           On Behalf of Defendants
 13   Christian Adams held at the offices of Skadden, Arps,          13           BY: William Davis, Esq.
 14   Slate, Meagher & Flom LLP, 1440 New York Avenue, NW,           14           2 South Biscayne Boulevard
 15   Washington, DC 20005.                                          15           Miami, Florida 33131
 16                                                                  16
 17                                                                  17
 18                                                                  18
 19   Reported by: Linda S. Kinkade RDR CRR RMR RPR CSR              19
 20                                                                  20    Also present:
 21   Registered Diplomate Reporter, Nationally Certified            21       David Chroniger, Legal Video Specialist
 22   Realtime Reporter, Registered Merit Reporter,                  22
 23   Registered Professional Reporter, Certified Shorthand          23
 24   Reporter, in and for the State of California, Notary           24
 25   Public, within and for the District of Columbia                25


                                                     Page 4                                                         Page 5
  1             INDEX OF EXAMINATION                                  1             PROCEEDINGS
  2                                                                   2          VIDEO SPECIALIST: This is the start of
  3    EXAMINATION OF 30(b)(6) DESIGNEE                       Page    3   tape labeled number 1 of the videotaped deposition of
  4       J. CHRISTIAN ADAMS                                          4   J. Christian Adams, 30(b)(6) for Public Interest
  5       BY MR. TEPE             6                                   5   Legal Foundation, in the matter of League of United
  6       BY MR. DAVIS             --                                 6   Latin American Citizens, et al. v. Public Interest
  7                                                                   7   Foundation, et al., in the United States District
  8                                                                   8   Court, for the Eastern District of Virginia,
  9                                                                   9   Alexandria Division, case number 1:18-CV-423.
 10                                                                  10       This deposition is being held at 1440 New York
 11                                                                  11   Avenue, Suite 1100, northwest, Washington, D.C., on
 12                                                                  12   April 18th, 2019, at approximately 9:16.
 13                                                                  13       My name is David Chroniger from TSG Reporting,
 14                                                                  14   Inc., and I'm the legal video specialist. The court
 15                                                                  15   reporter is Laura Kinkade in association with TSG
 16                                                                  16   Reporting.
 17                                                                  17       Will counsel please introduce yourselves.
 18                                                                  18          MR. TEPE: Sean Tepe, pro bono attorney
 19                                                                  19   for Plaintiffs.
 20                                                                  20          MR. DAVIS: William Davis on behalf of the
 21                                                                  21   Public Interest Legal Foundation and Christian Adams
 22                                                                  22   with the law firm of Foley & Lardner.
 23                                                                  23          VIDEO SPECIALIST: Will the court reporter
 24                                                                  24   please swear in the witness.
 25                                                                  25   //


                                                                                               2 (Pages 2 to 5)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 4 of 129 PageID# 5580

                                               Page 6                                                        Page 7
  1              J. CHRISTIAN ADAMS,                          1       A. Not that I'm aware of.
  2          having been first duly sworn, was                2       Q. Since you've been deposed before, I
  3   thereafter examined and testified as follows:           3   probably don't need to go through the ground rules,
  4                 EXAMINATION                               4   but just in case, if there's anytime you need a
  5   BY MR. TEPE:                                            5   break, just let me know, as long as, you know, I'm
  6       Q. Good morning, Mr. Adams.                         6   not in the middle of something, we can try and
  7       A. Good morning.                                    7   accommodate you. Okay?
  8       Q. Can you state your name for the record?          8       A. I will not ask you to take a break after
  9       A. John Christian Adams.                            9   you ask a question.
 10       Q. Have you been deposed before?                   10       Q. And you'll wait to finish my question so
 11       A. Yes.                                            11   we're not talking over each other?
 12       Q. How many times?                                 12       A. I will try.
 13       A. I don't recall exactly how many, at least       13       Q. Excellent. Counsel may object, but, as
 14   four.                                                  14   you know, you still need to answer the question
 15       Q. And what kind of cases were those?              15   unless he instructs you not to answer.
 16       A. What kind of cases? I don't remember what       16       A. Understood.
 17   the first one was. The second one was Shirley          17       Q. Okay. Are you testifying today on behalf
 18   Sherrod vs. Andrew Breitbart in DC/DC. The third one   18   of the Public Interest Legal Foundation?
 19   was Austyn Crites vs. Fox News in D/Nevada.            19       A. Yes.
 20       Q. By "D/Nevada" you mean District of Nevada?      20       Q. Also known as PILF?
 21       A. Correct.                                        21       A. Correct.
 22       Q. You're under oath today, yes?                   22       Q. And PILF is here pursuant to a deposition
 23       A. Correct.                                        23   notice, which the court reporter is going to mark for
 24       Q. Is there any reason why you cannot provide      24   you.
 25   truthful and accurate testimony today?                 25                (PILF Exhibit 1 marked for

                                               Page 8                                                        Page 9
  1           identification: Plaintiffs' Amended             1       A. Yes.
  2           Rule 30(b)(6) Notice to Take                    2       Q. What did you do?
  3           Deposition of Public Interest Legal             3       A. Reviewed documents, met with my attorneys.
  4           Foundation)                                     4       Q. How long did you meet with your attorneys?
  5           MR. TEPE: The court reporter has marked         5       A. Days.
  6    as PILF Exhibit 1 a document.                          6       Q. How many hours?
  7        Q. Mr. Adams, do you want to take a look at        7       A. Don't remember.
  8    that? Do you recognize it?                             8       Q. Okay. More than eight?
  9        A. I see the document.                             9       A. Yes.
 10        Q. Do you recognize it?                           10       Q. Okay. Who did you meet with?
 11        A. Yes.                                           11       A. My attorneys.
 12        Q. What do you recognize it to be?                12       Q. I understand. What are your attorneys'
 13        A. It speaks for itself. It says it's a           13   names?
 14    notice.                                               14       A. You have the counsel of record in this
 15        Q. And it says it's a Notice of Deposition of     15   case.
 16    Public Interest Legal Foundation, correct?            16       Q. Yeah, but I don't know who you met with.
 17        A. It speaks for itself. It's what it says.       17       A. Well, one of them is sitting here.
 18        Q. Do you mind turning to the exhibit to the      18       Q. That's Mr. Davis?
 19    notice, in particular, the topics for examination     19       A. Correct.
 20    starting on page 9.                                   20       Q. Okay.
 21        Are you prepared to speak and testify on          21       A. Look at the counsel of record, and you
 22    behalf of PILF on these six topics today?             22   will have a list of people who I relied on to prepare
 23        A. Yes.                                           23   for this deposition.
 24        Q. Did you do anything to prepare for today's     24       Q. I'm sorry. Mr. Adams, I'm asking just a
 25    deposition?                                           25   very simple question.


                                                                                       3 (Pages 6 to 9)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 5 of 129 PageID# 5581

                                                Page 10                                                      Page 11
  1        A. And I just answered it.                           1   say "you" today, I'll be referring to PILF, since
  2        Q. I asked the question, which was, who did          2   you're here on behalf of PILF. Okay?
  3    you meet with.                                           3        A. Correct.
  4        A. And I answered it. I said, if you look at         4        Q. Okay. And but if there's anytime that's a
  5    the list of attorneys who are counsel of record in       5   little bit of confusion, just let me know and I'll
  6    this case, you will see the names of the people who I    6   try and clarify. Because what I'll try and do is, if
  7    met with to prepare for this deposition.                 7   I'm speaking about you as a person, I'll just say
  8        Q. You met with Ana Romes?                           8   "you as Mr. Adams."
  9        A. Effectively, yes.                                 9        A. Understood.
 10        Q. "Effectively," what does that mean?              10        Q. Okay. PILF used to be called ActRight
 11        A. By telephone.                                    11   Legal Foundation, correct?
 12        Q. Okay. And how long did you meet with             12        A. Yes.
 13    Ms. Romes?                                              13        Q. It was incorporated in Indiana in 2012?
 14        A. Days.                                            14        A. If you have a document that will help me
 15        Q. You met with her days?                           15   refresh my recollection, I'd like to review it
 16        A. Correct.                                         16   because I can't remember the exact date.
 17        Q. How many documents did you look at?              17        Q. When did ActRight Legal Foundation change
 18        A. Tens of thousands.                               18   its name to PILF, do you recall?
 19        Q. So you looked at a lot more documents than       19        A. I do not, but if you have a document that
 20    you produced in this case.                              20   would help me refresh my recollection I'd be happy to
 21        A. Let me fix my answer. I looked at tens of        21   review it.
 22    thousands of pages. I cannot tell you how many of       22        Q. Prior to the name change, do you know what
 23    those are subsets to equal a document, but in           23   ActRight Legal Foundation's mission was?
 24    aggregate I reviewed tens of thousands of pages.        24        A. Essentially, but if you have a document
 25        Q. Okay. Unless I specify otherwise, when I         25   with more specific information I'm happy to review


                                                Page 12                                                      Page 13
  1   it.                                                       1   ActRight Legal Foundation.
  2               (PILF Exhibit 2 marked for                    2       A. Mm-hmm.
  3         identification: ActRight Legal                      3       Q. Does this refresh your recollection as to
  4         Foundation letter dated 7/17/2014                   4   what the mission was of the ActRight Legal
  5         PILF-ADAMS-0020792 - 20858)                         5   Foundation?
  6         MR. DAVIS: I assume this is Exhibit 2?              6       A. It would help do that. It speaks for
  7         MR. TEPE: Yes. The court reporter has               7   itself.
  8   just marked what is PILF Exhibit 2, a document.           8       Q. It says:
  9       Q. Mr. Adams, have you seen this document             9           ActRight Legal Foundation is a
 10   before?                                                  10           501(c)(3) law firm that provides a
 11       A. I don't have a specific recollection of           11           wide range of legal services to
 12   reviewing this document.                                 12           individuals and nonprofit
 13       Q. Okay. Well, it's a letter from ActRight           13           organizations in the exercise of
 14   Compliance Services, LLC to the Alaska Department of     14           their fundamental civil and
 15   Law dated July 17th, 2014; is that right?                15           constitutional rights, with
 16       A. That's what it says.                              16           particular emphasis on protecting
 17       Q. And correct me if I'm wrong, but it               17           and defending their right to the
 18   appears to be a filing that ActRight Legal Foundation    18           free exercise of religious beliefs,
 19   made to be considered a charitable organization in       19           First Amendment rights of free
 20   Alaska; is that right?                                   20           speech and association, voting
 21       A. I won't disagree with that.                       21           rights, property rights, and other
 22       Q. Okay. Well, if you turn to the document           22           constitutional rights of due process
 23   with the Bates number 20798 at the bottom --             23           and equal protection.
 24       A. 20798?                                            24       As you testified earlier, ActRight Legal
 25       Q. Yes. It has a Mission Statement for               25   Foundation changed its name to the Public Interest


                                                                                     4 (Pages 10 to 13)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 6 of 129 PageID# 5582

                                                Page 14                                                     Page 15
  1    Legal Foundation, correct?                               1   called PILF or was it still the ActRight Legal
  2        A. I think I testified to that, but you may          2   Foundation?
  3    have asked me a question that contained that             3       A. I don't remember that. And you're asking
  4    information. I can't remember which one it was.          4   me in my personal capacity.
  5        Q. So in the change from ARLF to PILF, did           5       Q. Well, no, I'm asking as the 30(b)(6)
  6    the mission of the organization change to your           6   witness, when did the president of PILF --
  7    knowledge?                                               7       A. Okay.
  8        A. Well, if you have -- if you're asking me          8       Q. -- begin working there?
  9    to compare precisely what the mission statements are     9       A. My answer is the same as the last two
 10    of the two organizations, to the extent you're asking   10   times I answered it. The third time I'm answering it
 11    me to do that, if you have a document that lets me do   11   is approximately four years ago. If you have a
 12    that here, I'd be happy to look at it to refresh my     12   document that will refresh my recollection, I'll be
 13    recollection.                                           13   more than happy to look at it.
 14        Q. What's your position with PILF?                  14              (PILF Exhibit 3 marked for
 15        A. I'm the president and general counsel.           15         identification: Filing re charitable
 16        Q. And for how long have you had that               16         organization status
 17    position?                                               17         PILF-ADAMS-0021095 - 0021147)
 18        A. Approximately four years.                        18       Q. The court reporter has handed you what's
 19        Q. So when did you first start working for          19   been marked as PILF Exhibit 3, a document with a
 20    PILF?                                                   20   beginning Bates number of 21095.
 21        A. Well, I'm not sure exactly when, if you          21       Mr. Adams, is this another filing to a state
 22    have a document that would refresh my recollection,     22   with regard to PILF's charitable organization status?
 23    but it's approximately four years ago. That was my      23       A. It appears that that's what that is.
 24    answer.                                                 24       Q. And then if you turn to the page that's
 25        Q. When you started working for PILF, was it        25   marked 21104, it says you were elected November 18th,


                                                Page 16                                                     Page 17
  1   2014; is that right?                                      1   from Ms. Powell dated March 29th, 2016 to yourself
  2        A. That's what the page says.                        2   and a variety of other individuals, including your
  3        Q. And you don't recall whether or not you           3   counsel here.
  4   joined when the organization was called PILF or ARLF;     4       Please find Thursday's board meeting agenda
  5   is that correct?                                          5   below, and then there's an agenda for a Public
  6        A. Well, I think I've answered that question,        6   Interest Legal Foundation board meeting, correct?
  7   and I said, if you have a document that would help        7       A. It appears to have that.
  8   refresh my recollection, and to the extent this           8       Q. One of the documents attached to this
  9   Exhibit 3 refreshes my recollection, it would             9   email is minutes to a Board of Directors meeting
 10   indicate that at least on -- what you need to show me    10   dated February 27th, 2015. Do you see that?
 11   is a name change document to get your answer. If you     11       A. Yes.
 12   did that, we'd be past this line of inquiry and move     12       Q. And one of the minute items, second
 13   on to the next one.                                      13   sub-bullet says, "new programs and expanded mission,
 14                (PILF Exhibit 4 marked for                  14   permanent voting integrity and redistricting
 15          identification: Email correspondence              15   presented by J. Christian Adams." Do you see that?
 16          from (topmost) CMitchell sent                     16       A. It says that.
 17          3/30/2016 with attachment                         17       Q. Do you recall presenting a new program and
 18          PILF-ADAMS-0018345 - 0018373)                     18   expanded mission to these individuals at the board
 19          MR. TEPE: The court reporter has marked           19   meeting?
 20   and handed the witness an Exhibit PILF 4 with the        20       A. I have no recollection in contradiction to
 21   Bates number 18345.                                      21   this part of the minutes.
 22        Q. Do you recognize this document?                  22       Q. Okay. So the previous document indicated
 23        A. This appears to be an email with corporate       23   that you were elected president in November of 2014,
 24   records attached.                                        24   correct?
 25        Q. So I'll direct your attention to the email       25       A. Wait. Which document are you referring


                                                                                     5 (Pages 14 to 17)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 7 of 129 PageID# 5583

                                              Page 18                                                      Page 19
  1    to? What exhibit number?                               1   did them myself; sometimes I did them with other
  2         Q. Exhibit 3.                                     2   lawyers.
  3         A. Okay. Okay. What is your question?             3       Q. And were you working for a nonprofit
  4         Q. My question is, just so I understand the       4   organization at the time before you joined PILF?
  5    timing here, you were elected president of PILF in     5       A. No.
  6    November of 2014, correct?                             6       Q. So you were a solo practitioner?
  7         A. Well, that's what the document says.           7       A. You could, yes, put it that way.
  8         Q. And your recollection would not dispute        8       Q. What -- prior to joining PILF, what was
  9    that?                                                  9   the last organization with which you were employed?
 10         A. I don't have any recollection right now as    10       A. United States Department of Justice.
 11    I sit here contrary to that date.                     11       Q. And when was that?
 12         Q. Okay. When you joined PILF, did you join      12       A. I'm sorry?
 13    as the president, or did you have a position other    13       Q. And when was that?
 14    than president before that time?                      14       A. Did you say "what" or "when"?
 15         A. I don't remember.                             15       Q. When. I'm sorry.
 16         Q. You don't remember?                           16       A. 2005 to 2010.
 17         A. Nope.                                         17       Q. So from 2010 to November of 2014 you were
 18         Q. What did you do before you, Mr. Adams,        18   a solo practitioner?
 19    before being president of PILF?                       19       A. Okay. This is outside the scope of the
 20         A. I was an attorney.                            20   30(b)(6). This is about me personally. We can get
 21         Q. Where?                                        21   to that next week.
 22         A. In practice, private practice in Virginia.    22       Q. I appreciate your notifying when you
 23         Q. And did you work for a law firm?              23   believe that things are outside the scope of the
 24         A. Sometimes, sometimes not. When you say        24   30(b)(6). I'm still allowed to ask that question.
 25    "work for," I did cases with law firms. Sometimes I   25   So if you wouldn't mind --


                                              Page 20                                                      Page 21
  1           MR. DAVIS: I'm taking this that you are         1       A. Intermittently, yes. Again, this is
  2    doing this as a predicate and foundation to ask        2   outside of the scope of the 30(b)(6).
  3    further questions.                                     3       Q. And so did you come to what was known as
  4           MR. TEPE: Yes.                                  4   ActRight Legal Foundation with a goal of changing the
  5           MR. DAVIS: Okay. I'll allow it to the           5   organization to focus on voting rights issues?
  6    extent that it's foundational to a 30(b)(6)            6       A. I don't understand the question.
  7    deposition.                                            7       Q. Why did you join PILF?
  8           MR. TEPE: Even during the 30(b)(6) I            8       A. I don't remember.
  9    believe I can ask questions in a 30(b)(1) capacity.    9       Q. You don't remember why you joined PILF?
 10           MR. DAVIS: I'm not going to debate that.       10       A. This is outside the scope of the
 11           MR. TEPE: I understand. I'm just trying        11   30(b)(6) --
 12    to get through this.                                  12       Q. Okay.
 13           MR. DAVIS: Understood.                         13       A. -- and I didn't prepare for it. So I
 14        A. What was your question?                        14   don't remember that.
 15        Q. My question was from 2010 to 2014, you         15       Q. Okay. Well, maybe between now and Monday
 16    were a solo practitioner; is that your testimony?     16   when we depose you in your personal capacity you'll
 17        A. Well, no, not solo. I mean, I was in           17   know why you joined the organization that you're
 18    private practice.                                     18   president of.
 19        Q. Okay. So were you practicing in                19       A. That's supposed to be how it works.
 20    partnership with someone else?                        20       Q. So these minutes from February 27th of
 21        A. Sometimes.                                     21   2015, there's a bullet called "board business." Do
 22        Q. Was there a name of this entity?               22   you see that?
 23        A. Election Law Center PLLC.                      23       A. I see it says that.
 24        Q. Ah, okay. So were there any other              24       Q. "Name change discussed, Hans von Spakovsky
 25    employees of Election Law Center PLLC?                25   makes motion to change the name of the corporation to


                                                                                   6 (Pages 18 to 21)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 8 of 129 PageID# 5584

                                                Page 22                                                      Page 23
  1    Public Interest Legal Foundation." Do you see that?      1   organization takes on?
  2        A. That's what it says.                              2       A. I have a significant role in that.
  3        Q. And it was approved unanimously, right?           3       Q. And what is that significant role?
  4        A. That's what it says.                              4       A. To decide cases that the legal
  5        Q. And so why was this motion made? Do you           5   organization takes on.
  6    recall?                                                  6       Q. So you do decide the cases, the legal
  7        A. Do not. If you have a document that would         7   cases, that the organization takes on.
  8    help refresh my recollection, I'd be more than happy     8       A. That's not what I testified to. You're
  9    to look at it.                                           9   asking the question a second time, and I'll tell you
 10        Q. No, I'm just, I'm just, you know, asking         10   what I said the first time. I have a significant
 11    you questions that I would think you would know as      11   role in deciding what cases the organization takes
 12    president of PILF.                                      12   on.
 13        A. Why would you think that?                        13       Q. And who ultimately decides what cases the
 14        Q. What are your -- what are the day-to-day         14   organization takes on?
 15    activities of the president of PILF?                    15       A. There is no single person who ultimately
 16        A. There's a variety of them. When you say          16   decides that.
 17    "activities," what sort of activities are you           17       Q. Is it the board's decision?
 18    referring to?                                           18       A. I just answered the question. There's no
 19        Q. Well, I asked a broad question so that you       19   single person or entity that decides that.
 20    can tell me what are your activities.                   20       Q. So the board -- the board doesn't make
 21        A. Anything that one who manages a law firm         21   this decision; is that your testimony? It's a very
 22    would do, which is to supervise lawyers, approve        22   simple question.
 23    expenditures. If you have a specific area that you      23       A. I wouldn't disagree with that.
 24    want to ask about, I'm more than happy to address it.   24       Q. So the board does not make the decision
 25        Q. Do you decide what cases, legal cases, the       25   which cases the organization takes on.

                                                Page 24                                                      Page 25
  1        A. I've already answered that question.              1   I don't know how else to explain I have a significant
  2        Q. The answer is yes.                                2   role in what statements are released to the public.
  3        A. That's not what my answer was. You can            3   That's the second time I've answered the question.
  4    read the transcript. My answer was I wouldn't            4       Q. Who else has a role in deciding what
  5    disagree with that.                                      5   statements are released to the public?
  6        Q. And why wouldn't you disagree with that?          6       A. Logan Churchwell.
  7        A. Because empirically that reflects reality.        7       Q. Anyone else?
  8        Q. So the reality, then, is that PILF's board        8       A. Lawyers who work on the particular matter.
  9    does not decide what cases the organization takes on.    9       Q. Anyone else?
 10        A. That's the third time you've asked that          10       A. Largely speaking, no, but there may be a
 11    question, and I've answered it twice.                   11   contrary example to what I just testified to. If you
 12        Q. Why don't you answer it a third time.            12   have a document that would refresh my recollection, I
 13        A. Because that's not how depositions work,         13   would be happy to look at it.
 14    and you know that. You have your answer in the          14       Q. So the ultimate decision as to whether or
 15    record twice.                                           15   not a statement is made is yours; is that right?
 16        Q. It's not a very clear answer as to what          16       A. I could stop a statement from being made,
 17    I'm trying to get to.                                   17   correct.
 18        A. You may not like it, but it's the answer,        18       Q. And when you don't stop a statement from
 19    and I'm not going to answer it a third time.            19   being made, that is based on your decision, correct?
 20        Q. As PILF's president, do you decide what          20       A. I would not agree with the idea that I
 21    public statements are released to the public?           21   have assented to every single statement that PILF has
 22        A. I have a significant role in deciding what       22   made to the media. I would very much disagree with
 23    statements are released to the public.                  23   that. There may be a time where I was sick, there
 24        Q. Can you explain that significant role?           24   may be a time that I was traveling, or there may be
 25        A. What is the particular question about it?        25   other times I was incapacitated, such as sitting in a


                                                                                     7 (Pages 22 to 25)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 9 of 129 PageID# 5585

                                               Page 26                                                      Page 27
  1    deposition or taking a deposition, where I would not    1   general counsels in most nonprofit organizations.
  2    have had the opportunity to review all statements       2        Q. So how does your role as both president
  3    released to the media.                                  3   and general counsel differ?
  4        I do not have any specific recollection about       4        A. Well, I think I just answered that, but
  5    when those times may or may not have occurred, but,     5   I'll clarify in case I didn't. The president is the
  6    if you have a document that would refresh my            6   organizational head, and the general counsel is a
  7    recollection, I'd be happy to look at it.               7   legal term relating to legal matters.
  8        Q. How are your -- strike that.                     8        A president has authority as to which water
  9        Your position is president and general              9   cooler company to use to stock an office, and a
 10    counsel, correct?                                      10   general counsel, for example, would have authority
 11        A. I'm sorry?                                      11   regarding legal matters. If I was just the general
 12        Q. Your position is president and general          12   counsel and not the president, I might not have a say
 13    counsel?                                               13   in the vendor we use to get water jugs.
 14        A. I've answered that once already. I have.        14        Q. In 2016 you represented an organization
 15    I mean, the transcript speaks for itself. If you       15   called the Virginia Voters Alliance in a lawsuit
 16    want to ask it for the next seven hours, we can just   16   against the registrar of the City of Alexandria,
 17    answer it for seven hours, but I've answered that      17   correct?
 18    question.                                              18        A. I did -- or we did, I suppose.
 19        Q. It's a simple segue question to my next         19           MR. DAVIS: You're using the
 20    question, which is, how does the role of president     20   "organizational you."
 21    and general counsel differ, if at all?                 21           MR. TEPE: Yes. Correct.
 22        A. Well, "general counsel" is a term used to       22        Q. And how did you, PILF, come to represent
 23    describe a lawyer's role. "President" is a term used   23   VVA in this litigation?
 24    to describe an organizational head. Not all general    24        A. How did we come to represent them? I
 25    counsels are presidents and not all presidents are     25   don't understand your question.

                                               Page 28                                                      Page 29
  1        Q. Did they --                                      1        Q. I can still ask the question.
  2        A. There's lots of ways that that could be          2        A. Well, you have.
  3   answered. I'm not sure what you're asking.               3        Q. And you haven't answered it.
  4          MR. DAVIS: And I would caution the                4        A. That's correct. Show me a complaint and
  5   witness in answering the question be cognizant of the    5   I'll answer it.
  6   attorney-client privilege between PILF and VVA.          6        Q. That's not how this works, Mr. Adams.
  7        Q. Well, did PILF approach VVA with a case to       7        A. Yes, it is.
  8   file?                                                    8        Q. No, you do not get to dictate what
  9        A. I have no recollection as to the answer to       9   documents I get to show you. I ask questions, and
 10   that question. If you have a document to refresh my     10   you either, you know, have a recollection or --
 11   recollection, I'd be happy to look at it and to see     11        A. He has the complaint right there. That
 12   if I can answer it.                                     12   will be helpful.
 13        Q. So VVA alleged that Alexandria was in           13        Q. He actually doesn't have the complaint,
 14   violation of the National Voter Registration Act,       14   so -- but I appreciate you trying to narrate the
 15   yes?                                                    15   actions of my co-counsel.
 16        A. Show me a complaint and I'll be able to         16        A. Oh, that's the 30(b)(6) deposition.
 17   answer your question better. I'm not going to --        17        Q. It's the 30(b)(6) topic.
 18   that's not within the scope of the 30(b)(6), for one,   18        A. Well, if you have the complaint, I'll be
 19   and if you have a document that would help me answer    19   happy to answer questions about it.
 20   that question, I'd be happy to look at it.              20        Q. Okay. So can you go to, let's say, on
 21        Q. So you don't recall that VVA alleged            21   page 9, Topic No. 2. It states your activities and
 22   Alexandria was in violation of the National Voter       22   communications relating to purported noncitizen
 23   Registration Act?                                       23   registration and voting in Virginia, correct?
 24        A. I recall it's not within the scope of the       24        A. There's more.
 25   30(b)(6).                                               25        Q. Yes, but that's -- these are subsets,


                                                                                    8 (Pages 26 to 29)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 10 of 129 PageID# 5586

                                                Page 30                                                     Page 31
   1   including, by way of example only, the conception,       1   with the Bates number 27092.
   2   research, records collection and analysis, writing,      2        Do you see this document?
   3   revising, editing, publication, and/or promotion of      3        A. I have Exhibit 5.
   4   the Alien Invasion Reports and drafts thereof, as        4        Q. Okay. It is a letter to Anna Leider, the
   5   well as your work on these or similar issues with the    5   registrar of Alexandria, correct?
   6   Virginia Voters Alliance and/or other organizations      6        A. She is the addressee.
   7   or individuals.                                          7        Q. And the date is January 14, 2016, correct?
   8       Are you prepared to testify on this topic?           8        A. That's what it says.
   9       A. I am, but the question you asked doesn't          9        Q. And it's from Shawna Powell, secretary of
  10   relate to paragraph 2.                                  10   the Public Interest Legal Foundation, correct?
  11       Q. I am asking a question with regard to your       11        A. That's what it says.
  12   representation of VVA in its lawsuit against the City   12        Q. Okay. And your organization states:
  13   of Alexandria under the NVRA, correct?                  13           "I am writing on behalf of the
  14       A. That didn't relate to noncitizen                 14           Public Interest Legal Foundation to
  15   registration and voting in Virginia. It's not within    15           notify you that your city is in
  16   the scope of paragraph 2. And you know it. You just     16           apparent violation of Section 8 of
  17   wrote it badly.                                         17           the National Voter Registration Act
  18               (PILF Exhibit 5 marked for                  18           based on our research."
  19          identification: PILF letter dated                19        Do you see that?
  20          1/14/2016                                        20        A. No. Where is that?
  21          PILF-ADAMS-0027092 - 0027094)                    21        Q. That's the first paragraph.
  22          MR. DAVIS: Do you have one for me?               22        A. Okay. Got it.
  23          MR. TEPE: Certainly.                             23        Q. Okay. And your recollection of the NVRA
  24       Q. Mr. Adams, the court reporter has just           24   is it that, before you can actually sue a
  25   handed you an exhibit that's been marked as PILF 5      25   jurisdiction, you need to provide notice? Is that

                                                Page 32                                                     Page 33
   1   right?                                                   1        Q. Okay. And what are those issues?
   2        A. I wouldn't disagree with you.                    2        A. I'm not going to get into that because
   3        Q. Because the answer is yes.                       3   it's part -- first of all, it's not within the scope
   4        A. Well, that's not what I said.                    4   of paragraph two, which deals with noncitizen
   5        Q. Oh, I know it's not what you said.               5   registration voting, something not mentioned in this
   6        A. So the answer is not yes. The answer is I        6   notice letter, Exhibit 5, and it relates to
   7   would not disagree with you.                             7   privileged information. My assessment of that
   8        Q. And why wouldn't you disagree with me?           8   litigation is privileged.
   9        A. Because I have no basis to disagree with         9        Q. I'm not asking for your assessment of that
  10   you.                                                    10   litigation.
  11        Q. And in paragraph five it says, "in short,       11        A. Well, you asked what the crux of it was.
  12   your city has more voters on the registration rolls     12        Q. I'm going to direct your attention to the
  13   than it has eligible living citizen voters." Do you     13   second page, where, as part of your allegation that
  14   see that?                                               14   Alexandria is in apparent violation of the NVRA, you
  15        A. Right.                                          15   asked for certain records; is that right?
  16        Q. Okay. And so that's the crux of the             16        A. Are you talking about -- there's a page
  17   complaint that PILF had with the registrar of           17   missing. Oh, you have two-sided. Okay. The second
  18   Alexandria; is that right?                              18   page.
  19        A. I would disagree with that. That is not         19        Q. Yes.
  20   the crux of the complaint. You might want to distill    20        A. "Could provide," right, okay.
  21   it to that, but that's not what I believe.              21        Q. In particular, if the public available
  22        Q. Okay. Then what do you believe to be the        22   information --
  23   crux of the complaint?                                  23        A. Right.
  24        A. There's no crux. There's a variety of           24        Q. -- cited above is no longer accurate, it
  25   issues.                                                 25   would be helpful if you could provide --


                                                                                    9 (Pages 30 to 33)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 11 of 129 PageID# 5587

                                                Page 34                                                      Page 35
   1        A. Right.                                           1                (VVA Exhibit 5 previously
   2        Q. -- and then there's a list --                    2          marked for identification and
   3        A. (a) through (j).                                 3          referenced herein: VVA letter dated
   4        (Clarification by reporter.)                        4          1/25/2016 to A Leider)
   5        Q. And one of the things you asked for is,          5          MR. TEPE: I'm handing the witness what
   6   under item (b):                                          6   has been previously marked as VVA Deposition Exhibit
   7          "Records your office obtained or                  7   5.
   8          received from the Alexandria Circuit              8       A. But it's VVA 5.
   9          Court clerk, United States District               9       Q. Yes.
  10          Court clerks, or other sources                   10       A. Right.
  11          regarding individuals who are                    11       Q. Previously been marked as VVA 5.
  12          ineligible to serve on juries                    12       This is a letter from Reagan George, president
  13          because of a lack of American                    13   of the Virginia Voters Alliance, dated January 25th,
  14          citizenship," among other things.                14   2016 to Ms. Leider, registrar of Alexandria, correct?
  15        Correct?                                           15       A. That's what it says.
  16        A. That's what the exhibit says.                   16       Q. This letter is identical, it would appear,
  17        Q. Right. And so as part of your concerns          17   to the letter that PILF sent on January 14th,
  18   with regard to Alexandria's compliance with the NVRA,   18   correct?
  19   you were asking for records with regard to lack of      19       A. I don't know. I haven't reviewed it. I
  20   citizenship.                                            20   didn't -- this was not part of documents that I
  21        A. The document will speak for itself on           21   reviewed in preparing for this deposition, so I don't
  22   that.                                                   22   know if it's -- what was your word you used,
  23        Q. Okay. So the answer is yes.                     23   "identical"?
  24        A. The document says that, yes.                    24       Q. Yes.
  25        Q. Now --                                          25       A. I don't know that.


                                                Page 36                                                      Page 37
   1        Q. You did end up representing VVA in a             1   numbers of ineligible voters." Do you see that?
   2   lawsuit against the City of Alexandria, correct?         2        A. That's what it --
   3        A. If you look at the complaint, we've              3          MR. DAVIS: You're referring to VVA 5?
   4   already asked and answered that.                         4          MR. TEPE: Correct.
   5        Q. And so the answer is yes, you did that.          5        A. That's what it says.
   6        A. For the third time, the answer is the            6        Q. And then that same sentence or clause is
   7   complaint shows we did that.                             7   beginning the third paragraph in PILF's letter, which
   8        Q. Now the complaint or the assertion made in       8   was marked as PILF Exhibit 5, correct?
   9   both letters is that the City of Alexandria has more     9        A. It does say the same thing.
  10   voters on the registration rolls than it has eligible   10        Q. So at the -- at this time, in January
  11   living citizen voters, correct?                         11   2016, PILF believed that voter rolls across America
  12        A. I don't know. Show me the complaint and         12   contained substantial numbers of ineligible voters;
  13   I'll answer your question. That's probably the fifth    13   is that true?
  14   time I've asked for it. I can't answer questions        14        A. At -- yes.
  15   about what the complaint says without seeing it.        15        Q. And was PILF seeking to establish that
  16           MR. DAVIS: The question is whether or not       16   proposition when it made this complaint to
  17   the letters say it.                                     17   Alexandria?
  18        Q. Correct, the assertion in the letter.           18        A. I don't understand the question. Seeking
  19        A. Okay. The letter -- if you direct me to         19   to establish the proposition? That proposition has
  20   where -- I mean, it speaks for itself, so I'm not       20   already been established.
  21   going to dispute what it says.                          21        Q. Okay. So my question is: When you, PILF,
  22        Q. The fifth paragraph.                            22   wrote to the registrar of Alexandria that voter rolls
  23        A. That's what it says.                            23   across America contained substantial numbers of
  24        Q. Right. And in the third paragraph it            24   ineligible voters, were you seeking to establish that
  25   says, "voter rolls across America contain substantial   25   in the City of Alexandria their voter rolls also


                                                                                   10 (Pages 34 to 37)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 12 of 129 PageID# 5588

                                                Page 38                                                     Page 39
   1   contained substantial numbers of ineligible voters?      1   than are eligible to vote, correct?
   2        A. No.                                              2       A. My answer is the same.
   3        Q. You were not trying to establish that?           3       Q. The letter doesn't say that Alexandria has
   4        A. I answered that.                                 4   20 more people.
   5        Q. Okay. What were you trying to establish          5       A. The answer is the same.
   6   in this letter to the City of Alexandria?                6       Q. Okay. Do you recall Alexandria responding
   7        A. I wasn't trying to establish anything.           7   to either one of these seemingly identical letters?
   8   This is a notice letter. You don't establish             8       A. I'm not going to accept the premise that
   9   anything in a notice letter.                             9   they're identical.
  10        Q. Well, you've made assertions in your            10          MR. DAVIS: Object to the form of the
  11   notice letter, correct?                                 11   question.
  12        A. That's not establishing anything. Pick a        12       Q. I understand, but did Ms. Leider or Leider
  13   better verb and I'll answer the question. We weren't    13   respond to your letter?
  14   trying to establish anything. We were trying to send    14       A. Well, in what way? I don't understand the
  15   a notice letter. That's the answer.                     15   question. I mean, you know there was litigation, so
  16        Q. And you say in your notice letter your          16   obviously there was a response. If you have a
  17   city has more voters on the registration rolls than     17   particular document you want to show me, then I'm
  18   it has eligible living citizen voters, correct?         18   happy to review it.
  19        A. That's what the letter says.                    19               (VVA Exhibit 6 previously
  20        Q. That's what the letter says. And the            20          marked for identification and
  21   letter doesn't actually say how many more voters are    21          referenced herein: Office of Voter
  22   on the registration rolls than the City of Alexandria   22          Registration and Elections letter
  23   has eligible living citizen voters, right?              23          dated 2/9/2016 to R George)
  24        A. The letter speaks for itself.                   24       Q. I've handed to you, sir, what has been
  25        Q. It doesn't say you have ten more people         25   marked as, previously, as VVA Deposition Exhibit 6.


                                                Page 40                                                     Page 41
   1   Do you see that?                                         1          2014 EAC Report that supports your
   2        A. Right.                                           2          claims?"
   3        Q. It is a letter from Ms. Leider to Reagan         3        Do you see that?
   4   George responding to his letter that we just looked      4        A. It says that.
   5   at; is that correct?                                     5        Q. Okay. And so is it -- is it fair to say
   6        A. That's what it appears to be.                    6   that PILF and VVA had made an assertion about the
   7        Q. Okay. And Ms. Leider says to VVA, "I             7   City of Alexandria's voting rolls, correct?
   8   think your conclusion that Alexandria has more voters    8        A. Wait. What was your question?
   9   on its registration rolls than it has eligible living    9        Q. Sort of a foundational question. So we've
  10   citizen voters can be based on old or faulty data."     10   established that VVA and PILF made an assertion with
  11   Do you see that?                                        11   regard to the City of Alexandria's voter rolls,
  12        A. That's what it says.                            12   correct?
  13        Q. And she goes on to say, "currently about        13        A. I wouldn't disagree with that.
  14   65 percent of Alexandria's voting age population is     14        Q. Okay. And those letters that we just
  15   registered to vote," right?                             15   looked at, one from PILF, one for VVA, did not say
  16        A. That's what it says.                            16   how many more people PILF or VVA thought were on the
  17        Q. Right. And then in the second-to-last           17   rolls than were eligible; is that right?
  18   paragraph, if you turn the page, thank you, it says:    18        A. We've been through that. I have answered
  19           "It is difficult to address the                 19   that. As a matter of fact, that was one of the
  20           concerns raised in your letter                  20   moments where I said we could be here all day, as you
  21           without additional information about            21   were adding numbers to that, and I said I've already
  22           the specific reports and information            22   answered that.
  23           you relied on to reach your                     23        Q. And then Ms. Leider disputes your
  24           conclusions. For example, was there             24   characterization that Alexandria has more voters on
  25           a particular chart or dataset in the            25   its registration rolls than it has eligible living


                                                                                   11 (Pages 38 to 41)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 13 of 129 PageID# 5589

                                               Page 42                                                      Page 43
   1   citizens, correct?                                      1   the letters?
   2        A. That's your assessment. I think that            2          MR. TEPE: Right.
   3   that's a fair assessment.                               3        A. I would not disagree that on February
   4        Q. Now --                                          4   10th, 2016 the dispute was not resolved.
   5        A. It's incorrect, by the way. She's wrong.        5        Q. Okay. And that led to VVA suing the City
   6   She makes a fundamental mistake in her dispute.         6   of Alexandria in April of 2016, correct?
   7        Q. So the disagreement that you just               7        A. The dispute was not resolved in February
   8   manifested in your answer is the same disagreement      8   of 2016 nor was it resolved prior to the filing of
   9   that prompted PILF to sue the City of Alexandria on     9   the lawsuit. If you have the complaint that will
  10   behalf of VVA; is that right?                          10   show me dates, I will be happy to be more specific in
  11        A. I'm not going to answer that question.         11   my answer.
  12   It's privileged. Sorry.                                12        Q. And PILF represented VVA in this
  13           MR. DAVIS: I was getting to that               13   particular lawsuit, correct?
  14   instruction. Be cognizant, to the extent you can       14        A. I've answered that question, yes, a number
  15   answer it, answer it, but be cognizant of the          15   of times.
  16   attorney-client relationship with VVA.                 16        Q. And VVA's lawsuit was dismissed, correct?
  17        Q. I'll ask it differently. The dispute           17        A. Without prejudice.
  18   between VVA and PILF was not resolved, correct?        18        Q. And VVA never refiled its lawsuit against
  19        A. It was not resolved -- it was resolved         19   the City of Alexandria.
  20   actually, yes.                                         20        A. That is a matter of public record.
  21        Q. At this time.                                  21        Q. And the answer is yes?
  22        A. Oh, at this time.                              22        A. VVA never refiled its lawsuit is a matter
  23        Q. Yes.                                           23   of public record.
  24        A. That wasn't in your question.                  24        Q. And PILF, by itself, as its own separate
  25           MR. DAVIS: "This time" being the date of       25   entity, has not filed a lawsuit against the City of


                                               Page 44                                                      Page 45
   1   Alexandria since the VVA suit was dismissed without     1          marked for identification and
   2   prejudice, correct?                                     2          referenced herein: Thompson McMullan
   3       A. Correct.                                         3          letter dated 8/10/2016
   4       Q. Now after the dismissal, you went to the         4          PILF-ADAMS-0000637 - 0000641)
   5   registrar's office to inspect various documents with    5        Q. Handing the witness what has been marked
   6   regard to the city's lists -- voter roll list           6   as VVA Deposition 7, do you recognize this document,
   7   maintenance practices; is that right?                   7   sir?
   8       A. When you say "you," who are you referring        8        A. I don't, but I don't disagree that the
   9   to?                                                     9   answer to your question is probably contained in
  10       Q. You, Mr. Adams.                                 10   here.
  11       A. We can talk about that next week, but a         11        Q. Right. So this is a letter from the
  12   representative from PILF was there. I was that         12   attorney for the City of Alexandria, William Tunner;
  13   representative.                                        13   is that right?
  14       Q. Who else was there with you?                    14        A. It's a letter that states the date of the
  15       A. Reagan George and Keith Damon.                  15   inspection was July 25th, 2016.
  16       Q. Anyone else?                                    16        Q. So recollection refreshed.
  17       A. Ann Leider.                                     17        A. Recollection refreshed.
  18       Q. Okay. No, I'm saying with you.                  18        Q. Okay. And you went there on the 25th, and
  19       A. Oh. No.                                         19   an attorney for the League of Women Voters wanted to
  20       Q. Okay. Do you recall on what date you went       20   attend the inspection at the same time too; is that
  21   to the City of Alexandria's offices to have this       21   right?
  22   inspection of their records?                           22        A. I don't remember a lot about that. There
  23       A. If you have a document that would refresh       23   was somebody there, but that's the extent of my
  24   my recollection, I'd be happy to look at it.           24   recollection.
  25                (VVA Exhibit 7 previously                 25        Q. Do you recall taking the position that you


                                                                                  12 (Pages 42 to 45)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 14 of 129 PageID# 5590

                                               Page 46                                                      Page 47
   1   did not want to inspect the records with this other     1   not respecting your confidences?
   2   party present?                                          2       A. I just said so.
   3        A. I don't, but that would have been a             3       Q. No, no, no. Was there an example of that
   4   perfectly reasonable one had I taken it.                4   party not respecting your confidences?
   5        Q. Why is that?                                    5       A. Yes. I just said so.
   6        A. Because it was a third party. It was            6       Q. Okay. What happened?
   7   perfectly reasonable to not conduct our                 7       A. My recollection was that we couldn't speak
   8   attorney-client relationship and inspection in front    8   freely between each other, and Ms. Leider was
   9   of third parties.                                       9   respectful of that relationship whereas the third
  10        Q. But you said Ms. Leider was there, so          10   party was not.
  11   there's no privilege in that meeting.                  11       Q. So there was an instance, it's your
  12        A. Right, but there is privilege when I go        12   testimony, that you went off to the side of the room
  13   and take the client aside and speak.                   13   and this other attorney or third party would actually
  14        Q. Right. So how is that different than, you      14   follow you and not allow you to have a private
  15   know, you taking the client aside and speaking when    15   conversation? That's your testimony?
  16   Ms. Leider --                                          16       A. My testimony is that the third party would
  17        A. Because Ms. Leider would leave the room.       17   not respect our confidences.
  18        Q. Excuse me. If I can finish my question.        18       Q. Yes, and I just asked you, did the
  19        A. Go ahead.                                      19   situation that I just described happen?
  20        Q. How is that different from when Ms. Leider     20       A. I don't remember the situation you just
  21   is there and some other third party is there?          21   described.
  22        A. Because we were being followed by the          22       Q. Well, how else -- okay.
  23   other third party, and Ms. Leider would respect our    23       A. We weren't able to speak freely around
  24   confidences whereas this third party would not.        24   each other with a third party there. That's my
  25        Q. Well, was there an example of this party       25   testimony.

                                               Page 48                                                      Page 49
   1        Q. Yeah, and I'm trying to understand why.         1        A. I hope so. That's my recollection.
   2        A. Because the third party could hear.             2        Q. Ms. Leider assembled the requested records
   3        Q. But Anna Leider could hear.                     3   in a room; is that right?
   4        A. Anna Leider wasn't always there.                4        A. It was in a separate room.
   5        Q. Okay. So why couldn't you just --               5        Q. And during the inspection you saw records
   6        A. Because this wasn't the third party's           6   for registration, voter registration cancellations;
   7    request. This was our request. It was our              7   is that right?
   8    inspection.                                            8        A. There was a wide variety of records there.
   9        Q. These are public records, right?                9   I am sure that there were records for voter
  10        A. That's funny.                                  10   registration cancellations.
  11        Q. Well, that's --                                11        Q. And were there records there indicating
  12        A. We had to litigate to get them, so right.      12   voter registration cancellations based on a failure
  13        Q. Well, right, that's your position, these       13   to affirm citizenship?
  14    are public records, right?                            14        A. No. There were records there relating to
  15        A. That's our position, correct.                  15   noncitizenship that said declared noncitizens, not
  16        Q. That's your position, right. So if these       16   failure to affirm, it was declared noncitizen
  17    are public records and this is an inspection, why     17   cancellations.
  18    can't some other party be there during the            18        Q. Okay.
  19    inspection?                                           19        A. There's a difference.
  20        A. I don't have a view of that, generally         20        Q. And did this report have a name?
  21    speaking. Specifically speaking, in this instance,    21        A. It may have. If you have it and want to
  22    the third party is not respecting our confidences.    22   show me to refresh my recollection to get the
  23    I've answered that question now four times.           23   specific name, I'd be more than happy to do that.
  24        Q. So regardless of the reason, this other        24        Q. Well, there's a report that you're
  25    party left and did not stay for your inspection.      25   evidently thinking of very specifically, and I want


                                                                                  13 (Pages 46 to 49)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 15 of 129 PageID# 5591

                                                Page 50                                                     Page 51
   1   to know what's the term that you use in describing       1       Q. Right, because the City of Alexandria was
   2   this report.                                             2   not sure if, pursuant to law, you had the right to
   3        A. Well, the term that I use would be               3   view -- to copy -- certain of that information; is
   4   consistent with what the report says, and if you have    4   that right? That's their position.
   5   it for me to look at, I'd be more than happy to take     5       A. That -- if you have a document that would
   6   a look at it.                                            6   be more specific in refreshing my recollection, I
   7        Q. And so you did see a report that, as you         7   would be happy to look at it. My general
   8   described, was a list of cancellations using the         8   recollection is, which may be wrong, was that the
   9   declared noncitizen nomenclature, correct?               9   city general registrar had some measure of
  10        A. Well, the nomenclature is usually what the      10   trepidation about providing that report without
  11   actual document says. It's not nomenclature; it's       11   talking to other people.
  12   what it says.                                           12       Q. Correct.
  13        Q. You wanted to make a copy of that report,       13       A. But -- I'm sorry.
  14   correct?                                                14       Q. Well, I think, if you look at the August
  15        A. Absolutely. And do you want to know why?        15   10th letter, which is VVA Exhibit 7 --
  16        Q. And you were not able to make a copy of         16       A. Okay.
  17   that report --                                          17       Q. -- confirms your recollection, is that
  18        A. That's not correct.                             18   correct --
  19        Q. -- on that day.                                 19       A. Well --
  20        A. That's not correct. We were able to make        20       Q. -- that you had requested a category of
  21   a copy of the report. The problem was we were denied    21   documents, you were unable to take copies of them at
  22   access to make a copy of the report. There's a          22   that time based on a position as to, you know,
  23   difference between ability and denial, and in this      23   whether or not you could do so, right?
  24   particular instance we were denied access to making a   24       A. Right, a position which was later proved
  25   copy of that report.                                    25   to be incorrect, and --


                                                Page 52                                                     Page 53
   1       Q. Understood, but I'm talking about this            1       Q. Yeah. Who is Noel Johnson?
   2   time.                                                    2       A. He's an attorney that you deposed a week
   3       A. At that time that was her -- VVA                  3   ago sitting in this chair at PILF.
   4   Deposition Exhibit 7 refreshes my recollection that      4       Q. So there's some back and forth, and,
   5   there was a measure of trepidation that the GR in        5   ultimately, you are forwarded this correspondence by
   6   Alexandria was receiving ultimately incorrect            6   Noel Johnson on September 13th, 2016, correct?
   7   direction that she could not provide us a copy of the    7       A. It appears that I was forwarded this. If
   8   documents.                                               8   you're saying this correspondence --
   9               (PILF Exhibit 6 marked for                   9       Q. I'll --
  10          identification: Email correspondence             10       A. -- yeah, I wasn't part of it, you're
  11          from (topmost) N Johnson dated                   11   right.
  12          9/13/2016 with attachment                        12       Q. Yes.
  13          PILF-ADAMS-0003265 - 0003277)                    13       A. And it wasn't until -- September 13, 2006
  14          MR. TEPE: The court reporter has marked          14   was the first time I was forwarded the declared
  15   and handed to the witness what has been noted as PILF   15   noncitizen cancellation list from Alexandria.
  16   Exhibit 6.                                              16       Q. Right. Okay. So I was going to get
  17       Q. Do you see that?                                 17   there.
  18       A. There's a PILF Exhibit 6 in front of me.         18       So on September 13th, 2016 Noel Johnson
  19       Q. Yes. And do you recognize this document?         19   forwards you the information that he received from
  20       A. I've seen this document before.                  20   the City of Alexandria, correct?
  21       Q. Okay. And so the document begins with            21       A. Wait a minute. I think you've asked that,
  22   email correspondence between the City of Alexandria's   22   and I answered it, but now I'm confused by what
  23   attorney, William Tunner, correct, and Noel Johnson?    23   you're asking.
  24       A. I don't know. Hold on. Tunner to                 24       Q. Well, I'm just trying to take it step by
  25   Johnson, page 2 of the document.                        25   step and you're jumping ahead of me.


                                                                                  14 (Pages 50 to 53)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 16 of 129 PageID# 5592

                                                Page 54                                                      Page 55
   1       And so the first step is, Tuesday, September         1       Q. Well, you requested this record, right?
   2   13th, Noel Johnson forwards you information from the     2       A. Okay. This is the record we requested.
   3   attorney for the City of Alexandria, correct?            3       Q. Okay.
   4       A. And it appears that information is                4       A. This is the record we requested in --
   5   referenced in the attachment that says                   5   trying to remember the exhibit number -- January of
   6   noncitizen.PDF, mentalincapacity.PDF, so it appears      6   2016. Let's see what date this is. September 13th,
   7   that there was an attachment to this email exchange.     7   2016.
   8       Q. Exactly. And so I want to ask you to turn         8       Q. Where in the letter in January of 2016 do
   9   to that attachment.                                      9   you request this record?
  10       A. I've turned to it.                               10       A. Well, that was your characterization of
  11       Q. It is an attachment to a document that           11   our paragraph (b), sub-(b) on page 2.
  12   says, Cancellation - Declared Non-Citizen, Alexandria   12       Q. Well, I think the transcript will speak
  13   City. Do you see that?                                  13   for itself, but can you point to me anywhere in
  14       A. Yes.                                             14   January -- this January letter -- which either the
  15       Q. For a period of time from January 1st,           15   VVA dated January 25th or the PILF letter January
  16   2012 to September 13th, 2016.                           16   14th to ask for this specific record?
  17       A. That's what it says.                             17       A. I thought we engaged in this exercise
  18       Q. Is this the document that you were               18   already when you instructed me that paragraph (b) in
  19   referring to seeing in the inspection in Alexandria     19   your view would seem to satisfy that request for the
  20   on July 25th?                                           20   noncitizen list. At the time I didn't disagree with
  21       A. It probably is. I mean, I could be proven        21   your characterization.
  22   wrong about that, but it probably was.                  22       Q. Okay. My question right now is: Can you
  23       Q. And this is the record that you wanted           23   point to me anywhere, any language in either of these
  24   from Alexandria; is that right?                         24   two letters, January 14th from PILF or January 25th
  25       A. I don't understand what you mean.                25   from VVA, that calls for this specific record?


                                                Page 56                                                      Page 57
   1        A. Yes.                                             1   did you focus your request from Alexandria on this
   2        Q. Okay. Where is it?                               2   particular document, which is PILF Exhibit 6?
   3        A. (j).                                             3       A. We focused our request on all the
   4        Q. (j). (j) states, "all list maintenance           4   requested documents from our document inspection that
   5   records, including federal voter registration forms      5   we wanted.
   6   containing citizenship eligibility questionnaires for    6       Q. Okay. And so is this -- this is one of
   7   the last 22 months." And you're saying that this         7   the documents you wanted.
   8   specific record was called for by item (j)?              8       A. Oh, very much so.
   9        A. Because it's a list maintenance record,          9       Q. Okay. And then --
  10   including federal voter registration forms containing   10         MR. TEPE: We can go off the record.
  11   citizenship eligibility questionnaires list is just a   11         VIDEO SPECIALIST: We're off the record,
  12   subset of all the maintenance records. So (j) is an     12   10:22.
  13   omnibus request.                                        13       (Proceedings recessed)
  14        Q. Fair enough. Thank you.                         14         VIDEO SPECIALIST: We're back on the
  15           MR. DAVIS: When you get to a point, I           15   record, 10:30.
  16   would like to take a quick bathroom break.              16   BY MR. TEPE:
  17        Q. So going back to the -- well, I guess           17       Q. Did seeing the list -- strike that.
  18   we're looking at the January records request, you had   18               (PILF Exhibit 7 marked for
  19   items (a) through (j), correct? Right?                  19         identification: Email correspondence
  20        A. Yeah.                                           20         from (topmost) C Adams sent 8/5/2016
  21        Q. And that's ten categories of information,       21         PILF-ADAMS-0000654 - 657)
  22   right?                                                  22         MR. TEPE: The court reporter has marked
  23        A. I guess. I mean, the document speaks for        23   as PILF Exhibit 7 a document Bates number 654.
  24   itself.                                                 24       Q. Mr. Adams, do you recognize this?
  25        Q. And then now after the inspection in July,      25       A. I have seen this before.


                                                                                   15 (Pages 54 to 57)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 17 of 129 PageID# 5593

                                                Page 58                                                      Page 59
   1        Q. And so there's an email dated August 5th,        1   somebody else gave them to me. There's a good chance
   2   2016 from you to Shawna Powell copying Noel Johnson,     2   they're my edits. There's some chance they're not.
   3   correct?                                                 3        Q. But someone at PILF edited this for sure.
   4        A. That's what it says.                             4        A. Almost certainly, yes.
   5        Q. Attached to it is a marked-up draft of a         5        Q. So this is a letter, again, making a
   6   letter; is that correct?                                 6   request for inspection of records relating to voter
   7        A. Yes.                                             7   list maintenance obligations under the National Voter
   8        Q. And this is a letter from PILF to -- or a        8   Registration Act.
   9   planned letter -- from PILF to a bunch of election       9        A. It is.
  10   jurisdictions; is that right?                           10        Q. Okay. And you in this letter, draft
  11        A. Well, you say "a bunch," but you can count      11   letter, you request four things; is that correct?
  12   the number, but I won't disagree that that's what it    12        A. It's what it shows.
  13   generally is, with the exception of potentially one,    13        Q. And --
  14   two, three, four, five, six, seven, eight ... 19        14        A. I can tell you what they are, if you'd
  15   jurisdictions.                                          15   like.
  16        Q. Nineteen jurisdictions. Okay. And these         16        Q. I want to direct your attention to item 2,
  17   are edits that you made to this letter, correct?        17   specifically the language that is struck. Do you
  18        A. If you say so. I'm -- well, I mean, it          18   agree -- do you see a list of all individuals? Do
  19   would stand to reason the way this is presented to me   19   you see that that's been deleted?
  20   that these were my edits, yes.                          20        A. Right.
  21        Q. So it's a marked-up document, and in your       21        Q. It says:
  22   email to Ms. Powell you say, okay, here you go,         22           "A list of all individuals who have
  23   revised.                                                23           been purged from your jurisdiction's
  24        A. Right, but that doesn't necessarily answer      24           voter registration lists in the last
  25   the question if they're my edits. It might have been    25           two years because the individual was


                                                Page 60                                                      Page 61
   1          not a citizen of the United States                1               (Johnson Exhibit 2
   2          of America, along with the date on                2          previously marked for identification
   3          which each purged individual last                 3          and referenced herein: Email
   4          voted."                                           4          correspondence from (topmost) N
   5       Okay. So someone at PILF, presumably you,            5          Johnson sent 8/16/2016 with
   6   struck that language, correct?                           6          attachments
   7       A. Correct.                                          7          PILF-ADAMS-0009064 - 9135)
   8       Q. Okay.                                             8          MR. TEPE: The witness is being handed an
   9       A. That's what the document shows.                   9   exhibit that was previously marked as Johnson 2.
  10       Q. And the document also shows that, instead        10       Q. And I really just want to have you confirm
  11   of that language, it appears you went with the          11   that the draft letter that we were looking at in PILF
  12   language that is here under number 1.                   12   Exhibit 7, a copy of that is here in Johnson Exhibit
  13       A. Number 1 is a revision to the document.          13   2, starting on page Bates number 9067; is that right?
  14       Q. Right. And so a revision of that                 14       A. It appears to be.
  15   language, correct, that says document -- the revised    15       Q. And so this particular letter is to the
  16   language says:                                          16   registrar for Prince William County, correct?
  17          "Documents regarding all registrants             17       A. That's what it says.
  18          who are identified as potentially                18       Q. Dated August 8th, 2016, and it has that
  19          not satisfying the citizenship                   19   same language in the request number 1, right,
  20          requirements for registration from               20   documents regarding all registrants who are
  21          any information source,                          21   identified as potentially not satisfying the
  22          including"....                                   22   citizenship requirements, right?
  23       And then it lists a couple of things, correct?      23       A. I mean, I haven't done a document compare,
  24       A. That's what the edit shows.                      24   but I have no reason to, looking at it with the
  25       Q. All right.                                       25   amount of time I have, to disagree.


                                                                                   16 (Pages 58 to 61)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 18 of 129 PageID# 5594

                                                Page 62                                                      Page 63
   1       Q. This request does not seek a list of              1   noncitizen.
   2   people canceled because the individual was in fact       2       So I would disagree with the characterization
   3   not a citizen of the United States, does it.             3   that paragraph 1 does not ask for this information.
   4       A. No, I would disagree with that. And the           4       Q. Who were the other officials that you say
   5   reason I would disagree with that is because of a        5   corroborated Ms. Leider's --
   6   variety of information that came to our attention        6       A. Multiple -- I'm sorry -- multiple
   7   regarding these VERIS reports directly from election     7   discussions with other general registrars.
   8   officials.                                               8       Q. Who?
   9       For example, Ann Leider at Alexandria City           9       A. Well, when I spoke with other general
  10   told me very directly and very specifically that the    10   registrars around the state, they gave me an account
  11   individuals on this list were noncitizens, and she      11   entirely consistent with Ann Leider's. I spoke with
  12   told me very specifically and very directly that they   12   former general registrars in Virginia who validated
  13   had testified or affirmed under oath, I should say,     13   Ann Leider's assertion that, when you showed up on
  14   under penalty of perjury, that they were noncitizens,   14   the Cancellation - Declared Non-Citizen list, you did
  15   and that's how they ended up on this list.              15   so because you declared yourself that you were a
  16       After I learned that from the Alexandria            16   noncitizen, under oath, under penalty of perjury,
  17   general registrar, I had conversations with other       17   with the state, then, making a subsequent secondary
  18   elected officials -- I'm sorry, other election          18   declaration based on their inquiries that you were
  19   officials -- who corroborated Ann Leider's statements   19   also a noncitizen. There was no ambiguity about
  20   to me that, if you are on this list, Cancellation -     20   this -- none.
  21   Declared Non-Citizen, you were a noncitizen who had,    21       Q. Okay. My question was who?
  22   under oath, under penalty of perjury, asserted that     22       A. Well --
  23   they were a noncitizen, and then the state engaged in   23       Q. Who did you speak with?
  24   a follow-up process to give them the opportunity to     24       A. I spoke with Ann Leider, other general
  25   withdraw that under-oath assertion that they were a     25   registrars.

                                                Page 64                                                      Page 65
   1       Q. Who?                                              1       Q. Okay. So but it is, as you just
   2       A. Other general registrars, such as Cameron         2   testified, in the draft letter, which is PILF Exhibit
   3   Quinn --                                                 3   7, the language seeking a list of all individuals who
   4       Q. Cameron Quinn.                                    4   have been purged from your jurisdiction's voting
   5       A. -- Fairfax County general registrar. I            5   registration lists in the last two years because the
   6   spoke with former state election directors in            6   individual was not a citizen of the United States of
   7   Virginia.                                                7   America was struck, correct?
   8       Q. Who?                                              8       A. Okay. I don't see where you are.
   9       A. Cameron Quinn was a state election                9       Q. Okay. It's what we covered --
  10   director. I spoke with Don Palmer. All of these         10       A. You're on the draft -- what exhibit
  11   individuals confirmed, without any equivocation or      11   number?
  12   contradiction, that when you are on the declared        12       Q. PILF Exhibit 7.
  13   noncitizen list you were a noncitizen.                  13       A. 7 ...
  14       Q. Anyone else?                                     14       Q. The draft letter.
  15       A. Yeah, there were others. I can't remember        15       A. Okay.
  16   all of them, but there's multiple, and I heard the      16       Q. The language that we had looked at that
  17   exact same version over and over and over again         17   had been struck.
  18   without any ambiguity.                                  18       A. Right. We didn't need that language
  19       And, as a matter of fact, if you look at the        19   anymore because numerous election officials had told
  20   exhibit --                                              20   us, former general registrars -- excuse me, I made
  21       Q. There's no question.                             21   that mistake again -- former election officials --
  22       A. The question is still pending.                   22   had told us that, when you were on the canceled
  23       Q. No, there is no question pending.                23   declared noncitizen, that was determinative, that
  24           MR. DAVIS: Yeah, let's --                       24   somebody -- that the voter had testified, under oath,
  25       A. Right.                                           25   under penalty of perjury, in the DMV process that


                                                                                   17 (Pages 62 to 65)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 19 of 129 PageID# 5595

                                               Page 66                                                      Page 67
   1   they were noncitizens, and that the state did a         1   isn't it now. And not only that, he's quoting
   2   subsequent or the county did a subsequent follow-up     2   language back that his client had said to me. So
   3   to validate that under-oath assertion.                  3   it's a double verification. He was quoting language
   4       So our focus changed, because every election        4   that his client said to me that these were
   5   official who I spoke with told us that there was no     5   noncitizens, who happened to be, by the way, the
   6   ambiguity about these people being noncitizens.         6   client was the general registrar of the City of
   7       And so, yes indeed, we narrowed our focus to        7   Alexandria.
   8   something far more useful, which is the broader         8        Q. Okay. So you struck language seeking a
   9   inquiry of all of the documents, not just this          9   list of individuals who had been purged because the
  10   particular document.                                   10   individual was not a citizen of the United States and
  11       And, as a matter of fact, if you look at Billy     11   replaced that with language seeking documents
  12   Tunner's email to us in -- I'm not sure it's           12   regarding all registrants who are identified as
  13   marked -- it's VVA Deposition Exhibit 7 -- actually    13   potentially not satisfying the citizenship
  14   that's not it. It's the forwarding email that you      14   requirements, correct?
  15   asked me about.                                        15        A. That's what it says, and we did that
  16       Mr. Tunner, who is the lawyer for Ann              16   because we wanted a wider and more systematic and
  17   Leider -- it's Deposition Exhibit 7 -- I'm sorry,      17   thorough examination of the entire citizenship
  18   that's not it. It's a Tunner email you sent -- or      18   process that obviously we discovered in the summer of
  19   you asked me about. Mr. Tunner very specifically       19   '16 had significant flaws that --
  20   says these are individuals determined to be            20        Q. Okay.
  21   noncitizens, and he's an attorney for the Alexandria   21        A. Can I finish? -- that was allowing
  22   general registrar.                                     22   noncitizens. So the change was made to have a
  23       Q. He was just quoting back language that you      23   broader inquiry to get a more holistic assessment of
  24   guys had used, correct?                                24   the problems in the Commonwealth.
  25       A. Well, he was, but that's good enough,           25        Q. And so this letter that was edited on


                                               Page 68                                                      Page 69
   1   August 5th -- looking at PILF Exhibit 7 -- came less    1        A. Okay. I'd have to go through and do it
   2   than two weeks after the inspection on July 25th in     2   all -- I will tell you that I assume it does, but at
   3   Alexandria, correct?                                    3   this point we were doing a more holistic, thorough
   4        A. I mean, the dates speak for themselves on       4   examination of what was going wrong in Virginia as
   5   the document.                                           5   opposed to the earlier simple request for a list of
   6                (PILF Exhibit 8 marked for                 6   names.
   7          identification: Email correspondence             7        By this point we had evolved to trying to
   8          from (topmost) N Johnson sent                    8   determine what the root cause was of these
   9          8/17/2016 with attachment                        9   noncitizens getting on the rolls, and so it would be
  10          PILF-ADAMS-0008942 - 0008989)                   10   consistent with that change in focus that the August
  11          MR. TEPE: The court reporter has marked         11   8th letter had the more holistic request. But I
  12   as PILF Exhibit 8 a document with the Bates number     12   could go through and verify every one, if you want me
  13   8942.                                                  13   to.
  14        Q. Do you see that?                               14        Q. So if I understand your testimony,
  15        A. Exhibit 8, yeah.                               15   changing the request from a list of noncitizens of
  16        Q. And attached to this email is a series of      16   the United States to a list of registrants who were
  17   letters to other jurisdictions similar to the one      17   identified as potentially not satisfying the
  18   that we just looked at in PILF Exhibit 7, right?       18   citizenship requirements is a more holistic request?
  19        A. Well, give me a moment, please. Yeah, I        19        A. That's part of it. The "potentially"
  20   don't see anything other than that attached on 8.      20   wasn't the important part.
  21        Q. And all of these requests contain the same     21        Q. I'm sorry?
  22   language for request number 1, documents regarding     22        A. I said that's -- my answer was that's part
  23   all registrants who were identified as potentially     23   of it, but the word "potentially" was not the
  24   not satisfying the citizenship requirements for        24   important part of the request, who were identified as
  25   registration.                                          25   potentially not satisfying. The word "potentially"


                                                                                  18 (Pages 66 to 69)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 20 of 129 PageID# 5596

                                                Page 70                                                     Page 71
   1   is largely irrelevant.                                   1       A. Oh, I'm sorry. I thought you asked one.
   2        What is more relevant is the broader inquiry        2       Q. No. So to answer the question of whether
   3   as to what's going wrong in Virginia, what causes        3   or not there are noncitizens turning up on the voting
   4   this to happen, what do you do about it when you         4   rolls, you felt it was necessary to not rely on a
   5   discover there's a problem.                              5   single document or list but to look at the greater
   6        We were trying, rather than just getting a          6   context of how these people were showing up and
   7   list of people who were noncitizens who were removed,    7   whether or not they were --
   8   we were attempting to take the temperature of what's     8       A. No -- sorry.
   9   -- and to actually get a lot more than temperature --    9       Q. -- and whether or not, you know, they
  10   we were trying to get all sorts of vitals, if you       10   should be on that list.
  11   will, as to what the broader problem was in the         11       A. I disagree with your premise. The
  12   state. And you do that by looking at all the            12   question as to whether noncitizens were showing up on
  13   documents associated with it.                           13   the voter rolls had already been answered. It had
  14        At this point we had heard from, as I said         14   been answered by the face of this document. It had
  15   earlier, a number of election officials who were        15   been answered by election officials in Alexandria who
  16   guiding us as to what the best approach was as far as   16   told me these were noncitizens who were on the rolls.
  17   asking for documents, and I already testified as to     17   It had been answered by other former Virginia
  18   who they were.                                          18   election officials who told me noncitizens were on
  19        Q. And so if I understand what you're saying,      19   the rolls. So I question your premise.
  20   in order to figure out -- strike that.                  20       What we were trying to do is to figure out why
  21        To answer the question of whether or not there     21   it was happening, not if it was happening. If had
  22   are noncitizens turning up on the registration          22   already been established. There are noncitizens on
  23   lists --                                                23   this list.
  24        A. Well, that question is already answered.        24       Q. Okay. And so are you saying that all
  25        Q. I'm in the middle of my question.               25   those people are noncitizens?


                                                Page 72                                                     Page 73
   1        A. I'm saying there are noncitizens on this         1       So I had very much had a great deal of
   2   list. I didn't have the ability to figure out if         2   familiarity prior to August of 2016 about Exhibit 6,
   3   there aren't noncitizens on this list. But when          3   declared noncitizen list.
   4   election officials told me these are noncitizens, it     4       Q. Okay. So I think -- so just in terms of
   5   is inherently reliable, and my next question is why      5   the timeline, you hadn't in August received the list
   6   is this happening.                                       6   from Alexandria, correct?
   7        Q. Okay. So just so I understand your               7       A. I disagree with that. I had held it in my
   8   testimony, at this time in -- I guess we're in August    8   hand. I had held it in my hand on July 25th, 2016,
   9   of 2016 -- well --                                       9   and I had very carefully looked at it and had
  10        A. You are. You're in August of 2016.              10   discussions about the list of declared noncitizens
  11        Q. Well, the exhibit we were looking at,           11   from Alexandria with the general registrar of
  12   which is PILF Exhibit 7 -- is that right, the one       12   Alexandria.
  13   with the list that you were just pointing at?           13       Q. So you see this list and the inspection,
  14        A. The Alexandria list of noncitizens,             14   and then that causes you to make requests of other
  15   declared noncitizens, Exhibit 6, was produced, it       15   jurisdictions, correct?
  16   appears, on September 13, 2016.                         16       A. That's incorrect. I saw this list in the
  17        Q. Okay. So just in terms of the timeline,         17   inspection and had a discussion with the general
  18   you hadn't in August received that list from            18   registrar of the City of Alexandria about it.
  19   Alexandria, correct?                                    19       What caused us to make the subsequent
  20        A. I had seen the list.                            20   inspections was something you left out and I
  21        Q. You had seen --                                 21   testified about very clearly, and that was my
  22        A. And I had a discussion with both the            22   intervening discussions with multiple election
  23   general registrar in Alexandria about what the list     23   officials, former and current, in the Commonwealth
  24   meant as well as other election officials around the    24   about what this list in Exhibit 6, Alexandria City
  25   Commonwealth as to what the list meant.                 25   declared noncitizen, meant and how it was generated


                                                                                   19 (Pages 70 to 73)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 21 of 129 PageID# 5597

                                               Page 74                                                       Page 75
   1   and the inherent reliability of the list.                1   declared noncitizens, I had subsequent conversations
   2       Q. Okay.                                             2   with a variety of individuals, among those you
   3       A. And those conversations confirmed my              3   included, but probably also Clara Belle Wheeler.
   4   previous understanding, and that led to the August       4        So there was a variety of individuals, both
   5   8th mailings going out.                                  5   before and after obtaining the list in Exhibit 6,
   6       Q. Okay. So I'm just trying to understand            6   where I was gaining an understanding of what the
   7   your testimony. Is your testimony that between July      7   problem was and what this list meant. It wasn't just
   8   25th, when you had the inspection in Alexandria --       8   two weeks, if that's your question.
   9   and August, was it 4th, that draft letter -- you had     9        Q. So is it your testimony that you were
  10   conversations with former election officials.           10   aware of this specific list before the inspection on
  11       A. And current. You left that out of your           11   July 25th?
  12   question.                                               12        A. I was aware that there was available a
  13       Q. I'm sorry. And in PILF Exhibit 7 it's            13   list of people who had been declared noncitizens
  14   August 5th.                                             14   prior to my inspection on July 25th.
  15       A. Yeah.                                            15        Q. Okay. And how did you come to that
  16       Q. So between July 25th and August 5th you          16   awareness?
  17   had conversations with Ann Leider and Don Palmer and    17        A. Because a variety of election officials,
  18   Cameron Quinn with regard to the reliability of the     18   both former and current, told me that there were
  19   Cancellation - Declared Non-Citizen list.               19   records related to this line of inquiry that were
  20       A. No, my discussions predated January -- or        20   available, if they were asked for.
  21   July 25th, among some of those, but were related to     21        Q. Did they tell you this via email?
  22   this very issue. I had been in ongoing discussions      22        A. I don't remember.
  23   with other election officials around the Commonwealth   23        Q. Did they tell you this via letter?
  24   regarding this problem.                                 24        A. Prob -- it was certainly not letter, no.
  25       After I saw the list of Exhibit 6, Alexandria       25   It would have been written records.

                                               Page 76                                                       Page 77
   1       Q. So this would be a conversation that you          1   that this kind of record existed.
   2   had?                                                     2       A. I gave you a list of some of the people
   3       A. For sure there would have been                    3   that I spoke with in an ongoing effort to learn about
   4   conversations.                                           4   this issue. Cameron Quinn was one person that I've
   5       Q. Okay. And when did these conversations            5   had conversations with about noncitizen records.
   6   take place?                                              6       Q. Understood. And my question is, did
   7       A. I don't remember specifically.                    7   Ms. Quinn tell you that this is -- that this type of
   8       Q. And who did they take place with?                 8   record existed before July 25th?
   9       A. I already answered that question.                 9       A. I don't have a specific recollection of
  10       Q. No, these conversations that alerted you         10   that. Remember, Cameron Quinn was the general
  11   to the specific declared noncitizens --                 11   registrar for the largest county in the state -- in
  12       A. It wasn't this specific -- okay. I'm             12   the Commonwealth, and she very much told me that
  13   sorry.                                                  13   there were written records detailing noncitizens that
  14       Q. Okay. So my question is, were you aware          14   were available for the asking, yes.
  15   of this specific record, the Cancellation - Declared    15       Q. Did anyone else besides Ms. Quinn?
  16   Non-Citizen record, were you aware of this record       16       A. I've answered that. Don Palmer and I had
  17   before the inspection on July 25th?                     17   discussions about the availability of noncitizen
  18       A. I was aware that such similar records,           18   cancellation records. Don Palmer was the state
  19   substantially similar records as the one produced in    19   election director for the Commonwealth of Virginia,
  20   Exhibit 6, existed if they were asked for, yes, from    20   and I found his assessments to be inherently
  21   election officials around the Commonwealth because of   21   reliable. There were others.
  22   my conversations with them.                             22       Q. But right now only Palmer and Quinn are
  23       Q. Right. And who specifically --                   23   those that you can recall?
  24       A. I've answered that question.                     24       A. No, that's not my testimony. I've told
  25       Q. So Cameron Quinn specifically told you           25   you two other names. Ann Leider is one, Don Palmer,


                                                                                   20 (Pages 74 to 77)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 22 of 129 PageID# 5598

                                                Page 78                                                      Page 79
   1   Cameron Quinn, Clara Belle Wheeler. Hans van             1       A. -- partially, right. It was not entirely
   2   Spakovsky was an election official in Virginia. He       2   the response to our records request.
   3   talked about the presence of noncitizen records.         3       Q. Okay. But it was -- it was a response,
   4       So those are five election officials who I           4   right?
   5   relied on -- and more that I can't remember -- prior     5       A. Well, it was forwarding records, but they
   6   to the letter of August 8th, 2016 going out. None of     6   weren't just responding to our records request. They
   7   them offered any contradictory information.              7   were also responding to the work of your law firm in
   8                (Johnson Exhibit 3                          8   getting these records.
   9          previously marked for identification              9       Q. Okay. I'm just asking a simple
  10          and referenced herein: Email                     10   question --
  11          correspondence from (topmost) C                  11       A. Well, I'm answering the truth.
  12          Adams sent 8/16/2016                             12       Q. -- about the document here. So Ahmad,
  13          PILF-ADAMS-0046537 - 0046538)                    13   Rizwana Ahmad, sends to Public Interest Legal
  14          MR. TEPE: The witness has been handed            14   Foundation, "Secretary Powell, in an effort to submit
  15   what's been previously marked as Johnson Exhibit 3.     15   a timely response, I wanted to contact you via
  16       Q. Do you recognize this document?                  16   email," correct?
  17       A. I think I have seen this document before.        17       A. That's what it says.
  18       Q. So this is an email that begins with an          18       Q. Okay. And then Noel Johnson forwards that
  19   email from Prince William County dated August 16th to   19   to you and copies Kaylan Phillips and Joseph
  20   Public Interest Legal Foundation; is that correct?      20   Vanderhulst, correct?
  21       A. Right.                                           21       A. That's what it says.
  22       Q. And this is or that was the response to          22       Q. And those are people who also work at
  23   your records request, correct?                          23   PILF, right?
  24       A. Well --                                          24       A. They -- yes.
  25       Q. Your August --                                   25       Q. Okay. And what was forwarded was the -- a

                                                Page 80                                                      Page 81
   1   copy of the cancellation list that we had previously     1   and had made contact with Prince William County, did
   2   looked at, the declared noncitizen cancellation list,    2   a lot of good work to help us get these documents
   3   right?                                                   3   through the work of Skadden Arps.
   4       A. The Prince William version of Exhibit 6.          4       Q. Okay. You realize that you're under oath,
   5       Q. Correct. And then at the top you                  5   correct?
   6   responded on August 16th at 6:05 p.m., "As you saw,      6       A. I do.
   7   David Norcross said we've hit paydirt." Do you see       7       Q. Right. And what evidence do you have that
   8   that?                                                    8   Skadden Arps, as a law firm, had any involvement in
   9       A. I do.                                             9   this records request?
  10       Q. Okay. Who is David Norcross?                     10       A. Well, there were Skadden Arps emails from
  11       A. He's a board member.                             11   Skadden Arps lawyers, conversations with Skadden Arps
  12       Q. But at this time he wasn't.                      12   lawyers that I had, and those emails were not -- not
  13       A. He was not.                                      13   ambiguous. And Skadden Arps lawyers were assisting
  14       Q. Right. And at this time, in August of            14   in this project. Are you not aware of this?
  15   2016, who was David Norcross?                           15       Q. Can you provide a copy of the retention
  16       A. He was a client.                                 16   letter in which you retained Skadden Arps?
  17       Q. He was one of the plaintiffs in the VVA          17       A. Well, you know that you don't need a
  18   lawsuit against the City of Alexandria?                 18   retention letter to have a client. In fact there's
  19       A. Right.                                           19   plenty of cases where lawyers and clients don't have
  20       Q. Okay. Now when you said, "As you saw,            20   retention letters. And in this particular instance I
  21   David Norcross said we've hit paydirt," was this a      21   had assumed that Skadden Arps was assisting in
  22   conversation that you had with Mr. Norcross?            22   collecting this information because they did a very
  23       A. I did. I was thoroughly happy that your          23   good job at it. And it wasn't just to collect the
  24   law firm had helped us acquire these documents          24   information; it was the dissemination of the
  25   through the good work of one of your lawyers there      25   information, the media relations. So there was a


                                                                                   21 (Pages 78 to 81)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 23 of 129 PageID# 5599

                                                Page 82                                                      Page 83
   1   whole range of activities that your law firm was very    1   attachments.
   2   helpful with.                                            2       A. Right. It was an August 8th letter.
   3       Q. Okay. So this email, though, doesn't              3       Q. Right. So this is an August 8th letter
   4   mention anything about Skadden Arps, does it.            4   from PILF, correct, asking for certain records.
   5       A. Others do.                                        5       A. Right.
   6       Q. I understand, I understand, I'm asking a          6       Q. And then the previous attachment, if you
   7   question about this email.                               7   go to the page ending in 9065, it's a letter from
   8       (Clarification by reporter.)                         8   Prince William County's Registrar Michele White,
   9       A. This email does not mention your law              9   right?
  10   firm's assistance on its face.                          10       A. It's August 16th on the document.
  11       Q. Okay. So can you take a look at Johnson          11       Q. Okay. And Michele White says, Dear
  12   2?                                                      12   Secretary Powell, I am -- and this is dated August
  13       A. Johnson 2?                                       13   16th, right? I'm sorry.
  14       Q. Yes.                                             14       "I am in receipt of your letter dated August
  15       A. I'm not sure I've seen -- oh, wait.              15   8th, which reached Prince William County Office of
  16   Sorry.                                                  16   Elections on August 12th." Do you see that?
  17       Q. So this is the underlying email to Johnson       17       A. It does say that.
  18   3, which we were just looking at. It shows the email    18       Q. "You have requested inspection of records
  19   of Rizwana Ahmad on August 16th, correct?               19   related to voter list maintenance, especially those
  20       A. Right.                                           20   identified as potentially not satisfying the
  21       Q. Okay. And attached to that email included        21   citizenship requirements registration as of 2011."
  22   the original request from PILF dated August 8th,        22   Do you see that?
  23   2016, correct?                                          23       A. It does say that.
  24       A. August ...                                       24       Q. Okay. And then in the third paragraph it
  25       Q. Yes, August 8th, 2016, one of the                25   says, "in response to your information request, I am

                                                Page 84                                                      Page 85
   1   providing a PDF of Prince William County Cancellation    1       Q. And this is a conversation that you had
   2   - Declared Non-Citizen list dating back to January       2   with him, right?
   3   1st of 2011 to the present day." Do you see that?        3       A. Yes.
   4       A. It says that.                                     4       Q. What did he mean -- strike that.
   5       Q. Okay. And she included one of these               5       What was your understanding of him saying --
   6   cancellation lists, the Prince William version of it,    6   the meaning of him saying "paydirt"?
   7   correct?                                                 7       A. I think there was an awareness, and I'm
   8       A. It's in there, declared noncitizen in             8   not positive about this, that he was aware of the
   9   Exhibit 2 Johnson.                                       9   role of Skadden Arps in the collection of this data
  10       Q. Right. Nowhere in this letter from               10   in this project, and the fact that we had received
  11   Ms. White does she say that she is responding to a      11   information from Prince William County very quickly
  12   request of Skadden Arps, correct?                       12   with the assistance of Skadden Arps led to a
  13       A. The letter doesn't tell the whole story.         13   celebratory tone because of the ability to obtain
  14   There's much more to this --                            14   information from a county, a very large county, that
  15       Q. My question -- my question, sir, is,             15   had received instructions from the state, by the way,
  16   nowhere in this letter from Ms. White does she say      16   a very important fact, not to provide this
  17   that she is responding to a request to Skadden Arps,    17   information to us, yet it seemed that the role of
  18   correct?                                                18   Skadden Arps was able to pry loose this information,
  19       A. It is true that this letter does not             19   and so we hit paydirt, and it was a celebratory tone.
  20   contain the entire story of what happened.              20       Q. Okay. So we just looked at a letter from
  21       Q. So if we can go back to Johnson 3. About         21   PILF to Prince William County, correct?
  22   less than three hours after receiving the email from    22       A. I'm sorry. What was that?
  23   Rizwana Ahmad of Prince William County, you wrote,      23       Q. We looked at a letter from PILF --
  24   "as you saw, David Norcross said we've hit paydirt."    24       A. The August 8th letter in Johnson 2.
  25       A. Right.                                           25       Q. Right. And this is an email that --


                                                                                   22 (Pages 82 to 85)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 24 of 129 PageID# 5600

                                                Page 86                                                     Page 87
   1   excuse me -- this is a letter, August 8th, from          1        Q. It came from Indianapolis, right?
   2   Secretary Powell, correct? She's the secretary at        2        A. That's what it says.
   3   PILF?                                                    3        Q. Right. And that's where, other than you,
   4        A. Yeah.                                            4   that's where the folks at PILF work, right?
   5        Q. It copies Edgardo Cortes, right?                 5        A. More or less.
   6        A. Does it? I don't see that. If you                6        Q. Okay. And it's addressed to the General
   7   can direct me to -- oh, the letter itself?               7   Registrar Michele White, Prince William County,
   8        Q. The letter itself.                               8   right?
   9        A. It does.                                         9        A. That's what it says.
  10        Q. Okay. There's no mention of Skadden Arps        10        Q. Okay. So this request didn't come from
  11   on this letter.                                         11   Skadden Arps.
  12        A. Well, there's not, but it was delivered to      12        A. This request did not, but other requests
  13   Skadden Arps, and the letter was provided to Skadden    13   did.
  14   Arps' lawyer in his effort to obtain the information.   14        Q. Okay. Well, I'm talking about this
  15        And I can explain how that occurred and why        15   request.
  16   that occurred in greater detail, but, no, you're        16        A. I understand that. This one did not come
  17   correct, it doesn't say Skadden Arps on the letter      17   from Skadden Arps.
  18   because it didn't need to.                              18        (Clarification by reporter.)
  19        Q. Okay. And then behind the letter is a           19        Q. And so this request came from PILF and
  20   copy of looks like an envelope, right?                  20   it's dated August 8th. We looked at the letter,
  21        A. Yep.                                            21   right?
  22        Q. Yeah. And so the envelope says Public           22        A. I think we've been through this, but, if
  23   Interest Legal Foundation in the sender in the upper    23   you want to do it again, yes, August 8th.
  24   left-hand corner?                                       24        Q. And Skadden Arps is not referenced at all
  25        A. Right.                                          25   in this letter, correct?

                                                Page 88                                                     Page 89
   1       A. Nor would it be because the help provided         1   to just keep on putting the word "Skadden Arps"
   2   by Skadden Arps was apart from the written               2   into --
   3   communication.                                           3       A. No, I want to answer your question
   4       Q. And so this letter, I believe your                4   truthfully.
   5   testimony is, yes, this letter does not contain any      5       Q. -- into your answer. And so my question
   6   reference to Skadden Arps, correct?                      6   was, at PILF, okay, I think your earlier testimony
   7       A. None of the document Johnson 2, as far as         7   said that, when PILF received this list, this
   8   I know, references Skadden Arps. As my previous          8   cancellation list from Prince William County, there
   9   testimony was, those were other documents that do.       9   was a celebratory reaction to it, correct?
  10       Q. And so the letter responding to your             10       A. Because Skadden Arps helped us pry out
  11   August 8th request from Ms. White on August 16th has    11   documents which we didn't think we would be able to
  12   no reference to Skadden Arps, correct?                  12   get without litigation.
  13       A. As I said a moment ago in my testimony,          13       Q. And this email here, Johnson 3, says, "as
  14   nothing in Johnson 2 mentions Skadden Arps.             14   you saw, David Norcross said, we've hit paydirt,"
  15       Q. So I think your earlier testimony said           15   right?
  16   that, when you got this list, this cancellation list    16       A. I've testified previously that that's what
  17   from Prince William County, there was a celebratory     17   Exhibit 3 says.
  18   reaction to it, right?                                  18       Q. Right. And that was, I think, part of the
  19       A. The celebratory reaction was because we          19   celebratory reaction, correct?
  20   would no longer have to fight to obtain documents       20       A. The entire celebration was based on the
  21   because of the nice or, I'm sorry, the help of          21   fact that we got documents that we thought we were
  22   Skadden Arps allowed us to get documents that we        22   going to have to go to federal court to get, but your
  23   thought we were going to have to fight to get.          23   law firm helped us get them by communicating directly
  24   That's a fact.                                          24   with the friendly registrar in Prince William County
  25       Q. Okay. Right. And I understand you want           25   to pry loose these documents.


                                                                                   23 (Pages 86 to 89)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 25 of 129 PageID# 5601

                                                Page 90                                                      Page 91
   1       It is entirely based on the role of your law         1   the role of Skadden Arps.
   2   firm and our celebration that we would not have to go    2       A. Well, I can look around the state at the
   3   to federal court because a great service was given to    3   empirical results --
   4   us. Thank you.                                           4       Q. That's your testimony?
   5       Q. Entirely based by Skadden Arps.                   5       A. Well, no, it's not. I'm going to answer
   6       A. No, largely based.                                6   --
   7       Q. Okay. Well, you said entirely based,              7       Q. You're going to change your earlier
   8   didn't you?                                              8   testimony.
   9       A. Our joy was entirely based on the fact            9       A. No, I'm not. I'm going to explain to you
  10   that we would not have to go to federal court to pry    10   why --
  11   loose these documents that were under instructions      11       (Clarification by reporter.)
  12   from the state not to give us.                          12       A. I will tell you where I -- why -- what
  13       Q. You said it is --                                13   justifies that statement. Other counties continued
  14       A. May I finish, please?                            14   to follow the instructions of the Commonwealth and
  15       Q. Certainly.                                       15   refused to give us the documents. That's one of the
  16       A. But when your lawyer called, when someone        16   reasons that your law firm's lawyer at Skadden Arps
  17   working at your law firm called the Prince William      17   also organized an effort to collect documents from
  18   County registrar and at least told me that that's       18   those recalcitrant counties to try to duplicate the
  19   what was done, these documents suddenly appeared        19   success he enjoyed in Prince William County in
  20   despite instructions from the Commonwealth not to       20   getting the documents to PILF.
  21   give them to us, and we were extremely celebratory.     21       So our reason for celebration was almost
  22   We hit paydirt.                                         22   entirely over the fact that we didn't have to sue
  23       Q. And it's your testimony that the documents       23   Prince William like we did Alexandria, Chesterfield
  24   from Prince William County that we just looked at in    24   and Manassas. Because of the success in obtaining
  25   response to a request of PILF was entirely based on     25   the documents, we hit paydirt.

                                                Page 92                                                      Page 93
   1       Q. PILF used the records that they were              1   process, as you've heard my testimony, an awareness
   2   collecting, including these cancellation reports that    2   among people who are election officials, former
   3   we were just looking at, for a report called "Alien      3   election officials, about a defect in Virginia's
   4   Invasion in Virginia," correct?                          4   citizenship voter rolls, citizenship -- noncitizens
   5       A. Okay. I'm sorry. We used the records in           5   on the rolls. And I think that there was a broad
   6   document 6 or -- I'm sorry. Which one are you asking     6   understanding that there were problems, and it wasn't
   7   about?                                                   7   just one single individual. It was rather a group of
   8       Q. Well, you used -- I was asking a more             8   experts who decided that we needed data on that. In
   9   general question, which is, you used these               9   fact --
  10   cancellation reports, we've looked at one from Prince   10        Q. Okay.
  11   William and one from Alexandria, correct? We've         11        A. -- that was clear to everybody involved.
  12   looked at those two, right?                             12        Q. All right. So who decided to write Alien
  13       A. Right, right.                                    13   Invasion in Virginia?
  14       Q. You, PILF, used those records for a report       14        A. Well, I've sort of answered that. There's
  15   called Alien Invasion in Virginia, right?               15   no single person. It was a collaborative corporate
  16       A. Yes, but there were other records besides        16   effort to rely on the role of experts outside of
  17   the two you just referenced.                            17   PILF, rely on empirical data that we had been
  18       Q. I understand.                                    18   collecting. Rather than litigate over this, it was a
  19       A. Okay. Some of which, once again --               19   desire to educate about it --
  20       Q. No, there's no question pending. Thank           20        Q. Okay.
  21   you.                                                    21        A. -- and to fix the problem.
  22       So let's talk about that report. Who came up        22        Q. So there was a collective determination
  23   with the idea to write Alien Invasion in Virginia?      23   within PILF to write Alien Invasion in Virginia.
  24       A. Well, I don't think there's any single           24        A. I think that's a fair characterization of
  25   person who came up with it. I think it's an ongoing     25   my testimony.


                                                                                   24 (Pages 90 to 93)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 26 of 129 PageID# 5602

                                                Page 94                                                      Page 95
   1       Q. Who came up with the title "Alien Invasion        1   It's an effort to use a well-known cultural reference
   2   in Virginia"?                                            2   beginning with the H.G. Wells novel through the
   3       A. I can't remember. It's probably one of            3   movies of the '50s about flying saucers. It is
   4   the lawyers who was trying to be satirical. You          4   something that universally pretty much everybody that
   5   know, it relates to The War of the Worlds,               5   I've seen has laughed at it and gotten the joke, and
   6   H.G. Wells, as kind of a spoof.                          6   I think as a cultural reference, not something that
   7       Q. But --                                            7   is implying that there's an actual invasion taking
   8       A. Sorry?                                            8   place, and I think most people get that.
   9       Q. I'm sorry. I didn't want to interrupt.            9        Q. Mr. Johnson was in charge of pulling
  10       A. Well, no, go ahead.                              10   together the first Alien Invasion report; is that
  11       Q. But you don't recall who decided --              11   right?
  12       A. Well, it may very well have been Noel. It        12        A. That was his testimony.
  13   was probably a collaborative effort that they           13        Q. And that's your testimony as well.
  14   presented to me, and I remember receiving a             14        A. I don't have any reason to disagree with
  15   collective recommendation.                              15   it.
  16       Q. Okay. And you said "Noel." That's Noel           16        Q. Well, you're the PILF 30(b)(6) witness.
  17   Johnson?                                                17        A. And I'm not disagreeing with it. I think
  18       A. No, no, I said it was collaborative is           18   that Noel organized the layouts, the text. He had
  19   what I said.                                            19   certainly help from others, but Noel certainly was
  20       Q. Oh, I'm sorry. Okay. I thought you said          20   leading the --
  21   Noel.                                                   21        Q. Charge?
  22       Was PILF trying to suggest that Virginia was        22        A. -- charge.
  23   being invaded by noncitizens?                           23                (Johnson Exhibit 7
  24       A. Yeah, that's really funny. I mean, come          24           previously marked for identification
  25   on. As I said earlier, it's satire. It's humor.         25           and referenced herein: Email


                                                Page 96                                                      Page 97
   1          correspondence from (topmost) N                   1       A. Correct.
   2          Johnson sent 9/29/2016 with                       2       Q. Okay. And then the whole rest of the
   3          attachment                                        3   staff works in Indianapolis, Indiana, correct?
   4          PILF-ADAMS-0005621 - 0005636)                     4       A. Right, but we visit each other. I fly out
   5        Q. Handing you what's been called -- not            5   there; they fly out here.
   6   called -- but marked as Johnson Exhibit 7, do you        6       Q. Understood. In terms of sharing work
   7   recognize this document?                                 7   product, you primarily rely on email; is that right?
   8        A. It looks to me like an email from Noel           8       A. Primarily, not exclusively.
   9   Johnson just to me, and I've seen it before.             9       Q. Understood, but primarily.
  10        Q. It's dated September 29th, 2016?                10       A. Primarily, not exclusively.
  11        A. September -- yes.                               11       Q. Okay.
  12        Q. And says, subject line, "Draft Virginia         12       A. And I do have some recollection actually
  13   Report."                                                13   of this not being the first time I saw this, because
  14        A. That's what it says.                            14   I had awareness that we would -- we would talk about
  15        Q. "Christian," in the body, "Christian, here      15   things prior to this.
  16   is a draft of the Virginia report with what we know     16       Q. And if there was any drafts of the report
  17   so far."                                                17   that were exchanged in person, that would have been
  18        A. That's what it says.                            18   produced, right?
  19        Q. This is the first draft that was sent to        19       A. If they still existed, and there's a
  20   you for review; is that right?                          20   chance they might not still exist. There's always a
  21        A. I don't think so, but it might be, but I        21   chance that there were records that were no longer in
  22   would be surprised that this would be the first -- it   22   existence that we could not produce.
  23   looks very polished at this point, but I don't know.    23       Q. Looking at a document that was previously
  24        Q. Sure. Let me ask you this. You are the          24   marked as Johnson 6, do you see that?
  25   president of PILF, but you work in Virginia, correct?   25               (Johnson Exhibit 6


                                                                                   25 (Pages 94 to 97)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 27 of 129 PageID# 5603

                                                Page 98                                                      Page 99
   1          previously marked for identification              1   that this is something that probably is a substantial
   2          and referenced herein: Email                      2   portion of the way to completion at this point on
   3          correspondence from (topmost) N                   3   September 23rd.
   4          Johnson sent 9/23/2016                            4       Q. Okay. So this draft that Johnson emailed
   5          PILF-ADAMS-0014107 - 0014113)                     5   to himself and that he testified to last week as
   6       A. Well, I see Johnson 6, and it looks like          6   being, you know, an initial draft, was sent to
   7   you're now dealing with a September 23rd draft, which    7   himself on September 23rd, right?
   8   is different than September 29th.                        8       A. I don't -- I don't know. This document
   9       Q. Indeed it is different. And so in this            9   was sent to himself on September 23rd. Once again, I
  10   Johnson Exhibit 6, it's an email from Noel Johnson to   10   would quibble with the characterization of an initial
  11   himself dated September 23rd, right?                    11   draft. If that's his testimony, it will speak for
  12       A. Right. Well, it's strange. It's to               12   itself.
  13   himself. Okay. I've probably seen this.                 13       Q. Right. Are you, sitting here today, are
  14       Q. And then -- and then the draft here is,          14   you aware of any earlier draft?
  15   would you say, preliminary? It's only got one, two,     15       A. Yes. I'm aware that he --
  16   three, four, five pages to it.                          16       Q. Of Alien Invasion report. Sorry.
  17       A. No, I wouldn't say that. I'd say it's            17       A. Can I finish, please?
  18   earlier. Remember, this was not, ultimately, a very     18       Q. I just want to clarify the question.
  19   long report. I don't have -- well, I probably do        19       A. I'm aware of Alien Invasion I being worked
  20   have -- I don't know. You probably have a final.        20   on well before September 23rd.
  21       Q. We'll get to it.                                 21       Q. Okay. My question is: Are you aware of a
  22       A. Okay. Well, I don't think the final              22   draft Alien Invasion report prior to September 23rd?
  23   version is exactly voluminous. So it looks to me --     23       A. I'm aware that he was working on the
  24   I would disagree with the characterization of           24   document prior to September 23rd, yes, I am. I'm not
  25   preliminary. I would very much disagree. I think        25   aware of a specific document that is in the turnover


                                              Page 100                                                     Page 101
   1   that relates to that.                                    1           Johnson sent 9/29/2016 with
   2       Q. Okay.                                             2           attachment
   3       A. Those are two different things.                   3           PILF-ADAMS-0005601 - 0005620)
   4       Q. And then the first draft that is emailed          4       Q. This is a document that's been previously
   5   to you is this one on September 29th at 4:56 p.m.,       5   marked as Johnson 8, and it's an email from -- it's
   6   and that was previously marked as Johnson 7.             6   Bates numbered 5601. Do you recognize this?
   7       A. I can't testify with certainty if this is         7       A. This is to me ... I mean, I've seen this
   8   the first time I saw a draft. This is a draft of the     8   document.
   9   report as it stood on September 29th.                    9       Q. Okay. And so this is an email from
  10       Q. The question was that this is the first          10   Mr. Johnson to you, "Subject: Virginia Report -- USE
  11   draft that was emailed to you, correct?                 11   THIS ONE." "Sorry, I sent an older version. Use
  12       A. I don't know.                                    12   this one." That's what he says, right?
  13       Q. Okay.                                            13       A. Which only adds to the confusion as to
  14       A. I just -- I can't testify to that. There         14   which is which.
  15   could have been something earlier.                      15       Q. Right, but this is -- this is the second
  16       Q. But you're not aware of any.                     16   email that you received from Mr. Johnson with a draft
  17       A. As I sit here right now, I'm not aware of        17   of the report?
  18   any. If you have a document to show me, I'm happy to    18       A. Well, I'm not saying that. I just
  19   take a look at it to refresh my recollection. Plus,     19   testified earlier there may be others that I'm not
  20   I'm aware of the fact that this had been worked on a    20   aware of --
  21   lot earlier than this.                                  21       Q. Okay.
  22                (Johnson Exhibit 8                         22       A. -- that were sent earlier. As a matter of
  23          previously marked for identification             23   fact, I have some recollection of much earlier emails
  24          and referenced herein: Email                     24   regarding this report.
  25          correspondence from (topmost) N                  25       Q. Okay. But you can't, sitting here today,


                                                                                 26 (Pages 98 to 101)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 28 of 129 PageID# 5604

                                             Page 102                                                        Page 103
   1   in preparing for today's deposition, you can't point    1    copy you." Do you see that?
   2   to a specific draft earlier than --                     2        A. I see that.
   3        A. That's why I said, if you have something        3        Q. Okay. So would you agree that these
   4   to refresh my recollection, I'd be happy to look at     4    appear to be edits from you to the draft -- one of
   5   it, but I have some recollection of an earlier draft    5    the drafts -- that was sent to you about, I don't
   6   before September 29th and September 23rd.               6    know, four hours earlier?
   7                (PILF Exhibit 9 marked for                 7        A. I wouldn't disagree with that
   8           identification: Email correspondence            8    characterization. It appears to be that.
   9           from (topmost) C Adams sent                     9        Q. Who is Don?
  10           9/29/2016 with attachment                      10        A. Don Palmer.
  11           PILF-ADAMS-0014015 - 0014033)                  11        Q. So you sent a draft of the report to Don
  12           MR. TEPE: The court reporter is marking        12    for comment?
  13   as PILF Exhibit 9 a document that is Bates-stamped     13        A. Correct.
  14   14015.                                                 14        Q. Who is Reagan?
  15        Q. Do you see this?                               15        A. Reagan George.
  16        A. I do.                                          16        Q. Sorry. Reagan George. He was the
  17        Q. Okay. Do you recognize this to be another      17    president of VVA?
  18   draft of the Alien Invasion in Virginia report?        18        A. Correct.
  19        A. Well, this is my edit to it.                   19        Q. And Hans, that's Hans von Spakovsky?
  20        Q. Right. So you are responding to Noel           20        A. Correct.
  21   Johnson on September 29th at 9:02 p.m., right?         21                 (PILF Exhibit 10 marked for
  22        A. That's what the document says.                 22          identification: Email correspondence
  23        Q. And you wrote, "okay, my first pass.           23          from (topmost) D Palmer sent
  24   Please keep filling in. I am going to send to Don,     24          9/30/2016 with attachment
  25   Reagan and Hans and ask for fast fast comments. I'll   25          PILF-ADAMS-0013933 - 0013951)

                                             Page 104                                                        Page 105
   1          MR. TEPE: The court reporter has just            1   correct.
   2   marked as PILF Exhibit 10, a document with Bates        2                 (PILF Exhibit 11 marked for
   3   number 13933.                                           3            identification: Email correspondence
   4       Q. Do you recognize this?                           4            from (topmost) N Johnson sent
   5       A. Yes.                                             5            9/30/2016 with attachment
   6       Q. Do you recognize it to be the comments of        6            PILF-ADAMS-0005444 - 0005586)
   7   Don Palmer back to you on the Alien Invasion draft?     7            MR. TEPE: I apologize for the size of the
   8       A. Comments back to me ... yes. Yes, I do.          8   table.
   9   Well, that's not entirely accurate. Some of the         9           MR. DAVIS: That's all right.
  10   comments are mine. Some of the comments are Don's.     10           MR. TEPE: Okay. The court reporter has
  11   So it's a mixture of my comments and Don's comments,   11   just marked as PILF Exhibit 11 a document with Bates
  12   and it would not be correct to say that they are all   12   number ending in 5444.
  13   Don's.                                                 13       Q. Do you recognize this document?
  14       Q. Okay. Let's look at -- what's the basis         14       A. It is -- it says attached is report. So
  15   for that statement just to make sure we're on the      15   this is probably Alien I with exhibits -- the paper
  16   same page?                                             16   exhibits were linked to, generally speaking, to the
  17       A. Well, if you turn to Bates number 13936,        17   report.
  18   you will see on the right-hand side of the page,       18       Q. So on September 30th at 2:21 p.m.
  19   Commented [DP2], that's Don Palmer, Commented [CA],    19   Mr. Johnson emailed another version of the report to
  20   that's Christian Adams.                                20   you and copied Reagan George, Mr. von Spakovsky,
  21       Q. Okay. So it would appear that he overlaid       21   Ms. Phillips, Ms. Powell -- I think that's it --
  22   some comments on a draft that you had already          22   right?
  23   commented on.                                          23       A. That's what it appears to say.
  24       A. The former statewide election director and      24       Q. Christian, attached is -- in the body it
  25   I were working collaboratively on this draft, that's   25   says, "Christian, attached is the report with


                                                                                 27 (Pages 102 to 105)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 29 of 129 PageID# 5605

                                            Page 106                                                    Page 107
   1   exhibits ready for Fox. We'll keep working on         1       Q. I just wanted you to testify for the
   2   additional stylization edits." Do you see that?       2   record that this is a draft of the Alien Invasion
   3       A. I do.                                          3   report reflecting your edits. Is that correct?
   4       Q. So we're getting close to a final draft        4       A. Well, it looks to me like on September
   5   here?                                                 5   30th, 2016 at 3:20 p.m. I was still in the process of
   6       A. Well, it says what it says, that they're       6   giving commentary to the report.
   7   going to keep working on stylization edits.           7       Q. Okay. And then the attachment is Alien
   8       Q. Right.                                         8   Invasion, Virginia Report, "jca edit."
   9       A. And standing by, Kaylan is, if edits are       9       A. That's what the document says.
  10   needed. So it looks to me like we're getting close   10       Q. Indicating that this was edits from you.
  11   to a final draft.                                    11       A. Correct, that's what the annotation would
  12                (PILF Exhibit 12 marked for             12   infer.
  13          identification: Email correspondence          13               (PILF Exhibit 13 marked for
  14          from (topmost) C Adams sent                   14          identification: Email correspondence
  15          9/30/2016 with attachment                     15          from (topmost) N Johnson sent
  16          PILF-ADAMS-0013698 - 0013718)                 16          9/30/2016 with attachment
  17          MR. TEPE: The court reporter has just         17          PILF-ADAMS-0005278 - 0005421)
  18   marked as PILF Exhibit 12 a document with Bates      18          MR. TEPE: The court reporter has marked
  19   number 13698.                                        19   as PILF Exhibit 13 a document with Bates number 5278.
  20       Q. Do you see that?                              20       Q. Do you recognize this?
  21       A. I see Exhibit 12. I haven't had a chance      21       A. This is yet another version of Alien I,
  22   to read it.                                          22   4:39 p.m. on November 30 -- I'm sorry -- September
  23       Q. I'm not going to ask any real questions       23   30, according to the document.
  24   about this right now.                                24       Q. And so Noel Johnson says, "Christian,
  25       A. All right.                                    25   attached is the updated full report with your edits."


                                            Page 108                                                    Page 109
   1       A. That's what the email says.                    1       Q. And the subject line is, and this is to
   2       Q. You can put that aside.                        2   Johnson, Phillips and Vanderhulst, correct?
   3               (Johnson Exhibit 9                        3       A. Correct.
   4         previously marked for identification            4       Q. The subject line: "Have report up by
   5         and referenced herein: Email                    5   Sunday."
   6         correspondence from (topmost) N                 6       A. That's what it says.
   7         Johnson sent 9/30/2016 with                     7       Q. "Just occurred to me, we need the report
   8         attachment                                      8   on the website before I am on Fox. Not by much, but
   9         PILF-ADAMS-0004985 - 0005128)                   9   some." When were you going to be on Fox?
  10       Q. The court reporter has -- this has been       10       A. I don't remember exactly. If you have a
  11   previously marked as Johnson Exhibit 9, document     11   document that would refresh my recollection, I can
  12   Bates number 4985.                                   12   answer that question with specificity.
  13       Do you recognize this?                           13       Q. Was it going to be Saturday morning? This
  14       A. I think we talked about this earlier.         14   is Friday.
  15   Hold on. I might have this exact same --             15       A. I don't know. I just told you, if you
  16       Q. I think it's different.                       16   have a document -- I don't know is the answer to that
  17         MR. DAVIS: It's a different one.               17   question.
  18       A. Okay. I see it.                               18       Q. Okay. And then Ms. Phillips says in
  19       Q. So this is an email from Mr. Johnson dated    19   response to your request to have the report up on the
  20   September 30th at 6:10 p.m.?                         20   website by the time you're on Fox, "I can set it to
  21       A. That's what it says.                          21   publish at a specific time, whatever time is best."
  22       Q. And, well, actually let me start at the       22   Do you see that?
  23   bottom. The first email is an email from you,        23       A. I see that.
  24   September 30th, at 6:05 p.m., right?                 24       Q. And then Mr. Johnson at 6:10 p.m. says,
  25       A. That's -- yes.                                25   "This is the latest. There were some additional last


                                                                            28 (Pages 106 to 109)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 30 of 129 PageID# 5606

                                              Page 110                                                     Page 111
   1   minute changes." But these are some tweaks to the        1   wish I did, but I don't. If you have one, I'm happy
   2   Alien Invasion report, correct?                          2   to look at it. If there's something that you have
   3       A. That's what it says.                              3   that you want me to testify about, rather than just
   4       Q. Other than the exhibits that we looked at,        4   from memory, I'm happy to do that.
   5   are you aware of any other drafts of the Alien           5        Q. No, we don't.
   6   Invasion report that were exchanged amongst you and      6        A. I can't testify about it from memory.
   7   the rest of the PILF team?                               7        Q. Okay. When PILF published -- you still
   8       A. Oh, heavens, I'm not aware of it, as I sit        8   have Exhibit Johnson 9 in front of you?
   9   here, but I wouldn't preclude it.                        9        A. Yes.
  10       Q. Understood. But my question is are you --        10        Q. The date on the Alien Invasion report is
  11   can you point to any other specific drafts?             11   September 30th, right? On the cover.
  12       A. Well, none are sitting in front of me, but       12        A. Are you asking me about the cover or the
  13   I'm almost certain that there were drafts that were     13   email?
  14   being exchanged among other people on the team that I   14        Q. The cover of the report.
  15   never saw -- it didn't reach my level, if you will,     15        A. It says September 30th, 2016.
  16   yet -- that they would have been sending to each        16        Q. As of this time, you had received some --
  17   other. So the answer is probably there are.             17   you had received records from some jurisdictions that
  18       Q. But you can't point to any specific drafts       18   you had requested but not from other jurisdictions;
  19   exchanged between you and the PILF team other than      19   is that right?
  20   the ones we've looked at.                               20        A. Well, this gets us back into the
  21       A. Well, I testified earlier that I have some       21   discussion of the helpfulness of your law firm. The
  22   recollection there actually was a draft that I saw      22   answer is yes.
  23   and made comments about prior to September 23rd. I      23        Q. Actually --
  24   have some recollection of that.                         24        A. The ones that Skadden Arps lawyer was
  25       Do I have a document in front of me? No. I          25   helping with tended to be the ones that we got


                                              Page 112                                                     Page 113
   1   responses from. There were jurisdictions we had not      1   experience that is when individuals care most about
   2   received responses from and there were jurisdictions     2   elections.
   3   we did receive responses, including the one I            3       That experience is backed up by seeing what
   4   testified about in Prince William.                       4   almost every single nonprofit organization in this
   5       Q. Okay. So my question was a simple one.            5   field does, and that's ramp up their activities
   6   As of this time, September 30th, you had received        6   during election season, whether it's the ACLU, it's
   7   records from some jurisdictions that you had             7   the League of Women Voters, whether it's PILF. We
   8   requested but not from other jurisdictions; is that      8   tend to do most of our work during elections to talk
   9   right?                                                   9   about elections.
  10       A. That's my testimony.                             10       Q. So the answer is yes, PILF was trying to
  11       Q. Did you contemplate waiting for the other        11   get this report published prior to the 2016
  12   jurisdictions to publish?                               12   elections.
  13       A. We had waited a very long time for this          13       A. The answer is yes for the reasons I spoke,
  14   information already. We had waited months --            14   not anything less than that.
  15   frankly, almost a year -- and there was no benefit to   15       Q. Understood.
  16   waiting.                                                16               (PILF Exhibit 14 marked for
  17       Q. PILF was trying to get this report               17          identification: Email correspondence
  18   published prior to the 2016 election; is that right?    18          from (topmost) N Johnson sent
  19       A. During the 2016 elections, as with every         19          6/28/2016 with attachment
  20   election, people talk about elections, they talk        20          PILF-ADAMS-0007211 - 0007214)
  21   about the machinery of elections. After the             21          MR. TEPE: The court reporter has marked
  22   elections, people don't care so much.                   22   as Exhibit, PILF Exhibit 14, a document with the
  23       So it's important to put information in front       23   number 7211.
  24   of the public and to speak about elections when         24       Q. Do you recognize this document?
  25   elections are taking place, because it's been my        25       A. I'm seeing it now. I've probably seen it


                                                                               29 (Pages 110 to 113)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 31 of 129 PageID# 5607

                                              Page 114                                                     Page 115
   1   at some point.                                           1       So that's one category that would constitute
   2        Q. This is an email dated June 28th, 2016           2   the radical left as anybody who is opposed to doing
   3   from Noel Johnson to Kaylan Phillips, correct?           3   things to remove aliens from the voter rolls.
   4        A. That's what it says.                             4       Q. And then on the, I think, the fifth
   5        Q. And attached to it is a email that would         5   paragraph --
   6   be sent out from PILF to others; is that right?          6       A. One, two, three, four, five.
   7        A. This is a fundraising email that would be        7       Q. -- in the last sentence, it says, "too
   8   sent out to others.                                      8   much" -- do you see that?
   9        Q. So this is -- I'm sorry. So this is a            9       A. I do see that.
  10   fundraising email, which makes sense. There's           10       Q. "Too much is at stake this year to allow
  11   buttons to say "Donate Now."                            11   the votes of illegal aliens determine the results of
  12        A. That's the basis for me concluding that         12   any election in 2016."
  13   it's a fundraising email.                               13       A. What's your question?
  14        Q. And in the second paragraph this                14       Q. Is that what it says there?
  15   fundraising email says, "The Foundation is leading      15       A. That's what it says.
  16   the charge to stop the attempts by Obama, his Justice   16       Q. And then in the next paragraph, "we've
  17   Department, and the radical left to allow lawlessness   17   already filed cases to clean up the rolls in Clark
  18   to flourish in the 2016 elections"; is that right?      18   County, Missouri," some other jurisdictions, and the
  19        A. That's what it says.                            19   last one is Alexandria, Virginia, right?
  20        Q. Who is the radical left?                        20       A. Right.
  21        A. Well, organizations and donors who oppose       21       Q. Is this referring to the lawsuit against
  22   efforts to remove citizenship from the rolls --         22   the registrar of Alexandria?
  23   noncitizens from the rolls -- would certainly qualify   23       A. Yes.
  24   as part of the radical left, because most Americans     24       Q. City of Alexandria. Okay. And then I
  25   agree that noncitizens shouldn't be on the rolls.       25   think five paragraphs down this email says, "the hard


                                              Page 116                                                     Page 117
   1   left hates citizen verification laws because they        1          MR. DAVIS: Okay. Are you talking about a
   2   stop noncitizens from voting." Do you see that?          2   lunch break?
   3        A. That's what it says.                             3          MR. TEPE: I think it's too early for
   4        Q. Okay. Do you believe that there are,             4   lunch.
   5   well, the left, whoever that may be, want noncitizens    5          MR. DAVIS: That's fine.
   6   to vote in federal elections?                            6          VIDEO SPECIALIST: We are off the record,
   7        A. Oh, I know they do. There's no question          7   11:52.
   8   about that. Because one reason I know they do is         8       (Proceedings recessed)
   9   because I was testifying at a House Judiciary            9          VIDEO SPECIALIST: We are back on the
  10   Committee just a few months ago in Congress, and one    10   record, 12:03.
  11   of the members of the House Judiciary Committee told    11               (Johnson Exhibit 10
  12   me that he believes that noncitizens should be voting   12          previously marked for identification
  13   in federal elections. He is a local Congressman by      13          and referenced herein: Alien
  14   the name of Raskin.                                     14          Invasion in Virginia | The discovery
  15        So there's no question about that, not only is     15          and coverup of noncitizen
  16   that opinion, which I share, personally as well as      16          registration and voting | September
  17   corporately, true, because some of these members of     17          30, 2016 with attachments)
  18   the hard left who happen to be members of Congress      18          MR. TEPE: I've handed the witness what
  19   say so.                                                 19   has been previously marked as Johnson Exhibit 10.
  20        Q. Okay. So that's Democratic Congressman          20       Q. Do you recognize this document?
  21   Raskin you're referring to?                             21       A. This is a version of Alien Invasion,
  22        A. That is who I'm referring to. In fact he        22   Johnson 10.
  23   introduced legislation to allow it.                     23       Q. Do you recognize it to be the final
  24          MR. TEPE: Might be a good time to take a         24   published report of Alien Invasion in Virginia?
  25   break before we jump into something else.               25       A. I don't, but if you're asserting to me


                                                                               30 (Pages 114 to 117)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 32 of 129 PageID# 5608

                                               Page 118                                                     Page 119
   1   that's what it is, I'll make that assumption.            1   responded to your records request, right?
   2       Q. Okay. Yes. It was pulled off the web,             2       A. These would have been the counties that
   3   PILF's Internet site.                                    3   gave us records, as we've had back and forth before,
   4       Okay. Starting with the cover, it says "Alien        4   wasn't just in response to our records request, but
   5   Invasion in Virginia," "The discovery and coverup of     5   these were the eight counties that gave us records.
   6   noncitizen registration and voting," correct?            6       Q. And the number 1,046, does that come from
   7       A. It does say that.                                 7   the cancellation reports that we had looked at
   8       Q. And this was a joint report of PILF and           8   earlier?
   9   VVA; is that right?                                      9       A. It's probably a tabulation from the
  10       A. It was.                                          10   cancellation reports.
  11       Q. And the logos of both entities are on the        11       Q. Right. So if you go to page 12, there's a
  12   front cover, correct?                                   12   chart.
  13       A. They are.                                        13       A. Page 12 has a list.
  14       Q. Dated September 30th, correct?                   14       Q. The header of the chart is "Noncitizens On
  15       A. That's what it says.                             15   the Rolls in Eight Counties"?
  16       Q. 2016. If I can direct your attention to          16       A. No, that's not the header of the chart.
  17   the Summary of Findings on page 2. In the second        17   Oh, I'm sorry, I'm looking at page 12 of the exhibit.
  18   paragraph in bold the report states, "In our small      18       What did you want me to look at? I'm sorry.
  19   sample of just eight Virginia counties who responded    19       Q. Page 12 of the report.
  20   to our public inspection requests, we found 1,046       20       A. Got it. Okay. I'm at page 12 of Johnson
  21   aliens who registered to vote illegally"; is that       21   10.
  22   right?                                                  22       Q. Right, which is the Alien Invasion report,
  23       A. That's what it says.                             23   the file copy.
  24       Q. Now when you say the small sample of just        24       A. It hasn't been marked differently, so I'm
  25   eight Virginia counties, these are the counties that    25   calling it Johnson 10.

                                               Page 120                                                     Page 121
   1       Q. Sure. And so on page 12 it says,                  1        A. Of the report or --
   2   "Noncitizens on the Rolls in Eight Counties." Do you     2        Q. -- of the report, of the report. At the
   3   see that chart?                                          3   bottom it states, in bold -- are you there?
   4       A. Yes, I see that chart.                            4        A. I am.
   5       Q. And then it has TOTAL 1046?                       5        Q. Prince William County provided a list of
   6       A. It says that.                                     6   433 noncitizens who had registered to vote in the
   7       Q. Right. And it lists Prince William (433)?         7   county, but were then removed after they were
   8       A. It says that.                                     8   determined to not be citizens. Do you see that?
   9       Q. Alexandria (70)?                                  9        A. Yes. This is consistent with my
  10       A. It says that.                                    10   understanding from election officials, including Ann
  11       Q. Okay. And so this is, as I think you just        11   Leider and others, that, if they were on the list,
  12   testified, a tabulation of the people listed on the     12   they were determined to not be U.S. citizens.
  13   cancellation reports that we looked at earlier.         13        Q. Okay. I'm just asking if that's what the
  14       A. Well, what I testified was that it is most       14   report states.
  15   likely a tabulation. I'm leaving open the               15        A. It does state that.
  16   possibility that the math is wrong.                     16        Q. Okay. And then where the sentence ends,
  17       Q. And why would the math be wrong?                 17   it has a footnote, footnote 15. Do you see that?
  18       A. Because I'm very poor at doing addition.         18        A. Well, I do. And this may be why I was
  19       Q. Okay.                                            19   describing to you my willingness to entertain the
  20       A. But I didn't do the addition.                    20   possibility of off tabulation, and footnote 15
  21       Q. Mr. Johnson did the addition?                    21   indicates that somebody is listed twice -- possibly
  22       A. He did, but, again, I'm -- I have                22   listed twice.
  23   confidence in Mr. Johnson adding things up correctly,   23        Q. Okay. All right. So but the statement,
  24   but it's a tabulation.                                  24   "Prince William County provided a list of 433
  25       Q. And then if you go to page 7 --                  25   noncitizens who had registered to vote in the county,


                                                                              31 (Pages 118 to 121)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 33 of 129 PageID# 5609

                                              Page 122                                                      Page 123
   1   but were then removed after they were determined to      1   document that we saw earlier that was supplied by
   2   not be U.S. citizens," has a citation to footnote 15,    2   Ms. White in Exhibit Johnson 2, correct?
   3   correct?                                                 3        A. Well, I don't know. Let me go back and
   4        A. Well, something relating --                      4   look at Johnson 2.
   5        Q. And then --                                      5        As relates to Prince William, the answer would
   6        A. You asked the question, "correct?" Can I         6   appear to be yes. Without me going through every
   7   answer?                                                  7   single page, if that's your position, or your
   8        Q. I wasn't finished.                               8   assertion, if you're representing to me it's the
   9        A. Okay. Well, correct, question mark, so it        9   same, then, yes, I'll make that assumption.
  10   will be compound. I'm sorry. I was answering your       10        Q. And go back to page 8 of the report.
  11   question.                                               11        A. The report itself?
  12        Q. So "Prince William County provided a list       12        Q. That's right.
  13   of 433 noncitizens who had registered to vote in the    13        A. Okay.
  14   county, but were then removed after they were           14        Q. So on page 8, also in bold, second
  15   determined to not be U.S. citizens," that statement     15   paragraph, "the United States attorney in Virginia
  16   has off it footnote 15, correct?                        16   has done nothing about the felonies committed by 433
  17        A. Correct.                                        17   aliens registering in Prince William County alone."
  18        Q. And then footnote 15 says, "see Exhibit         18   Do you see that?
  19   1," correct?                                            19        A. I see that.
  20        A. It says that.                                   20        Q. Okay. Now the felonies committed by the
  21        Q. Okay. Now if you turn to Exhibit 1, that        21   433 aliens registering in Prince William County alone
  22   is the cancellation report from Prince William          22   is a reference to the people listed in Exhibit 1 that
  23   County, correct?                                        23   we just looked at.
  24        A. That, I mean, essentially, yes.                 24        A. I don't want to agree with that.
  25        Q. And if you look at -- this is the same          25        Q. Are there a different 433 aliens


                                              Page 124                                                      Page 125
   1   registering in Prince William County?                    1       A. Okay.
   2        A. There probably are, yes.                         2       Q. Do you see that?
   3        Q. Okay. But I'm asking you about your              3       A. Yeah.
   4   report here. "The United States Attorney of Virginia     4       Q. Do you see the individual "Luciania
   5   has done nothing about the felonies committed by the     5   Freeman"?
   6   433 aliens registering in Prince William County          6       A. Her name is there.
   7   alone," that statement is referencing the statement      7       Q. And her home address?
   8   two paragraphs before where you said, PILF said          8       A. Well, I don't know if that's her home
   9   Prince William County provided a list of 433             9   address. That's the public record of where she --
  10   noncitizens, correct?                                   10       Q. Right.
  11        A. Well, remember, though, there's that            11       A. I don't know if it's her home address.
  12   problem with multiple registration -- or the multiple   12   Can I finish? I don't know if it's her home address.
  13   listing.                                                13   That is taken from the registration record.
  14        Q. Okay. So maybe it's 432.                        14       Q. And so there's an address there for
  15        A. Or 434, I'm not sure.                           15   Ms. Freeman.
  16        Q. Okay. But that's a reference to the same        16       A. There's an address there for Ms. Freeman,
  17   list that we see in Exhibit 1, correct?                 17   correct.
  18        A. Well, it's an accurate statement.               18       Q. Okay. And so Ms. Freeman is one of what
  19        Q. That is a reference to the list in Exhibit      19   PILF calls the, quote, 1,046 aliens who registered to
  20   1, correct?                                             20   vote illegally, correct?
  21        A. Correct.                                        21       A. Well, that's based on the context of all
  22        Q. If you go back to the exhibit, Exhibit 1,       22   the information we had obtained from election
  23   and go to page 26 of 29, are you there?                 23   officials, including, for example, the attorney for
  24        A. 26?                                             24   the City of Alexandria that told us that that's what
  25                                                           25   these lists represented.
            Q. Page 26 of 29.


                                                                               32 (Pages 122 to 125)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 34 of 129 PageID# 5610

                                              Page 126                                                     Page 127
   1        Q. Okay.                                            1       A. If the numbers match, correct.
   2        A. So it does say that with a basis.                2       Q. Okay. It could be 1,045.
   3        Q. Okay. I'm not asking about the basis.            3       A. Right, right.
   4        A. All right.                                       4       Q. Okay. But she is in that batch.
   5        Q. I'm just trying to make sure that you            5       A. She is listed in that report.
   6   agree that --                                            6       Q. If you go to page 14 of the report -- are
   7        A. That it says that, yes.                          7   you there?
   8        Q. -- okay, that Ms. Freeman is one of what         8       A. I'm there.
   9   PILF called the 1,046 aliens.                            9       Q. Okay. About midway through the page, the
  10        A. No, I don't agree with that. I agree that       10   report states that Prince William provided the
  11   she is in the exhibit and I agree that the report       11   registration applications for a subset of the 433
  12   says what it says.                                      12   people listed on the cancellation report.
  13        Q. Right. And so just to make sure we're on        13       A. I don't see that. What paragraph number?
  14   the same page here, this exhibit where Ms. Freeman is   14   I'm sorry.
  15   listed is part of what makes up the 1,046 aliens who    15       Q. It's really just by reading the third and
  16   have registered to vote illegally as stated in the      16   fourth paragraph.
  17   Alien Invasion report, correct?                         17       A. One, two, three, four ... Prince William.
  18        A. If the numbers match, it's linking to that      18   Okay. I don't see the word "subset." I'm sorry.
  19   exhibit.                                                19       Q. That was my word. So Prince William
  20        Q. Well, it's linking to this exhibit              20   County provided a list 433 names on it, right?
  21   regardless, right? Ms. Freeman is one of the people     21       A. A list of 433 ... okay. It says that.
  22   that --                                                 22       Q. You asked for voter registration forms --
  23        A. Her name is on the exhibit.                     23       A. Okay.
  24        Q. Right, that allows you to say in your           24       Q. -- for these people, correct?
  25   report 1,046, right? She's one of the 1,046, right?     25       A. Yes.

                                              Page 128                                                     Page 129
   1       Q. Okay. They had those forms for people             1       A. Okay. Exhibit 7. Yes, it says that.
   2   starting from 2015, right?                               2       Q. Okay. So let's go to Exhibit 7. In
   3       A. Okay. I see where -- yes, since 2015.             3   particular, go to page 48 of 84.
   4       Q. Right. So you looked at voter                     4       A. 48?
   5   registration applications for 84 of the 433 listed.      5       Q. Of 84.
   6       A. Well, I -- the company did.                       6       A. Okay. This is not a complete photocopy.
   7       Q. Right. And you're here on behalf of the           7   I can't read all of it.
   8   company.                                                 8       Q. Well, it's redacted.
   9       A. Right.                                            9       A. No, it's not just redacted; it's cut off.
  10       Q. So that's what I meant by subset.                10          MR. DAVIS: There's on the bottom of this
  11       A. Are they included in the exhibit that you        11   exhibit looks like some form of a legend that ends in
  12   can point me to?                                        12   2015, but it's not clear.
  13       Q. Well, yeah, so we can get to that. So            13       A. Let the record reflect I'm pointing to
  14   where it says here, Prince William County removed a     14   words on the bottom of the page that appear to say
  15   total of 84 noncitizens, do you see that --             15   something August 2, 2015 but are not legible to the
  16       A. I see it says that.                              16   witness.
  17       Q. -- beginning of the fourth paragraph?            17       Q. Okay. Just the photocopy is a little
  18   Okay. So it says here, "Prince William County           18   faint. Why don't we just go off the record and see
  19   removed a total of 84 noncitizens from its voter        19   if we can get a --
  20   rolls in 2015 and 2016," and then cites to footnote     20          VIDEO SPECIALIST: We're off the record,
  21   30, correct?                                            21   12:19.
  22       A. Heavens. It cites to footnote 30.                22       (Proceedings recessed)
  23       Q. And footnote 30 states, "the completed           23          VIDEO SPECIALIST: We're on the record,
  24   registration applications provided to PILF are          24   12:36.
  25                                                           25   BY MR. TEPE:
       available at Exhibit 7."


                                                                              33 (Pages 126 to 129)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 35 of 129 PageID# 5611

                                              Page 130                                                     Page 131
   1       Q. So, Mr. Adams, let's go to Exhibit 7, in          1   It's not just the voter application. It is an
   2   particular, go to page 48 of 84. Do you have that in     2   additional government record related to her
   3   front of you?                                            3   registration, a list maintenance record.
   4       A. I do.                                             4        Q. Okay. I'm going to strike that as
   5       Q. Okay. This is a copy of a voter                   5   nonresponsive.
   6   registration application for Luciania Freeman; is        6        A. Well, but --
   7   that right?                                              7        Q. But we'll get there.
   8       A. It's part of one. There's a portion that          8        A. I know you'll get there, but --
   9   appears to be cut off on the far right that would        9        Q. Mr. Adams, I get to ask the questions.
  10   show the date of registration, but it's probably 95     10   Okay?
  11   percent of one.                                         11        A. Right, right, right.
  12       Q. Right, but that's how it appears in your         12          MR. DAVIS: Can we go ahead and mark that
  13   Exhibit 7 --                                            13   as an exhibit, though?
  14       A. Okay.                                            14          MR. TEPE: We can just put it in as, you
  15       Q. -- to the PILF report, correct?                  15   know, just a brighter photocopy of the Johnson
  16       A. I don't know, but I'm not quibbling. I'm         16   exhibit.
  17   just telling you this is about 95 percent of one.       17          MR. DAVIS: All I want is, when I leave
  18       Q. All right.                                       18   here today, that to be part of the record.
  19       A. It's also -- but it's not just voter             19          MR. TEPE: Oh, yeah, no, we'll stick it
  20   registration, though, so let me amend my answer         20   in. You can swap it out.
  21   because it's not fully correct.                         21          MR. DAVIS: Okay.
  22       It's a record that was provided to PILF that        22          MR. TEPE: I mean, it's just a photocopy
  23   also includes a notation that Luciania Freeman was      23   issue of, you know, the fact that we photocopied
  24   canceled because she was declared a noncitizen on       24   Johnson 7, which itself is a copy of what came off
  25   August 12, 2015. That is also part of the record.       25   the website.

                                              Page 132                                                     Page 133
   1          MR. DAVIS: Okay. Fair enough.                     1   applications; however, we didn't get those. What we
   2   BY MR. TEPE:                                             2   got was a derivative document, by and large, and this
   3       Q. So let me sort of start again.                    3   is one of them.
   4          MR. DAVIS: Just so the record is clear, I         4        There was both a voter registration
   5   oppose the motion to strike as nonresponsive.            5   application and a determination about that particular
   6       Q. So, Mr. Adams, Exhibit 7 to the first             6   voter. This was not just the voter registration
   7   Alien Invasion report, page 48 of 84, there is 95, to    7   application. And that's an important distinction.
   8   use your terminology, percent of the voter               8        Q. Okay. Mr. Adams, let's focus on the
   9   registration application of Luciania Freeman             9   questions that are asked. Okay?
  10   represented, correct?                                   10        A. I did.
  11       A. Ninety-five percent of the voter                 11        Q. So you made a request of Prince William
  12   registration application or thereabouts --              12   County for records, documents, regarding individuals
  13       Q. Okay. So --                                      13   who potentially did not satisfy the requirements for
  14       A. -- is contained on this page in addition         14   citizenship, correct? We looked at that.
  15   to other information that's part of this record.        15        A. That was part of the request, correct.
  16   This record is not the voter registration               16        Q. Right. And you also asked for the voter
  17   application.                                            17   registration applications for those individuals who
  18       Q. Okay. So, Mr. Adams, so this is part of          18   had been canceled, correct?
  19   PILF's exhibit, right?                                  19        A. Partially correct. Canceled as declared
  20       A. This was part of PILF's exhibit.                 20   noncitizens.
  21       Q. Okay. And you were provided at your              21        Q. Understood, but you asked for voter
  22   request voter registration applications, correct --     22   registration applications for those individuals who
  23       A. We were --                                       23   were listed.
  24       Q. -- from Prince William County?                   24        A. Right.
  25       A. We were provided some voter registration         25        Q. Okay. And what came back to you and what


                                                                               34 (Pages 130 to 133)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 36 of 129 PageID# 5612

                                               Page 134                                                    Page 135
   1   PILF published here in Exhibit 7 is what we're           1   added, okay, Mr. Adams?
   2   looking at today, correct?                               2       A. You asked me if this was a copy and you
   3       A. That's what we're looking at today, but,          3   cut me off from the answer.
   4   again, I want to emphasize that this is not a voter      4       Q. I said what is missing. My question was
   5   registration application document. This is a             5   what is missing. So I want you to focus on answering
   6   derivative list maintenance document from a voter        6   the question asked. My question was, what is
   7   registration application.                                7   missing?
   8       Q. It's a photocopy of.                              8       A. A portion of the right-hand side of the
   9       A. There's a difference, and that's not the          9   original voter registration application is missing.
  10   only difference.                                        10       Q. Okay. Is there anything else missing?
  11       Q. Okay. Can we focus on the questions that         11       A. There's nothing else missing as it appears
  12   I'm asking, or we're going to be here all day.          12   to me right now.
  13       A. Well, no, we'll be here seven hours.             13       Q. Okay. So on this application copy that we
  14       Q. Okay. And so, Mr. Adams, this is a copy          14   have in front of us, it's Luciania Freeman, correct?
  15   of Luciania Freeman's voter registration application,   15           MR. DAVIS: Object to the form of the
  16   correct?                                                16   question.
  17       A. No, it is not.                                   17           MR. TEPE: What's the basis?
  18       Q. Okay. What's missing?                            18           MR. DAVIS: You're characterizing it as an
  19       A. There's nothing -- well, part of it is           19   application copy. I think the witness has testified
  20   missing, namely, the date on the right.                 20   that it's something derivative from an application
  21       Q. Okay.                                            21   copy, and I think there's a distinction that's
  22       A. But also it's not just something that's          22   important.
  23   missing; it's something that's added. This is a copy    23           MR. TEPE: Okay. Then what's the
  24   of the derivative list maintenance document.            24   distinction? Because Mr. Adams just testified that
  25       Q. Okay. We're not talking about what's             25   there was nothing else missing from the copy of the


                                               Page 136                                                    Page 137
   1   voter registration application.                          1       Q. Okay. Because on the right-hand side
   2        A. Is that a question to me?                        2   there is a little bit missing, such as the last phone
   3           MR. DAVIS: But he asked -- he added that         3   number -- digit of her phone number and the last
   4   there was something added to it --                       4   digit of the date that she signed the form, correct?
   5           MR. TEPE: I know.                                5       A. That is missing on the right-hand side of
   6           MR. DAVIS: -- which makes it a derivative        6   the portion of the derivative list maintenance
   7   document, not the original registration application.     7   document.
   8           MR. TEPE: Yes. It's obviously not the            8       Q. Okay. And so on this form it lists
   9   original. It's a copy. So, so, so -- all right.          9   Ms. Freeman's -- an address for Ms. Freeman, correct?
  10        Q. Mr. Adams, I know you're very much itching      10       A. It lists an address for Ms. Freeman.
  11   to talk about the bottom portion of this page, but      11       Q. Right. It also lists an email address,
  12   let's take it one step at a time.                       12   correct?
  13        The top portion, do you see a form?                13       A. It lists an email address.
  14        A. I see a partial copy of a form that is          14       Q. It's got a date of birth or a year of
  15   included in a derivative list maintenance document.     15   birth, I should say.
  16        Q. Okay. And so I want to ask you questions        16       A. Well, it doesn't have a date of birth.
  17   about that form. Okay?                                  17       Q. I just corrected that.
  18        A. You want to ask me about a part of this         18       A. I'm answering the question. You didn't
  19   document.                                               19   strike it. And it has a year of birth.
  20        Q. Yes.                                            20       Q. And it has most of her phone number.
  21        A. Okay.                                           21       A. It has -- the public record has her phone
  22        Q. And so the form at the top is a copy of         22   number, yes.
  23   Ms. Freeman's voter registration application,           23       Q. Right. Okay. And in the upper left-hand
  24   correct?                                                24   corner the question, "are you a citizen of the
  25        A. Partially.                                      25   United States of America," do you see that question?


                                                                               35 (Pages 134 to 137)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 37 of 129 PageID# 5613

                                              Page 138                                                     Page 139
   1        A. Yes.                                             1   citizen.
   2        Q. And she checked yes, according to this           2       Q. Okay. Do you have a copy of that form?
   3   document, correct?                                       3       A. I will eventually in this case. We've
   4        A. Before she was declared a noncitizen, yes.       4   asked for it in third-party discovery. And you can't
   5        Q. Okay. So the answer is yes, she checked          5   get canceled in Virginia unless you sign a form from
   6   yes, right?                                              6   DMV swearing under oath, just like here, that you're
   7        A. She did check yes.                               7   not a citizen.
   8        Q. And her signature is on -- down at the           8       Q. So your understanding of how her name
   9   bottom of the form, correct? She signed it?              9   appeared at this time -- we're talking about at this
  10        A. She did sign it.                                10   time --
  11        Q. And the registration statement above her        11          MR. DAVIS: What time?
  12   signature says, "I swear/affirm, under felony penalty   12       Q. The time of the Alien Invasion I, so
  13   for making willfully false material statements or       13   September 30th, 2016 -- that when Ms. Freeman appears
  14   entries, that the information provided on this form     14   in Exhibit -- in the Prince William County
  15   is true," correct?                                      15   cancellation list that you have republished at
  16        A. That's what it says.                            16   Exhibit 1, it was because she provided some
  17        Q. Okay. So when she signed this form, she         17   information at the DMV that was contrary information
  18   was swearing that she was a citizen of the              18   with regard to her citizenship.
  19   United States.                                          19       A. That is a gross shortcoming of the
  20        A. All people who sign this form do that,          20   information she provided. It is much more robust.
  21   including her.                                          21       She provided a sworn statement under felony
  22        Q. Okay. Now at some point later would you         22   penalty for making a willfully material -- willfully
  23   agree her registration was canceled, correct?           23   false material statement the information provided in
  24        A. At some point later she signed a similar        24   this form is correct, and she would have marked no to
  25   form that swore under oath that she was not a           25   the question she is not a citizen, and she would have


                                              Page 140                                                     Page 141
   1   executed the felony perjury attestation. And that's      1   thing, that she was canceled, that same canceled
   2   precisely why the canceled declared noncitizen           2   date, right?
   3   notation appears on this record.                         3       A. And the existence -- they corroborate each
   4       Q. Right, so -- there's a handwritten --             4   other, that's correct.
   5       A. That's my understanding, to answer your           5       Q. So August 12th, 2015.
   6   question.                                                6       A. They corroborate each other.
   7       Q. Thank you. So at the bottom -- so you             7       Q. Okay. So it's the same information.
   8   have the form at the top of this page, which is,         8       A. Corroborating it -- each other.
   9   again, page 48 of 84 of Exhibit 7. There's a             9       Q. Why do you say "corroborating it"?
  10   handwritten notation, right? That's what you're         10       A. Because there's two government documents
  11   referring to?                                           11   that are saying the same thing, that this woman is a
  12       A. No, that's not what I'm referring to. I'm        12   noncitizen.
  13   referring to a whole host of other information          13       Q. No, it says that she was canceled.
  14   besides this --                                         14       A. No, it says declared noncitizen.
  15       Q. Okay. All right.                                 15       Q. Right.
  16       A. -- that is on the document.                      16       A. That document says declared noncitizen.
  17       Q. Right. So on the document there's a              17   Two documents are in agreement that Luciania Freeman
  18   handwritten notation that says what?                    18   was declared a noncitizen as well as the context of
  19       A. "Canceled declared noncitizen August 12th,       19   discussing this with other election officials.
  20   2015."                                                  20       Q. Okay. But we're talking about the
  21       Q. Right. Okay. And that matches what's             21   information that PILF had with regard to Ms. Freeman.
  22   here in Exhibit 1 in the Prince William cancellation    22       A. Which includes the context of discussions
  23   report, right?                                          23   with other election officials about how to interpret
  24       A. The two documents corroborate each other.        24   these documents. You cannot separate them.
  25       Q. Okay. But it's referring to the same             25       Q. I'm just asking questions.


                                                                               36 (Pages 138 to 141)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 38 of 129 PageID# 5614

                                              Page 142                                                     Page 143
   1        A. Well --                                          1   how to interpret this information.
   2        Q. So the question here, then, is: At the           2        For example, since you asked me what else,
   3   time that Alien Invasion I was published, PILF knew      3   I'll give you one of many examples. The email from
   4   only two things about Ms. Freeman, right?                4   the lawyer for the Alexandria registrar literally
   5        A. Wrong. Let me tell you something else.           5   says these people were removed because they were
   6   You asked me a question. One of the other things --      6   determined to be not a U.S. citizen.
   7          MR. DAVIS: Let him finish the question.           7        It goes far beyond simply looking at the forms
   8        A. Okay. Right.                                     8   itself. It was a broad holistic understanding of how
   9          MR. DAVIS: Let him finish the question,           9   to interpret these documents and was informed by
  10   and then you can --                                     10   multiple conversations with elected officials in
  11        A. Right.                                          11   Virginia -- election officials in Virginia.
  12        Q. -- one, that she had registered to vote         12        So it wasn't just these two documents read in
  13   affirming under penalty of felony that she was a        13   isolation; it was a holistic understanding of the
  14   citizen of the United States.                           14   process.
  15        A. That's one of many things, more than two.       15        Q. Okay. And the correspondence that you
  16        Q. PILF also knew, with regard to Ms. Freeman      16   were just referring to was the attorney for
  17   specifically, that her name appeared in the             17   Alexandria, correct?
  18   Cancellation - Declared Non-Citizen report from         18        A. That was one of many conversations --
  19   Prince William County.                                  19        Q. I'm just trying --
  20        A. That's one of multiple things.                  20        A. -- that informed this holistic
  21        Q. What else did you know about Ms. Freeman's      21   understanding of how to interpret those two pieces of
  22   citizenship?                                            22   information.
  23        A. We had an extraordinary amount of               23        Q. Okay. I understand. So that was the
  24   information derived from conversations with multiple    24   attorney for Alexandria, right?
  25   Virginia election officials as to the meaning -- as     25        A. That was one, yes.


                                              Page 144                                                     Page 145
   1        Q. Okay. And Ms. Freeman was a resident of          1        Q. Do you have other information about
   2   Prince William County.                                   2   Ms. Freeman?
   3        A. Doesn't make any difference. It's the            3        A. Yes.
   4   interpretation of how the state process works.           4        Q. At this time?
   5        The attorney for an election official was           5        A. Yes, how her name appeared on the list of
   6   telling us, among many other people, that if you're      6   noncitizen cancellation that I have testified to four
   7   on this list, you testified under oath under penalty     7   questions ago. That was about Ms. Freeman, because
   8   of perjury that you weren't a citizen, the state had     8   it related to how she got on the list and informed
   9   a follow-up procedure and this particular registrant     9   whether or not we could rely on government documents
  10   never attested that they were a citizen.                10   that we viewed to be inherently reliable.
  11        So the registrant has a role in this process       11        Q. Okay.
  12   also of failing to affirm citizenship. So all of        12        A. And so my answer is the same as it was
  13   these things holistically informed the interpretation   13   four questions ago.
  14   of the two narrow documents you wanted me to focus      14        Q. Okay. So your understanding is that
  15   on.                                                     15   Ms. Freeman swore under felony penalty that she was a
  16        Q. Okay. And, again, with respect to               16   United States citizen at one time and then swore the
  17   Luciania Freeman specifically, you had this document    17   opposite another time.
  18   that we're looking at as page 48 of 84 in Exhibit 7,    18        A. I've testified --
  19   right? And you had page 26 of 29 in Exhibit 1.          19           MR. DAVIS: Objection, asked and answered.
  20        A. I stand by my previous answer.                  20        A. I've testified to that. Stand by my
  21        Q. That's the only --                              21   earlier answer.
  22          MR. DAVIS: Objection, asked and answered.        22        Q. Did PILF attempt to reach out to
  23        Q. That's the only information that you had        23   Ms. Freeman to clarify the conflicting responses to
  24   specifically about Ms. Freeman.                         24   the citizenship question?
  25        A. I stand by my previous answer again.            25        A. We would never do that.


                                                                               37 (Pages 142 to 145)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 39 of 129 PageID# 5615

                                              Page 146                                                    Page 147
   1       Q. Why is that?                                     1   no.
   2       A. You would never reach out to individual          2       A. I stand by what I testified to.
   3   voters in this context and talk to her. We have no      3       Q. Which is no, you did not?
   4   way of verifying that. There's no way to verify         4       A. The record --
   5   whether or not she's a citizen. We don't have those     5       Q. You did not reach out to Ms. Freeman,
   6   tools -- only law enforcement does.                     6   correct?
   7       Q. My question was, did PILF attempt to reach       7       A. What I testified to is in the transcript
   8   out to Ms. Freeman to clarify the conflicting           8   probably by now about 20 lines above what you're
   9   responses, as you understood it, to the citizenship     9   reading.
  10   question?                                              10       Q. And I'm asking you to clarify that record
  11       A. I've answered that question. I stand by         11   because you seem resistant. The question, again, is:
  12   my answer.                                             12   Isn't it correct that you did not reach out to
  13       Q. The answer is no, you --                        13   Ms. Freeman period?
  14       A. The answer is what I said, not no. The          14       A. I don't have a different answer for you.
  15   answer is --                                           15       Q. You had an address for her, correct?
  16       Q. Oh, so you did -- you did reach out to          16       A. I said I don't have -- there's an address
  17   Ms. Freeman?                                           17   on the form.
  18       A. The answer is what I said.                      18       Q. And you had an email address, correct?
  19       Q. Did you or did you not reach out to             19       A. Asked and answered.
  20   Ms. Freeman?                                           20       Q. And you have most of a phone number for
  21       A. I've answered the question.                     21   her, correct?
  22       Q. Did you or did you not reach out to             22       A. I already testified to that.
  23   Ms. Freeman?                                           23       Q. And you never reached out to Ms. Freeman,
  24       A. I've answered the question.                     24   correct?
  25       Q. No, you have not. It's a simple yes or          25       A. I've already answered that and testified

                                              Page 148                                                    Page 149
   1   to it. It's probably about 50 lines behind this         1   answer it again.
   2   line.                                                   2       Q. You reached out to Ms. Freeman. Did you
   3        Q. And the answer is no, you never did.            3   call her?
   4        A. I've asked and answered that. I've              4       A. I've answered this question.
   5   answered that repeatedly now. I've told you that        5       Q. Did you -- did you email her?
   6   I've already testified to that.                         6       A. I've answered the question.
   7        Q. Yes, so when I first asked, you answered,       7       Q. You actually haven't. I'm asking very,
   8   not really directly, you said, we would never do        8   very simple questions.
   9   that. That was your answer.                             9       Did you send her a letter to clarify her
  10        A. That was your opinion or my testimony, not     10   responses?
  11   really directly? Is that your opinion or was that my   11       A. To what?
  12   actual testimony?                                      12       Q. To clarify her responses.
  13        Q. My question many lines ago was:                13       A. How could we clarify her responses? That
  14        Did PILF attempt to reach out to Ms. Freeman      14   makes no sense. I don't understand the question.
  15   to clarify the conflicting responses to the            15       Q. My question is: Did you reach out to her?
  16   citizenship question?                                  16   And you -- did you call her?
  17        Answer. We would never do that.                   17       A. I testified -- I can't see what my
  18        A. Stand by my testimony.                         18   testimony was. I stand by --
  19        Q. So the answer is no, you never did.            19       Q. You said we would never do that.
  20        A. I've answered the question.                    20       A. That's the 30(b)(6) answer.
  21        Q. Why won't you say what you did or did not      21       Q. You said, we would never reach out to
  22   do?                                                    22   individual voters in this context and talk to her.
  23        A. Because I did.                                 23   What's "this context"?
  24        Q. You reached out to Ms. Freeman.                24       A. The one you're asking about.
  25        A. I testified what we did. I'm not going to      25       Q. Well, no, you're the one who said --


                                                                             38 (Pages 146 to 149)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 40 of 129 PageID# 5616

                                              Page 150                                                     Page 151
   1       A. You have the answer.                              1   did not exist in this circumstance. There was much
   2       Q. No, you said, in this context, and I'm            2   more than two documents. And I've answered that
   3   trying to understand your answer. You said, we would     3   question at least once.
   4   never reach out to individual voters in this context.    4        Q. Okay. So in this context you would never
   5   What's the context that you're referring to?             5   reach out to Ms. Freeman. That's your testimony.
   6       A. Your question. In other words, I was              6        A. That's -- my testimony is what it is in
   7   responding to your question.                             7   the previous question. I stand by it.
   8       Q. What is the context that you're referring         8        Q. And in fact you never did reach out to
   9   to, my question?                                         9   her, correct?
  10       A. Your question.                                   10        A. I don't know. I don't know if there was
  11       Q. Okay. So in the context of where PILF has        11   any communication with her ultimately. I have no
  12   one document suggesting that she answered that she is   12   idea, as I sit here right now.
  13   a citizen of the United States and another document     13        Q. Are you trying to suggest the absence of
  14   suggesting that she answered that she's not a citizen   14   evidence is evidence?
  15   of the United States, under that context, you would     15        A. I'm not trying to suggest anything except
  16   never reach out to clarify, which is correct?           16   tell you the truth.
  17       A. That's a false context because that's not        17        Q. So you're not aware of any outreach to
  18   what the situation was.                                 18   Ms. Freeman, correct?
  19       Q. Well, that's -- that's why I'm asking you        19        A. As I sit here right now, I'm not.
  20   to answer, and what is the context?                     20          MR. TEPE: Lunch?
  21       A. I've testified to all of the other               21          MR. DAVIS: Sure.
  22   information we had about these documents that you're    22          VIDEO SPECIALIST: We're off the record,
  23   ignoring in your question related to how to interpret   23   1:00.
  24   the documents.                                          24        (Proceedings recessed)
  25       So your question is a false hypothetical that       25



                                              Page 152                                                     Page 153
   1            AFTERNOON SESSION                               1   Protection Act, right?
   2         VIDEO SPECIALIST: We are on the record,            2       A. That is a broad generalization that I will
   3   1:37.                                                    3   not quibble with. There's lots of different aspects
   4   BY MR. TEPE:                                             4   of that, but, generally speaking, yes.
   5       Q. Mr. Adams, you understand we're still             5       Q. Okay. And but ultimately you did get
   6   under oath.                                              6   records for almost all of the jurisdictions in
   7       A. Yes.                                              7   Virginia.
   8       Q. So before we took a break for lunch, we           8       A. Ultimately we got records for all of the
   9   were looking at the Alien Invasion I report. I'm         9   jurisdictions in Virginia by virtue of the
  10   just -- sort of a segue.                                10   Commonwealth of Virginia providing us a statewide
  11       Now in that report you had cited records from,      11   cancellation noncitizen report.
  12   was it, eight counties/jurisdictions?                   12       Q. Okay. All right. So after there was a --
  13       A. May I look? I just don't remember.               13   this disagreement that you didn't quibble with,
  14       Q. Roughly, if it's not exactly eight. I            14   broadly speaking, was litigated in court, correct,
  15   think those are the ones you reached out to, but ...    15   and a court decided that the DPPA did not protect the
  16       A. Nineteen.                                        16   information that you were seeking, correct?
  17       Q. That's what you reached out to.                  17       A. Yes.
  18       A. Oh, I'm sorry. Right. Okay. I --                 18       Q. Okay. And so after that court ruling,
  19   looking for the graph ... eight.                        19   you, PILF, continued to seek from the other
  20       Q. Okay. And I think in your testimony              20   jurisdictions this Cancellation - Declared
  21   before you made reference to a fact that there was a    21   Non-Citizen report.
  22   disagreement between PILF and election officials as     22       A. I'm sorry. I didn't hear the first word
  23   to whether or not certain information on the            23   you asked. It might have been after or before, I
  24   Cancellation - Declared Non-Citizen report was          24   don't know which. I'm sorry.
  25   releasable or protected under the Drivers Privacy       25       Q. So after that court ruling, so once you


                                                                               39 (Pages 150 to 153)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 41 of 129 PageID# 5617

                                              Page 154                                                     Page 155
   1   got the court ruling, you went back to the various       1          previously marked for identification
   2   jurisdictions and were asking for this, this report,     2          and referenced herein: Alien
   3   this cancellation report, right?                         3          Invasion II)
   4       A. I'm not sure. I know that we                      4        A. Is this two of the same or one of the
   5   reinvigorated our efforts to obtain the statewide        5   same?
   6   report. If there's a document that helps me remember     6          MR. TEPE: That's a good question. Maybe
   7   what we did with the counties and the local              7   it's two. No, it's one. The exhibit copy is
   8   jurisdictions, it would be helpful.                      8   single-sided. The counsel copy is double-sided.
   9       I have some recollection of also attempting to       9        Okay. And that was previously marked Johnson
  10   get information from counties, but I don't have a       10   11.
  11   specific recollection. At that point the state had      11        So the witness has been handed what has been
  12   lost, essentially, their argument that they were        12   previously marked as Johnson Exhibit 11.
  13   pushing in federal court, and we were, therefore,       13        Q. Do you recognize that document?
  14   seeking the state list.                                 14        A. Well, it appears to be, without going
  15       Q. Okay. I think we will get into some of           15   through what appears to be hundreds of pages, Alien
  16   those individual jurisdiction requests a little bit     16   Invasion II report.
  17   later, but between Alien Invasion I and Alien           17        Q. Okay. And that is, for the record, a copy
  18   Invasion II, it's fair to say you got more records.     18   that we pulled off PILF's website. Take a look at
  19       A. For sure.                                        19   it.
  20       Q. Okay. And you published what I've been           20        On the cover it says, "Alien Invasion II,"
  21   calling -- actually it's the title of your report --    21   "The Sequel to the Discovery and Cover-up of
  22   Alien Invasion II, correct?                             22   Noncitizen Registration Voting in Virginia," correct?
  23       A. Eventually, yes.                                 23        A. That's what it says.
  24       Q. Okay. Why don't we take a look at that.          24        Q. And then on the inside cover it has,
  25               (Johnson Exhibit 11                         25   again, the PILF and VVA logo.


                                              Page 156                                                     Page 157
   1       A. Yes.                                              1   Invasion I, correct?
   2       Q. Okay. And this was, again, a joint                2        A. That's what it says.
   3   project of those two organizations, right?               3        Q. And then it says in the first paragraph,
   4       A. Yes.                                              4   "Our investigation revealed that in these eight
   5       Q. And then it's dated May 2017.                     5   Virginia localities more than 1,000 noncitizens had
   6       A. Yes, it says that.                                6   recently been removed from the voter rolls." Do you
   7       Q. And then the Table of Contents is next,           7   see that?
   8   and some of the headings on the Table of Contents are    8        A. That's what it says.
   9   "Introduction," "The Stakes," "Summary of Findings."     9        Q. And in this small sample nearly 200
  10   There's a header called "Felonies Upon Felonies,"       10   verified ballots were cast prior to official removal,
  11   correct?                                                11   each one of them is likely a felony. Do you see
  12       A. All of those are in the Table of Contents        12   that?
  13   in the document.                                        13        A. I see that.
  14       Q. "The Extent of Noncitizen Registration in        14        Q. And then the report here mentions that you
  15   Virginia"?                                              15   were able to get data on a statewide basis, right?
  16       A. Yep, that's there.                               16        A. I don't see that, but you can -- can you
  17       Q. "Can Noncitizens Affect Election                 17   direct me to that, if you want me to say that that's
  18   Outcomes," yes?                                         18   what it says.
  19       A. That's there.                                    19        Q. Well, right underneath the image of the
  20       Q. Who is to "Blame for Noncitizen                  20   first Alien Invasion report, it says "this report
  21   Registration and Voting"?                               21   details the statewide problem of registered voters."
  22       A. That's all there.                                22        A. I see that it says that.
  23       Q. Let's turn to page 1 of the report. On           23        Q. Okay. And then it says, in the third
  24   page 1, in the Introduction, Alien Invasion II begins   24   paragraph, that you expanded your investigation to
  25                                                           25   the entire Commonwealth, right?
       with a reference back to your findings in Alien


                                                                               40 (Pages 154 to 157)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 42 of 129 PageID# 5618

                                              Page 158                                                     Page 159
   1       A. It says that.                                     1   in elections dating back to 1988." Do you see that?
   2       Q. Right. And then it says, quote, as a              2        A. It says that.
   3   result -- presumably of the statewide investigation,     3        Q. And the illegal registrants is referring
   4   right -- the number of registrants removed from voter    4   to the over 5,500 number; is that right?
   5   rolls for citizenship problems during the last few       5        A. I don't think so, but -- right, right.
   6   election cycles grew to over 5,500.                      6   It's referring to the noncitizen cancellation list.
   7       A. Okay. You dropped something into the              7        Q. Right, and the 5,500. So, basically, what
   8   record that was not in the sentence, but I would         8   it's saying is that, of those 5,500 illegal
   9   otherwise agree with what it says apart from the part    9   registrants, 1,852 cast nearly 7,500 ballots. That's
  10   you added.                                              10   what you're saying, right?
  11       Q. Oh, the presumably statewide                     11        A. No. I mean, it says what it says.
  12   investigation?                                          12        Q. Okay. And then on page 2 in the Summary
  13       A. Yeah. It doesn't say that.                       13   of Findings, the second paragraph, it states, in
  14       Q. Right. But the "as a result" is referring        14   bold, "the numbers are alarming. 5,556 noncitizens
  15   back to the statewide investigation, right? As a        15   have been removed from the voter rolls for
  16   result of that statewide investigation, the number of   16   citizenship problems in 120 of Virginia's 133 voting
  17   registrants removed grew to over 5,500.                 17   jurisdictions since 2011." Do you see that?
  18       A. Well, more or less, I mean, I wouldn't           18        A. I do see it says that.
  19   disagree with you. There's a little more to it than     19        Q. And then in 102 of these jurisdictions,
  20   what you put in your question.                          20   1,852 individuals cast 7,474 ballots before election
  21       Q. Right. But there's more jurisdictions and        21   officials canceled their registrations.
  22   now a longer list of people.                            22        A. It says that.
  23       A. We have more information.                        23        Q. And then underneath this paragraph there's
  24       Q. Right. And then it says, quote, "of these        24   a little graphic that says 5,556 noncitizen
  25   illegal registrants, 1,852 cast nearly 7,500 ballots    25   registrations, right?

                                              Page 160                                                     Page 161
   1       A. There is a graphic that says that.                1   register actually vote, they violate both state and
   2       Q. And underneath that it says 7 -- another          2   federal statutes because citizenship is a requirement
   3   graphic says 7,474 votes cast by noncitizens, right?     3   to vote in both state and federal elections," right?
   4       A. There is a graphic that says that.                4       A. That's what it says.
   5       Q. Okay. Now did VVA do the analysis that is         5       Q. Okay. And so this is -- this is
   6   the basis for the 1,852 individuals having voted?        6   indicating that the 5,556 noncitizens that you've
   7       A. Partially did the analysis, not entirely.         7   identified in the Summary of Findings -- or at least
   8       Q. Who else did the analysis?                        8   referenced, if not identified -- committed felonies,
   9       A. PILF.                                             9   correct?
  10       Q. And VVA worked with a Political Action           10       A. I would strongly disagree with that. I
  11   Committee on this analysis, right?                      11   think that this is a statement of law on page 3.
  12       A. I don't know.                                    12   Felonies Upon Felonies is a legal section that
  13       Q. You don't know?                                  13   contains accurate, factual information about various
  14       A. I did not know, no. Now from reading             14   state and federal statutes and makes absolutely no
  15   documents in this case I have more information than I   15   reference to the individuals or data that you just
  16   did in May of 2017.                                     16   referred to in your question.
  17       Q. But you certainly -- what you're saying is       17       Q. Correct. There's no direct reference, but
  18   you're aware now that VVA worked with a PAC called      18   what -- the point that you're making here in the
  19   Middle Resolution?                                      19   section Felonies Upon Felonies is that, if you have
  20       A. I currently have knowledge that that             20   noncitizens who register or actually vote, they have
  21   occurred.                                               21   committed a felony, correct?
  22       Q. On page 3 there's a header called                22       A. Well, it says that, but it isn't making
  23   "Felonies Upon Felonies."                               23   reference to anybody other than a recitation of what
  24       A. I see that.                                      24   the law is --
  25       Q. And it states here, "When noncitizens who        25       Q. Right.


                                                                              41 (Pages 158 to 161)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 43 of 129 PageID# 5619

                                              Page 162                                                     Page 163
   1       A. -- without any dispute or controversy.            1   that, it says that the cancellation reports for all
   2   This is the law.                                         2   120 counties are available at Exhibit 1 at the link
   3       Q. Right. And elsewhere in this report you           3   provided on page 1 of this report?
   4   identified by name the 5,556 noncitizens, correct?       4       A. Right, but they weren't in the report.
   5       A. No, we don't actually.                            5   That's an important distinction, because most of the
   6       Q. Well, aren't they listed in Exhibit 1?            6   distribution of this report or a large amount of it
   7       A. They're listed at a link to government            7   was by paper. We didn't include the exhibits.
   8   records, but they aren't in this report. They're in      8       Q. Okay. So on the Internet, you had your
   9   an attachment, but they're not named in this report      9   report here, right?
  10   that was distributed.                                   10       A. Right.
  11       Q. Right.                                           11       Q. Okay. And you had a link on page 1 of the
  12       A. You need to understand that this was             12   report to the exhibits, correct?
  13   distributed by paper and the names are not in that.     13       A. No, we didn't. We had a link on page 2 to
  14       Q. So the second paragraph of the Summary of        14   a footnote to take you to a link on an unnumbered
  15   Findings that we just had looked at on page 2 --        15   page in the end notes that would ultimately get you
  16       A. Page 2. Okay.                                    16   there. So it was not -- it was a number of steps.
  17       Q. -- the numbers are alarming, that sentence       17       Q. Okay. But there was -- you were linking
  18   that we read --                                         18   from the report to the exhibits.
  19       A. I see that sentence.                             19       A. It was possible to read the government
  20       Q. -- and refers to the 5,556 noncitizens,          20   documents based on information you got in footnote 5,
  21   right? And then there's a reference to an endnote       21   although there's no link, strangely, I'm just
  22   number 5.                                               22   realizing this. Footnote 5, that we would have
  23       A. Endnote number 5, there's a 5, yeah,             23   distributed in paper copy, would actually not allow
  24   superscript.                                            24   somebody to find the reports, as a matter of fact.
  25       Q. And in endnote number 5, if you go to            25       Q. Okay. But I'm asking about how it was set


                                              Page 164                                                     Page 165
   1   up on the web.                                           1        Q. Okay. But my question is about how it was
   2       A. Well, that's different, but you asked me          2   published on the Internet.
   3   about the paper first. You asked me about the            3        A. Sure.
   4   report.                                                  4        Q. Okay? And so if you have an electronic
   5       Q. Yes.                                              5   copy of PILF's report downloaded from PILF's --
   6       A. So I'm answering about the report.                6   available on PILF's website, it links to the
   7       Q. Yes, and the report is -- can be printed          7   exhibits, correct?
   8   in paper, right?                                         8        A. Well, this is -- I mean, it probably does,
   9       A. It was printed in paper but not the               9   but I can't say with absolute certainty because this
  10   exhibits.                                               10   is a paper copy. There is a link here. All of the
  11       Q. But it was published on the Internet,            11   raw data and records can be researched at a broad
  12   correct? Alien Invasion I was --                        12   page, but it's -- it's a different type of link than
  13       A. There was an electronic publication of           13   to the direct ... Exhibit 1.
  14   this report that is distinct from the paper             14        Q. And at endnote 5 you refer the reader to
  15   publication.                                            15   Exhibit 1 for the reports that underlie the 5,556
  16       Q. Well, it's the same publication.                 16   noncitizens.
  17       A. Not really actually.                             17        A. Right. It refers to that in the
  18       Q. Oh, so there are two different versions?         18   footnote -- in the endnote.
  19       A. Yes.                                             19        Q. And you can also take, if you had a paper
  20       Q. Okay. So what were the material                  20   copy, the link that is the web address here on page
  21   differences between Alien Invasion I, excuse me,        21   1, put that in your browser and get to the report
  22   Alien Invasion II in paper form and Alien Invasion II   22   online, correct?
  23   in electronic form on PILF's website?                   23        A. Which report?
  24       A. The paper form provided no way for people        24        Q. The Alien Invasion II report.
  25   to pursue link endnote 5.                               25        A. No, that's not correct. I'm sorry.


                                                                               42 (Pages 162 to 165)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 44 of 129 PageID# 5620

                                              Page 166                                                     Page 167
   1   That's just not correct. I don't mean to be              1       Q. You have to click on two links, okay. And
   2   argumentative, but that's not accurate.                  2   Alien Invasion II here tells you how to reach those
   3       What you can get to is a page that has a             3   records.
   4   variety of links about raw data, and then you have       4       A. Where are you referring?
   5   to, once again, choose another link. It's not a link     5       Q. Well, I'm just saying, Alien Invasion II
   6   to the Alien Invasion report. It says, all the raw       6   says we've got 5,556 noncitizens, and then, you know,
   7   data and records obtained in our research into alien     7   hanging off that is endnote 5, and endnote 5 says go
   8   registration voting can be obtained at, and then         8   to Exhibit 1, right?
   9   that's a landing page.                                   9       A. Okay. This is really confusing, so bear
  10       Q. Right.                                           10   with me. Endnote 5, cancellation reports for all 120
  11       A. And then you have more choices at that           11   counties are available at Exhibit 1.
  12   landing page.                                           12       Q. At the link provided.
  13       Q. Okay. And so but if you go to this               13       A. At the link provided on page 1. Okay. So
  14   landing page, which is listed here on page 1, it says   14   go back to page 1. That's the landing page.
  15   here all the raw data and records obtained -- can be    15       Q. Right. And that's how you're able to
  16   obtained at this link, correct?                         16   access, as it says here, if you want to access
  17       A. Eventually you can obtain it, correct, but       17   Exhibit 1, it's at the link provided on page 1 of the
  18   this is not a direct link to the -- you originally      18   report.
  19   were asking about the exhibits, and I'm answering you   19       A. Right. I'm not disputing the fact that
  20   that no, they can't be obtained, if you click that      20   the documents are ultimately available
  21   link. You have more steps to do.                        21   electronically. How you get there is a difference
  22       Q. Okay. So you have to click on the link           22   with how you're describing it from your initial
  23   that says Exhibit 1.                                    23   question.
  24       A. Correct. You have to click on two links          24       Q. Okay. So with all that discussion of
  25   to get there.                                           25   linking, I think we're all on the same page that the


                                              Page 168                                                     Page 169
   1   number 5,556 comes from the records that you             1   the Virginia Department of Elections, correct?
   2   published in Exhibit 1 to Alien Invasion II, correct?    2        A. Correct.
   3       A. Yeah, once again, I assume that the tally         3        Q. Okay. And within that document is
   4   is correct, that the people tallying it had the          4   listings of individuals who were canceled based on
   5   number correct. I have confidence they did.              5   their county, correct?
   6       Q. Okay. And the cancellation reports that           6        A. Right.
   7   are housed in Exhibit 1 is the same type of report       7        Q. Yes. And so all I'm asking is this record
   8   that was provided by the localities that you used for    8   that's reflected in Exhibit 1 to Alien Invasion II is
   9   Alien Invasion I, correct?                               9   the same type of report that you had obtained from
  10       A. I'm sorry. I don't understand the                10   localities and included in Alien Invasion I.
  11   question.                                               11        A. Right. Well, to the extent that they are
  12       Q. The cancellation reports are in Exhibit 1        12   both the list of people who were declared by either
  13   to Alien Invasion II, correct?                          13   election officials or the registrants or both that
  14       A. Mm-hmm.                                          14   they were noncitizens.
  15       Q. So it's statewide, right?                        15        Q. Well, the records reflect what they
  16       A. Well --                                          16   reflect, but, basically, what I'm just saying is it's
  17       Q. Except for a few jurisdictions that --           17   the same type of report.
  18       A. -- it's not statewide. It's listed by            18        A. It's a declared noncitizen report.
  19   county. So, no, I'm sorry, I don't want to be           19        Q. Right. The only difference between, you
  20   argumentative, but it's not statewide. It's Augusta     20   know, what you see in Exhibit 1 to Alien Invasion I
  21   County, Accomack County. We don't have a statewide      21   and Exhibit 1 to Alien Invasion II is more counties
  22   report. We have a report provided by the state that     22   in Alien Invasion II, right, more jurisdictions?
  23   relates to individual counties.                         23        A. Right.
  24       Q. Okay. So you have a report, Cancellation         24        Q. Right? And a longer time period covered.
  25   - Declared Non-Citizen report, that you received from   25        A. Hmm, I didn't realize that. I want to


                                                                               43 (Pages 166 to 169)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 45 of 129 PageID# 5621

                                               Page 170                                                   Page 171
   1   answer your question if you give me time to look at      1       Q. Does that refresh your recollection?
   2   Alien I.                                                 2       A. Yeah, I just --
   3       Q. Sure.                                             3       Q. Okay. Do you recognize the name Eliud
   4       A. Okay. Well, right, it's a longer time             4   Bonilla?
   5   period by virtue of the fact that it was March of '17    5       A. Right.
   6   instead of August of '16. It all started going back      6       Q. He's one of the plaintiffs in this case.
   7   to New Year's Day in '11.                                7       A. Right, right.
   8       Q. And then I think if you maybe flip towards        8       Q. So if you go to page 100 of 486.
   9   the back of Exhibit 1, isn't there an extra couple of    9         MR. DAVIS: He's on Alien II.
  10   months that brings you to maybe May, or am I --         10       A. Okay.
  11       A. I don't think so. It says March 20th,            11         MR. DAVIS: What page did you say?
  12   2017, but maybe there's a -- oh, wait, there's --       12         MR. TEPE: 100 of 486.
  13   there are some from, I don't know, maybe those are      13       A. Right. You've marked it with a
  14   supplemental.                                           14   highlighter.
  15       Q. I think so.                                      15       Q. So it's got his name and an address for
  16       A. But, yeah, some go to May, some go to            16   him, correct?
  17   March. Alien I went to August.                          17       A. It has his name and an address.
  18       Q. Okay. So essentially same type of report,        18       Q. And this is under the Fairfax County list,
  19   just more counties, different time period.              19   correct?
  20       A. Right.                                           20       A. Correct.
  21       Q. Okay. Eliud Bonilla is listed in Exhibit         21       Q. Okay. So Mr. Bonilla is one of the 5,556
  22   1 to Exhibit -- strike that. Start again.               22   noncitizens referenced in the Summary of Findings on
  23       Eliud Bonilla is listed in Exhibit 1 to Alien       23   page 2; is that right?
  24   Invasion II, correct?                                   24       A. Well, it doesn't mention his name.
  25       A. Did we --                                        25       Q. No, I understand. It's kind of the same


                                               Page 172                                                   Page 173
   1   questions I was asking with respect to Alien Invasion    1   Noncitizenship Registration Voting." Is that the
   2   I.                                                       2   page?
   3        A. The numbers are alarming. 5,556                  3       Q. That is the page. And then I'm going to
   4   noncitizens have been removed from the voter rolls       4   direct you to the bottom right corner, if you would
   5   for citizenship problems in 120 Virginia's               5   just maybe take a look at the bottom three
   6   jurisdictions. That 5,556 is going to relate to the      6   paragraphs.
   7   tally that's in exhibit -- in the exhibit.               7       A. Right.
   8        Q. Okay. And so Mr. Bonilla is part of that         8       Q. So as I understand it, PILF looked at 764
   9   tally of 5,556.                                          9   voter registration applications, correct?
  10        A. Right.                                          10       A. That's what it says in the report.
  11        Q. Okay. And if you go to page 258 of 486,         11       Q. It says -- and so you surveyed, it says
  12   you see Luciania Freeman's name, correct?               12   here, "in the 16 jurisdictions surveyed, PILF
  13        A. Yes.                                            13   reviewed 764 voter registration applications
  14        Q. And so she is also one of the 5,556             14   submitted by applicants who were later removed for
  15   noncitizens tallied on page 2 of the report.            15   lacking U.S. citizenship," correct?
  16        A. Yes.                                            16       A. That's what it says.
  17        Q. And for Alien Invasion II, am I correct         17       Q. Okay. And so this is 7 -- what you're
  18   that PILF reviewed hundreds of voter registration       18   saying here is that this is 764 of, what, the five
  19   applications, right?                                    19   thousand plus?
  20        A. Well, I don't know about hundreds, but if       20       A. It probably means that those were the only
  21   it says that --                                         21   ones we could get the underlying forms for, which
  22        Q. Let's go to page 13 of the report body.         22   probably means, if our request asked for the
  23        A. 13?                                             23   underlying forms, the other four thousand, the
  24        Q. 13.                                             24   counties were noncompliant in giving them to us.
  25        A. It's entitled "Who is to Blame For              25       Q. Well, isn't it your recollection that the


                                                                              44 (Pages 170 to 173)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 46 of 129 PageID# 5622

                                              Page 174                                                     Page 175
   1   voter registration applications for going back a         1   they were not a U.S. citizen in a more recent
   2   number of years were not kept on file?                   2   document that would be an admission against interest.
   3        A. It varies --                                     3       Q. Okay. So -- I didn't mean to cut you off.
   4        Q. Okay.                                            4       A. Go ahead.
   5        A. -- county to county.                             5       Q. So what you're saying is, it's the same
   6        Q. And so for 702 of those 764 applications         6   thing as what we discussed with Alien Invasion I.
   7   reviewed by PILF, the registration application said      7   There was -- they got on the rolls because they
   8   that the applicant said that they were a citizen,        8   clicked yes for the most part that they were a
   9   correct?                                                 9   citizen, right, 702 of them did that you looked at,
  10        A. They couldn't have gotten on the rolls          10   right?
  11   otherwise, although some did, but you have to say       11       A. Yeah.
  12   something in the citizenship checkbox.                  12       Q. Okay. And then you also have their names
  13        Q. Right. And so at the bottom here it says,       13   appearing in this cancellation report, right?
  14   for the remaining 702 noncitizen registrants, they      14       A. Their names appeared in the cancellation
  15   checked yes in the citizenship question, right?         15   report, or else we wouldn't have tallied them up in
  16        A. That's what it says.                            16   part of the tally.
  17        Q. So if they checked yes that they were a         17       Q. Okay. Other than the fact that they
  18   citizen, why did you call them 702 noncitizens?         18   appeared in this cancellation report, was there any
  19        A. Because that's what the state said they         19   other basis for you to call them noncitizens?
  20   were. That's what the local election officials said     20       A. I stand by my earlier answer. We
  21   they were. And this is a long answer, by the way.       21   discussed this at length involving all of my
  22        The voter themselves said it; otherwise, they      22   discussions with election officials and various other
  23   would have been removed because they swore under oath   23   administrative procedures. That formed the basis to
  24   on some document, according to the election officials   24   make these sorts of statements.
  25   that I spoke with, that they swore under oath that      25       Q. Okay. And so -- and just to make sure I


                                              Page 176                                                     Page 177
   1   understand, that was based on conversations that you     1   that, if these people have been declared noncitizens
   2   had with Don Palmer?                                     2   by the state, by the local election officials, and by
   3        A. Look, we -- I don't want to be                   3   themselves, I might add, then there is a basis to
   4   argumentative about this, but I've answered that         4   make the statements in the report. And I stand by my
   5   three or four different ways or times, I should          5   earlier testimony on that.
   6   say --                                                   6       Q. Are any of these communications that you
   7        Q. No, I understand.                                7   had with Don Palmer memorialized in email?
   8        A. -- earlier today.                                8       A. Yes.
   9        Q. And I'm not --                                   9       Q. Okay.
  10        A. And I stand by that answer.                     10       A. You showed me one of them earlier today.
  11        Q. Okay. I understand. But just for clarity        11       Q. No, I'm -- let me re-ask my question. Is
  12   of the record, you say I already said X, and I want     12   there any communications in email in which you asked
  13   to just make sure that, when we're talking about this   13   Don Palmer to say what does declared noncitizen mean
  14   record here (indicating), which is -- which was         14   in the cancellation report?
  15   published as Exhibit 1 to Alien Invasion II, the only   15       A. I don't recall that. I don't remember.
  16   other basis for calling these people noncitizens        16       Q. Okay. Was there any email correspondence
  17   besides this record is are those conversations that     17   between you and Mr. von Spakovsky in which you asked
  18   you talked about earlier today.                         18   him what does declared noncitizen mean in this
  19        A. No, I disagree completely with that             19   cancellation report?
  20   statement. A world of experience goes into this         20       A. Probably not.
  21   area: a large amount of discussions with election       21       Q. Is there any email that you engaged in
  22   officials, experienced review in voting rolls,          22   with Cameron Quinn in which you asked the question
  23   litigation in other places, experience in other parts   23   what does declared noncitizen mean in the
  24   of the country, information received from               24   cancellation report?
  25   statisticians. Lots of things go into the assessment    25       A. None that I saw in complying with


                                                                               45 (Pages 174 to 177)
                             TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 47 of 129 PageID# 5623

                                               Page 178                                                    Page 179
   1   discovery responses.                                     1       Q. If you go to Exhibit 12 of the report,
   2       Q. Are you aware of any other written                2   and, in particular, I'll direct you to page 217 of
   3   communication involving these former election            3   Exhibit 12.
   4   officials that you mentioned this morning --             4       A. Oh. Right. It's 11.
   5       A. I'm sorry.                                        5       Q. It might be tabbed. It's on the
   6       Q. -- in which you asked, you know, what does        6   right-hand side. You see a bunch of tabs?
   7   declared noncitizen mean?                                7       A. But for the record we're talking Johnson
   8       A. None that I saw in preparing discovery            8   11, right?
   9   responses.                                               9       Q. Johnson 11 is the final Alien Invasion II
  10       Q. And so these conversations were only oral.       10   report.
  11          MR. DAVIS: I'm sorry. I didn't hear              11       A. Right, but you called it Exhibit 12.
  12   that.                                                   12       Q. I'm saying Exhibit 12 to the Alien
  13       Q. These conversations were only oral.              13   Invasion --
  14   There's no written --                                   14       A. Oh, I see. Okay.
  15       A. No, I would disagree with that. I think          15       Q. And we tabbed the pages, since it is a
  16   they were certainly oral, but they weren't only oral.   16   lengthy document in front of you.
  17       Q. Okay. Well, that's what -- I'm trying to         17       A. What number?
  18   identify, find, you know, a written document in which   18       Q. Look on the bottom of your stack there.
  19   you asked one of these individuals to explain what      19   Do you see another tab?
  20   declared noncitizen means.                              20          MR. DAVIS: Are we in the realm of
  21       A. What's the question?                             21   applications?
  22       Q. Are there such documents?                        22          MR. TEPE: Yes.
  23       A. None that I saw in preparation for               23          MR. DAVIS: Maybe the name of the
  24   discovery responses. If there had been, they would      24   applicant would be helpful too.
  25   have been turned over.                                  25       Q. All right.

                                               Page 180                                                    Page 181
   1       A. There's no page number on this, though.           1   PILF 50 --
   2          MR. DAVIS: There's no page number on mine         2       A. Look (indicating).
   3   either.                                                  3       Q. -- of the one we're looking for.
   4          MR. TEPE: Understood.                             4   Understood. No?
   5       Q. So now that you've kind of turned over the        5       A. No. I'm sorry. It's just not there.
   6   large volume of paper in front of you, we were           6   This is another tabbed document.
   7   talking about the applications reviewed by PILF,         7       Q. Yes, I understand. So if you look in the
   8   correct? Right?                                          8   other Redweld, what's the tab there?
   9       A. We're talking about it now, yes.                  9          MR. DAVIS: I think, if it's the same, the
  10       Q. Okay. And so the 764 applications                10   tab is on the face of 49. If you flip it over, it's
  11   reviewed by PILF were included in Exhibit 12 to Alien   11   Bonilla, which is 50. Just the tab is on the other
  12   Invasion II, right?                                     12   side.
  13       A. I presume all of them are included, yes.         13          MR. TEPE: Okay.
  14       Q. Okay. All right. And so now we're                14       A. Freeman, right?
  15   looking at Exhibit 12. And I'm looking for -- one of    15       Q. Okay. Well, we can --
  16   the tabs should be for Mr. Bonilla.                     16       A. That's the last one. I'm sorry.
  17       A. You told me to go to the last tab and I've       17       Q. That's fine. So you have published, just
  18   done so, and it's for somebody named Abby Sharpe        18   like with Alien Invasion I, the voter registration
  19   Focht.                                                  19   application of Luciania Freeman, right?
  20       Q. All right. Bonilla is probably the               20       A. Here's Bonilla.
  21   second-to-last tab. I'm sorry.                          21       Q. All right. So we'll start with Freeman.
  22       A. No, it's Jeanne Rosen.                           22       A. Right.
  23       Q. All right.                                       23       Q. Freeman, just like with Alien Invasion I,
  24       A. Do you want me to stay with Rosen?               24   you published in Exhibit 12 here to Alien Invasion II
  25       Q. There should be a number at the bottom,          25   her voter registration application, correct?


                                                                              46 (Pages 178 to 181)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 48 of 129 PageID# 5624

                                               Page 182                                                    Page 183
   1       A. Didn't we cover this?                             1        A. Right.
   2       Q. Yes. And I'm just confirming, asking you          2        Q. Okay. So at the time Alien Invasion II
   3   to confirm, that she was published in Exhibit 12, her    3   was published, PILF had two pieces of documentary
   4   voter registration application was published in          4   records about Eliud Bonilla, correct? You had the
   5   Exhibit 12.                                              5   copy of the voter registration application, right?
   6       A. Right, it's in this document.                     6        A. Yes. I just said that.
   7       Q. Okay. You just noticed Eliud Bonilla's            7        Q. And then you also had his name listed in
   8   voter registration application, okay? Let's go to        8   the cancellation report for Fairfax County, correct?
   9   him.                                                     9        A. No, it wasn't a generic cancellation
  10       Do you see Eliud Bonilla's voter registration       10   report. It was a noncitizen -- declared noncitizen
  11   application there?                                      11   report.
  12       A. Yes.                                             12        Q. Understood.
  13       Q. And it has an address for him, correct?          13        A. There are generic cancellation reports,
  14       A. It has an address for him? I'm sorry?            14   and I just want the record to be clear, he wasn't
  15       Q. It has an address for him?                       15   listed on a generic non -- cancellation report.
  16       A. Right.                                           16        Q. Okay. And but it's the report that you
  17       Q. And it has a phone number for him?               17   published in Exhibit 1. So you had his appearance in
  18       A. It does.                                         18   two documentary pieces of evidence published by PILF,
  19       Q. And it has in the upper left-hand corner         19   one in Exhibit 1 and one in Exhibit 12, right?
  20   him checking yes to the question "are you a citizen     20        A. Right.
  21   of the United States of America," right?                21        Q. One of those pieces of evidence, one
  22       A. It is.                                           22   document, shows him saying, yes, I'm a citizen of the
  23       Q. And he signed this under felony penalty          23   United States, correct? That's what we just looked
  24   for making willfully false material statements,         24   at in Exhibit 12.
  25   correct? He swore to this under felony penalty.         25        A. Yeah. I think I answered you. It does.


                                               Page 184                                                    Page 185
   1       Q. And then you had the cancellation report.         1   outreach to Mr. Bonilla.
   2       A. Where's that?                                     2        A. My testimony is I don't know. I'm not
   3       Q. That was Exhibit 1 where you saw Bonilla's        3   aware of any.
   4   name there, correct?                                     4        Q. Is this policy written down somewhere?
   5       A. I mean, that was probably my testimony. I         5        A. Nope.
   6   stand by it. I'm sure it's there.                        6        Q. Who made this policy?
   7       Q. Before publishing Alien Invasion II, did          7        A. Me.
   8   PILF reach out to Mr. Bonilla to ask about these two     8        Q. When did you make it?
   9   pieces of documentary evidence?                          9        A. When we were doing the project.
  10       A. As a corporate policy, we would not have         10        Q. Which project?
  11   done that.                                              11        A. The ones we've been talking about, Alien I
  12       Q. What's the corporate policy?                     12   and II.
  13       A. That we don't contact registrants or             13        Q. So it was a policy made orally by you not
  14   individuals because we have no utility in doing so.     14   to reach out to any individual listed in the Alien
  15   We can't verify anything.                               15   Invasion reports.
  16       Q. So the answer is you did not.                    16        A. That's my testimony.
  17       A. Well, that's a different question. I             17        Q. And, for clarity, when I say "listed," I
  18   don't have any recollection as to whether or not we     18   mean anyone appearing in Exhibit 1 to Alien Invasion
  19   contacted Eliud Bonilla.                                19   II, or Exhibit 12 to Alien Invasion II. I just want
  20       Q. You have no basis for saying that PILF           20   to clarify.
  21   did, correct?                                           21        A. Okay. I'm sorry. Could you repeat that?
  22       A. It would be contrary to policy if we did,        22        Q. Okay. So my question was, so it was a
  23   but that's not the same thing as saying that we         23   policy made orally by you not to reach out to any
  24   didn't.                                                 24   individual listed in the Alien Invasion reports.
  25       Q. Okay. But you're not aware of any                25        A. Well, a quibble, just a touch, with the


                                                                               47 (Pages 182 to 185)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 49 of 129 PageID# 5625

                                              Page 186                                                     Page 187
   1   term "reach out." We were -- the policy was more         1        The better way to solve the problem was to
   2   specific than reach out. It was we're not to contact     2   provide law enforcement officials who had the means
   3   individuals listed in the government documents.          3   to access the relevant data without the voter even
   4       Q. Okay. And by "the government documents,"          4   knowing, without the voter even knowing this was
   5   we're talking about the people who appeared in           5   going on, to verify whether or not they were
   6   Exhibit 1 and Exhibit 12.                                6   citizens.
   7       A. Correct.                                          7        Q. Well, if you could provide the information
   8       Q. And what was the rationale behind this            8   to law enforcement, what was the point of publishing
   9   oral policy?                                             9   everyone's names and contact information?
  10       A. That there was no utility in contacting          10        A. Well, because those were -- that was the
  11   them because we had no means to verify what they        11   Congress's decision, not ours. Congress made the
  12   said. All it would be is an exercise in futility        12   decision this is public information, not PILF, and --
  13   with possible negative ramifications associated with    13   can I finish? Then you can ask me a question.
  14   it.                                                     14        Q. Go ahead.
  15       Had we done something like that, I can only         15        A. No, go ahead.
  16   imagine and speculate that your complaint might have    16        Q. No, I didn't want to interrupt. Go ahead.
  17   had different paragraphs but still been filed, that     17        A. But you did.
  18   contact with these individuals would be                 18        Q. And I apologize.
  19   misinterpreted or otherwise misrepresented.             19        A. All right. Congress made the decision
  20       And so, given the fact that there was no way        20   this is public information, not PILF. And this has
  21   for us to verify anything that they might have told     21   been thoroughly litigated in the Eastern District of
  22   us in these conversations, we did not communicate       22   Virginia. It went to the Fourth Circuit. We relied
  23   with these individuals. There was a better way to       23   on applicable case law as to what was public
  24   solve the problem of noncitizens on the rolls than us   24   information and what was not public information.
  25   talking to individuals.                                 25        We followed those court rulings. In fact, we


                                              Page 188                                                     Page 189
   1   went beyond them. We may have redacted some things       1   which, by the way, are the theories of your case, but
   2   we didn't need to, which is unfortunate in my view,      2   the fact that Congress determined these to be public
   3   because I think it's important that we not be accused    3   records.
   4   of misrepresenting what the government documents say.    4       Q. And no one forced PILF to publish these
   5       And so I think it's important to have the            5   cancellation reports on the Internet, correct?
   6   government documents containing public information       6       A. What difference does that make? That's, I
   7   available for the public. These are government           7   mean -- we had a First Amendment right to
   8   documents that anybody can get. They aren't private.     8   republish -- we have a First Amendment right to
   9   Our purpose was to have a thorough report that could     9   publish public information that Congress has
  10   not be questioned for making up conclusions about       10   determined to be public in order to petition the
  11   numbers.                                                11   government about failures in the system, and that's
  12       Q. Congress didn't publish the cancellation         12   exactly what we did and why we did it.
  13   reports on the Internet, did it?                        13       Q. And it was your choice to publish this
  14       A. Congress made a determination that               14   information on the Internet.
  15   cancellation reports are public information.            15       A. Because we had a First Amendment right to
  16       Q. Congress did not publish the cancellation        16   that Congress bolstered with their decision very
  17   reports on the Internet, correct?                       17   clearly to make this public information, and the
  18       A. Of course they didn't, but they said that        18   Fourth Circuit's decision to back that up and give us
  19   this is public information.                             19   this broad First Amendment right to publish
  20       Q. PILF published the cancellation reports on       20   government documents related to an important issue
  21   the Internet, correct?                                  21   like voting.
  22       A. In reliance to judicial precedent in the         22       And, by the way, we uncovered a huge problem
  23   Fourth Circuit, Congressional intent, transparency      23   here -- two huge problems -- both aliens on the rolls
  24   issues. There's a variety of public policy issues       24   and the government canceling citizens. And that's
  25   that informed our decision to publish this, none of     25   exactly why Congress gave this broad right to the


                                                                              48 (Pages 186 to 189)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 50 of 129 PageID# 5626

                                              Page 190                                                    Page 191
   1   public to get this information, disseminate this        1         Q. One of the other voter registration
   2   information, and speak about this information.          2   applications that PILF published was for Abby Jo
   3       Q. Okay. So my question was, yes or no, it          3   Focht, who is now known as Abby Jo Gearhart; is that
   4   was PILF's choice to publish this information on the    4   correct?
   5   Internet.                                               5         A. If you could direct me to --
   6       A. Not entirely. We were given the right by         6         Q. I think you hit on --
   7   Congress to get the information. They chose to pass     7         A. The last one? I seem to recall that. If
   8   a statute that gave us that right, to exercise that     8   we need to get it directly, you're going to have to
   9   right under the First Amendment, and we ultimately      9   give me a second.
  10   chose to exercise our First Amendment rights to get    10         Q. If you see the bottom of that stack there,
  11   government information and publish it.                 11   the bottom tab, is that Focht?
  12       Q. And so it was PILF's choice to put this         12         A. Jeanne Rosen.
  13   information on the Internet, when, as you testified    13         Q. Okay.
  14   before, you could have just handed it to law           14           MR. DAVIS: Probably a green tab.
  15   enforcement who could, as you said, I think, quietly   15         A. Is it tab -- wait. There's one more.
  16   look into verifying these issues.                      16   That's Rosen. There's no tabs there. This is
  17       A. I've answered the question.                     17   Bonilla. This is Freeman.
  18       Q. And the answer is yes?                          18           MR. TEPE: Bill, do you have it?
  19       A. The answer is what I said.                      19           MR. DAVIS: I have one here, yeah. Do you
  20       Q. The answer is PILF made a decision, for         20   want to just use this one?
  21   whatever rationale or reasons, PILF made a decision    21         Q. Yeah, Mr. Adams, if you don't mind.
  22   to publish these cancellation reports on the           22         A. I had it a minute ago.
  23   Internet, correct?                                     23           MR. DAVIS: Here, let me have that and
  24       A. These cancellation reports were published       24   I'll find it.
  25   on the Internet.                                       25           MR. HANSON: It's the fourth green tab --


                                              Page 192                                                    Page 193
   1          MR. DAVIS: I've got it.                          1   to hunt for what?
   2        A. No, four is not it. I'm sorry.                  2       Q. Okay. Does her name appear anywhere in
   3        Q. The application in front of you is for          3   Exhibit 1 to Alien Invasion II?
   4   Abby Focht, right?                                      4       A. I suspect you know the answer to that, and
   5        A. Right.                                          5   I might not.
   6        Q. Okay. Same questions as before. There's         6       Q. The answer is no.
   7   an address there, correct, for her?                     7       A. Okay.
   8        A. There's an address.                             8       Q. Okay. And so Ms. Focht -- PILF had no
   9        Q. Phone number?                                   9   basis for saying that Ms. Focht is a noncitizen,
  10        A. Yes.                                           10   correct?
  11        Q. Okay. She also had checked, "are you a         11       A. I don't think she was -- I'm sorry.
  12   citizen of the United States of America," yes,         12          MR. DAVIS: Just so -- this exhibit does
  13   correct?                                               13   have some sort of a legend on the bottom right that's
  14        A. She did that, yes.                             14   not legible, but -- and it may be no more than a
  15        Q. And so with respect to Ms. Focht, you had      15   receipt.
  16   the same amount of information about her as you did    16          MR. TEPE: Right, I think it's just a
  17   about -- actually strike that.                         17   received date.
  18        So can you find Ms. Focht's name in the           18       Q. Mr. Adams, the question is, you understand
  19   cancellation list?                                     19   that her application was posted as part of Exhibit 12
  20        A. Well, for starters, it might be on the         20   to Alien Invasion II, correct?
  21   face of this document, but this is a bad copy, and     21       A. Well, that's interesting, because she
  22   there's a notation here that I can't read on this      22   wasn't part of the tally. I think we can agree on
  23   document. So putting that aside, do you want --        23   that. Because we've had a lot of testimony here that
  24        Q. It's a received stamp, right?                  24   the tally number was based only on the statewide
  25        A. Okay. Putting that aside, do you want me       25   VERIS reports. So that would certainly take her


                                                                             49 (Pages 190 to 193)
                             TSG Reporting - Worldwide               877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 51 of 129 PageID# 5627

                                              Page 194                                                     Page 195
   1   outside of all the characterization that you were        1       Q. Okay. Let's go to page 16 of the report.
   2   asking about relating to felonies.                       2       A. 16?
   3       But my understanding is, is that she was             3       Q. 16. There are a few recommendations at
   4   inadvertent -- first of all, she was given to us by      4   the end of your written report, right,
   5   York, I think, as a responsive document request -- a     5   Recommendations and Solutions at the top?
   6   response to a document request -- that York gave to      6       A. Right.
   7   us in response to our request. She was inadvertently     7       Q. Okay. And one of those recommendations is
   8   posted. And my understanding is, within moments of       8   last checkbox here on the right-hand side, "law
   9   being informed of this, her name was removed. And it     9   enforcement at both the federal and state levels
  10   was an inadvertent inclusion.                           10   should exercise their authority to prosecute cases of
  11       Q. Okay. So I think you're referring to the         11   voter fraud," right? Do you see that?
  12   fact that PILF removed her application and those of     12       A. Right, but I don't think that answers your
  13   50 others at one point after publication on the         13   question.
  14   Internet.                                               14       Q. "Voter registration and voting history
  15       A. Right. These applications were given to          15   records such as those contained in this report make
  16   us by the registrars responsive to our request. They    16   prosecution an easy task," correct?
  17   were included in the full disclosure of responsive      17       A. Right.
  18   documents, right. How they were characterized is        18       Q. Okay. And so PILF was advocating that law
  19   subject to dispute. And as soon as we heard that she    19   enforcement look at the records to attach to Alien
  20   should not have been given to us by the government      20   Invasion II and engage in prosecutorial activity,
  21   official, we removed the document.                      21   correct?
  22       Q. Okay. Now PILF advocated using the               22       A. No.
  23   exhibits to Alien Invasion II to prosecute              23       Q. No?
  24   individuals, correct?                                   24       A. No. I think you misunderstand all of
  25       A. That's an oversimplification.                    25   this. What PILF was advocating is that prosecutors,

                                              Page 196                                                     Page 197
   1   A, start taking voter fraud seriously, which we say,     1       A. No, you're misstating a vast amount of
   2   and, two -- and, believe me, we have a lot of            2   records.
   3   experience with this because in some places they take    3       (Clarification by reporter.)
   4   it seriously and in some places they don't.              4       Q. It says right here, Cancellation --
   5        And in this particular case we were advocating      5   Declared Noncitizen.
   6   investigative activity where prosecutors,                6       A. Right.
   7   particularly the Justice Department, would have          7       Q. Right? There's a column that says "cancel
   8   access to original records that we did not have and      8   date," right?
   9   could make determinations as to which, if any, of        9       A. Right. And there's a heading that says
  10   these were crimes without the voter even having any     10   "noncitizen."
  11   awareness that it was occurring.                        11       Q. And then there is a "cancel type," right?
  12        And that's what we've been advocating and will     12       A. Noncitizen.
  13   continue to advocate. Because the way the Justice       13       Q. Right, it says "declared noncitizen." So
  14   Department works is you can have an investigation to    14   this is a list of cancellations --
  15   get to the bottom of this problem without any contact   15       A. Of noncitizens.
  16   of the voter whatsoever.                                16       Q. -- of people.
  17        Q. Well, if you -- you've identified five          17       A. Noncitizens.
  18   thousand -- in Alien Invasion II, 5,556 noncitizens,    18       Q. And so what you're saying is all these
  19   correct?                                                19   people are noncitizens.
  20        A. Well, that's what the state did. We             20       A. No, that's what the state was saying,
  21   didn't. They identified it.                             21   election officials who we consulted with in relation
  22        Q. Well, no, they didn't identify 5,556            22   to the preparation of this report.
  23   noncitizens. They gave you a list.                      23       For example, as I indicated, Ann Leider of --
  24        A. No, but it was a list of noncitizens.           24   the Alexandria general registrar, told us these are
  25        Q. It was a list of people canceled.               25   noncitizens who admitted they were noncitizens under


                                                                              50 (Pages 194 to 197)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 52 of 129 PageID# 5628

                                              Page 198                                                     Page 199
   1   oath in a subsequent filing.                             1   problem, and you work the cases up internally. And
   2       Q. Well, then --                                     2   you eventually, eventually go to a grand jury with
   3       A. So --                                             3   cases that you have determined are foolproof and
   4       Q. Okay. But if these are noncitizens and            4   ironclad.
   5   you're so confident of that, then why would              5       Sometimes you get admissions on Immigration
   6   prosecutors have to investigate?                         6   and Naturalization forms under question 12, and you
   7       A. Of course -- well, first of all, your             7   take those cases, and those are the ones you pursue.
   8   question, "so confident," I don't understand what you    8   You don't start knocking on doors. And DOJ would
   9   mean by that. I'm confident that there's fertile         9   never do that. And I have experience and knowledge
  10   territory here for investigators to commence            10   in that area to know that the voters would be
  11   investigative activities. Why would they have to do     11   protected by false-positives in the state reports.
  12   it? Let me answer your question.                        12   And I relied on that experience and knowledge to know
  13       You don't simply walk into a prosecutorial          13   that they would not endure the sorts of nonsense that
  14   posture and file charges based on our report. That's    14   some might argue these reports triggered.
  15   absurd. I referred to it as virtually turnkey. That     15       They aren't going to have willy-nilly
  16   "virtually" meant something. It meant a lot.            16   prosecutions. There's a process in place, a careful
  17       And what it meant was that the U.S. Attorney's      17   process, that the Justice Department prosecutors will
  18   Office could take this list -- and I guarantee you      18   use before the voter even knows what's happening.
  19   there's noncitizens in here, and I guarantee you that   19   And I have firsthand awareness of that because of my
  20   at some point some are going to be prosecuted.          20   time at the Justice Department.
  21       And you take the list of potential noncitizens      21       Q. You called this a list of potential
  22   and you start running your traps internally at DOJ,     22   noncitizens, correct?
  23   you start doing the legwork, the hard work that goes    23       A. I'm sorry?
  24   into it to take the tips that we have given to the      24       Q. In your lengthy answer, you referred to
  25   government about what we believe to be a serious        25   this as a list of potential noncitizens, right?


                                              Page 200                                                     Page 201
   1       A. I said there are certainly noncitizens on         1   noncitizens.
   2   this list. There's no question about that --             2        Q. Okay. And so the question remains, if
   3       Q. Okay.                                             3   these are confirmed noncitizens, why does DOJ have to
   4       A. -- that this list contains the names of           4   go through all this effort?
   5   noncitizens who should be prosecuted for registering     5        A. Because we live in America, and one of the
   6   and voting in the Commonwealth of Virginia. There's      6   great things about our country is we have process and
   7   no doubt about it --                                     7   we have the right to speak, we have the right to
   8       Q. Okay.                                             8   associate, we have the right to petition. And people
   9       A. -- and ...                                        9   who are noncitizens on the rolls have a right to have
  10       Q. And so -- and so this list (indicating)          10   a process involved. We don't knock doors down and
  11   that was published as Exhibit 1 is a list of            11   drag people away. We have investigators, like I used
  12   potential noncitizens.                                  12   to do when I was at the Justice Department, look at
  13       A. Well, I'm not disputing the fact that you        13   cases carefully, get the records from DHS. They have
  14   have alleged in your complaint that Mr. Bonilla is a    14   a wealth of information at DHS to determine whether
  15   citizen. I'm not going to sit here and make those       15   or not these names are in fact citizens, information
  16   sorts of ridiculous assertions. He says he's a          16   I didn't have, information PILF didn't have.
  17   citizen. I assume he said it under oath at his          17        Q. And -- go ahead.
  18   deposition, and I'm not going to contest that. So       18        A. Go ahead.
  19   there's obviously somebody on the list that's a         19        Q. And speaking of process, as you understand
  20   non -- that's a citizen.                                20   it, when someone at the DMV perhaps marks "no" in the
  21       Q. In your answer explaining why prosecutors        21   checkbox for "are you a U.S. citizen," okay, that
  22   would have to do an investigation, you said, "and you   22   triggers a process by the DMV and the Department of
  23   take the list of potential noncitizens and you start    23   Elections, right?
  24   running your traps internally at DOJ."                  24        A. No -- well, somewhat. You're partially
  25       A. I misspoke. The list of declared                 25   correct. And I assume you're talking about a voter


                                                                               51 (Pages 198 to 201)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 53 of 129 PageID# 5629

                                              Page 202                                                     Page 203
   1   registration application. You didn't say that in         1   and that individual facing these questions a second
   2   your question, but I assume that's correct.              2   time says, to the citizenship question, under oath,
   3        Q. No, people have already -- people have           3   are you a citizen, they say no. That's how everybody
   4   already -- they are already on the rolls.                4   got on this list, is they made an under-oath
   5        A. Yeah, then you don't understand how this         5   affirmation at some point that they were not a
   6   works.                                                   6   citizen.
   7        Q. Okay. So let me -- let me ask the                7        Q. After making an under-oath affirmation
   8   questions to figure that out. Okay.                      8   that they were a citizen.
   9        So Ms. Freeman, take her as an example, she         9        A. Most recent is most valid, and admissions
  10   had already registered to vote, okay.                   10   against interest carry more weight than the previous
  11        A. I accept your premise.                          11   one.
  12        Q. Okay. And then, as you understand it,           12        Q. Okay. So --
  13   this declared noncitizen cancellation list is           13        A. Wait, there's more. Then the state -- go
  14   triggered by some contrary information being            14   ahead.
  15   indicated at the DMV, right?                            15        Q. So then if someone reregistered by
  16        A. You're underplaying the contrary                16   affirming their citizenship, then that is the most
  17   information. Let's talk about what that is.             17   valid, right, under your construction?
  18        Q. Okay. No, you already said that's someone       18        A. Not necessarily -- there's a lot of
  19   saying no, right, in the checkbox?                      19   different contrary examples.
  20        A. No, you're totally minimizing this. What        20        Q. So which is it?
  21   it is, is somebody going back to DMV for any point of   21        A. It's not a binary choice.
  22   contact with the division -- the Department of Motor    22        (Clarification by reporter.)
  23   Vehicles. On the screen is the same original voter      23        Q. You said that the second affirmation -- I
  24   registration application they got in the first place.   24   should say the second answer at the motor vehicles,
  25        Up pops do you want to register to vote again,     25   the most recent is most valid, that's what you said,


                                              Page 204                                                     Page 205
   1   right?                                                   1        A. Yeah, I follow what you're getting at.
   2       A. There's much more to it than just that.           2   You don't understand some things --
   3   You are -- there's a context here. I did say that,       3        Q. I'm asking a question here.
   4   but there's a whole context here.                        4        A. Yeah.
   5       Q. No, I understand that you sort of want to         5        Q. Right. And so under that timeline of
   6   dress it up, but --                                      6   events, the most recent is valid, and that would be
   7       A. And that's argumentative.                         7   their reregistration, correct?
   8          MR. DAVIS: Objection. This is getting             8        A. Nope.
   9   argumentative.                                           9        Q. Why not?
  10       Q. But you said the most recent is most             10        A. Because the most recent doesn't always
  11   valid, so in trying to --                               11   address what the citizenship state was in the prior
  12       A. In context --                                    12   two moments. You are wrong in your assumption. That
  13       Q. So in trying to understand that, in trying       13   is not what I testified to, and your hypothetical is
  14   to understand that, if someone reregisters after        14   invalid. You don't understand how it works.
  15   being canceled, that would be the most recent in the    15        Q. I know, you keep on telling me I don't
  16   timeline of events, correct?                            16   understand, but, you know, that's why I'm asking
  17       A. Not always.                                      17   these questions and to get at what it is. And so why
  18       Q. Okay. So you have a registration, a              18   is it, in my hypothetical, why is it the most recent
  19   cancellation, and a reregistration, right, in that      19   is not valid? Why is --
  20   order, right?                                           20        A. Depends what the most recent is. If the
  21       A. Well, but there could have been --               21   most recent is registration with an affirmation yes,
  22       (Clarification by reporter.)                        22   there could have been an intervening naturalization.
  23       Q. Can you follow me --                             23   Your hypothetical completely omitted that,
  24       A. Whoa, whoa, whoa.                                24   deliberately I suspect.
  25       Q. Can you follow me?                               25        And there could have been an intervening


                                                                               52 (Pages 202 to 205)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 54 of 129 PageID# 5630

                                             Page 206                                                     Page 207
   1   naturalization in that context, and often there is,     1        Q. You don't know?
   2   by the way. That is why people get off the rolls is     2        A. Nope, I do not know if it's still on it
   3   because DHS has question 12 that says have you ever     3   today. We could break and I can login. It probably
   4   registered to vote.                                     4   is, but I can't say that with certainty because I
   5        And so all of these folks seeking to               5   haven't checked.
   6   naturalize are suddenly alerted to the problem they     6        I prepared a lot of ways for this deposition,
   7   have been on the voter rolls. That's how we're          7   but going to check on whether or not the report is
   8   finding this all over the country.                      8   still posted is not one of them.
   9        So what happens is they -- they take               9        Q. Well, you didn't tell anyone to take it
  10   themselves off the rolls or they're canceled as a      10   down, did you?
  11   noncitizen. Then they naturalize and they              11        A. I didn't, but that wouldn't necessarily
  12   reregister. But that third registration in your        12   mean it wouldn't be taken down. But I don't know if
  13   hypothetical does not have relevance necessarily to    13   it's on the website. I will assume for the purposes
  14   the question of their citizenship during the first     14   of your question that it is.
  15   two registrations because of the intervening           15        Q. And so you're still calling people who may
  16   naturalization.                                        16   in fact be citizens noncitizens, correct?
  17        Q. But still your reports are on PILF's           17        A. Look, if you want -- if you want us to
  18   Internet website, correct?                             18   take it down, make an offer.
  19        A. Okay. You've asked me a different topic        19        Q. Okay. This is sort of a deposition here,
  20   now? I'm sorry. Reports are on the website?            20   and so I'm asking you questions.
  21        Q. Yes. The Alien Invasion II report is           21        A. And I answered it.
  22   still on PILF's website.                               22        Q. And the question is: Is it the case that
  23        A. I answered that.                               23   you are calling people who may in fact be citizens
  24        Q. Right? It's still on it today, right?          24   noncitizens as of today on your website?
  25        A. I don't know.                                  25        A. As it relates to the three plaintiffs in

                                             Page 208                                                     Page 209
   1   this case, no, that's not accurate. As it relates to    1        Q. But -- and you still take the position
   2   two plaintiffs in this case, quite possibly. As         2   that they're noncitizens; is that -- is that fair?
   3   relates to the third plaintiff, that was cured long     3        A. I still take the position that the
   4   ago.                                                    4   government document says what it says. I still take
   5        Q. Okay. Can you specify who you're                5   the position -- and I testified about this earlier --
   6   referring to in your answer?                            6   that Bonilla testified under oath that he is a
   7        A. Well, I think Abby -- help me here -- Abby      7   citizen.
   8   Jo --                                                   8        Q. So just to make sure we're on the same
   9        Q. Gearhart.                                       9   page here, it is your belief sitting here today that
  10        A. -- Gearhart, that's long since been taken      10   there are citizens listed in Exhibit 1 to the Alien
  11   down.                                                  11   Invasion II report posted on your website, correct?
  12        Q. Right, she's been taken down.                  12        A. Bonilla has testified under oath he is a
  13        A. So one of the plaintiffs --                    13   citizen, and I have no reason to doubt him, and the
  14        Q. Okay.                                          14   government document listing him as a noncitizen is
  15        A. One of -- okay. You asked the question;        15   still posted because that in itself is a problem that
  16   let me answer it.                                      16   the government is removing citizens from the voter
  17        One of the plaintiffs, their name is no longer    17   rolls.
  18   anywhere on the website.                               18        Q. Okay. So Mr. Bonilla, even though you are
  19        Q. And then --                                    19   not challenging his citizenship, his citizenship
  20        A. And that happened instantly.                   20   testimony under oath, is still listed in Exhibit 1,
  21        Q. And then Bonilla and Freeman, they're          21   which, according to your report, is a list of 5,556
  22   still on the website?                                  22   noncitizens.
  23        A. The government documents listing them as       23        A. You've asked and answered -- I've answered
  24   noncitizens are probably still posted. I have not      24   this question a lot, different ways, always the same.
  25   checked that. You asked me if I know, and I don't.     25        Q. So he's being still put in PILF's 5,556


                                                                             53 (Pages 206 to 209)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 55 of 129 PageID# 5631

                                              Page 210                                                     Page 211
   1   noncitizen bucket, correct?                              1        A. I'm not calling him anything.
   2        A. I've asked and answered that question.           2        Q. True. Alien Invasion II is, correct?
   3        Q. The answer is yes?                               3        A. I just testified that the reports are up
   4        A. Do you want me to say it over and over           4   there. They speak for themselves. I don't have
   5   again?                                                   5   anything else to add.
   6        Q. I have not asked that particular question        6        Q. So you have Alien Invasion II in front of
   7   at all until just now.                                   7   you. I want you to maybe put it all in one stack,
   8        A. Okay. Let me try to resolve this. Mr. --         8   but then pull out Exhibit 1. Because you might want
   9   the exhibit containing Mr. Bonilla's name is still       9   to have Exhibit 1 handy -- or not.
  10   posted at the website most likely, though I have not    10        Alien Invasion II was published May 2017,
  11   checked it today.                                       11   right?
  12        Q. And so since he is still posted on the          12        A. I think so.
  13   website in Exhibit 1, Exhibit 1 is where you have the   13        Q. In February of 2017, PILF was told
  14   list of what PILF calls 5,556 noncitizens, then it is   14   explicitly by James City County registrar that the
  15   still PILF's position as of today that Mr. Bonilla is   15   people listed in the cancellation report -- which
  16   a noncitizen.                                           16   sometimes people call the VERIS report, correct?
  17        A. Let me try to -- no, let me try to answer       17        A. I call it the declared noncitizen report.
  18   this once and for all so it's very clear. The Alien     18        Q. Okay. Well, PILF was told explicitly by
  19   I and II are both posted. Most likely still, I can      19   the James City County registrar that the people
  20   check during a break, and the attachments are still     20   listed in that cancellation report were not
  21   posted. I don't know how else to answer that            21   necessarily noncitizens, correct?
  22   question.                                               22        A. I don't know. If you have a document to
  23        Q. And so you are still calling Mr. Bonilla a      23   refresh my recollection, I'd be happy to look at it.
  24   noncitizen.                                             24        Q. So you don't recall --
  25           MR. DAVIS: Objection to form.                   25        A. I don't recall right now. If you have a

                                              Page 212                                                     Page 213
   1   document to refresh my recollection, I'm happy to        1        A. Okay. All the counties -- I think James
   2   look at it.                                              2   City was on the list. All the counties on that one
   3               (PILF Exhibit 15 marked for                  3   list in Alien I were asked for this, and I can
   4         identification: Email correspondence               4   double-check to make sure.
   5         from (topmost) D Moorman sent                      5        Q. No need, because --
   6         2/15/2017 with attachment                          6        A. It was. I just double-checked.
   7         PILF-ADAMS-0013464 - 0013471)                      7        Q. Okay.
   8         MR. TEPE: The court reporter has handed            8        A. James City is on the list.
   9   the witness what's been marked as PILF Exhibit 15,       9        Q. James City was asked, and then they didn't
  10   Bates number 13464.                                     10   provide the records because, presumably, they were
  11       Q. Do you recognize this document?                  11   following the position that they couldn't provide it
  12       A. I don't remember reviewing this for this         12   because the information was protected under the
  13   deposition, but I see it in front of me.                13   MPPA -- the DPPA, excuse me.
  14       Q. Okay. So it begins with an email from            14        A. I'm sorry. What was the question?
  15   Noel Johnson dated February 15th, 2017 to Dianna        15        Q. So PILF made a request for the
  16   Moorman. Do you see that?                               16   cancellation report in August. As of this date,
  17       A. I see that.                                      17   February, you hadn't gotten it, correct?
  18       Q. You can tell from the document that Dianna       18        A. It probably -- that's obviously --
  19   Moorman was the general registrar of James City         19        Q. Right. And so here Mr. Johnson asks for
  20   County?                                                 20   it again, and then Ms. Moorman responds the same day,
  21       A. Right.                                           21   February 15th, correct?
  22       Q. Okay. And this email from Mr. Johnson may        22        A. Right.
  23   refresh your recollection. So apparently James City     23        Q. And she attaches the requested report of
  24   was asked in August of 2016 for records under the       24   James City County, right?
  25   NVRA, specifically the cancellation report, correct?    25        A. Right.


                                                                               54 (Pages 210 to 213)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 56 of 129 PageID# 5632

                                              Page 214                                                    Page 215
   1       Q. And then she says:                                1   the information provided by the state would not
   2          Please note that many of these                    2   include such individuals.
   3          simply were because they failed to                3       Q. Okay. So --
   4          check the 'are you a U.S. citizen                 4       A. As a matter of fact, we acted on it.
   5          box' on the voter registration                    5               (PILF Exhibit 16 marked for
   6          application, not because they are                 6          identification: Email correspondence
   7          actually a noncitizen, and have                   7          from (topmost) D Moorman sent
   8          since reregistered with an                        8          2/16/2017 with attachment
   9          acceptable completed application.                 9          PILF-ADAMS-0013091 - 0013109)
  10       Do you see that?                                    10          MR. TEPE: The witness has been handed
  11       A. I do, but that's meaningless.                    11   what's been marked as Exhibit 16 with the Bates
  12       Q. Your testimony is that what the registrar        12   number 13091.
  13   of James City County told you is the fact that the      13       Q. Do you see that? So this is a
  14   people on the list that she is providing are not        14   continuation of the correspondence between
  15   necessarily noncitizens is meaningless, that's your     15   Mr. Johnson and Ms. Moorman, correct?
  16   testimony?                                              16       A. A continuation ... do you have -- do you
  17       A. That's part of my testimony. The entire          17   have the full communication?
  18   whole of my testimony is that, based on this concern,   18       Q. I said it's a continuation. We just
  19   I believe, we contacted the state election director     19   looked at a document where Ms. Moorman tells PILF
  20   in regards to these concerns. And we asked the state    20   that the people on the list may not be noncitizens,
  21   election director both for the state report and         21   right? We just looked at that document.
  22   whether or not the state report had individuals of      22       A. Okay. I have -- yes, I have Exhibit 16.
  23   the nature that Ms. Moorman was describing.             23       Q. That's not the question. The question is:
  24       And the state election director very clearly        24   Ms. Moorman told PILF that, please note, many of
  25   alleviated our concerns that Ms. Moorman raised that    25   these simply were because they failed to check the


                                              Page 216                                                    Page 217
   1   "are you a citizen box" on the voter registration        1        A. Right.
   2   application, not because they are actually               2        Q. And so I want to direct your attention to
   3   noncitizens.                                             3   the voter registration status column. Do you see
   4       A. Well, first of all, it's not -- okay.             4   that?
   5       Q. Excuse me. I'm asking a question. All             5        A. Voter registration status, got it.
   6   right? And so you see that right there --                6        Q. Right. And so the first person is Tierra
   7       A. I see --                                          7   Gregory, now registered in Richmond City. Do you see
   8       Q. -- correct?                                       8   that?
   9       A. I see it says that.                               9        A. Right.
  10       Q. Okay. Mr. Johnson responds two minutes           10        Q. And then underneath that is Deborah Watts,
  11   later saying, thank you, and then asks for additional   11   reregistered in JCC. That's James City County,
  12   records including the voter registration                12   right?
  13   applications, right?                                    13        A. I don't know.
  14       A. It says that.                                    14        Q. You don't know?
  15       Q. Okay. And then Ms. Moorman responds later        15        A. I don't.
  16   that day -- actually the next day, on February          16        Q. Okay. So you're not sure if JCC refers to
  17   16th -- saying, "Good afternoon. I have attached a      17   James City County?
  18   spreadsheet with the 51 names, including current        18        A. That was the answer I just gave you.
  19   registration status and full voting history of each     19        Q. Okay. Even though she told you that --
  20   individual." Okay. So that's attached, correct?         20   all right. I'll move on.
  21       A. There's a document attached.                     21        So can you count up how many times in this
  22       Q. Okay. Let's look at that document. It            22   document PILF was informed that people had
  23   appears to be a copy of the cancellation report in an   23   reregistered in JCC?
  24   Excel spreadsheet with some additional columns,         24        A. No, I can't, because we asked the state
  25   correct?                                                25   election director.


                                                                              55 (Pages 214 to 217)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 57 of 129 PageID# 5633

                                              Page 218                                                      Page 219
   1       Q. You can't answer my question?                     1   here, PILF was told they reregistered in James City
   2       A. Well, because the answer is zero.                 2   County, correct?
   3       Q. No, no, no. It's right in front of you.           3       A. By the -- by the local election official,
   4   I'm sorry. Maybe this is getting confusing.              4   which was later contradicted by the state.
   5       But the spreadsheet in front of you, PILF was        5       Q. And -- and this list also says that ten
   6   provided with the registration status of these           6   people of the 51 had reregistered in other
   7   individuals, correct?                                    7   jurisdictions, correct?
   8       A. Right, in this document it is, but --             8       A. I mean, the document speaks for itself.
   9       Q. But so just bear with me. And so my               9       Q. And so PILF was aware, as of February
  10   question is, can you count how many times -- how many   10   16th, 2017, before Alien Invasion II was published,
  11   individuals had reregistered in JCC?                    11   that 30 of the 51 people on the VERIS report or this
  12       A. Well, ultimately, the answer is zero             12   cancellation list had reregistered.
  13   because the state -- we asked the state specifically    13       A. That is not correct.
  14   this question, and we said to the state, how many       14       Q. No, no --
  15   people on your cancellation list reregistered, and      15       A. Can I answer your question, please?
  16   the state said zero.                                    16       Q. Okay. Sure.
  17       Q. Okay.                                            17       A. PILF was aware that this local registrar
  18       A. So this information became irrelevant.           18   thought that, and that is precisely why you go to the
  19       Q. Okay. So I guess I'll have to count for          19   state to find out what the accurate information is,
  20   you. So one, two, three --                              20   and that's exactly what we did.
  21       A. Well, that's what it says in the document.       21       We went to the state and asked the question,
  22       Q. -- seven, eight, nine, ten, 11, 12 --            22   give us a list of noncitizen cancellations for all
  23   (counting) ... 19, is that what I got? I think I        23   the jurisdictions and tell us whether or not they
  24   might have missed one.                                  24   reregistered.
  25       I believe there's 20 of the 51 people listed        25       The state affirmatively answered us and said

                                              Page 220                                                      Page 221
   1   nobody on our list reregistered. It contradicted         1   information was -- was contradicted or superseded by
   2   what a local official may have said, and, frankly,       2   direction from the state election director.
   3   under HAVA and Help America Vote Act, the state          3       Q. It would be terrific if when we see you
   4   election officials, the chief election official for      4   again on Monday you identify this, this question.
   5   the state who is in charge of list maintenance.          5       A. Well, we put it -- we published it in the
   6       So, no, I would disagree with you that we had        6   Alien II. We directly give the response in Alien II
   7   information they reregistered, because that              7   to our inquiry where the state election director
   8   information was later directly contradicted by the       8   specifically says the people on the noncitizen
   9   state director of elections.                             9   cancellation list I gave you did not reregister.
  10       Q. Okay. Can you point me to the document in        10       This was on our radar. We took prudent steps
  11   which you asked the Virginia Department of Elections    11   to be sure that it didn't include reregistrations,
  12   for a list of noncitizen cancellations for all the      12   and the state election director responded in writing
  13   jurisdictions and tell us whether or not they           13   and we republished his -- his email and we relied on
  14   reregistered?                                           14   it.
  15       A. I'm sure you have it in your binder. I           15       Q. Yeah, again, you know, perhaps you can
  16   cannot point it to you right now.                       16   identify that document on Monday, because I'm not
  17       Q. Neither can I.                                   17   aware of it existing.
  18       A. Well, we most certainly did ask. And we          18       A. Well, I've seen it, and I've seen it in
  19   asked the -- we asked the state election director for   19   discovery responses.
  20   the list of noncitizen cancellations, and we followed   20       Q. So as of this date PILF was on notice that
  21   up by asking, did anybody on this list reregister,      21   30 people had reregistered, correct?
  22   and the answer, in writing, was no.                     22          MR. DAVIS: Objection to form,
  23       And the only list we relied on is what the          23   mischaracterizes the testimony.
  24   state gave us and guaranteed that there were no         24       Q. PILF was aware from James City County, had
  25   reregistrations on it. So this James City               25   information from James City County, that 30 of the 51


                                                                               56 (Pages 218 to 221)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 58 of 129 PageID# 5634

                                               Page 222                                                     Page 223
   1    people on the cancellation report had reregistered,      1       Q. Maybe you can take a look at the break,
   2    correct?                                                 2   but if you do, you will see that each of these 30
   3         A. Incorrect.                                       3   individuals who James City told PILF had reregistered
   4         Q. The document you were just looking at --         4   were included in Exhibit 1.
   5         A. Is incorrect.                                    5       A. Because the state election director
   6         Q. -- had information on it.                        6   contradicted the information of James City or
   7         A. It's incorrect.                                  7   Ms. Moorman. That's exactly why, because the state
   8         Q. Right.                                           8   election director, very explicitly, without any
   9         A. Incorrect information.                           9   ambiguity, told us, upon our request, that none of
  10         Q. And --                                          10   these individuals reregistered.
  11         A. And the basis for me to say it was              11       And, I'm sorry, rock beats scissors. When a
  12    incorrect is because the state election director said   12   chief election official of a state who, under the
  13    that nobody on the list we published was                13   Help America Vote Act, is the designated list
  14    reregistered.                                           14   maintenance officer for the state, tells you that
  15         Q. Each of these 30 individuals who are            15   they didn't reregister, you have to conclude that the
  16    listed in the exhibit in front of you were included     16   state election director is correct and the email of
  17    in Exhibit 1 to Alien Invasion II, correct?             17   February 15th must be incorrect.
  18         A. I don't know.                                   18       Q. So you never actually -- PILF never
  19         Q. Why don't you go check.                         19   actually compared the list that you got from James
  20         A. I can't find it. Do you have a page             20   City County to the list of cancellations you got from
  21    number?                                                 21   the Department of Elections.
  22         Q. You know, it's -- this is -- it's right         22       A. I don't know the answer to that question.
  23    there in the stack.                                     23       Q. Well, if you had, you would have raised
  24         A. Well, if you'll indulge me, I'll go             24   the fact that there are people who the jurisdiction
  25    through it.                                             25   says reregistered on your list. You would have


                                               Page 224                                                     Page 225
   1   raised that with the Virginia Department of               1   an exhibit.
   2   Elections, wouldn't you?                                  2       Q. Yeah. And PILF didn't include a notation
   3       A. We raised the issue with the Virginia              3   in Alien Invasion II regarding the fact that you had
   4   Department of Elections about the potential of            4   some information indicating reregistrations and some
   5   reregistration on the list that they were giving us,      5   information apparently saying they were in canceled
   6   and the Virginia Department of Elections very             6   status.
   7   explicitly, as republished in Alien II, gave us the       7       A. It's not apparently. You've -- it's not
   8   answer that they did based on that inquiry we made.       8   apparently. The state election director provided
   9   We took prudent steps to go straight to the top --        9   extraordinarily crystal-clear responses on this
  10       Q. Okay.                                             10   question, and we relied on those responses. They
  11       A. -- to get -- to get the answer from the           11   were consistent with a variety of other information
  12   chief election official whether or not this was an       12   and experience, and we have to rely on the state
  13   issue, and he said it wasn't.                            13   election director. If they --
  14       Q. So, again, if you can identify the                14       Look, it boils down to this. If the state
  15   specific correspondence which overruled James City       15   election director had had a different answer, Alien
  16   County, that would be terrific.                          16   II wouldn't have been published, more than likely, or
  17       A. It's been provided to you. I think you            17   it would have been published differently.
  18   even asked -- in previous depositions your co-counsel    18       Q. Why? Because Alien Invasion I was
  19   were asking questions about the document. That's         19   published, and you already knew that the lists
  20   another place I've seen it. So I know that it's          20   contained people who had reregistered.
  21   there.                                                   21       A. That's not true.
  22       Q. Yeah. So PILF didn't publish the                  22       Q. Yes.
  23   spreadsheet that is contained here from James City       23       A. That's not --
  24   County with Alien Invasion II, correct?                  24       Q. You were here for Mr. Johnson's
  25       A. Speaks for itself. I don't believe it's           25   deposition, weren't you?


                                                                                57 (Pages 222 to 225)
                             TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 59 of 129 PageID# 5635

                                              Page 226                                                    Page 227
   1       A. Alien II relied on the state election            1   finish his answer.
   2   director telling us this wasn't a problem.              2        Q. Fair enough. Go ahead.
   3       Q. And Alien Invasion I --                          3        A. Okay. Your question was were there people
   4       A. We didn't ask for Alien I -- we didn't ask       4   on the report that later reregistered. That does not
   5   the state election director in Alien I.                 5   speak to the question necessarily of whether or not
   6       Q. Alien Invasion I -- you were here when           6   there were noncitizens on the rolls. You can
   7   Mr. Johnson testified -- you were here, right?          7   subsequently reregister to vote once you naturalize.
   8       A. Right, and that deals with --                    8        And so during Alien II, we specifically asked
   9       Q. And in that deposition even before Alien         9   the state, are any of the names that you're giving us
  10   Invasion I PILF knew that people who had registered    10   on the noncitizen cancellation report, do they
  11   to vote remained on the cancellation reports,          11   contain anybody who later reregistered. So it's even
  12   correct?                                               12   a more robust analysis in Alien II.
  13       A. People who -- they had all reregistered to      13        Q. Okay. So I know you want to talk about
  14   vote at some point.                                    14   things other than my questions.
  15       Q. People who had reregistered to vote --          15        A. I answered your question.
  16       (Clarification by reporter.)                       16        Q. But my question was, was this: Before
  17       Q. I will ask it again. Even before Alien          17   Alien Invasion I was published, PILF knew that people
  18   Invasion I, PILF knew that people who had              18   who had reregistered to vote remained at least on the
  19   reregistered to vote remained on the cancellation      19   Bedford County cancellation report, correct?
  20   reports, correct?                                      20        A. And my answer to you before is the same as
  21       A. And that was a naturalization issue,            21   it is now, that the prospect of naturalization could
  22   and the only --                                        22   explain that phenomena, and by the time you got to
  23       Q. Did you check with all those people and         23   Alien II we went and we asked the state election
  24   confirm that?                                          24   director about this possibility.
  25          MR. DAVIS: Let him answer. Let him              25        Q. You asked the state election director


                                              Page 228                                                    Page 229
   1   about naturalization?                                   1       A. I wasn't here for the whole deposition,
   2       A. No, about people reregistering.                  2   and you know that.
   3       Q. Yeah, again, I don't see that                    3       Q. Yeah, no, this -- I think you were here
   4   correspondence.                                         4   for this part. But, nonetheless, you're supposed to
   5       A. You know it exists because it's been             5   be prepared today, correct?
   6   turned over in discovery and your co-counsel has        6       A. But not about his deposition I'm not, and
   7   asked questions about it during depositions.            7   you're asking me questions about it.
   8       Q. Right, but that document is different from       8       Q. Part of his deposition is part of, you
   9   the one you're describing. That's why I'm a bit         9   know, the record of what PILF knew, right, because he
  10   flummoxed.                                             10   was testifying about what PILF knew at the time.
  11       A. No, it's not.                                   11       A. Is there a question?
  12       Q. But here -- back to my questions.               12       Q. I'll withdraw it.
  13   Mr. Johnson confirmed that Bedford County informed     13       But if you look at the transcript, since you
  14   PILF that 18 of 35 people listed in the cancellation   14   seem unsure, Mr. Johnson did confirm that Bedford
  15   report they supplied had reregistered, right?          15   County informed PILF that 18 of the 35 people listed
  16       A. I don't know.                                   16   in the Bedford County cancellation report had
  17       Q. You were here.                                  17   reregistered.
  18       A. I don't have the transcript in front of         18          MR. DAVIS: Is there a question there?
  19   me. If you want to show me the transcript --           19       A. Is there a question?
  20       Q. It was just last week.                          20       Q. Isn't that true?
  21       A. Doesn't mean I remember everything about        21       A. I don't know. I'd need to see the
  22   it.                                                    22   transcript.
  23       Q. He marked it off. He was making                 23       Q. Do you want to look at the markup that we
  24   checkmarks and saying like, yes, this person, you      24   did?
  25   know, we have information --                           25       A. If it's that important and you want to


                                                                              58 (Pages 226 to 229)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 60 of 129 PageID# 5636

                                              Page 230                                                     Page 231
   1   show it to me, I'm happy to answer whatever questions    1   can see that's the second email in the chain dated
   2   you have for me.                                         2   February 1st -- sent a copy of the cancellation
   3        Q. Well, I think the record in the Johnson          3   report that you requested.
   4   deposition probably stands on its own. So let's talk     4       A. He sent -- it seems to be attached to this
   5   about some other jurisdictions.                          5   email. It says start date 1/01. It's the declared
   6        We covered Bedford County with Mr. Johnson.         6   noncitizen cancellation report.
   7   We just talked about James City. In February of          7       Q. Okay. Mr. Adams, can you stay with me?
   8   2017, the York County registrar informed PILF that       8   So my question is --
   9   currently registered people, then currently              9       A. Yes, I can stay with you.
  10   registered people appeared listed in the cancellation   10       Q. -- Mr. Latham emailed Mr. Johnson on
  11   reports, correct?                                       11   February 1st saying, "based on the Order you
  12        A. I don't know. If you have a document to         12   forwarded to me, I have attached a copy of the report
  13   refresh my recollection, I'd be happy to take a look    13   you requested." That's the cancellation report,
  14   at it.                                                  14   right?
  15               (PILF Exhibit 17 marked for                 15       A. I think I just answered you.
  16          identification: Email correspondence             16       Q. And then Mr. Johnson responds, "Would you
  17          from (topmost) W Latham sent                     17   be able to send me the voter registration
  18          2/2/2017 with attachment                         18   applications for all 26 people on the attached
  19          PILF-ADAMS-0016622 - 0016642)                    19   report?" You see that, right?
  20        Q. The court reporter has handed you what's        20       A. He says that, yes.
  21   been marked as Exhibit 17, a document with Bates        21       Q. Okay. And then at the top what's attached
  22   number 16622. Do you recognize this document?           22   to this email is a copy of the cancellation report
  23        A. I see it here.                                  23   with notations of those who reregistered, right?
  24        Q. Okay. And so in this document Walt              24       A. There's no attachment to this. There's
  25   Latham, the general registrar of York County -- you     25   notations.


                                              Page 232                                                     Page 233
   1       Q. In the attachment there are notations,            1   York County registrar.
   2   handwritten notations, correct?                          2        Q. Right.
   3       A. Right.                                            3        A. That does not necessarily speak to the
   4       Q. Right. And so if you look at the cover            4   validity of the reregistration.
   5   email, Mr. Latham is explaining that, please find        5        Q. Okay. So he identified 12 people as
   6   attached to this email copies of all the                 6   having reregistered.
   7   registrations for people who were canceled and then      7        A. He made handwritten notations saying a
   8   reregistered, right?                                     8   certain number of people, probably 12, reregistered.
   9       And so what he's doing here is indicating in         9        Q. Right. And all 12 of these individuals
  10   this cancellation in handwriting he is notating the     10   who had reregistered, according to this document from
  11   people who had reregistered, correct?                   11   the York County registrar, were included in Exhibit 1
  12       A. That's what the documents purport to say.        12   to Alien Invasion II, correct?
  13       Q. Right. One example, Karen Askin, it says         13        A. I don't know about that. And if they
  14   that she reregistered June 9th, 2011, right?            14   were, once again, it's because we spoke with or we
  15       A. Well, the VERIS report doesn't say that.         15   communicated with the state election director, and
  16   There's somebody wrote that in pencil --                16   just like in the last county we discussed on this
  17       Q. Right.                                           17   topic, the state election director contradicted the
  18       A. -- or pen.                                       18   local election official to the extent that it
  19       Q. And that's --                                    19   involved these names. And my previous testimony
  20       A. That's not part of the official VERIS            20   stands on that issue here as it did there.
  21   report.                                                 21        Q. And PILF didn't include in Alien Invasion
  22       Q. Well, this is -- this is what the York           22   II a copy of this handwritten or, excuse me,
  23   County registrar -- the information that the York       23   hand-marked cancellation report, correct?
  24   County registrar provided.                              24        A. Not after it was contradicted by the state
  25       A. I'm aware that the source of this is the         25   election official --


                                                                               59 (Pages 230 to 233)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 61 of 129 PageID# 5637

                                              Page 234                                                     Page 235
   1       Q. And no --                                         1   people listed in your Exhibit 1 had reregistered.
   2       A. -- to the extent it was.                          2       A. We did better. We provided --
   3       Q. No state election official contradicted           3       Q. The answer is no, you didn't.
   4   what Mr. Latham had put here, correct?                   4       A. We did.
   5       A. The state election official contradicted          5       Q. No, I asked a very, very specific
   6   that anything we published in Alien II involved          6   question.
   7   people who later reregistered, yes, the state            7       A. We provided --
   8   election official directly contradicted that idea.       8       Q. You did not include a notation in Alien
   9       Q. Certainly the state election official --          9   Invasion II to let the reader know that, hey, York
  10   strike that.                                            10   County tells us that a lot of these people listed had
  11       And PILF didn't include a notation in Alien         11   reregistered. That doesn't appear in Alien Invasion
  12   Invasion II to let the reader know that you had been    12   II.
  13   provided information from York County that a number     13       A. We didn't provide a notation about a lot
  14   of the people listed in your Exhibit 1 had              14   of things that were irrelevant in Alien II, and,
  15   reregistered.                                           15   after the state election director contradicted this
  16       A. Actually we did -- not in York County            16   information or provided us better information, there
  17   specifically, but generally we absolutely did           17   was no need to include a notation because it was
  18   confront this issue head on. We had more than a         18   irrelevant.
  19   notation. Your answer was did we address it. I'll       19       Q. And you were personally informed of
  20   answer it -- your question was. We in fact did          20   Mr. Latham's information about reregistrations,
  21   address this head on, and we did.                       21   correct?
  22       Q. No, my question, sir, was -- and PILF did        22       A. Who are you asking this question of?
  23   not include a notation in Alien Invasion II to let      23       Q. You, Mr. Adams.
  24   the reader know that you had been provided              24       A. I don't believe so, but if you have a
  25   information from York County that a number of the       25   document to refresh my recollection, please let me

                                              Page 236                                                     Page 237
   1   see it.                                                  1   referring to Mr. Latham, the hand notated
   2               (PILF Exhibit 18 marked for                  2   cancellation report that indicates that some people
   3         identification: Email correspondence               3   who were removed were then reregistered, sometimes in
   4         from (topmost) N Johnson sent                      4   different jurisdictions, correct? This is
   5         2/2/2017 with attachment                           5   information that you had at the time.
   6         PILF-ADAMS-0009178 - 0009197)                      6       A. It is a small piece of York County
   7       Q. The court reporter has handed you what's          7   information we had at the time, and the rest of it is
   8   been marked as Exhibit 18, a document with the number    8   relevant as to the validity of this particular
   9   9178. Do you see that?                                   9   communication.
  10       A. Right. Now you're asking me a question           10       Q. So the answer is yes, you had this
  11   about what I was personally informed of?                11   information.
  12       Q. Let's -- I will ask the questions, sir.          12       A. The document speaks for itself.
  13   And so my question is: Do you see this document?        13       Q. And the --
  14       A. I see the document.                              14       A. It's obviously not being contested, that
  15       Q. Okay. And so on February 2nd Noel Johnson        15   this is information --
  16   sends you and Mr. George an email in which he           16       Q. It's not so obvious when you don't
  17   includes the notations of York County, correct?         17   actually want to answer yes or no questions --
  18   That's attached.                                        18       A. I'll explain. If you want to know the
  19       A. Well, it's more complicated than this.           19   answer, I'll tell you the answer, and that's your law
  20       Q. He attached -- Mr. Johnson attached the          20   firm's lawyer was involved with collection of data
  21   document that we just looked at from York County, yes   21   from York County, as I recall. And so there would
  22   or no?                                                  22   have been communications between your law firm and
  23       A. The document speaks for itself. He               23   York County that are not in front of us in this that
  24   attached a document.                                    24   would weigh on the validity of this information.
  25       Q. And Noel Johnson said he sent back,              25           MR. TEPE: Let's take a break.


                                                                               60 (Pages 234 to 237)
                             TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 62 of 129 PageID# 5638

                                              Page 238                                                     Page 239
   1         VIDEO SPECIALIST: We are off the record,           1        Q. And it's responding to PILF's request for
   2   3:30.                                                    2   records that were sent over on August 8, 2016, right?
   3       (Proceedings recessed)                               3        A. Now that's curious because it has --
   4         VIDEO SPECIALIST: We are on the record,            4   right, right, right.
   5   3:43.                                                    5        Q. So that's the first email. He sends over
   6   BY MR. TEPE:                                             6   the cancellation report that you requested, do you
   7       Q. Mr. Adams, in February of 2017, also the          7   see that in the response, "please see attached"?
   8   Fauquier County registrar provided a list of people      8        A. It's not on here.
   9   appearing on the VERIS report who had reregistered,      9        Q. Oh, I understand, because this is the
  10   correct?                                                10   first email, right, in the chain.
  11       A. I don't know. If you have a document you         11        A. Right. All I'm testifying about is item
  12   can show me, I can talk about it.                       12   number 1 is not on here. It just talks about it.
  13              (PILF Exhibit 19 marked for                  13        Q. Exactly.
  14         identification: Email correspondence              14        A. Okay.
  15         from (topmost) N Johnson sent                     15        Q. And so on February 1st Ables provides his
  16         2/7/2017                                          16   response to PILF's request, correct? That's what's
  17         PILF-ADAMS-0009170 - 0009172)                     17   reflected here.
  18       Q. The court reporter has just marked as            18        A. Right.
  19   Exhibit 19 a document with the Bates number 9170.       19        Q. And then on February 7th Mr. Ables follows
  20       Do you recognize this document?                     20   up with an email to Noel Johnson, do you see that, at
  21       A. I see Exhibit 19.                                21   8:44 a.m.? Bottom of the first page, do you see
  22       Q. Okay. And this is -- begins with an email        22   that?
  23   from Alex Ables on February 1st to Noel Johnson,        23        A. Right. I'm reading it.
  24   correct?                                                24        Q. And Mr. Ables says that on the previous
  25       A. Right.                                           25   report he sent on February 1st some of these


                                              Page 240                                                     Page 241
   1   individuals have submitted new voter registration        1        A. It says that.
   2   applications and have been reregistered, right?          2        Q. Right. So these are people who were
   3       A. I mean, yeah, the document says that.             3   registered originally, flagged, and then submitted
   4       Q. Right. And so what he actually says is,           4   new voter registration applications, correct?
   5   "please note that the below listed voters appearing      5        A. That's what it says they are.
   6   on the report have submitted a new voter registration    6        Q. Okay. And so that is these people, he's
   7   application subsequent to their record being flagged     7   telling you, had reregistered.
   8   as a potential noncitizen." Do you see that?             8        A. Well, it says they have submitted new
   9       A. It does say that.                                 9   voter registration application.
  10       Q. Right. And then you have a list of names         10        Q. Right.
  11   and their reregistration dates.                         11        A. That's what it says.
  12       A. No, that's not what it says. It says             12        Q. Right.
  13   their registration date. The reregistration and         13        A. It doesn't say whether that was accepted
  14   registration dates are two different things.            14   or not. It just says they submitted one.
  15       Registration date I would interpret to mean         15        Q. You didn't -- you didn't -- no one from
  16   the original registration date, and the subsequent      16   PILF asked to clarify that, did they? They
  17   would be a reregistration date, and some of these       17   understood -- they understood that he was providing
  18   dates confirm my suspicions that that's what he         18   you with information about people who had appeared on
  19   means.                                                  19   the cancellation report but who had reregistered.
  20       Q. Okay. So, again, Mr. Ables says, "please         20          MR. DAVIS: Objection to form.
  21   note that the below listed voters appearing on the      21        A. It was compound. Which one of the two do
  22   cancellation report submitted a new voter               22   you want me to answer?
  23   registration application," do you see that,             23        Q. PILF understood that Mr. Ables was
  24   "subsequent to their record being flagged as a          24   providing a list of people who had appeared on the
  25   potential noncitizen"? Do you see that?                 25   cancellation report that he had sent on May 1st but


                                                                               61 (Pages 238 to 241)
                             TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 63 of 129 PageID# 5639

                                               Page 242                                                    Page 243
   1   who had reregistered, correct?                           1   Mr. Ables went out of his way to let you know that
   2       A. But that's not what it says. It says              2   people on the cancellation list had submitted a new
   3   submitted a new voter registration application. You      3   voter registration application subsequent to their
   4   would be making an assumption to say that they           4   being flagged and just leaves it to you guys to guess
   5   reregistered, but it doesn't say that they               5   as to whether or not these applications were
   6   reregistered. There's a difference.                      6   accepted?
   7       Q. Okay. What's that difference?                     7       A. Mr. Ables is one of the, shall we say, he
   8       A. One can submit a new voter registration           8   is one of the registrars in the state that is
   9   application without actually being registered. It        9   concerned about noncitizen -- noncitizens attempting
  10   happens all the time all over the country in election   10   to register to vote. It would not surprise me in the
  11   offices. That's the difference.                         11   slightest that Mr. Ables was alerting us to the fact
  12       Q. Okay.                                            12   that people who are canceled as noncitizens are still
  13       A. I'm just reading what it says.                   13   trying to get on the rolls. That would be an
  14       Q. And so regardless of reregister or new           14   extraordinarily relevant piece of information.
  15   voter registration application, PILF was made aware     15       Q. And I'm not asking for your speculation as
  16   February 7th that people being listed on the            16   to what Mr. Ables is alerting you to. I'm asking
  17   cancellation report for Fauquier County were            17   you, is it your -- strike that.
  18   registered to vote.                                     18       So based on this email, you will not agree
  19          MR. DAVIS: Objection to form.                    19   that PILF was provided information that people on the
  20       A. That's not what this -- right, you're            20   cancellation report for Fauquier County had included
  21   mischaracterizing the evidence. What it says is,        21   the names of people like Mitchell -- Mitchell
  22   some of the noncitizen cancellations later tried to     22   Alerding as having reregistered.
  23   get back on the rolls despite being canceled as a       23       A. Look, this document specifically
  24   noncitizen. It doesn't say anything more than that.     24   references attachments. If you have those
  25       Q. So, so your interpretation of this is that       25   attachments to show me, I will be glad to reassess my


                                               Page 244                                                    Page 245
   1   conclusions, but the fact is that this document          1   taking issue with your use of Virginia election
   2   doesn't say what you originally asked me and assumed     2   records. You have no recollection of that?
   3   it did.                                                  3       A. Not as I sit here right now, but you've
   4        The fact that somebody was --                       4   refreshed it, and this went to Ms. Powell.
   5        Q. No question is pending. Thank you.               5       Q. Well, you're here as the 30(b)(6) witness.
   6        Now PILF received a letter from Rappahannock        6       A. Correct. I've reviewed 52,000 pages of
   7   County Director of Elections expressing her concern      7   documents.
   8   with PILF's use of election records, correct?            8       Q. And you spent supposedly days --
   9        A. If you have a letter to show me, I can           9       A. It wasn't supposedly; it was literally.
  10   testify to refresh my recollection, please.             10       Q. And so let's look at one of these records
  11                (PILF Exhibit 20 marked for                11   that, you know, was in the hands of PILF at this time
  12           identification: Letter from Kim                 12   in February.
  13           McKiernan, VREO with attachment                 13       A. I have Exhibit 20.
  14           PILF-ADAMS-0019100 - 0019105)                   14       Q. Okay. So I'm going to direct your
  15        Q. So before you look at that, can you             15   attention to the third paragraph. In the middle she
  16   just -- before you look at that, sir, it's your         16   says -- I think we're on the same page. She's
  17   testimony that you have no recollection of the          17   referring to the cancellation records, right?
  18   registrar of Rappahannock County taking issue with      18       A. I'm sorry? She was what?
  19   how you were using --                                   19       Q. She's referring to the cancellation
  20        A. Oh, I certainly do have a recollection of       20   records in this paragraph.
  21   oral communications with the registrar of               21       A. I don't know. Attachment C? Attachment C
  22   Rappahannock County, but you didn't ask me about        22   is not in Exhibit 20.
  23   that. You asked me about a letter.                      23       Q. Sure it is.
  24        Q. Okay. So you have no recollection of a          24       A. This (indicating)?
  25                                                           25       Q. It's labeled Attachment C. But okay --
       letter from the registrar of Rappahannock County


                                                                               62 (Pages 242 to 245)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 64 of 129 PageID# 5640

                                              Page 246                                                     Page 247
   1        A. You will find the report I requested ...         1       A. It says that.
   2   this is not the report, which goes straight to the       2       Q. Yes. Okay.
   3   point of my assessment of the registrar of               3       A. She was wrong about that, by the way.
   4   Rappahannock, as she did not understand very much        4       Q. Well, how do you know what people share
   5   about what we were asking for.                           5   with her when they reregister?
   6        Q. Oh, okay. All right. But she did tell            6       A. Well, she was incorrect when -- she
   7   you in the middle of this paragraph, "in many            7   started the paragraph with an incorrect statement,
   8   instances, voters miss checking the tiny box             8   unfortunately. She says, as you were informed by the
   9   indicating they are citizens." Do you see that?          9   Department of Elections, this report is not all
  10        A. I see it, but she also --                       10   inclusive and there are false-positives.
  11        Q. Okay. My question was, do you see that?         11       That statement is absolutely incorrect. We
  12   Yes.                                                    12   weren't informed by the Department of Elections. And
  13        A. In many instances, "voters mix checking         13   so that question raises some questions about some
  14   the tiny box indicating they are citizens." I see       14   other things based on my experience speaking with
  15   that.                                                   15   this individual about her awareness of what was
  16        Q. Yes. And then she says, "in this                16   actually happening in the administration of
  17   instance, we are required to deny their registrations   17   elections.
  18   or cancel them, if they are registered." Do you see     18       It went to her credibility. I'm not saying
  19   that?                                                   19   she is incredible, I'm not saying she is dishonest,
  20        A. I see that written.                             20   but she didn't understand everything that was
  21        Q. Okay. And then she explains, "We send a         21   happening and she didn't understand our request.
  22   letter notifying them of the cancellation and the       22       Q. She's the registrar of Rappahannock
  23   reason and in the majority of instances they provide    23   County.
  24   valid photo ID/proof of citizenship and their           24       A. Correct.
  25   registration is reactivated." Do you see that?          25       Q. Right.


                                              Page 248                                                     Page 249
   1       A. Well, I think unless there's a change --          1        Q. Exactly. You were on the hunt for aliens,
   2       Q. You're not the registrar of Rappahannock          2   not necessarily illegal aliens.
   3   County.                                                  3        A. Correct. And we were documenting alien
   4       A. You know the answer to that.                      4   registration, and she thought that we were making an
   5       Q. Right. And so she says, with respect to           5   effort to have illegal aliens deported from
   6   the cancellation report, the last sentence in this       6   Rappahannock County, at which point she informed me
   7   paragraph, "this report only shows the cancellation      7   they didn't have any there.
   8   and insinuates that hundreds or thousands of             8        Q. But that's not what she says here. She
   9   noncitizens have voted when you don't have the whole     9   says, referring to the cancellation report, this
  10   history of the voters you are referencing statewide."   10   report only shows the cancellations, and you are
  11   Do you see that sentence?                               11   insinuating that hundreds or thousands of noncitizens
  12       A. It says that.                                    12   have voted when you don't have the whole history.
  13       Q. Right. I'm going to guess you disagree           13   She's not talking about illegal aliens. She is
  14   with that.                                              14   talking about noncitizens --
  15       A. Well, because I had a very long                  15        A. Right, but she is talking about a related
  16   conversation with her in the months preceding this      16   issue that echoed what she had told me in person
  17   where it was quite clear to me that she was gravely     17   about the purposes of our report and what she thought
  18   mistaken about what we were looking for and what our    18   of it personally, and it was quite clear to me that
  19   purposes were. She was extremely animated about the     19   she didn't understand what we were asking for, and we
  20   idea that we were on the hunt for illegal aliens, and   20   had to continually ask her for the information.
  21   that couldn't be the furthest thing from the truth,     21        Q. So you more or less dismissed what she had
  22   and --                                                  22   to say to you.
  23       Q. You were on the hunt for aliens.                 23        A. No, that's not what I'm testifying about.
  24       A. No, I said illegal aliens. There's a huge        24        Q. She also said, "I remained concerned about
  25   difference between the two of them.                     25   your potential misinterpretation of the reports and


                                                                               63 (Pages 246 to 249)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 65 of 129 PageID# 5641

                                              Page 250                                                     Page 251
   1   your propensity to misrepresent those results to our     1   cited, and I did not pit the registrar of
   2   voters."                                                 2   Rappahannock against the state election director in
   3        A. That gets back to what she --                    3   any document. That document pitting the two of them
   4        Q. She says that, right?                            4   together does not exist.
   5        A. Right, and it's wrong.                           5        Q. So the answer is no, you didn't ask the
   6        Q. Okay. Now my question is, while you are          6   Department of Elections to opine on the accuracy of
   7   sitting here saying that she doesn't understand, she     7   Ms. McKiernan's statements here?
   8   and this letter are saying that you are                  8        A. The answer is yes, we in fact did, but
   9   misinterpreting the reports, the cancellation            9   it's not -- it doesn't --
  10   reports, correct? That's what you interpret her         10        Q. But it's not actually -- you know, you
  11   statement to mean.                                      11   didn't actually say, hey, Department of Elections, I
  12        A. She did, and that's one of the reasons we       12   got this letter from Ms. McKiernan, will you opine on
  13   sought guidance from the state Department of            13   it.
  14   Elections about what she was saying.                    14        A. I've asked --
  15        Q. Okay. Can you -- can you point to where         15        Q. The answer is no, you didn't do that.
  16   you asked the Virginia Department of Elections to       16        A. I've told you the document pitting the two
  17   opine on this particular statement of Ms. McKiernan?    17   of them together does not exist. That's my
  18        A. First of all, her concern was part of the       18   testimony.
  19   reason that we contacted the state Department of        19        Q. Ms. McKiernan is not the only registrar to
  20   Elections regarding these concerns. We took action      20   express concern that PILF was misinterpreting and
  21   in part based on the possibility that a reregistered    21   misrepresenting elections records, correct?
  22   voter was on the list that the state department would   22        A. If you have more instances of this, I'm
  23   provide us.                                             23   happy to look at them.
  24        And so, no, I can't point to you to the            24        Q. My question is, you have no recollection?
  25   document that the registrar of Rappahannock has         25        A. I would need my recollection refreshed.


                                              Page 252                                                     Page 253
   1   If you have a document that will help me do that, I'm    1       Now if you have a document that would refresh
   2   happy to talk about it.                                  2   my recollection about others, I'm happy to look at
   3        Q. So you don't actually remember information       3   it.
   4   that was passed to you from registrars taking issue      4                (PILF Exhibit 21 marked for
   5   with how your reports were misinterpreting and           5          identification: Email correspondence
   6   misrepresenting the records?                             6          from (topmost) C Adams dated
   7        A. Well, of course, if you've read Alien            7          2/1/2017
   8   Invasion reports, you know we squarely confronted one    8          PILF-ADAMS-0006337 - 0006340)
   9   of them, and that's the Arlington registrar. And we      9          MR. TEPE: The court reporter has marked
  10   cite that actually in the report her quibbling with     10   as Exhibit 21 a document with the Bates number 6337.
  11   the reports that she is providing and threatening to    11       Q. So PILF was aware, as of January 31st,
  12   produce a derivative report that is not what we asked   12   2017, that the registrar for Arlington, Linda
  13   for.                                                    13   Lindberg, had expressed the view that the
  14        And so she took issue with it, and we              14   cancellation report that you were relying on for your
  15   published her written issues directly in the Alien      15   report and which you relied upon for Alien Invasion I
  16   Invasion reports. We did more than have awareness of    16   was not accurate, correct?
  17   it; we actually repeated it in the reports.             17       A. She didn't express this view to us.
  18        Q. And there were other jurisdictions that         18       Q. Well --
  19   expressed concern with your misrepresentation of        19       A. She never took the time to write us a
  20   election results.                                       20   letter or raise the credibility of her complaint by
  21        A. Well, I disagree with the premise that it       21   actually delivering it to us.
  22   was misrepresented. I think we represented exactly      22       So, no, I would take issue with the idea that
  23   what it was, and that's declared noncitizen. You        23   she raised this to us. She didn't -- she apparently
  24   disagree with that. I disagree with your                24   didn't think it was serious enough to raise to us.
  25   interpretation of that.                                 25       Q. So, again, Mr. Adams, the question was,


                                                                               64 (Pages 250 to 253)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 66 of 129 PageID# 5642

                                              Page 254                                                     Page 255
   1   PILF was aware -- and I'm going to change the            1        A. I see it. I don't know how else to answer
   2   question.                                                2   it. I see the document.
   3       PILF was aware as of February 1st that the           3        Q. You can answer the question I'm asking.
   4   registrar of Arlington, Linda Lindberg, had expressed    4   So Ms. Lindberg sent an email on January 31st to the
   5   the view that the cancellation report that you were      5   GRLIST, correct?
   6   relying on for Alien Invasion I was not accurate,        6        A. That's what document 21 purports to show.
   7   correct?                                                 7   I --
   8       A. She expressed those views to other people.        8        Q. And the GRLIST, that is a list that allows
   9       Q. Which was then shared with you. So PILF           9   the registrars and Virginia state election officials
  10   was aware of her views.                                 10   to communicate with each other, correct?
  11       A. We were aware of her privately expressed         11        A. That is what the GRLIST is, as I
  12   views. There was a difference between a privately       12   understand it.
  13   expressed view in my mind and one that she is talking   13        Q. Okay. And someone on that GRLIST forwards
  14   about on a -- on a Listserv versus one that she has     14   you Ms. Lindberg's email between January 31st at
  15   the courage to memorialize and send to us. That she     15   12:37 p.m. and February 1st at 4:01 p.m., correct?
  16   never did.                                              16        A. I'm not sure.
  17       Q. Okay. But you were, nonetheless, aware.          17        Q. Really?
  18       A. I'm aware of a private discussion she had        18        A. You left out the possibility that somebody
  19   or at least a relatively small number of recipient      19   had it forwarded to them who wasn't on the GRLIST and
  20   discussion that did not include anybody at PILF.        20   they forwarded it to me. Your question was it was
  21       Q. Okay. So the document in front of you is         21   forwarded by somebody on the GRLIST.
  22   an email from Linda Lindberg to the GRLIST. Do you      22        Q. Yeah. And so your answer is convenient
  23   see that?                                               23   because, when you took this email that had come into
  24       A. I see Exhibit 21.                                24   your possession and forwarded it to Noel Johnson, you
  25       Q. That wasn't my question.                         25   had deleted the intervening transmission information,


                                              Page 256                                                     Page 257
   1   correct?                                                 1   problematic. It's what happens all over this town
   2       A. I protect all of my sources who are either        2   every day.
   3   on the GRLIST or friends with people who are on the      3       Q. And so in this instance you don't know if
   4   GRLIST.                                                  4   it was Ms. Wheeler who sent you this.
   5       Q. Right. So the answer is yes, you deleted          5       A. I cannot remember in this instance, no, I
   6   that information so that Mr. Johnson wouldn't know       6   can't. And if it was, it wouldn't make any
   7   your source.                                             7   difference. It's public information.
   8       A. Absolutely.                                       8       Q. That's true. And so it's information that
   9       Q. Right. But your source is Ms. Clara Belle         9   you were aware of on February 1st, 2017, correct?
  10   Wheeler, right?                                         10       A. It's information that on February 1st,
  11       A. I don't know.                                    11   2017 I forwarded to Noel Johnson and would,
  12       Q. You don't know?                                  12   therefore, be aware of.
  13       A. Not on this particular one. I have many          13       Q. So when Ms. Lindberg was emailing the
  14   sources.                                                14   GRLIST and she said, please be aware that the data on
  15       Q. Oh, okay. But how can -- how can we, you         15   this report is not accurate, as of February 1st you
  16   know, determine that since you delete the               16   too were aware that the data on this cancellation
  17   information?                                            17   report is not accurate.
  18       A. You can't.                                       18          MR. DAVIS: Objection to form.
  19       Q. Right. So we actually can't test the             19       Q. Correct?
  20   veracity of your testimony.                             20       A. I too was aware the data were not
  21       A. What part do you want to test? I                 21   accurate?
  22   described to you how I delete that information to       22       Q. You were aware of Ms. Lindberg's statement
  23   protect people who give me the information.             23   as of February 1st, correct, where she says, please
  24       Q. Right.                                           24   be aware that the data on this report is not
  25       A. It's not unusual or illegal or otherwise         25   accurate, you were aware of that, right?


                                                                               65 (Pages 254 to 257)
                             TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 67 of 129 PageID# 5643

                                              Page 258                                                     Page 259
   1       A. I had received this communication.                1       A. That's not correct. We only wanted the
   2       Q. And she continues, "and will be                   2   record that we asked for, which was noncitizen
   3   misinterpreted and misrepresented by this                3   cancellations.
   4   organization, as they have already done with the data    4       Q. Exactly.
   5   previously received." Do you see that statement?         5       A. She wanted to hide information about how
   6       A. She's wrong.                                      6   many noncitizen cancellations there were and did not
   7       Q. Okay. But she's referring to PILF,                7   factor in whatsoever the possibility of intervening
   8   correct?                                                 8   naturalization.
   9       A. Yes, and she's incorrect in her                   9       It's the recurring problem of intervening
  10   assessment.                                             10   naturalization. And that's, again, one of the
  11       Q. Okay. She's the registrar of Arlington,          11   reasons we went to the state election director to ask
  12   correct?                                                12   for a document that would account for these concerns,
  13       A. Doesn't mean she's always right.                 13   which we later did and which we later quoted in
  14       Q. Okay. Are you the registrar of Arlington?        14   Alien II.
  15       A. No, but I know a lot more about this than        15       Q. Okay. And so she says, "this group has
  16   she does.                                               16   and will interpret the fact that there may be voting
  17       Q. Okay. And so she says that you will have         17   credit on the canceled record as 'illegal aliens'
  18   two records if someone reregisters, right?              18   registering and voting, despite the voter having
  19       A. She wanted to make a derivative record           19   subsequently affirmed his citizenship." Do you see
  20   that was nonresponsive to our request.                  20   that?
  21       Q. Right, because --                                21       A. It further undermines her credibility,
  22       A. And she discusses that.                          22   because she refers to them as illegal aliens.
  23       (Clarification by reporter.)                        23       Q. Okay.
  24       Q. And you only wanted the record that listed       24       A. And that's precisely one of the areas
  25   cancellations, correct?                                 25   where I began to conclude that she had an agenda that


                                              Page 260                                                     Page 261
   1   did not include complying with our document request.     1   that's more accurate, not less accurate.
   2       Q. And she says, "I'm working through my             2        A. That's not correct. She is trying to give
   3   report and I've found so far every canceled record       3   us an answer that's less accurate, because somebody
   4   that has voter credit, there is a more recent, active    4   could be canceled as a noncitizen correctly and
   5   or inactive voter record available," correct?            5   validly and later reregister as a naturalized
   6       A. Read the next sentence, because that's the        6   citizen, and that would hide the fact -- if I may
   7   important one that relates to the previous one. It       7   finish, please -- that would hide the fact that there
   8   says, "I am going to delete or otherwise notate these    8   is a defect in the system of administrating elections
   9   names from my report, either by deleting the rows        9   in this Commonwealth that is rampant and problematic
  10   from the Excel version or marking them on the           10   and we're trying to fix.
  11   report." Of course, she did neither. And you aren't     11        And so it has nothing to do with trying to get
  12   allowed to delete election records that are part of     12   a report that says one thing that we didn't ask for.
  13   an NVRA request.                                        13   It has to do with documenting a particular problem.
  14       Q. Right, and so -- and so she is saying PILF       14                (PILF Exhibit 22 marked for
  15   is going to misrepresent this data, right? She says     15          identification: Email correspondence
  16   that.                                                   16          from (topmost) N Johnson sent
  17       A. It's an indication to me that she was not        17          2/1/2017
  18   acting in good faith in compliance with our records     18          PILF-ADAMS-0009200 - 0009202)
  19   request.                                                19        Q. The court reporter has handed you what's
  20       Q. And so she knows that the cancellation           20   been marked as Exhibit 22 with the Bates number 9200.
  21   record is not all-encompassing and that people have     21   Do you see that?
  22   affirmed citizenship. She says that.                    22        A. 9200, right.
  23       A. And that's precisely why we went to the          23        Q. And I want to direct your attention to the
  24   State Board of Elections to ask about that.             24   email of Larry Haake on February 1st. And on
  25       Q. And so she is trying to give you an answer       25   February 1st he wrote to the GRLIST, "I would


                                                                               66 (Pages 258 to 261)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 68 of 129 PageID# 5644

                                               Page 262                                                    Page 263
   1   encourage all to take the PILF request very              1   one, so --
   2   seriously." And by "the PILF request," this was a        2       Q. Exactly. And so Linda Lindberg is correct
   3   renewal of your request for the cancellation records,    3   that they are consciously misrepresenting the data
   4   right?                                                   4   they are receiving from us. Do you see that?
   5        A. I'm sorry. I was reading it. I was               5       A. Yes.
   6   trying to find where he refers to that.                  6       Q. And the "they" here is PILF, correct?
   7        Q. Okay. So in the first sentence he says,          7       A. I don't know, but it would seem to be a
   8   "I would encourage you all to take the PILF request      8   reasonable context.
   9   very seriously." Do you see that sentence?               9       Q. Right. And he says, "clearly, they have
  10        A. I see it.                                       10   no legitimate purpose in what they are doing."
  11        Q. Okay. And the PILF request that he's            11       A. Yeah.
  12   referring to is the renewal of PILF's request for the   12       Q. "But neither of these facts are legitimate
  13   cancellation, noncitizen cancellation report, right?    13   legal reasons to ignore them." That's what he says,
  14        A. I think it's probably the August 8th            14   right?
  15   request.                                                15       A. That's what he says.
  16        Q. Okay. Which is asking for that record --        16       Q. Now in the third paragraph he's referring
  17        A. It's asking -- right.                           17   to the lawsuit that you filed against his county,
  18        Q. -- the cancellation record. And Linda           18   Chesterfield County, right?
  19   Lindberg is correct that they are consciously           19       A. I don't know. There's been -- there were
  20   misrepresenting the data they are receiving from us.    20   a couple.
  21        A. It sounds very conspiratorial, doesn't it.      21       Q. So Larry Haake, he's -- he was the
  22   It's not accurate.                                      22   registrar of Chesterfield County, right?
  23        Q. Okay. There's no question pending other         23       A. Right, but there were two other lawsuits.
  24   than that.                                              24   I assume that that's what he means, but I wish he had
  25        A. I thought there was. Well, you didn't ask       25   been more clear for me to answer that.

                                               Page 264                                                    Page 265
   1        Q. And so he says, "during the course of the        1       A. I don't know, but I --
   2   lawsuit, the PILF lawyer lied about the data             2       Q. That was the report that you wanted,
   3   Commission Cortes mentioned they were provided in        3   right?
   4   September, denying that they received any data."         4       A. They are fully aware the particular report
   5   Okay?                                                    5   they want ... yeah, but he's wrong about that. He is
   6        Now what he's referring to is, is a report          6   squarely wrong about all of this.
   7   that the Virginia Department of Elections had offered    7       Larry Haake is a pretty well-known hothead
   8   PILF in September, right?                                8   among election officials. He is no longer in office.
   9        A. Yeah, but nobody lied. No, he's not              9   And he says things and has a reputation for saying
  10   referring to that. He's offering -- he's referring      10   things that are not always meant to reflect reality
  11   to a report that was nonresponsive to what we asked     11   but rather are meant to vent, and this is full of
  12   for.                                                    12   things that are not exactly -- they are not even
  13        Q. I understand, but he is referring to a          13   close to being accurate, as a matter of fact, and he
  14   report that was offered by the Department of            14   knows it probably.
  15   Elections to PILF, right?                               15       Q. He was the Chesterfield -- he was the
  16        A. That did not comport with the requested         16   registrar of Chesterfield County before he retired,
  17   information that PILF requested.                        17   right?
  18        Q. Okay. And, let's see, he says in the last       18       A. Not anymore he's not.
  19   sentence, "they are fully aware the particular report   19       Q. Exactly. My question, sir, is, he was the
  20   they want is misrepresentative of the actual truth,     20   registrar of Chesterfield County before he retired.
  21   but the truth is clearly not what they want."           21       A. Here he's purporting to be a mind reader
  22        A. And your question is?                           22   of PILF's motivation, so he's not a very skilled --
  23        Q. My question is, when he says "the               23   he was the Chesterfield registrar, that's correct.
  24   particular report," he's referring to the VERIS         24       Q. Okay. So the answer to my question was
  25   cancellation report, correct?                           25   yes.


                                                                              67 (Pages 262 to 265)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 69 of 129 PageID# 5645

                                              Page 266                                                    Page 267
   1       A. He was the Chesterfield registrar. That's        1       Q. Right. And so was this email or, I should
   2   not subject to dispute.                                 2   say, this Listserv communication forwarded to you by
   3       Q. Well, then why couldn't you just say yes?        3   Ms. Wheeler?
   4       A. I did say yes.                                   4       A. I don't remember. This was in 2000 --
   5       Q. No, you talked about mind readers.               5   this was over two years ago.
   6       So now that we're all on the same page that         6       Q. And why was it very important to keep this
   7   Mr. Haake was the registrar of Chesterfield County      7   intel secret?
   8   before he retired, my question then now is to you,      8       A. Because he's -- your question is why is it
   9   are you the registrar of Chesterfield County?           9   important to keep this intel secret?
  10       A. Really?                                         10       Q. Right.
  11       Q. Have you been a registrar of any county in      11       A. Right?
  12   Virginia?                                              12       Q. Right.
  13       A. No.                                             13       A. I'm going to answer you. Larry Haake says
  14       Q. So you get a copy of this email from Mr.        14   a number of things in the email of February 1st that
  15   Haake to the GRLIST, right?                            15   are brazenly wrong, possibly indicative of his lack
  16       A. At some point, yes.                             16   of fitness to be in this position, and
  17       Q. Right, because on February 1st you              17   misrepresenting a wide variety of obvious factual
  18   email -- you forward this internal GRLIST              18   information that he should not be doing.
  19   communication to Mr. Johnson and Mr. von Spakovsky,    19       I know Larry Haake and I've known him for a
  20   correct?                                               20   while, and for him to say things like this that are
  21       A. Where is that -- yes.                           21   so patently false, so entirely inflammatory, really
  22       Q. And you say, "again, do not act on this         22   raises questions as to whether he should continue in
  23   intel yet. Very important to keep this intel I am      23   the position of general registrar.
  24   getting secret."                                       24       Q. And so that's something you wanted to keep
  25       A. Right.                                          25   secret?


                                              Page 268                                                    Page 269
   1        A. On February 1st at 3:55 the answer was          1   computer system that's creating no checkboxes that
   2   yes.                                                    2   were never made.
   3        Q. Prior to Alien Invasion II, PILF was also       3        Q. PILF was aware that DMV was reporting out
   4   made aware that the Virginia Department of Elections    4   individuals who also provided no response to the
   5   had determined that the data from the DMV regarding     5   citizenship question, correct?
   6   individuals who self-identified as noncitizens were     6        A. No response, yes or no, that's your
   7   overinclusive, correct?                                 7   question.
   8        A. I don't think so, but if you have a             8        Q. Yes. PILF was aware of that.
   9   document that refreshes my recollection, I'd            9        A. No, I don't know. If you have a document,
  10   appreciate it because I didn't quite understand your   10   I'd like to see it. I don't remember right now.
  11   question either.                                       11                (PILF Exhibit 23 marked for
  12        Q. Prior to Alien Invasion II, PILF was also      12          identification: Email correspondence
  13   made aware that the Virginia Department of Elections   13          from (topmost)
  14   had determined that the data from the DMV regarding    14          a@electionlawcenter.com sent
  15   individuals who self-identified as noncitizens was     15          5/20/2017
  16   overinclusive.                                         16          PILF-ADAMS-0000043 - 0000044)
  17        A. The data of individuals who                    17        Q. The court reporter has marked as Exhibit
  18   self-identified as noncitizens ... I don't think       18   23 --
  19   that's possible that it could be overinclusive if      19        A. Ah.
  20   it's data -- basically, you would be saying that       20        Q. -- a document Bates number 43.
  21   we're reporting the self-identifications -- we're      21        A. Right.
  22   creating fiction. That doesn't make any sense.         22        Q. And so this is an email from Mr. Cortes,
  23        If it's overreporting self-identified citizen     23   who was the Virginia Department of Elections
  24   checkbox noes, no, I don't know about that. That       24   commissioner, correct?
  25   would mean that they have a data problem in their      25        A. No. This is an email from Clara Belle


                                                                             68 (Pages 266 to 269)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 70 of 129 PageID# 5646

                                               Page 270                                                    Page 271
   1   Wheeler, who is telling me that she did not              1   third party. I don't know.
   2   understand this garbled mess.                            2        Q. Yes, you don't know.
   3        Q. No, no, no, Mr. Adams. Mr. Adams, the            3        A. I don't know.
   4   first email in the chain.                                4        Q. You don't know. You're just speculating.
   5        A. Oh, the bottom?                                  5        A. No, I don't know.
   6        Q. Yes.                                             6        Q. And so Mr. Cortes refers to a review of
   7        A. Okay.                                            7   its data files -- I'm looking at the second
   8        Q. So Mr. Cortes sends an email to the GRLIST       8   sentence -- "as I described in a prior email, the
   9   May 19th, right?                                         9   Department began a post-election review of its data
  10        A. Okay.                                           10   files and identified several files that were not
  11        Q. May 19th?                                       11   properly loaded into VERIS." Do you see that?
  12        A. May 19th, 2017.                                 12        A. This -- okay.
  13        Q. And this is -- this is before Alien             13        Q. Do you see that?
  14   Invasion II was published, right? Sir?                  14        A. Right.
  15        A. What?                                           15        Q. Okay. "As part of this review and working
  16        Q. This was before Alien Invasion II was           16   in conjunction with our partners at DMV, it was
  17   published, correct, May 19th?                           17   discovered that some of the list provided by DMV
  18        A. Right.                                          18   regarding individuals who self-identified as
  19        Q. Yes. And Mr. Cortes's message was               19   noncitizens were overinclusive." You see that,
  20   forwarded to you by Clara Belle Wheeler, correct?       20   right?
  21        A. Correct.                                        21        A. This relates --
  22        Q. And so she is on the GRLIST and she sent        22        Q. And then he says, he writes, "while the
  23   this to you, right?                                     23   files did contain the individuals that responded no
  24        A. I don't know. She forwarded it -- once          24   to the citizenship question, the files also contained
  25   again, it may be that she's getting this email from a   25   individuals that provided no response to the

                                               Page 272                                                    Page 273
   1   question," correct? That's what he says here.            1   Are you with me so far?
   2        A. This doesn't have anything to do with the        2       A. Go ahead.
   3   reports.                                                 3       Q. That -- those are situations that occur,
   4        Q. Okay. And so the reports, the                    4   right? You get contrary information --
   5   noncitizenship reports, that you included as Exhibit     5       A. Contrary information from what?
   6   1 --                                                     6       Q. Right, on citizenship. They say no in the
   7        A. No, you're wrong about that. You're wrong        7   checkbox, right?
   8   about that. This relates to an issue that was            8       A. That's not contrary; it's a they say no.
   9   raised --                                                9       Q. Okay. And before they were on the rolls
  10        Q. I'm wrong about a question I haven't even       10   because they had said yes.
  11   been able to ask?                                       11       A. Go ahead.
  12        A. Go ahead. I'm sorry.                            12       Q. Okay. So DMV sends this information to
  13        Q. Okay. So Exhibit 1 to Alien Invasion II,        13   the Department of Elections to see if the person who
  14   the declared noncitizen cancellation report, right?     14   had indicated no in the checkbox is on the rolls,
  15   Are you with me?                                        15   correct?
  16        A. Go ahead.                                       16       A. DMV sends the data to -- the Department of
  17        Q. That is a report that is generated based        17   Elections has access to the data is the better way of
  18   on information that comes from the DMV, correct?        18   characterizing that.
  19        A. In part. Not this particular issue, no,         19       Q. Okay. And then for those people who
  20   not even in part. It's absolutely no relationship.      20   there's a match, they're registered, they get sent a
  21        Q. Okay. So you will agree with me that the        21   letter, correct?
  22   process is, as we've talked about a number of times     22       A. A match -- when they self-identify as a
  23   today, people who are on the rolls, right, they go to   23   noncitizen, they -- there's a follow-up process.
  24   the DMV, and then they perhaps provide some contrary    24       Q. Right. And so the follow-up process is
  25   information about citizenship at the DMV, correct?      25   DMV sends this information. DOE, Department of


                                                                              69 (Pages 270 to 273)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 71 of 129 PageID# 5647

                                              Page 274                                                     Page 275
   1   Elections, looks at it, says, yes, this person who       1        Q. Okay. What this document is indicating is
   2   had indicated they're not a citizen, they're             2   that the information, the data, that is coming from
   3   registered. And so now we have a conflict.               3   DMV is including people who didn't check the box at
   4       A. Right.                                            4   all.
   5       Q. So the next step in the process is to send        5        A. Wrong. What I tried to explain to you
   6   out a notice of what's called the Notice of Intent to    6   earlier is that this related to an isolated period of
   7   Cancel, correct?                                         7   time just prior to the 2016 election. It was not all
   8       A. Right.                                            8   of those years associated with the VERIS reports.
   9       Q. Right. And in the Notice of Intent to             9   That's what I tried to explain to you.
  10   Cancel the voter is informed that they had received     10        This was a very insulated and limited defect
  11   some information about their lack of citizenship from   11   that affected the DMV data around the time period of
  12   the DMV, correct?                                       12   the 2016 election where the Department of Elections
  13       A. Right.                                           13   took down their citizenship verification protocols
  14       Q. And then if that is incorrect, they should       14   ahead of the 2016 election. That incensed a lot of
  15   respond by filling out an affirmation of citizenship,   15   members of various county electoral boards, the
  16   right?                                                  16   Republican member of the state board. And there was
  17       A. If they're a citizen.                            17   a whole line of inquiry about why this was no longer
  18       Q. If they're a citizen, right? That's why I        18   showing up in the hoppers.
  19   said, if the information that came from the DMV is      19        And so it was not a omnibus problem going back
  20   wrong and they are a citizen, they should submit that   20   years. It was an isolated in time problem. That's
  21   affirmation of citizenship, correct?                    21   my understanding of it.
  22       A. Right.                                           22        You'll see that Clara Belle refers to this as
  23       Q. Okay. And they have two weeks to do it,          23   a garbled mess. I would not disagree with that
  24   correct, before the state can cancel them, right?       24   characterization. And there's a lot of questions
  25       A. Right.                                           25   about what was really going wrong with the data.


                                              Page 276                                                     Page 277
   1       So, no, I would disagree with you that this          1                (Johnson Exhibit 16
   2   was something that affected all of the data going        2          previously marked for identification
   3   back multiple years. My understanding is it's an         3          and referenced herein: Email
   4   isolated issue.                                          4          correspondence to (topmost) C Adams
   5       Q. Okay. But there was a period of time in           5          sent 6/19/2017 PILF-ADAMS-0000210)
   6   which, according to this, you would agree, DMV was       6        Q. Handing the witness what has been
   7   reporting out information to the Department of           7   previously marked as Johnson Exhibit 16.
   8   Elections indicating people had indicated                8        On page 10 of Alien Invasion II you
   9   noncitizenship when in fact they had provided no         9   highlighted Maureen Erickson, correct?
  10   response at all.                                        10        A. This doesn't have any ... we're
  11       A. A very short period of time that would not       11   discussing -- there's some -- looks like a Washington
  12   have affected these reports. That's my                  12   Times article -- yeah, because this is Dinnan -- and
  13   understanding.                                          13   it talks about somebody named Maureen Erickson.
  14       Q. Now is it true that you were troubled by         14        Q. Yeah, Maureen Erickson is called out in
  15   the inclusion of an individual in Alien Invasion II?    15   page 10 of Alien Invasion II, right?
  16       A. Troubled?                                        16        A. I'm sorry?
  17          MR. DAVIS: Objection to the form.                17        Q. Maureen Erickson, she was called out by
  18       Q. Troubled.                                        18   name on page 10 of Alien Invasion II. You know that.
  19       A. Yeah, I don't understand the question.           19   You certainly haven't forgotten that, have you? I
  20       Q. You were troubled, weren't you, before           20   mean, there's a whole story written about it in the
  21   Alien Invasion II was published by an individual who    21   Washington Times.
  22   was called out by name in that report?                  22        A. It says Maureen Erickson.
  23       A. I don't know. I might have been. If you          23        Q. Yeah. And so this story in the Washington
  24   have something to show me, we can move this along       24   Times highlights the fact that, well, Maureen
  25   quicker if you would show it to me.                     25   Erickson is actually a citizen, right?


                                                                               70 (Pages 274 to 277)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 72 of 129 PageID# 5648

                                              Page 278                                                     Page 279
   1       A. I think there's a story in the Times about        1        Q. Right. And but even before Alien Invasion
   2   that. That's what I'm referring to.                      2   II was published, you were troubled by the
   3       Q. Yeah. And, and you certainly haven't              3   possibility that she was in fact a citizen, correct?
   4   forgotten the fact that you call out Maureen Erickson    4        A. That's not correct.
   5   as a person who is a noncitizen, a person who resided    5        Q. Okay. So then let's look at this email of
   6   at a foreign address, correct?                           6   yours of June 19th. Do you see that?
   7       A. I don't see that on here.                         7        A. Right.
   8       Q. Yeah.                                             8        Q. Right. So you respond to -- you send an
   9       A. Are you talking about Exhibit 16?                 9   email to Mr. Johnson, Mr. Churchwell, with regard to
  10       Q. Sir, do you recall the content of Alien          10   the Washington Times story, correct?
  11   Invasion II?                                            11        A. I do, on June 19th, two weeks after the
  12       A. I'm sorry. I thought you were asking             12   publication of the report.
  13   about Exhibit 16.                                       13        Q. And you say, and you have -- you say the
  14       Q. Sir, do you recall the content of your           14   case troubled me because I looked, I assume you meant
  15   report?                                                 15   it looked, like a UOCAVA registration to me. Do you
  16       A. Right, right, yes.                               16   see that?
  17       Q. And on page 10 --                                17        A. Well, I'm not going to speculate what I
  18       A. Okay. We're back to that. Okay.                  18   was trying to write. I probably -- that probably is
  19       Q. On page 10 you highlight Maureen Erickson,       19   an autocorrect or something, I don't know, but I'm
  20   yes?                                                    20   referring to the Washington Times article.
  21       A. Her name is there on page 10.                    21        Q. Right.
  22       Q. Right. And she is one of the 5,556 people        22        A. Maureen Erickson has a Guatemala address,
  23   that PILF identified as a noncitizen in Exhibit 1.      23   and for her to say that she's a citizen, because I
  24       A. She's in the report because she was in the       24   think they talked to her -- do you have the Times
  25   state declared noncitizen report.                       25   article? If you can show me, I can give you more of


                                              Page 280                                                     Page 281
   1   the basis for why I wrote this, but I only have a        1        Q. She hadn't been canceled as a noncitizen.
   2   snippet here. And after reading the Times article,       2   She had been canceled because of an indication of
   3   it looks to me like she could have been a UOCAVA         3   noncitizenship coming from the DMV, and she did not
   4   voter.                                                   4   affirm citizenship within two weeks, right?
   5        Q. Right. And so the snippet that you quote         5        A. You left out an important word. She was
   6   from the Times article here is, "Maureen was born in     6   declared noncitizen by the state election officials.
   7   the U.S. to U.S. citizens and has voted ever since       7   Declared noncitizen report, her name appeared.
   8   she was 18."                                             8   That's why I was confident that she was a noncitizen.
   9        A. But that's not the whole Times article.          9        Q. Because you choose to believe the checkbox
  10   There's other information in the article that's         10   on the DMV paperwork but not the checkbox on the
  11   relevant to my conclusion below that she might have     11   original voter registration application, correct?
  12   been a UOCAVA voter.                                    12        A. Nope, that's not correct. What I choose
  13        Q. And so but you were troubled by this            13   to believe is what the government documents say, what
  14   before Alien Invasion II was published, right?          14   I have spoken with multiple election officials about,
  15        A. No, I wasn't. I was troubled by it when I       15   about the inherent reliability of those government
  16   read the Washington Times article.                      16   documents, and a wide variety of other information
  17        Q. Okay. So before Alien Invasion II was           17   that leads me to conclude that one can have a degree
  18   published, you were confident Maureen Erickson was a    18   of confidence in those government documents.
  19   noncitizen.                                             19        What troubled me was the story that she was a
  20        A. I had no view about Maureen Erickson            20   missionary U.S. citizen. We want to get this right.
  21   personally. Maureen Erickson appeared in the report     21   And I think what's troubling about it is that the
  22   because she had been canceled as a noncitizen by the    22   state appears to be canceling noncitizens, something
  23   Virginia election officials, and --                     23   we didn't think could be possible in the summer of
  24        Q. But she hadn't --                               24   2016. And, frankly, needs to be addressed, and so
  25        (Clarification by reporter.)                       25   far, as I see it, the defendants are the only one


                                                                               71 (Pages 278 to 281)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 73 of 129 PageID# 5649

                                              Page 282                                                     Page 283
   1   addressing it.                                           1       A. I'm calling it what it is. That's what it
   2               (Johnson Exhibit 27                          2   says in the document.
   3         previously marked for identification               3       Q. And so the -- so he sends that over at
   4         and referenced herein: Email                       4   1:25 p.m., and then at 1:57 p.m. Mr. Johnson sends an
   5         correspondence from (topmost) N                    5   email to you, Mr. Churchwell and Shawna Powell. Do
   6         Johnson sent 3/28/2017                             6   you see that?
   7         PILF-ADAMS-0001979 - 0001980)                      7       A. Right.
   8         MR. TEPE: The witness has been handed a            8       Q. And he copies the image of one of the
   9   document that's been previously marked as Johnson 27,    9   entries from the cancellation report that you just
  10   Bates number 1979.                                      10   got.
  11       Q. The email chain begins with an email from        11       A. Right.
  12   Edgardo Cortes on March 28th, correct? Correct?         12       Q. Right. And this entry was for a George
  13       A. I'm sorry. What was the question?                13   Washington, Junior, right?
  14       Q. The question was the email chain begins          14       A. Right.
  15   with an email from Edgardo Cortes on March 28th,        15       Q. Yes. And he said, "already nabbed
  16   correct?                                                16   descendant of George Washington." That's what
  17       A. Right, right.                                    17   Mr. Johnson says, right?
  18       Q. And this is him sending over the                 18       A. Yes.
  19   cancellation reports, the statewide cancellation        19       Q. Did you interpret him to be making a joke?
  20   report, correct, that you had requested?                20       A. Absolutely.
  21       A. No, this was him sending over the report         21       Q. Right. And then you say in response, "if
  22   we had requested months before, which was the           22   false-positive, they will use this one against us."
  23   declared noncitizen reports.                            23       A. That's what it says.
  24       Q. Right. We're talking about the same              24       Q. Right. And then so at this time you were
  25   thing. And so --                                        25   aware of the notion that there were people on here


                                              Page 284                                                     Page 285
   1   who were citizens, right?                                1   of laughter that the person was falsely reported as a
   2       A. No. That's absolutely not true.                   2   noncitizen.
   3       Q. Then why would you say it was                     3       Q. You had his address here, right?
   4   false-positive?                                          4       A. It says Fredericksburg Turnpike, Woodford,
   5       A. I was aware of the general nature of              5   Virginia.
   6   false-positives in doing this kind of research.          6       Q. You didn't follow up with him to see if he
   7       Q. Right, and a false-positive is someone who        7   was or was not a citizen, correct?
   8   is on the cancellation list who is actually a            8       A. Well, this goes back to my previous
   9   citizen, right?                                          9   testimony that we had a policy of not contacting
  10       A. Right. And there's a difference between a        10   these people because we had no way to verify. They
  11   generalized awareness of a false-positive versus        11   could say they were a citizen and they could not tell
  12   specific information relating to the potential          12   the truth. They could not -- there's a variety of
  13   false-positives on the list. There's a very big         13   reasons why that would have been a futile exercise.
  14   difference between those two things.                    14       Q. Okay.
  15       Q. So are you saying that you didn't know           15               (PILF Exhibit 24 marked for
  16   whether or not George Washington, Junior was a          16          identification: Email correspondence
  17   citizen or noncitizen?                                  17          from (topmost) L Churchwell sent
  18       A. I was following up on this, since you            18          5/25/2017
  19   asked, I was following up on the joke that Noel         19          PILF-ADAMS-0000241 - 0000246)
  20   Johnson made that, in the unlikely event that this      20       Q. The court reporter has marked an exhibit
  21   was a false-positive, it will certainly be one used     21   as 24, a document with the Bates number 241.
  22   against us because it is George Washington from         22       The email chain begins with an email from
  23   Fredericksburg, which, if you -- actually it's          23   Keith Damon to Reagan George. Do you see that?
  24   Woodford, Virginia, Fredericksburg Turnpike -- it       24       A. Not yet, but let me go ...
  25   would certainly be one that will create some degree     25       Q. Keith Damon was assisting Reagan George


                                                                               72 (Pages 282 to 285)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 74 of 129 PageID# 5650

                                              Page 286                                                     Page 287
   1   with going through the cancellation records, correct?    1   self-declared to the DMV, a government agency, that
   2        A. That's what the email appears to show.           2   this was their status," right?
   3        Q. And he writes to Mr. George, "I've decided       3       A. It says that.
   4   to look at the records of some of the people on the      4       Q. And then he said, you know, if they don't
   5   list. I just randomly picked non-Hispanic surnames       5   understand the question, or they were trying to make
   6   living in single family homes in Fairfax County."        6   a political statement, or they were coerced into
   7   "Based upon this analysis," I now wonder if this         7   registering in the first place, it's not our job to
   8   really -- "if this is really a list of actual            8   determine. Do you see that?
   9   noncitizens or rather a list of people who, via the      9       A. I see that.
  10   DMV, apparently indicated they are noncitizens          10       Q. Right. So you were aware at the time
  11   regardless of their true status. In other words,        11   before Alien Invasion II was published that certainly
  12   while the list is real, does it really prove that the   12   one of the folks working on it was concerned about
  13   people on the list are noncitizens." Do you see         13   whether or not these people were in fact noncitizens.
  14   that?                                                   14       A. One of the first working on it being whom?
  15        A. That's what it says.                            15       Q. Mr. Damon.
  16        Q. And he cites two people in particular as        16       A. He actually said there's no way to tell.
  17   examples, correct?                                      17   You didn't read the whole email. Mr. Damon was
  18        A. That's on the email.                            18   concerned, and, after all of these emails were
  19        Q. Right. Mr. George responds on May 25th,         19   exchanged, what you don't have is the description of
  20   2017 by copying you, correct?                           20   the conversation I had with Mr. Damon where his
  21        A. Right.                                          21   concerns were alleviated, and we both concluded that
  22        Q. And Mr. George said, "there is no way for       22   his concerns were alleviated, that this is the best
  23   you and I, or, for that matter, Christian, to           23   information there is, the state stands by it, calls
  24   investigate all of these identified noncitizens.        24   it declared noncitizen. So Mr. Damon retracted much
  25   They have all been removed from VERIS because they      25   of his concerns after we talked through these issues.


                                              Page 288                                                     Page 289
   1        Q. You wrote on May 25th, on the first page,        1   information, but also in the processes and whether or
   2   it says:                                                 2   not the state needs to improve those processes.
   3          "Keith, it's the best data                        3        As you know, we filed a lawsuit against the
   4          available. If the fact a registrant               4   state to get them to improve those processes --
   5          was a citizen, their own system                   5        Q. So --
   6          reported otherwise and kicked them                6        A. -- one, which, by the way, you opposed, or
   7          off the rolls. Nobody has better                  7   at least your clients did.
   8          data than we do. If there are                     8        Q. I don't know what you're referring to
   9          false-positives, it's state data and              9   there, but it's not responsive to the question.
  10          procedures that made them                        10        So Mr. Damon, before you had responded to him,
  11          false-positives."                                11   had said, "I raise this issue, not to express my own
  12        Do you see that?                                   12   willingness to participate, but rather to express my
  13        A. I do.                                           13   concern that conclusions reached might be
  14        Q. And so that's what you were just                14   challenged." Do you see that?
  15   testifying. It's the best data you have.                15        A. No, I don't. Where is it?
  16        A. No, that's not what I was just testifying       16        Q. It's the second paragraph of Mr. Damon's
  17   about. You're mischaracterizing my testimony.           17   email at 5:23 p.m.
  18        What I testified about previously was that I       18        A. 5:23, okay, I see it.
  19   had a conversation with Mr. Damon after these emails,   19        Q. Right.
  20   and there was an understanding that there was no way    20        A. Shall I continue to read? Is there a
  21   for us to ultimately verify the citizenship of each     21   question?
  22   of these individuals, and that the state has taken      22        Q. He raises a concern about those who were
  23   the drastic step of removing them from the voter        23   dropped or canceled who subsequently affirmed their
  24   rolls as noncitizens. And that fact has a great deal    24   citizenship. Okay? Generally speaking, that was a
  25   of weight, both in the reliability of the               25   concern of his.


                                                                               73 (Pages 286 to 289)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 75 of 129 PageID# 5651

                                              Page 290                                                     Page 291
   1       A. It speaks for itself. He also, for                1   PILF, those individuals may just not have had the
   2   inventorying his views, he says he's interested that     2   opportunity to respond to the notice of intent to
   3   Edgardo Cortes states that people who were dropped       3   cancel and affirm their citizenship, correct?
   4   and subsequently affirmed will not be on the list,       4       A. So you're referring to two weeks worth of
   5   which would appear to negate my concerns. That was a     5   names, that's all. And so we can calculate that
   6   conclusion ultimately reached by Mr. Damon --            6   number. My guess is it's probably in the single
   7       Q. Right.                                            7   digits.
   8       A. -- as it relates to this issue.                   8       Q. But the two weeks, after two weeks, they
   9       Q. And Mr. Damon also raises the fact that           9   get canceled, and then a lot of times registrants,
  10   the current reports that he was working on, like the    10   you would agree, do not reregister and affirm their
  11   current one which has deletions as late as April        11   citizenship until after they're already canceled,
  12   27th, it might reflect a period when the person has     12   right?
  13   been dropped before he realizes that he was             13       A. That's irrelevant to the question of
  14   incorrectly dropped.                                    14   whether there was a substantial basis to report that
  15       A. No, that's not -- first of all, that's a         15   these people had been canceled for declared
  16   tiny fraction given the time issue, that that would     16   noncitizens. There are people who naturalize and
  17   have been a very recent event, and these go back to     17   later reregister. I will grant you that.
  18   2011. So it's not -- it doesn't have a lot of           18       Q. But it would be incorrect to call them a
  19   possible people who fall in that category.              19   noncitizen.
  20       Q. Okay.                                            20       A. No, it wouldn't, because the report says
  21       A. That's the first problem with that.              21   declared noncitizens. Under state law they were
  22       Q. Right, but -- but he does identify a             22   declared noncitizens period.
  23   population of people on the cancellation reports that   23       Q. So that is correct, that is the cancel
  24   you published, namely, those people who were canceled   24   type listed in the column, right?
  25   right before the reports were generated and given to    25       A. It's more than just the cancel type. It's

                                              Page 292                                                     Page 293
   1   what happened. It's the document's title. It's what      1   Department of Elections and plead them when there was
   2   the state did.                                           2   no legal basis. Is that what you're talking about?
   3       When you take somebody off the voter rolls,          3        A. You really think that's what I'm talking
   4   that's a weighty thing. When you remove somebody's       4   about? That's not -- that's an argumentative
   5   active registration, that is a serious matter, and       5   question.
   6   the inference of taking that action is that there was    6        Q. Okay. So you said that, under state law,
   7   validity to it.                                          7   people were declared noncitizens period. What state
   8       You don't just take somebody off the voter           8   law are you referring to?
   9   rolls without a process. And the state was taking        9        A. I don't know.
  10   people off the voter rolls, and we interpreted that     10        Q. You don't know.
  11   process as having validity or else they wouldn't be     11        A. Nope. If you want to get me the Virginia
  12   doing it.                                               12   code book, the Election Code, I'll tell you exactly
  13       Now, as I sit here today, we have since             13   what it was, but it's the state procedures relating
  14   learned that the state was taking people off the        14   to noncitizenship cancellation. They were declared
  15   voter rolls who were citizens, your client apparently   15   noncitizens and removed from the rolls. This
  16   being one of them. And that's why we filed a lawsuit    16   isn't -- this isn't subject to interpretation.
  17   against the state to get them to fix this, by the       17   That's what the document says.
  18   way, a filing which you opposed when we made it. You    18        Q. And nowhere does that document say that
  19   attempted to prevent us from filing it as part of       19   the state of Virginia had adjudicated its own
  20   this action.                                            20   citizenship, correct?
  21       So we made an effort to fix this problem,           21           MR. DAVIS: Objection to form.
  22   which you opposed. And that was responsive.             22        A. Actually there are documents that say
  23       Q. I think, Mr. Adams, you are referring to         23   that.
  24   the fact that you were trying to shift the blame for    24        Q. No, the document that you're referring to,
  25   the things alleged in our complaint to the Virginia     25   the procedures that you're referring to, does not say


                                                                               74 (Pages 290 to 293)
                             TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 76 of 129 PageID# 5652

                                              Page 294                                                     Page 295
   1   that Virginia has adjudicated in fact people's           1   that have been said to me by two former state
   2   citizenship.                                             2   election directors for the Commonwealth of Virginia.
   3        A. That's not true. There are documents that        3          MR. DAVIS: I'm going to object to this
   4   say that.                                                4   line of questioning anyway. I think it's getting
   5        Q. That's not what I'm asking, sir.                 5   into legal interpretation.
   6        A. I answered your question.                        6          MR. TEPE: Why don't we just take a short
   7        Q. I'm not asking about documents. I'm not          7   break.
   8   asking about --                                          8          MR. DAVIS: Sure.
   9        A. Oh, I'm sorry.                                   9          VIDEO SPECIALIST: We are off the record,
  10        Q. No, you understand --                           10   5:01.
  11        A. No, I didn't.                                   11        (Proceedings recessed)
  12        Q. -- precisely, because I've asked it now         12          VIDEO SPECIALIST: We are back on the
  13   twice, and this will be the third time.                 13   record, 5:04.
  14        I'm asking you, you said that there was a          14   BY MR. TEPE:
  15   state law, and then you refer -- I asked about what     15        Q. Mr. Adams, in Alien Invasion II you had
  16   state law, and then you referred to the procedures of   16   advocated for law enforcement to prosecute
  17   the Virginia Department of Elections, right?            17   individuals such as the ones listed in Alien Invasion
  18        And then I'm saying in those procedures there      18   II, correct?
  19   is nothing that states that the Virginia Department     19        A. That's not accurate. I didn't advocate or
  20   of Elections is adjudicating in fact someone's          20   the company did not advocate for specific individuals
  21   citizenship.                                            21   to be prosecuted.
  22        A. I would disagree with that, but we can --       22        Q. Right.
  23   we can talk about the procedures, if you want to pull   23        A. As I previously testified, which I'm happy
  24   them out, but, as I sit here right now, I disagree      24   to do it all over again, subject to my attorney
  25   with that. And I disagree with it because of things     25   making an objection on asked and answered, we did not


                                              Page 296                                                     Page 297
   1   advocate for prosecution of named individuals. We        1          attachment
   2   advocated for the law enforcement officials to take      2          PILF-ADAMS-0000782 - 0000784)
   3   investigative steps that, if warranted, would lead to    3      Q. So handing you what has been marked
   4   prosecution. There is a very large difference            4   previously as Johnson Exhibit 17.
   5   between the two of those.                                5      A. I have the document.
   6       Q. After Alien Invasion II was published,            6      Q. And so this is a mailing list that
   7   PILF mailed the report to a number of prosecutors,       7   Mr. Johnson forwarded on May 26th, 2017 to yourself
   8   correct?                                                 8   and others, correct?
   9       A. Well --                                           9      A. May 26th to Johnson, to Adams, Churchwell,
  10       Q. You don't remember?                              10   Powell, yes.
  11       A. Well, I'm trying to decide whether to            11      Q. Right. And among the people listed are a
  12   include in my answer all the parties who mailed the     12   number of Commonwealth attorneys, correct, about 20?
  13   report to prosecutors and talked to prosecutors.        13      A. Seventeen, 18, 19 -- I think it's 19.
  14       But for now I'll say, yes, PILF was one of the      14      Q. As well as a U.S. attorney for Eastern
  15   parties that mailed reports to prosecutors and talked   15   District of Virginia?
  16   to prosecutors.                                         16      A. Yes.
  17       Q. And that's all my question asked for.            17      Q. U.S. attorney for the Western District of
  18       A. Mm-hmm.                                          18   Virginia, correct? That's right underneath
  19       Q. So I appreciate you staying with the             19   Commonwealth attorney. You don't have to go far.
  20   question asked.                                         20      A. Right, Rick Mountcastle.
  21               (Johnson Exhibit 17                         21      Q. And the deputy assistant attorney general
  22          previously marked for identification             22   John Gore, right?
  23          and referenced herein: Email                     23      A. Correct.
  24          correspondence from (topmost) N                  24      Q. Who is this Eric Drieband?
  25          Johnson sent 5/26/2017 with                      25      A. He is the assistant attorney general for


                                                                               75 (Pages 294 to 297)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 77 of 129 PageID# 5653

                                               Page 298                                                    Page 299
   1   civil rights.                                            1   attorneys, correct?
   2       Q. So you mailed the report out to all those         2       A. No, I think there were intervening events.
   3   Commonwealth attorneys, correct?                         3   It wasn't -- it wasn't that simple.
   4       A. The company mailed the report to those            4                (PILF Exhibit 25 marked for
   5   Commonwealth attorneys.                                  5          identification: Email correspondence
   6       Q. And that included the names of the                6          from (topmost) S Powell sent
   7   individuals?                                             7          7/5/2017
   8       A. No, it did not.                                   8          PILF-ADAMS-0000022 - 0000028)
   9       Q. No, just the report?                              9       Q. The court reporter has just marked as
  10       A. Yes.                                             10   Exhibit 25 a document with Bates number 22. Do you
  11       Q. That tells people how to obtain the list.        11   recognize this document?
  12       A. There's a difference.                            12       A. I've reviewed this document.
  13       Q. I understand.                                    13       Q. Okay. And so this email chain begins with
  14       A. It did not include the names. The mailing        14   an email from you on June 23rd; is that right?
  15   did not include the names of the individuals in any     15       A. It starts June 23, right.
  16   of the exhibits.                                        16       Q. And the subject line is "follow-up in
  17       Q. No Commonwealth attorney contacted PILF to       17   Virginia," you emailed Ms. Powell and Mr. Churchwell,
  18   follow up; is that right?                               18   right?
  19       A. I don't believe so.                              19       A. Right.
  20       Q. Do you recall a Commonwealth attorney --         20       Q. And you wrote, "It's been weeks. Could
  21       A. I just answered the question. I don't            21   you two do a sweep of Commonwealth attorneys in
  22   believe any called us.                                  22   Virginia and ask them a few questions." Right?
  23       Q. Okay. And then when that happened, when          23       A. Right.
  24   no Commonwealth attorney contacted PILF, you directed   24       Q. Right. One of those, did you get our
  25   PILF personnel to follow up with the Commonwealth       25   report, did you need anything else, who is the lawyer


                                               Page 300                                                    Page 301
   1   in your office working on what we sent, have they        1   and Mr. Churchwell. And so it is --
   2   gotten the list of voters from your county. Because      2        A. Withdrawn. I understand.
   3   you also sent them the list of voters from your          3        Q. Right. And it is the case, as Ms. Powell
   4   county.                                                  4   indicates on July 5th -- it's the top email -- that
   5        A. I've testified no. This refers to them           5   she is going to send the Alien Invasion PDF and
   6   getting the list from their election officials. I've     6   county specific list to all CAs we haven't yet
   7   already testified to you once that we didn't send the    7   communicated with. Do you see that?
   8   list of voters. You've asked me twice now.               8        A. No. I'm sorry. What page are you on?
   9        Q. But you did instruct your team to follow         9   This is --
  10   up with Commonwealth attorneys, correct?                10        Q. The first page, Shawna Powell, Logan
  11        A. Well, my team included the lawyer from          11   Churchwell, July 5th, "tomorrow I'm going to send the
  12   Skadden Arps, so --                                     12   alien PDF and county specific list to all CAs we
  13        Q. No, no, no.                                     13   haven't yet communicated with," correct?
  14        A. Yes, yes, yes.                                  14        A. Right.
  15        Q. Sir, sir, okay, let me -- strike that.          15        Q. Right. And so it is true that PILF sent
  16        So you emailed Shawna Powell and Logan             16   lists of individuals that were published in the Alien
  17   Churchwell, right?                                      17   Invasion II report to prosecutors, correct?
  18        A. In this particular communication. Your          18        A. I don't remember reviewing a document in
  19   question was about the team.                            19   preparation for this that shows that.
  20        Q. Right.                                          20        Q. Well, perhaps you should have.
  21        A. And my answer was --                            21        A. Well, perhaps it doesn't exist. That's
  22        Q. And my --                                       22   the other possibility. In fact, the fact that I
  23        A. Can I finish, please?                           23   don't remember reviewing it would create an inference
  24        Q. And my question was poor, so I'm                24   that it doesn't exist, but, if you have it --
  25   withdrawing it because I meant by "team" Ms. Powell     25        Q. 98(a).


                                                                               76 (Pages 298 to 301)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 78 of 129 PageID# 5654

                                              Page 302                                                    Page 303
   1               (Johnson Exhibit 18                         1   deposition notice that you said that you were
   2          previously marked for identification             2   prepared to testify on --
   3          and referenced herein: Email                     3          MR. DAVIS: What did you just hand the
   4          correspondence from (topmost) N                  4   witness? And this is marked as an exhibit?
   5          Johnson sent 6/27/2017                           5               (PILF Exhibit 26 marked for
   6          PILF-ADAMS-0000732 - 0000733)                    6          identification: Email correspondence
   7       A. Very good.                                       7          from (topmost) S Powell sent
   8       Q. Does this refresh your recollection?             8          7/5/2017 with attachment
   9       A. It does. Well, this is a draft, and this         9          PILF-ADAMS-0000045 - 0000087)
  10   predates this other email. So I'm not sure that        10          THE REPORTER: This will be 26.
  11   you're talking about the same things. This relates     11       Q. The court reporter has marked as Exhibit
  12   to Newport News.                                       12   26 a document with Bates number 45. It is an email
  13       Q. So are you seriously, you know, disputing       13   from Shawna Powell to Jim Plowman, who is
  14   the notion that PILF sent lists of individuals         14   Commonwealth attorney in Loudoun, correct?
  15   published in Alien Invasion II to Commonwealth         15       A. That's what it says.
  16   attorneys? Yes or no.                                  16       Q. Right. And in this email on July 5th from
  17       A. I'm not seriously disputing it, but I am        17   Ms. Powell, which you were copied on, it says,
  18   disputing it, because I'd like to see some more        18   "attached you'll find a report regarding noncitizen
  19   documents.                                             19   registration and voting in Virginia. Also, I have
  20       Q. Because you didn't prepare for it today.        20   attached the list of noncitizens removed for
  21       A. That's not accurate. There's a lot of           21   citizenship defects from Loudoun County's voter
  22   documents here. And you'd speed it up, if you would    22   rolls." So this refreshes your recollection --
  23   just show me the document in the first place, and we   23       A. Right.
  24   can talk about it.                                     24       Q. -- that you, PILF, were sending lists of
  25       Q. Well, Topic No. 4 to the 30(b)(6)               25   individuals listed in Alien Invasion II to

                                              Page 304                                                    Page 305
   1   Commonwealth attorneys.                                 1   noncitizens removed for citizenship defects from
   2       A. Right.                                           2   Chesapeake's voter rolls."
   3       Q. Right. And you sent it to a number of            3       A. That's what the letter says, but you
   4   jurisdictions, correct?                                 4   said -- what it includes as an attachment is the
   5       A. I think we just did a document -- we             5   Cancellation - Declared Non-Citizen list --
   6   discussed one where you listed those jurisdictions,     6       Q. Right.
   7   or you provided me a document that listed a variety     7       A. -- from the Department of Elections.
   8   of jurisdictions.                                       8       Q. Right. And this is -- this is what was
   9       As a matter of fact, you've provided me a           9   published in Alien Invasion II, correct?
  10   number of documents that listed multiple               10       A. Well, it almost certainly was, but you
  11   jurisdictions, Johnson 17, and we've already talked    11   didn't ask that until just now.
  12   about those -- or talked about some of them.           12               (PILF Exhibit 28 marked for
  13                (PILF Exhibit 27 marked for               13          identification: Email correspondence
  14          identification: Email correspondence            14          from (topmost) S Coplon sent
  15          from (topmost) S Powell sent                    15          6/30/2017
  16          6/30/2017 with attachment                       16          PILF-ADAMS-0017960 - 0017961)
  17          PILF-ADAMS-0050984 - 0051022)                   17       Q. The court reporter has marked as Exhibit
  18       Q. The court reporter is marking as Exhibit        18   28 the email with the Bates number 17960, and this is
  19   27 an email to the Chesapeake Commonwealth's           19   actually a response from a Susie Coplon of the
  20   attorney's office, right?                              20   Commonwealth attorney's office for Norfolk; is that
  21       A. Correct.                                        21   right?
  22       Q. A copy of the report and the voter roll         22       A. Right.
  23   cancellation list published in Alien Invasion II?      23       Q. And in this email she is thanking you for
  24       A. No, that's not what it includes.                24   sending over the Alien Invasion report and the list
  25       Q. It says, "I have attached the list of           25   of noncitizens removed for citizenship defects from


                                                                              77 (Pages 302 to 305)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 79 of 129 PageID# 5655

                                              Page 306                                                     Page 307
   1   Norfolk's voter rolls for a period of time, correct?     1   characterization --
   2       A. That's right.                                     2       Q. Well, what other list are you sending?
   3       Q. Okay. You can put that aside.                     3   Because this is what you published in Alien Invasion
   4               (PILF Exhibit 29 marked for                  4   II.
   5          identification: Email correspondence              5       A. You said these were people removed from
   6          from (topmost) M Herring sent                     6   the voter rolls. There's a difference between -- you
   7          7/7/2017                                          7   aren't asking a precise question.
   8          PILF-ADAMS-0017951 - 0017952)                     8               (PILF Exhibit 30 marked for
   9       Q. And here is an email that's been marked as        9          identification: Email correspondence
  10   Exhibit 29 with the Bates number 17951. Do you see      10          from (topmost) S Powell sent
  11   that?                                                   11          7/6/2017 with attachment
  12       A. Yes.                                             12          PILF-ADAMS-0050275 - 0050848)
  13       Q. And this is an email response from Michael       13       Q. The court reporter has marked as Exhibit
  14   Herring, Commonwealth attorney from Richmond City; is   14   30 a document beginning with Bates number 50275.
  15   that right?                                             15       Do you see that? It's an email from Shawna
  16       A. Right.                                           16   Powell to Logan Churchwell.
  17       Q. Acknowledging you sending over the Alien         17       A. I see it.
  18   Invasion II report and the list of individuals          18       Q. And she says, "Logan, here is my list of
  19   removed from Richmond City's voter rolls, correct?      19   CAs." That's Commonwealth attorneys, correct?
  20       A. No, it's not the list of people removed          20       A. Right.
  21   from Richmond City's voter rolls.                       21       Q. "I'll follow up with them all again when I
  22       Q. "I have attached the list of noncitizens         22   return from vacation."
  23   removed for citizenship defects from Richmond City's    23       A. That's what it says.
  24   voter rolls."                                           24       Q. All right. You can put that aside.
  25       A. Well, you left that part out in your             25       A. Put it aside, did you say?

                                              Page 308                                                     Page 309
   1       Q. Put it aside, yes.                                1       This is an email from you dated May 30th, at
   2       Have you personally met with any Commonwealth        2   the beginning of the chain, to Mark Lytle; is that
   3   attorneys regarding Alien Invasion II?                   3   right?
   4       A. I don't believe I have.                           4       A. The pronunciation is Lytle.
   5       Q. Have you met with any federal prosecutors         5       Q. Lytle, L-Y-T-L-E. Who is Mark Lytle?
   6   with regard to Alien Invasion II?                        6       A. I -- I cannot remember what the state is
   7       A. Yes.                                              7   regarding the privilege agreement and whether or not
   8       Q. What --                                           8   this was in the agreement.
   9       A. Well, I'm not sure, since you've                  9       Q. Yes, it was.
  10   compressed it to II, I don't know if it's just II or    10          MR. DAVIS: This is okay.
  11   I or ... perhaps. I mean, maybe you can rephrase the    11       A. Right. Okay. And your question was?
  12   question.                                               12       Q. You emailed Mark Lytle on May 30th,
  13       Q. Have you met with any federal prosecutors        13   correct?
  14   with regard to Alien Invasion II?                       14       A. May 30th, that's what the document says.
  15       A. Okay. I cannot recall if it was related          15       Q. And the subject line is "Report"?
  16   to II, but it might have been II and it might have      16       A. It is.
  17   been I and II.                                          17       Q. And there's a link to PJ Media article
  18                 (PILF Exhibit 31 marked for               18   that you drafted about the Alien Invasion II report,
  19           identification: Email correspondence            19   correct?
  20           from (topmost) M Lytle sent                     20       A. Well, in my personal capacity I drafted a
  21           5/30/2017                                       21   PJ Media article. So the use of the word "you" would
  22           PILF-ADAMS-0052723 - 0052724)                   22   bleed into corporate issues, but, yes, that is an
  23       Q. What's been marked as Exhibit 31 is a            23   article that I in my personal capacity drafted.
  24   document with the Bates number 52721. For the           24       Q. Okay. And then Mr. Lytle asked, "When are
  25   record, this document was produced to us last night.    25   you free for lunch?" And then you set, basically, a


                                                                              78 (Pages 306 to 309)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 80 of 129 PageID# 5656

                                               Page 310                                                    Page 311
   1   date and location, correct?                              1       Q. Actually --
   2       A. Well, we set a date. To answer your               2       A. I don't have an answer for you.
   3   question about location, I'm not sure we actually --     3       Q. I have a question that's pending.
   4       Q. Okay. Did you --                                  4       A. I know you do, but I don't have an answer
   5       A. -- did.                                           5   for you.
   6       Q. Did you meet with Mr. Lytle and talk about        6       Q. Okay. You can talk to your attorney.
   7   the Alien Invasion II report?                            7   We'll go off the record.
   8       A. Well, again, you keep asking about                8          VIDEO SPECIALIST: We are off the record,
   9   Alien II.                                                9   5:24.
  10       Q. Well, this is -- this is May 30th.               10       (Proceedings recessed)
  11       A. Right, but it could have also been               11          VIDEO SPECIALIST: We are on the record,
  12   Alien I. I just don't remember. It could have been      12   5:28.
  13   both.                                                   13   BY MR. TEPE:
  14       Q. Okay.                                            14       Q. Mr. Adams, the question pending before you
  15       A. But so --                                        15   asked to go talk to your attorney was, did you
  16       Q. Did you meet with him and discuss your           16   provide Mr. Lytle lists of individuals that were
  17   Alien Invasion reports?                                 17   included in either of the invasion reports?
  18       A. Yes.                                             18       A. The answer is yes. And the reason I asked
  19       Q. Did you provide him lists of individuals         19   to talk to my attorneys is I was unaware of the
  20   that were included in either of the Alien Invasion      20   particulars of the privilege agreement that you had.
  21   reports?                                                21       Q. Fair enough. What else did you discuss
  22       A. Could I talk to my attorney for two              22   with Mr. Lytle?
  23   minutes?                                                23       A. Well, we discussed a wide range of things,
  24       Q. Go off the record?                               24   including how people get on the voter rolls who are
  25       A. Go off the record?                               25   not citizens, my analysis of what the defects are in

                                               Page 312                                                    Page 313
   1   the system, as we currently understood them at that      1   quickly and easily obtain voter records from the
   2   time, avenues that could be explored at the DOJ to       2   Commonwealth election officials, all done relatively
   3   enforce federal laws related to noncitizen voting,       3   surreptitiously without the voters even being aware
   4   the investigative procedures that would be utilized      4   of the process.
   5   by the department to look into these issues, the         5       And, frankly, I was somewhat relieved that --
   6   nature of the administrative procedures that resulted    6   I believed that there is a genuine way to do this
   7   in noncitizens getting on the rolls. There was a         7   that protects voting rights and protects everybody
   8   wide variety of issues.                                  8   involved.
   9       Q. And you advocated to him that some of the         9       Q. Did you tell Mr. Lytle that, despite your
  10   individuals listed in Alien Invasion reports be         10   report saying there's 5,556 noncitizens, that
  11   prosecuted.                                             11   actually some number of them are actually citizens?
  12       A. No. What I advocated -- no. See you --           12       A. Right. What I said to him is that the
  13   there's a recurring mischaracterization of the          13   usual suspects who don't want anybody talking about
  14   evidence in your question.                              14   noncitizens on the voter rolls are very incensed and
  15       Q. It's a question. You can dispute it, if          15   animated about this report. It's in -- responsive to
  16   you want.                                               16   your question.
  17       A. Well, it's an incorrect one. What I              17       Q. No, it's not. It's totally not
  18   advocated to him was the department undertake a         18   responsive.
  19   thorough review of this information, considering the    19       A. Well, if I might have the opportunity to
  20   fact that they were well-placed to overcome the         20   get to it.
  21   shortcomings that a private organization faced in       21       And I said, so what you're going to find is
  22   trying to get to the bottom of this problem.            22   there may be some people who are ultimately citizens,
  23       The department and the administration broadly       23   but you will have the ability to determine that in
  24   had access to immigration records, citizenship          24   ways that nobody else will. And I explained why it
  25   applications, DHS files, INS files. They could          25   was that people dislike this report because it was


                                                                               79 (Pages 310 to 313)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 81 of 129 PageID# 5657

                                              Page 314                                                     Page 315
   1   the first step at trying to analyze what the problem     1   data they had available.
   2   is.                                                      2        Q. So you told Mr. Lytle that the individuals
   3        Q. Right, because the individuals listed in         3   listed in Alien Invasion II, Exhibit 1, are
   4   Exhibit 1 are not actual lists of noncitizens; it's a    4   potentially -- includes potentially citizens.
   5   list of people who were canceled from voter rolls for    5        A. But more likely they are noncitizens.
   6   potentially not being noncitizens.                       6        Q. Did you also tell him that you've --
   7        A. No, you're --                                    7   strike that.
   8           MR. DAVIS: Stop a second. I'm going to           8        Did you meet with any other federal
   9   object. It's argumentative and repetitive.               9   prosecutors besides Mr. Lytle?
  10        A. And also inaccurate. That is not                10        A. I did not have a meeting with other
  11   accurate. The list of people in Exhibit 1 are           11   federal prosecutors, at least none that I remember
  12   declared noncitizens by the Commonwealth and for all    12   sitting here right now.
  13   the other reasons that I testified throughout this      13                (PILF Exhibit 32 marked for
  14   deposition could be relied on as declared               14          identification: Email correspondence
  15   noncitizens.                                            15          from (topmost) C Adams sent
  16        Q. So the answer is yes, you did tell Mr.          16          11/3/2016 PILF-ADAMS-0046297)
  17   Lytle that some of the people listed are likely         17        Q. This is a document marked as Exhibit 32,
  18   citizens, correct?                                      18   Bates number 46297. It's an email you sent on
  19        A. No, that's not what I said nor did I            19   November 3rd, 2016, correct, to Ms. Powell?
  20   testify to that. What I said was --                     20        A. Right.
  21        Q. Okay. Let me ask you --                         21        Q. And here you're looking for a copy of
  22        A. Can I answer the question? I'm sorry.           22   Alien Invasion I, right?
  23        What I said was that there were potential of       23        A. Yes.
  24   noncitizens here, but they would be able to easily      24        Q. And you say, "I want to put it in the
  25   overcome false-positives because of the vast array of   25   hands of the DOJ lawyer who would prosecute these

                                              Page 316                                                     Page 317
   1   people, and is a friend of mine." Do you see that?       1   important." Do you see that?
   2       A. I see that.                                       2       A. Exhibit 33 is consistent with the
   3       Q. Who is your friend?                               3   testimony I just gave, and in fact refreshes my
   4       A. Mr. Lytle.                                        4   recollection that I was talking to Mr. Lytle.
   5       Q. Okay. And so did you meet with him in             5       Q. Right. So you had a meeting with
   6   November of 2016?                                        6   Mr. Lytle in November of 2016, right?
   7       A. I don't believe so. I might have.                 7       A. It doesn't say that, does it? If it does,
   8       Q. And --                                            8   please direct me to that.
   9       A. Well, wait, strike that answer.                   9       Q. Well, it says in the middle, "I'm meeting
  10       There is a high degree of probability that I        10   with EDVA USA office," 9:55 a.m.
  11   had conversations with Mr. Lytle in November of '16.    11       A. I'm not meeting with -- right. Right, but
  12       Q. A high degree of probability that you did        12   that -- that refers to a future event.
  13   have conversations with Ms. Lytle --                    13       Q. And so you were asking for the list of
  14       A. Mister.                                          14   records, excuse me, the records with the list of
  15       Q. -- Mr. Lytle in November, right?                 15   individuals who had been canceled, correct, for that
  16       A. Correct.                                         16   meeting?
  17               (PILF Exhibit 33 marked for                 17       A. No, I was asking for the list of declared
  18         identification: Email correspondence              18   noncitizens for that meeting. Remember, the list of
  19         from (topmost) S Powell sent                      19   cancellations is much larger than just noncitizen
  20         11/21/2016 with attachment                        20   cancellations.
  21         PILF-ADAMS-0013344 - 0013404)                     21       Q. Do you recall any other meetings with
  22       Q. This has been marked as Exhibit 33. At           22   federal prosecutors other than the one after Alien
  23   the end of this email you say, "I am talking to U.S.    23   Invasion II and the one in November after Alien
  24   attorney in charge of prosecuting them early            24   Invasion I?
  25   afternoon do so as soon as possible. Thanks. Very       25       A. Well, okay, there is a high degree of


                                                                              80 (Pages 314 to 317)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 82 of 129 PageID# 5658

                                             Page 318                                                     Page 319
   1   probability that I spoke with Mr. Lytle throughout      1   paragraph.
   2   that entire period.                                     2       A. Right.
   3       Q. So there's a bunch of communications             3       Q. Right, and this is September 30. You're
   4   you've had with Mr. Lytle.                              4   referring to the Alien Invasion I report, right?
   5       A. I would say so, yes.                             5       A. Well, I don't think anything was out yet.
   6                (PILF Exhibit 34 marked for                6       Q. Right, because this is -- this is
   7          identification: Email correspondence             7   September 30. You were still editing it at this
   8          from (topmost) N Johnson sent                    8   time.
   9          9/30/2016 PILF-ADAMS-0005422)                    9       A. Correct.
  10       Q. Did you meet with or correspond with any        10       Q. Right. And you said, Johnson says,
  11   other -- strike that.                                  11   "Thanks. I will give it another proof and send the
  12       Did you have communications with any other         12   full PDF back," right?
  13   federal prosecutor other than Mr. Lytle about Alien    13       A. Right.
  14   Invasion reports?                                      14       Q. And then in the fourth paragraph of the
  15       A. Well, depends on how you define                 15   underlying email you said, "I notice there are no
  16   prosecutor. An AUSA, no.                               16   names of the matches," and that's --
  17       Q. The court reporter is handing you what's        17       A. This doesn't refer to Virginia.
  18   been marked as 34, Exhibit 34. It's a document with    18       Q. Okay. In this paragraph you refer to "I
  19   the Bates number 5422. I want to direct --             19   am going to deliver this to a good friend who does
  20       A. Okay.                                           20   the public corruption prosecutions at EDVA for DOJ."
  21       Q. I want to direct your attention to your         21       A. That's what it says.
  22   email of September 30th at 3:21 p.m.                   22       Q. "I can give him the list separately."
  23       A. What is this? It says "Adams Philly             23       A. It says that.
  24   edit."                                                 24       Q. Right. So this is the Alien Invasion
  25       Q. The one, two, three, four ... fourth            25   report, correct, Alien Invasion I? That's what you


                                             Page 320                                                     Page 321
   1   were working on that day.                               1   the voter history matches.
   2       A. Well, hold on. Let me read this.                 2       Q. Exactly. That's what I said.
   3       I'm going to deliver this to a good friend ...      3       A. Okay.
   4   this probably would refer to Alien Invasion I after     4       Q. And so your intention was for Alien
   5   it was published.                                       5   Invasion -- the Alien Invasion reports to be
   6       Q. Right. And so what you were discussing           6   self-contained prosecution guides, right?
   7   here is how the report itself, what you were            7       A. That's an overstatement of what we
   8   publishing, did not match names of people who were      8   intended. Let me -- I've testified to this a couple
   9   canceled with those who -- with their voter history     9   of times during this deposition. Let me explain what
  10   essentially, right?                                    10   this means, if that's what you're asking. Is that
  11       A. I don't think it says that. Where do you        11   the pending question?
  12   see that?                                              12       Q. The pending question is, your intention
  13       Q. It says --                                      13   was for Alien Invasion reports to be self-contained
  14       A. I notice there are no names of the              14   prosecution guides, using the language you use here
  15   matches. That's about True the Vote ...                15   in this email.
  16       Q. No, Mr. Adams, you're saying here, "that's      16       A. No.
  17   good and bad. Good because it insulates us from a      17       Q. No? That wasn't your intention?
  18   personalized false-positive. Bad because it makes it   18       A. I just answered that.
  19   harder to move the report as a self-contained          19       Q. Okay. How much money did PILF raise as a
  20   prosecution guide."                                    20   result of solicitations using the Alien Invasion I
  21       A. Right.                                          21   reports?
  22       Q. And then you say, "I am going to deliver        22       A. Let the -- you have someone coming in.
  23   this to a good friend," right?                         23       Q. You can answer the question.
  24       A. Okay. This is referring to -- now that          24       A. Next to nothing, as far as I know.
  25   I've had a chance to look at this -- this refers to    25       Q. You did frequently refer to Alien Invasion


                                                                              81 (Pages 318 to 321)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 83 of 129 PageID# 5659

                                              Page 322                                                     Page 323
   1   I in your fundraising correspondence, correct?           1   fundraising off of the Alien Invasion reports.
   2        A. I don't know about what you mean by              2       Strike that answer. It's not. It's relating
   3   "frequently." More than once? Yes. Frequently?           3   to New Jersey. "Report: Noncitizens discovered in
   4   Vague. If you have a number to attach to your            4   New Jersey voter registration system." That's
   5   question, I can attempt to answer it.                    5   Exhibit 35.
   6        Q. Well, my question is: How many times did         6       Q. Right. And on Exhibit 35 on the third
   7   you refer to the Alien Invasion reports in               7   page, "Garden State Gotcha follows PILF's previous
   8   fundraising solicitations?                               8   work to quantify the number of voters canceled for
   9               (PILF Exhibit 35 marked for                  9   citizenship defects in Virginia. The Public Interest
  10          identification: Email correspondence             10   Legal Foundation found more than 5,500 cases." And
  11          from (topmost) Public Interest Legal             11   there's a link there to the report, correct?
  12          sent 9/11/2017                                   12       A. Twenty-five words on a four-page document
  13          PILF-ADAMS-0017882 - 0017886                     13   refer to that -- 26, if you count the next paragraph.
  14          PILF-ADAMS-0049764 - 0049765)                    14                (PILF Exhibit 36 marked for
  15          MR. DAVIS: Can I get a copy of that?             15          identification: Email correspondence
  16        Q. Mr. Adams, how many times?                      16          from (topmost) C Adams sent
  17        A. I'm waiting for my counsel to get a copy.       17          11/30/2017
  18   You didn't give him a copy. I'm letting him see it.     18          PILF-ADAMS-0017707 - 0017710)
  19        Okay. Probably about a dozen, maybe more. It       19       Q. What I've handed -- what's been handed to
  20   was totally ineffective, though, because we didn't      20   you now as Exhibit 36 is a document with the Bates
  21   seem to raise any money related to the Alien Invasion   21   number 177707. This is another fundraising
  22   reports that I can credit.                              22   solicitation, correct?
  23        Q. But that is an example of a fundraising         23       A. Right. This is -- Exhibit 36 is a
  24   solicitation. This is Exhibit 35.                       24   fundraising solicitation.
  25        A. That is an example of a failed attempt at       25       Q. And on the second page of this


                                              Page 324                                                     Page 325
   1   solicitation you refer to your work on Virginia,         1   found 5,556 voters removed by the Commonwealth of
   2   correct? You say this work revealed more than 5,500      2   Virginia as, quote, noncitizens.
   3   cases of alien registrants, right?                       3       A. Yes, that's accurate.
   4       A. Yes.                                              4       Q. Right? "This research followed an initial
   5       Q. You can put that document aside.                  5   October 2016 sampling that yielded one thousand
   6                (PILF Exhibit 37 marked for                 6   noncitizens," right?
   7          identification: Email correspondence              7       A. That's accurate.
   8          from (topmost) C Adams sent                       8       Q. And there are links to both those reports
   9          12/20/2017                                        9   there, right?
  10          PILF-ADAMS-0017698 - 0017702)                    10       A. I'm not sure if that's what the links are.
  11       Q. The court reporter has marked as Exhibit         11   There appears to be a hyperlink, but it doesn't
  12   37 an email chain, Bates number 17698. This is from     12   necessarily go to the report. It could go to an
  13   December of 2017. Do you see that?                      13   article about the report. There's a variety of other
  14       A. I have Exhibit 37.                               14   possibilities. I didn't study all the hyperlinks in
  15       Q. And as part of the email solicitation,           15   the 52,000 pages.
  16   there is a reference, a bullet to the May 2017 Alien    16               (PILF Exhibit 38 marked for
  17   Invasion report, correct?                               17          identification: Email correspondence
  18       A. Give me a moment to read this, please.           18          from (topmost) C Adams sent
  19       Okay. On the third page it first mentions           19          8/27/2018
  20   the --                                                  20          PILF-ADAMS-0018554 - 0018558)
  21       Q. Well, it's --                                    21       Q. The court reporter has marked as Exhibit
  22       A. -- the Virginia --                               22   38 a document with the Bates number 18554. This is
  23       Q. The first two pages are just sort of email       23   another email solicitation, correct? It's dated
  24   traffic, right? And on the first page of the actual     24   August 27, 2018.
  25   solicitation there is a bullet that says that PILF      25       A. Right.


                                                                               82 (Pages 322 to 325)
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Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 84 of 129 PageID# 5660

                                             Page 326                                                         Page 327
   1       Q. And it talks about the release of Safe           1   Plaintiffs in this case?
   2   Spaces, right?                                          2        A. Next to nothing.
   3       A. "Today PILF leased Safe Spaces," right.          3          MR. TEPE: We're going to keep this
   4       Q. And at the end of it, it says, "Safe             4   deposition open. Bill, we can talk about it
   5   Spaces follows the Foundation's previous reports        5   afterwards, but that's --
   6   studying noncitizen voter participation in Allegheny    6          MR. DAVIS: Our point is it's done, but,
   7   County, Pennsylvania, New Jersey and Virginia," and     7   you know, we can address that at the appropriate time
   8   there's a hyperlink on Virginia, correct?               8   and in the appropriate forum.
   9       A. That's what it says.                             9          MR. TEPE: Do you have any questions?
  10          VIDEO SPECIALIST: Excuse me, gentlemen.         10          MR. DAVIS: I do not.
  11   We've hit seven hours. I don't know if we have to      11          MR. TEPE: Okay.
  12   have a hard stop.                                      12          MR. DAVIS: And we will read.
  13       Q. PILF also --                                    13        Q. Oh, there is actually one other issue.
  14          MR. DAVIS: This is the last question            14        Mr. Adams, if you don't mind --
  15   we're going to entertain. You got a seven-hour rule.   15        A. Do you want to ask me another question?
  16          MR. TEPE: Yes, and also the rule is that        16          MR. DAVIS: Are we on the record?
  17   the witness is supposed to be prepared to answer       17          VIDEO SPECIALIST: I haven't turned it
  18   questions.                                             18   off.
  19          MR. DAVIS: And also we would expect the         19          MR. DAVIS: We should be off the record.
  20   attorney not to ask repetitive and argumentative       20        Q. Okay. No, there's one question for the
  21   questions. So we can take that up at another date,     21   record, because there was a question asked that we
  22   but we're done for today.                              22   didn't get a direct answer on.
  23          MR. TEPE: Okay.                                 23        Mr. Adams, you have no engagement or retention
  24       Q. How much money has PILF raised through          24   letter with Skadden Arps, correct?
  25   solicitations invoking the lawsuit brought by          25        A. I've asked and answered.


                                             Page 328                                                         Page 329
   1         MR. DAVIS: "You" being PILF?                      1            ACKNOWLEDGMENT OF DEPONENT
   2         MR. TEPE: PILF or Mr. Adams.                      2
   3         MR. DAVIS: I think he has asked and               3         I, J. Christian Adams, as PILF 30(b)(6)
   4   answered that.                                          4   designee, do hereby acknowledge that I have read and
   5         MR. TEPE: No, he didn't actually provide          5   examined the foregoing testimony and that the same is
   6   --                                                      6   a true, correct and complete transcription of the
   7         MR. DAVIS: He said there's no written             7   testimony given by me, with the exception of the
   8   engagement letter.                                      8   noted corrections, if any, appearing on the attached
   9      Q. Is that your answer?                              9   errata page(s).
  10      A. That's my answer.                                10    __________         ____________________________
  11         MR. TEPE: Thank you. We can go off.              11    DATE            J. Christian Adams
  12         VIDEO SPECIALIST: We're off the record,          12
  13   5:51.                                                  13
  14   //                                                     14   Subscribed and sworn to before me this _____ day of
  15         (The deposition of 30(b)(6) designee J.          15   _____________________, 20_____ .
  16   Christian Adams adjourned at 5:51 p.m.)                16   ___________________________________ (Notary Public)
  17   //                                                     17   My Commission expires: _______________________
  18                                                          18
  19                                                          19
  20                                                          20
  21                                                          21   [SEAL]
  22                                                          22
  23                                                          23
  24                                                          24
  25                                                          25




                                                                               83 (Pages 326 to 329)
                            TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 85 of 129 PageID# 5661

                                              Page 330                                                       Page 331
   1            CERTIFICATE                                     1               EXHIBITS
   2                                                            2
   3          I, LINDA S. KINKADE, Registered Diplomate         3   PILF EXHIBITS DESCRIPTION                          PAGE
   4   Reporter, Certified Realtime Reporter, Registered        4   PILF Exhibit 1 Plaintiffs' Amended Rule ....... 7
   5   Merit Reporter, Certified Shorthand Reporter, and        5            30(b)(6) Notice to Take
   6   Notary Public, do hereby certify that prior to the       6            Deposition of Public Interest
   7   commencement of examination the deponent herein was      7            Legal Foundation
   8   duly sworn by me to testify truthfully under penalty     8   PILF Exhibit 2 ActRight Legal Foundation ...... 12
   9   of perjury.                                              9            letter dated 7/17/2014
  10       I FURTHER CERTIFY that the foregoing is a true      10            PILF-ADAMS-0020792 - 20858
  11   and accurate transcript of the proceedings as           11   PILF Exhibit 3 Filing re charitable ........... 15
  12   reported by me stenographically to the best of my       12            organization status
  13   ability.                                                13            PILF-ADAMS-0021095 - 0021147
  14       I FURTHER CERTIFY that I am neither counsel         14   PILF Exhibit 4 Email correspondence from ...... 16
  15   for nor related to nor employed by any of the parties
                                                               15            (topmost) CMitchell sent
  16   to this case and have no interest, financial or
                                                               16            3/30/2016 with attachment
  17   otherwise, in its outcome.
                                                               17            PILF-ADAMS-0018345 - 0018373
  18       IN WITNESS WHEREOF, I have hereunto set my
                                                               18   PILF Exhibit 5 PILF letter dated 1/14/2016 .... 30
  19   hand and affixed my notarial seal this 21st day of
  20                                                           19            PILF-ADAMS-0027092 - 0027094
       April 2019.
  21                                                           20   PILF Exhibit 6 Email correspondence from ...... 52
           My commission expires: July 31, 2022
  22                                                           21            (topmost) N Johnson dated
  23                                                           22            9/13/2016 with attachment
       _______________________________
  24   LINDA S. KINKADE                                        23            PILF-ADAMS-0003265 - 0003277
       NOTARY PUBLIC IN AND FOR                                24
  25   THE DISTRICT OF COLUMBIA                                25



                                              Page 332                                                       Page 333
   1   PILF Exhibit 7 Email correspondence from ..... 57        1   PILF Exhibit 13 Email correspondence from ..... 107
   2             (topmost) C Adams sent                         2             (topmost) N Johnson sent
   3             8/5/2016                                       3             9/30/2016 with attachment
   4             PILF-ADAMS-0000654 - 657                       4             PILF-ADAMS-0005278 - 0005421
   5   PILF Exhibit 8 Email correspondence from ..... 68        5   PILF Exhibit 14 Email correspondence from ..... 113
   6             (topmost) N Johnson sent                       6             (topmost) N Johnson sent
   7             8/17/2016 with attachment                      7             6/28/2016 with attachment
   8             PILF-ADAMS-0008942 - 0008989                   8             PILF-ADAMS-0007211 - 0007214
   9   PILF Exhibit 9 Email correspondence from ..... 102       9   PILF Exhibit 15 Email correspondence from ..... 212
  10             (topmost) C Adams sent                        10             (topmost) D Moorman sent
  11             9/29/2016 with attachment                     11             2/15/2017 with attachment
  12             PILF-ADAMS-0014015 - 0014033                  12             PILF-ADAMS-0013464 - 0013471
  13   PILF Exhibit 10 Email correspondence from ..... 103     13   PILF Exhibit 16 Email correspondence from ..... 215
  14             (topmost) D Palmer sent                       14             (topmost) D Moorman sent
  15             9/30/2016 with attachment                     15             2/16/2017 with attachment
  16             PILF-ADAMS-0013933 - 0013951                  16             PILF-ADAMS-0013091 - 0013109
  17   PILF Exhibit 11 Email correspondence from ..... 105     17   PILF Exhibit 17 Email correspondence from ..... 230
  18             (topmost) N Johnson sent                      18             (topmost) W Latham sent
  19             9/30/2016 with attachment                     19             2/2/2017 with attachment
  20             PILF-ADAMS-0005444 - 0005586                  20             PILF-ADAMS-0016622 - 0016642
  21   PILF Exhibit 12 Email correspondence from ..... 106     21   PILF Exhibit 18 Email correspondence from ..... 236
  22             (topmost) C Adams sent                        22             (topmost) N Johnson sent
  23             9/30/2016 with attachment                     23             2/2/2017 with attachment
  24             PILF-ADAMS-0013698 - 0013718                  24             PILF-ADAMS-0009178 - 0009197
  25                                                           25




                                                                                84 (Pages 330 to 333)
                             TSG Reporting - Worldwide                  877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 86 of 129 PageID# 5662

                                              Page 334                                                    Page 335
   1   PILF Exhibit 19 Email correspondence from ..... 238     1   PILF Exhibit 25 Email correspondence from ..... 299
   2             (topmost) N Johnson sent                      2             (topmost) S Powell sent
   3             2/7/2017                                      3             7/5/2017
   4             PILF-ADAMS-0009170 - 0009172                  4             PILF-ADAMS-0000022 - 0000028
   5   PILF Exhibit 20 Letter from Kim McKiernan, .... 244     5   PILF Exhibit 26 Email correspondence from ..... 303
   6             VREO with attachment                          6             (topmost) S Powell sent
   7             PILF-ADAMS-0019100 - 0019105                  7             7/5/2017 with attachment
   8   PILF Exhibit 21 Email correspondence from ..... 253     8             PILF-ADAMS-0000045 - 0000087
   9             (topmost) C Adams dated                       9   PILF Exhibit 27 Email correspondence from ..... 304
  10             2/1/2017                                     10             (topmost) S Powell sent
  11             PILF-ADAMS-0006337 - 0006340                 11             6/30/2017 with attachment
  12   PILF Exhibit 22 Email correspondence from ..... 261    12             PILF-ADAMS-0050984 - 0051022
  13             (topmost) N Johnson sent                     13   PILF Exhibit 28 Email correspondence from ..... 305
  14             2/1/2017                                     14             (topmost) S Coplon sent
  15             PILF-ADAMS-0009200 -0009202                  15             6/30/2017
  16   PILF Exhibit 23 Email correspondence from ..... 269    16             PILF-ADAMS-0017960 - 0017961
  17             (topmost)                                    17   PILF Exhibit 29 Email correspondence from ..... 306
  18             a@electionlawcenter.com sent                 18             (topmost) M Herring sent
  19             5/20/2017                                    19             7/7/2017
  20             PILF-ADAMS-0000043 - 0000044                 20             PILF-ADAMS-0017951 - 0017952
  21   PILF Exhibit 24 Email correspondence from ..... 285    21   PILF Exhibit 30 Email correspondence from ..... 307
  22             (topmost) L Churchwell sent                  22             (topmost) S Powell sent
  23             5/25/2017                                    23             7/6/2017 with attachment
  24             PILF-ADAMS-0000241 - 0000246                 24             PILF-ADAMS-0050275 - 0050848
  25                                                          25



                                              Page 336                                                    Page 337
   1   PILF Exhibit 31 Email correspondence from ..... 308     1   PILF Exhibit 37 Email correspondence from ...... 324
   2             (topmost) M Lytle sent                        2            (topmost) C Adams sent
   3             5/30/2017                                     3            12/20/2017
   4             PILF-ADAMS-0052723 - 0052724                  4            PILF-ADAMS-0017698 - 0017702
   5   PILF Exhibit 32 Email correspondence from ...... 315    5   PILF Exhibit 38 Email correspondence from ...... 325
   6            (topmost) C Adams sent                         6            (topmost) C Adams sent
   7            11/3/2016                                      7            8/27/2018
   8            PILF-ADAMS-0046297                             8            PILF-ADAMS-0018554 - 0018558
   9   PILF Exhibit 33 Email correspondence from ...... 316    9
  10            (topmost) S Powell sent                       10
  11            11/21/2016 with attachment                    11
  12            PILF-ADAMS-0013344 - 0013404                  12
  13   PILF Exhibit 34 Email correspondence from ...... 318   13
  14            (topmost) N Johnson sent                      14
  15            9/30/2016                                     15
  16            PILF-ADAMS-0005422                            16
  17   PILF Exhibit 35 Email correspondence from ...... 322   17
  18            (topmost) Public Interest                     18
  19            Legal sent 9/11/2017                          19
  20            PILF-ADAMS-0017882 - 0017886                  20
  21            PILF-ADAMS-0049764 - 0049765                  21
  22   PILF Exhibit 36 Email correspondence from ...... 323   22
  23            (topmost) C Adams sent                        23
  24            11/30/2017                                    24
  25            PILF-ADAMS-0017707 - 0017710                  25




                                                                              85 (Pages 334 to 337)
                             TSG Reporting - Worldwide                877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 87 of 129 PageID# 5663

                                                Page 338                                                    Page 339
   1           E X H I B I T S (continued)                        1   Johnson Exhibit 9 Email correspondence from 108
   2   JOHNSON EXHIBITS DESCRIPTION                       PAGE    2              (topmost) N Johnson sent
   3   Johnson Exhibit 2 Email correspondence from   61           3              9/30/2016 with attachment
   4              (topmost) N Johnson sent                        4              PILF-ADAMS-0004985 - 0005128
   5              8/16/2016 with attachments                      5   Johnson Exhibit 10 Alien Invasion in Virginia | 117
   6              PILF-ADAMS-0009064 - 9135                       6              The discovery and coverup of
   7   Johnson Exhibit 3 Email correspondence from   78           7              noncitizen registration and
   8              (topmost) C Adams sent                          8              voting | September 30, 2016
   9              8/16/2016                                       9              with attachments
  10              PILF-ADAMS-0046537 - 0046538                   10   Johnson Exhibit 11 Alien Invasion II         154
  11   Johnson Exhibit 6 Email correspondence from   98          11   Johnson Exhibit 16 Email correspondence to       277
  12              (topmost) N Johnson sent                       12              (topmost) C Adams sent
  13              9/23/2016                                      13              6/19/2017
  14              PILF-ADAMS-0014107 - 0014113                   14              PILF-ADAMS-0000210
  15   Johnson Exhibit 7 Email correspondence from   95          15   Johnson Exhibit 17 Email correspondence from 296
  16              (topmost) N Johnson sent                       16              (topmost) N Johnson sent
  17              9/29/2016 with attachment                      17              5/26/2017 with attachment
  18              PILF-ADAMS-0005621 - 0005636                   18              PILF-ADAMS-0000782 - 0000784
  19   Johnson Exhibit 8 Email correspondence from   100         19   Johnson Exhibit 18 Email correspondence from 302
  20              (topmost) N Johnson sent                       20              (topmost) N Johnson sent
  21              9/29/2016 with attachment                      21              6/27/2017
  22              PILF-ADAMS-0005601 - 0005620                   22              PILF-ADAMS-0000732 - 0000733
  23                                                             23
  24                                                             24
  25                                                             25



                                                Page 340                                                    Page 341
   1   Johnson Exhibit 27 Email correspondence from        282    1         E X H I B I T S (continued)
   2              (topmost) N Johnson sent                        2   VVA EXHIBITS DESCRIPTION                    PAGE
   3              3/28/2017                                       3   VVA Exhibit 5 VVA letter dated 1/25/2016 to 35
   4              PILF-ADAMS-0001979 - 0001980                    4           A Leider
   5                                                              5   VVA Exhibit 6 Office of Voter Registration 39
   6                                                              6           and Elections letter dated
   7                                                              7           2/9/2016 to R George
   8                                                              8   VVA Exhibit 7 Thompson McMullan letter dated 44
   9                                                              9           8/10/2016
  10                                                             10           PILF-ADAMS-0000637 - 0000641
  11                                                             11
  12                                                             12
  13                                                             13
  14                                                             14
  15                                                             15
  16                                                             16
  17                                                             17
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  19                                                             19
  20                                                             20
  21                                                             21
  22                                                             22
  23                                                             23
  24                                                             24
  25                                                             25




                                                                                 86 (Pages 338 to 341)
                               TSG Reporting - Worldwide                 877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 88 of 129 PageID# 5664

                                              Page 342
   1            WITNESS ERRATA SHEET
   2   REF. NO. 158969             Page 1 of _____
   3   NAME OF CASE: LULAC vs. PILF
   4   DATE OF DEPOSITION: Thursday, April 18, 2019
   5   PLEASE INSERT REASON FOR CHANGE:
   6         1. To clarify the record.
             2. To conform to the facts.
   7         3. To correct a transcription error.
   8   Page      Line         Reason No.
   9   From ___________________ to __________________
  10   Page      Line         Reason No. _______
  11   From __________________ to __________________
  12   Page      Line         Reason No.
  13   From __________________ to __________________
  14   Page      Line         Reason No.
  15   From __________________ to __________________
  16   Page      Line         Reason No.
  17   From __________________ to __________________
  18   Page      Line         Reason No.
  19   From __________________ to __________________
  20
  21
  22   SIGNED: _________________________ DATE: ___________
  23   (Signature of J. Christian Adams)
  24
  25




                                                                            87 (Page 342)
                             TSG Reporting - Worldwide       877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 89 of 129 PageID# 5665


                                                                                                        Page 1

          A               265:13 295:19          231:7 235:23 238:7   admission (1)             311:20
 a.m (3)                  302:21 314:11          253:6,25 270:3,3     175:2                  Ah (2)
 2:6 239:21 317:10        325:3,7 330:11         277:4 292:23         admissions (2)         20:24 269:19
 a@electionlawcent...   accused (1)              295:15 297:9         199:5 203:9            ahead (17)
 269:14 334:18          188:3                    311:14 315:15        admitted (1)           46:19 53:25 94:10
 Abby (6)               acknowledge (1)          318:23 320:16        197:25                    131:12 175:4
 180:18 191:2,3 192:4   329:4                    322:16 323:16        advocate (4)              187:14,15,16
   208:7,7              Acknowledging (1)        324:8 325:18         196:13 295:19,20          201:17,18 203:14
 ability (5)            306:17                   327:14,23 328:2,16     296:1                   227:2 272:12,16
 50:23 72:2 85:13       ACKNOWLEDG...            329:3,11 332:2,10    advocated (6)             273:2,11 275:14
   313:23 330:13        329:1                    332:22 334:9 336:6   194:22 295:16 296:2    Ahmad (4)
 able (11)              ACLU (1)                 336:23 337:2,6         312:9,12,18          79:12,13 82:19 84:23
 28:16 47:23 50:16,20   113:6                    338:8 339:12         advocating (4)         al (3)
   85:18 89:11 157:15   acquire (1)              342:23               195:18,25 196:5,12     1:8 5:6,7
   167:15 231:17        80:24                  add (2)                Affect (1)             alarming (3)
   272:11 314:24        act (8)                177:3 211:5            156:17                 159:14 162:17 172:3
 Ables (10)             28:14,23 31:17 59:8    added (5)              affirm (6)             Alaska (2)
 238:23 239:15,19,24      153:1 220:3 223:13   134:23 135:1 136:3,4   49:13,16 144:12        12:14,20
   240:20 241:23          266:22                 158:10                 281:4 291:3,10       Alerding (1)
   243:1,7,11,16        acted (1)              adding (2)             affirmation (6)        243:22
 absence (1)            215:4                  41:21 120:23           203:5,7,23 205:21      alerted (2)
 151:13                 acting (1)             addition (4)             274:15,21            76:10 206:6
 absolute (1)           260:18                 120:18,20,21 132:14    affirmatively (1)      alerting (2)
 165:9                  action (5)             additional (6)         219:25                 243:11,16
 absolutely (8)         1:6 160:10 250:20      40:21 106:2 109:25     affirmed (5)           Alex (1)
 50:15 161:14 234:17      292:6,20               131:2 216:11,24      62:13 259:19 260:22    238:23
   247:11 256:8         actions (1)            address (30)             289:23 290:4         Alexandria (64)
   272:20 283:20        29:15                  22:24 40:19 125:7,9    affirming (2)          1:3 5:9 27:16 28:13
   284:2                active (2)               125:11,12,14,16      142:13 203:16             28:22 30:13 31:5
 absurd (1)             260:4 292:5              137:9,10,11,13       affixed (1)               32:18 33:14 34:8
 198:15                 activities (8)           147:15,16,18         330:19                    35:14 36:2,9 37:17
 accept (2)             22:15,17,17,20 29:21     165:20 171:15,17     afternoon (3)             37:22,25 38:6,22
 39:8 202:11              82:1 113:5 198:11      182:13,14,15 192:7   152:1 216:17 316:25       39:3,6 40:8 41:24
 acceptable (1)         activity (2)             192:8 205:11         age (1)                   42:9 43:6,19 44:1
 214:9                  195:20 196:6             234:19,21 278:6      40:14                     45:12 51:1 52:6
 accepted (2)           ActRight (13)            279:22 285:3 327:7   agency (1)                53:15,20 54:3,12,19
 241:13 243:6           11:10,17,23 12:3,13    addressed (2)          287:1                     54:24 57:1 62:9,16
 access (8)               12:18 13:1,4,9,24    87:6 281:24            agenda (3)                66:21 67:7 68:3
 50:22,24 167:16,16       15:1 21:4 331:8      addressee (1)          17:4,5 259:25             71:15 72:14,19,23
   187:3 196:8 273:17   actual (7)             31:6                   aggregate (1)             73:6,11,12,18,24
   312:24               50:11 95:7 148:12      addressing (1)         10:24                     74:8,25 80:18 91:23
 Accomack (1)             264:20 286:8 314:4   282:1                  ago (11)                  92:11 115:19,22,24
 168:21                   324:24               adds (1)               14:23 15:11 53:3          120:9 125:24 143:4
 accommodate (1)        Adams (73)             101:13                   88:13 116:10 145:7      143:17,24 197:24
 7:7                    1:13,19 2:13 4:4 5:4   adjourned (1)            145:13 148:13        Alexandria's (6)
 account (2)              5:21 6:1,6,9 8:7     328:16                   191:22 208:4 267:5   34:18 40:14 41:7,11
 63:10 259:12             9:24 11:8 12:9       adjudicated (2)        agree (16)                44:21 52:22
 accuracy (1)             15:21 17:15 18:18    293:19 294:1           25:20 59:18 103:3      alien (182)
 251:6                    29:6 30:24 44:10     adjudicating (1)         114:25 123:24        30:4 92:3,15,23 93:12
 accurate (25)            57:20,24 78:12       294:20                   126:6,10,10,11          93:23 94:1 95:10
 6:25 33:24 104:9         102:9 104:20         administrating (1)       138:23 158:9            99:16,19,22 102:18
   124:18 161:13          106:14 130:1 131:9   261:8                    193:22 243:18           104:7 105:15 107:2
   166:2 208:1 219:19     132:6,18 133:8       administration (2)       272:21 276:6            107:7,21 110:2,5
   253:16 254:6           134:14 135:1,24      247:16 312:23            291:10                  111:10 117:13,21
   257:15,17,21,25        136:10 152:5         administrative (2)     agreement (4)             117:24 118:4
   261:1,1,3 262:22       191:21 193:18        175:23 312:6           141:17 309:7,8            119:22 126:17


                                     TSG Reporting - Worldwide   877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 90 of 129 PageID# 5666


                                                                                                          Page 2

   132:7 139:12 142:3    alleged (4)            animated (2)              326:17 327:22         183:17
   152:9 154:17,17,22    28:13,21 200:14        248:19 313:15             328:9,10              appeared (12)
   155:2,15,20 156:24      292:25               Ann (11)                answered (62)           90:19 139:9 142:17
   156:25 157:20         Allegheny (1)          44:17 62:9,19 63:11     10:1,4 15:10 16:6         145:5 175:14,18
   164:12,21,22,22       326:6                    63:13,24 66:16          23:18 24:1,11 25:3      186:5 230:10
   165:24 166:6,7        alleviated (3)           74:17 77:25 121:10      26:14,17 27:4 28:3      241:18,24 280:21
   167:2,5 168:2,9,13    214:25 287:21,22         197:23                  29:3 36:4 38:4          281:7
   169:8,10,20,21,22     Alliance (3)           Anna (3)                  41:18,22 43:14        appearing (6)
   170:2,17,23 171:9     27:15 30:6 35:13       31:4 48:3,4               48:23 53:22 70:24     175:13 185:18 238:9
   172:1,17 175:6        allow (6)              annotation (1)            71:13,14,15,17 76:9     240:5,21 329:8
   176:15 179:9,12       20:5 47:14 114:17      107:11                    76:24 77:16 93:14     appears (24)
   180:11 181:18,23        115:10 116:23        answer (149)              144:22 145:19         12:18 15:23 16:23
   181:24 183:2 184:7      163:23               7:14,15 10:21 14:24       146:11,21,24            17:7 40:6 53:7 54:4
   185:11,14,18,19,24    allowed (3)              15:9 16:11 24:2,3,4     147:19,25 148:4,5,7     54:6 60:11 61:14
   193:3,20 194:23       19:24 88:22 260:12       24:12,14,16,18,19       148:20 149:4,6          72:16 103:8 105:23
   195:19 196:18         allowing (1)             26:17 28:9,12,17,19     150:12,14 151:2         130:9,12 135:11
   206:21 209:10         67:21                    29:5,19 32:3,6,6        176:4 183:25            139:13 140:3
   210:18 211:2,6,10     allows (2)               34:23 36:5,6,13,14      190:17 206:23           155:14,15 216:23
   213:3 219:10 221:6    126:24 255:8             38:13,15 39:2,5         207:21 209:23,23        281:22 286:2
   221:6 222:17 224:7    ambiguity (4)            42:8,11,15,15 43:11     210:2 219:25            325:11
   224:24 225:3,15,18    63:19 64:18 66:6         43:21 45:9 58:24        227:15 231:15         applicable (1)
   226:1,3,4,5,6,9,17      223:9                  69:22 70:21 71:2        294:6 295:25          187:23
   227:8,12,17,23        ambiguous (1)            89:3,5 91:5 109:12      298:21 321:18         applicant (2)
   233:12,21 234:6,11    81:13                    109:16 110:17           327:25 328:4          174:8 179:24
   234:23 235:8,11,14    amend (1)                111:22 113:10,13      answering (8)           applicants (1)
   249:3 252:7,15        130:20                   122:7 123:5 130:20    15:10 28:5 79:11        173:14
   253:15 254:6          Amended (2)              135:3 138:5 140:5       122:10 135:5          application (40)
   259:14 268:3,12       8:1 331:4                144:20,25 145:12        137:18 164:6          130:6 131:1 132:9,12
   270:13,16 272:13      Amendment (7)            145:21 146:12,13        166:19                  132:17 133:5,7
   276:15,21 277:8,15    13:19 189:7,8,15,19      146:14,15,18          answers (1)               134:5,7,15 135:9,13
   277:18 278:10           190:9,10               147:14 148:3,9,17     195:12                    135:19,20 136:1,7
   279:1 280:14,17       America (11)             148:19 149:1,20       anybody (7)               136:23 174:7
   287:11 295:15,17      36:25 37:11,23 60:2      150:1,3,20 170:1      115:2 161:23 188:8        181:19,25 182:4,8
   296:6 301:5,12,16       65:7 137:25 182:21     174:21 175:20           220:21 227:11           182:11 183:5 192:3
   302:15 303:25           192:12 201:5 220:3     176:10 184:16           254:20 313:13           193:19 194:12
   304:23 305:9,24         223:13                 190:18,19,20 193:4    anymore (2)               202:1,24 214:6,9
   306:17 307:3 308:3    American (3)             193:6 198:12          65:19 265:18              216:2 240:7,23
   308:6,14 309:18       1:6 5:6 34:13            199:24 200:21         anytime (2)               241:9 242:3,9,15
   310:7,9,12,17,20      Americans (1)            203:24 208:6,16       7:4 11:4                  243:3 281:11
   312:10 315:3,22       114:24                   210:3,17,21 217:18    anyway (1)              applications (23)
   317:22,23 318:13      amount (6)               218:1,2,12 219:15     295:4                   127:11 128:5,24
   319:4,24,25 320:4     61:25 142:23 163:6       220:22 223:22         apart (2)                 132:22 133:1,17,22
   321:4,5,13,20,25        176:21 192:16          224:8,11 225:15       88:2 158:9                172:19 173:9,13
   322:7,21 323:1          197:1                  226:25 227:1,20       apologize (2)             174:1,6 179:21
   324:3,16 339:5,10     Ana (1)                  230:1 234:19,20       105:7 187:18              180:7,10 191:2
 aliens (20)             10:8                     235:3 237:10,17,19    apparent (2)              194:15 216:13
 115:3,11 118:21         analysis (8)             237:19 241:22         31:16 33:14               231:18 240:2 241:4
   123:17,21,25 124:6    30:2 160:5,7,8,11        248:4 251:5,8,15      apparently (7)            243:5 312:25
   125:19 126:9,15         227:12 286:7           255:1,3,22 256:5      212:23 225:5,7,8        appreciate (4)
   189:23 248:20,23        311:25                 260:25 261:3            253:23 286:10         19:22 29:14 268:10
   248:24 249:1,2,5,13   analyze (1)              263:25 265:24           292:15                  296:19
   259:17,22             314:1                    267:13 268:1          appear (8)              approach (2)
 all-encompassing (1)    and/or (2)               296:12 300:21         35:16 103:4 104:21      28:7 70:16
 260:21                  30:3,6                   310:2 311:2,4,18        123:6 129:14 193:2    appropriate (2)
 allegation (1)          Andrew (2)               314:16,22 316:9         235:11 290:5          327:7,8
 33:13                   3:6 6:18                 321:23 322:5 323:2    appearance (1)          approve (1)


                                      TSG Reporting - Worldwide    877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 91 of 129 PageID# 5667


                                                                                                          Page 3

   22:22                   143:2 144:22          62:22                     108:8 113:19 162:9     299:1,21 300:10
 approved (1)              145:19 147:19         asserting (1)             212:6 215:8 230:18     302:16 304:1
 22:3                      148:4,7 153:23        117:25                    231:24 232:1 236:5     307:19 308:3
 approximately (4)         164:2,3 173:22        assertion (8)             244:13 245:21,21       311:19
 5:12 14:18,23 15:11       177:12,17,22 178:6    36:8,18 41:6,10 62:25     245:25 297:1 303:8   August (46)
 April (7)                 178:19 206:19           63:13 66:3 123:8        304:16 305:4         51:14 58:1 61:18 68:1
 1:21 2:5 5:12 43:6        208:15,25 209:23      assertions (2)            307:11 316:20          69:10 72:8,10,18
   290:11 330:20           210:2,6 212:24        38:10 200:16              331:16,22 332:7,11     73:2,5 74:4,9,14,16
   342:4                   213:3,9 214:20        assessment (8)            332:15,19,23 333:3     78:6,19,25 80:6,14
 area (3)                  217:24 218:13         33:7,9 42:2,3 67:23       333:7,11,15,19,23      82:19,22,24,25 83:2
 22:23 176:21 199:10       219:21 220:11,19        176:25 246:3            334:6 335:7,11,23      83:3,10,12,14,16
 areas (1)                 220:19 224:18           258:10                  336:11 338:17,21       85:24 86:1 87:20,23
 259:24                    227:8,23,25 228:7     assessments (1)           339:3,17               88:11,11 129:15
 argue (1)                 235:5 241:16 244:2    77:20                   attachments (8)          130:25 140:19
 199:14                    244:23 250:16         assistance (2)          61:6 83:1 117:17         141:5 170:6,17
 argument (1)              251:14 252:12         82:10 85:12               210:20 243:24,25       212:24 213:16
 154:12                    259:2 264:11          assistant (2)             338:5 339:9            239:2 262:14
 argumentative (8)         284:19 294:12,15      297:21,25               attempt (5)              325:24
 166:2 168:20 176:4        295:25 296:17,20      assisting (3)           145:22 146:7 148:14    Augusta (1)
   204:7,9 293:4 314:9     300:8 309:24          81:13,21 285:25           322:5,25             168:20
   326:20                  311:15,18 327:21      associate (1)           attempted (1)          AUSA (1)
 ARLF (2)                  327:25 328:3          201:8                   292:19                 318:16
 14:5 16:4               Askin (1)               associated (3)          attempting (3)         Austyn (1)
 Arlington (5)           232:13                  70:13 186:13 275:8      70:8 154:9 243:9       6:19
 252:9 253:12 254:4      asking (62)             association (2)         attempts (1)           authority (3)
   258:11,14             9:24 14:8,10 15:3,5     5:15 13:20              114:16                 27:8,10 195:10
 Arps (37)                 22:10 23:9 28:3       assume (9)              attend (1)             autocorrect (1)
 2:13 3:3 81:3,8,10,11     30:11 33:9 34:19      12:6 69:2 168:3         45:20                  279:19
   81:11,13,16,21 82:4     53:23 70:17 77:14       200:17 201:25         attention (9)          availability (1)
   84:12,17 85:9,12,18     79:9 82:6 83:4 92:6     202:2 207:13          16:25 33:12 59:16      77:17
   86:10,13,14,17          92:8 111:12 121:13      263:24 279:14           62:6 118:16 217:2    available (13)
   87:11,17,24 88:2,6      124:3 126:3 134:12    assumed (2)               245:15 261:23        33:21 75:12,20 77:14
   88:8,12,14,22 89:1      141:25 147:10         81:21 244:2               318:21                 128:25 163:2 165:6
   89:10 90:5 91:1,16      149:7,24 150:19       assumption (4)          attestation (1)          167:11,20 188:7
   111:24 300:12           154:2 163:25          118:1 123:9 205:12      140:1                    260:5 288:4 315:1
   327:24                  166:19 169:7 172:1      242:4                 attested (1)           Avenue (3)
 array (1)                 182:2 194:2 205:3     attach (2)              144:10                 2:14 3:7 5:11
 314:25                    205:16 207:20         195:19 322:4            attorney (31)          avenues (1)
 article (12)              216:5 220:21          attached (29)           5:18 18:20 45:12,19    312:2
 277:12 279:20,25          224:19 229:7          16:24 17:8 58:5 68:16     47:13 52:23 53:2     aware (56)
   280:2,6,9,10,16         235:22 236:10           68:20 82:21 105:14      54:3 66:21 123:15    7:1 75:10,12 76:14,16
   309:17,21,23            243:15,16 246:5         105:24,25 107:25        124:4 125:23           76:18 81:14 85:8
   325:13                  249:19 255:3            114:5 216:17,20,21      143:16,24 144:5        99:14,15,19,21,23
 aside (10)                262:16,17 278:12        231:4,12,18,21          295:24 297:14,17       99:25 100:16,17,20
 46:13,15 108:2            294:5,7,8,14 307:7      232:6 236:18,20,20      297:19,21,25           101:20 110:5,8
   192:23,25 306:3         310:8 317:13,17         236:24 239:7            298:17,20,24           151:17 160:18
   307:24,25 308:1         321:10                  303:18,20 304:25        303:14 306:14          178:2 184:25 185:3
   324:5                 asks (2)                  306:22 329:8            310:22 311:6,15        219:9,17 221:17,24
 asked (85)              213:19 216:11           attaches (1)              316:24 326:20          232:25 242:15
 10:2 14:3 22:19 24:10   aspects (1)             213:23                  attorney's (3)           253:11 254:1,3,10
   30:9 33:11,15 34:5    153:3                   attachment (57)         198:17 304:20 305:20     254:11,17,18 257:9
   36:4,14 47:18 53:21   assembled (1)           16:17 52:12 54:5,7,9    attorney-client (3)      257:12,14,16,20,22
   66:15,19 71:1 75:20   49:2                      54:11 68:9 83:6       28:6 42:16 46:8          257:24,25 264:19
   76:20 122:6 127:22    assented (1)              96:3 101:2 102:10     attorneys (16)           265:4 268:4,13
   133:9,16,21 135:2,6   25:21                     103:24 105:5          9:3,4,11,12 10:5         269:3,8 283:25
   136:3 139:4 142:6     asserted (1)              106:15 107:7,16         297:12 298:3,5         284:5 287:10 313:3


                                      TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 92 of 129 PageID# 5668


                                                                                                           Page 4

 awareness (9)             291:14 293:2            298:19,22 308:4      118:18 121:3 123:14     326:25
 75:16 85:7 93:1 97:14   batch (1)                 316:7                  159:14                browser (1)
   196:11 199:19         127:4                   believed (2)           bolstered (1)           165:21
   247:15 252:16         Bates (34)              37:11 313:6            189:16                  bucket (1)
   284:11                12:23 15:20 16:21       believes (1)           Bonilla (21)            210:1
                           31:1 57:23 61:13      116:12                 170:21,23 171:4,21      bullet (3)
             B             68:12 101:6 104:2     Belle (6)                172:8 180:16,20       21:21 324:16,25
 b (7)                     104:17 105:11         75:3 78:1 256:9          181:11,20 183:4       bunch (4)
 34:6 55:11,11,18          106:18 107:19           269:25 270:20          184:8,19 185:1        58:9,11 179:6 318:3
   331:1 338:1 341:1       108:12 212:10           275:22                 191:17 200:14         business (1)
 back (37)                 215:11 230:21         benefit (1)              208:21 209:6,12,18    21:21
 53:4 56:17 57:14          238:19 253:10         112:15                   210:15,23             buttons (1)
   66:23 67:2 84:2,21      261:20 269:20         best (6)               Bonilla's (4)           114:11
   104:7,8 111:20          282:10 285:21         70:16 109:21 287:22    182:7,10 184:3 210:9
   117:9 119:3 123:3       299:10 303:12           288:3,15 330:12      bono (1)                           C
   123:10 124:22           305:18 306:10         better (8)             5:18                    C (27)
   133:25 154:1            307:14 308:24         28:17 38:13 186:23     book (1)                 3:1 5:1 57:20 78:11
   156:25 158:15           315:18 318:19           187:1 235:2,16       293:12                     102:9 106:14
   159:1 167:14 170:6      323:20 324:12           273:17 288:7         born (1)                   245:21,21,25 253:6
   170:9 174:1 189:18      325:22                beyond (2)             280:6                      277:4 315:15
   202:21 228:12         Bates-stamped (1)       143:7 188:1            bottom (20)                323:16 324:8
   236:25 242:23         102:13                  big (1)                12:23 108:23 121:3         325:18 330:1,1
   250:3 275:19 276:3    bathroom (1)            284:13                   129:10,14 136:11         332:2,10,22 334:9
   278:18 285:8          56:16                   Bill (2)                 138:9 140:7 173:4,5      336:6,23 337:2,6
   290:17 295:12         bear (2)                191:18 327:4             174:13 179:18            338:8 339:12
   319:12                167:9 218:9             Billy (1)                180:25 191:10,11      CA (1)
 backed (1)              beats (1)               66:11                    193:13 196:15          104:19
 113:3                   223:11                  binary (1)               239:21 270:5          calculate (1)
 bad (3)                 Bedford (5)             203:21                   312:22                 291:5
 192:21 320:17,18        227:19 228:13 229:14    binder (1)             Boulevard (1)           California (1)
 badly (1)                 229:16 230:6          220:15                 3:14                     2:24
 30:17                   began (2)               birth (4)              box (5)                 call (8)
 ballots (4)             259:25 271:9            137:14,15,16,19        214:5 216:1 246:8,14     149:3,16 174:18
 157:10 158:25 159:9     beginning (6)           Biscayne (1)             275:3                    175:19 211:16,17
   159:20                15:20 37:7 95:2         3:14                   brazenly (1)               278:4 291:18
 based (27)                128:17 307:14         bit (4)                267:15                  called (23)
 25:19 31:18 40:10         309:2                 11:5 137:2 154:16      break (11)               11:10 15:1 16:4 21:21
   49:12 51:22 63:18     begins (9)                228:9                7:5,8 56:16 116:25         27:15 56:8 90:16,17
   89:20 90:1,5,6,7,9    52:21 78:18 156:24      blame (3)                117:2 152:8 207:3        92:3,15 96:5,6
   90:25 125:21            212:14 238:22         156:20 172:25 292:24     210:20 223:1             126:9 156:10
   163:20 169:4 176:1      282:11,14 285:22      bleed (1)                237:25 295:7             160:18,22 179:11
   193:24 198:14           299:13                309:22                 Breitbart (1)              199:21 274:6
   214:18 224:8          behalf (9)              board (12)             6:18                       276:22 277:14,17
   231:11 243:18         3:4,12 5:20 7:17 8:22   17:4,6,9,18 21:21      brighter (1)               298:22
   247:14 250:21           11:2 31:13 42:10        23:20,20,24 24:8     131:15                  calling (8)
   272:17 286:7            128:7                   80:11 260:24         brings (1)               119:25 154:21 176:16
 basically (4)           belief (1)                275:16               170:10                     207:15,23 210:23
 159:7 169:16 268:20     209:9                   board's (1)            broad (7)                  211:1 283:1
   309:25                beliefs (1)             23:17                  22:19 93:5 143:8        calls (4)
 basis (18)              13:18                   boards (1)               153:2 165:11           55:25 125:19 210:14
 32:9 104:14 114:12      believe (18)            275:15                   189:19,25                287:23
   126:2,3 135:17        19:23 20:9 32:21,22     body (3)               broader (4)             Cameron (9)
   157:15 160:6            88:4 116:4 196:2      96:15 105:24 172:22    66:8 67:23 70:2,11       64:2,4,9 74:18 76:25
   175:19,23 176:16        198:25 214:19         boils (1)              broadly (2)                77:4,10 78:1 177:22
   177:3 184:20 193:9      218:25 224:25         225:14                 153:14 312:23           cancel (9)
   222:11 280:1            235:24 281:9,13       bold (4)               brought (1)              197:7,11 246:18


                                      TSG Reporting - Worldwide    877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 93 of 129 PageID# 5669


                                                                                                              Page 5

   274:7,10,24 291:3        293:14 304:23            89:9,19 90:21         charge (6)              Chroniger (2)
   291:23,25                305:5                 Center (2)                95:9,21,22 114:16       3:21 5:13
 canceled (36)           cancellations (17)        20:23,25                   220:5 316:24         Churchwell (11)
  62:2 65:22 130:24       49:6,10,12,17 50:8      certain (6)              charges (1)              25:6 279:9 283:5
   133:18,19 138:23         197:14 219:22          33:15 51:3 83:4          198:14                    285:17 297:9
   139:5 140:2,19           220:12,20 223:20         110:13 152:23         charitable (4)             299:17 300:17
   141:1,1,13 159:21        242:22 249:10            233:8                  12:19 15:15,22            301:1,11 307:16
   169:4 196:25             258:25 259:3,6        certainly (20)              331:11                  334:22
   204:15 206:10            317:19,20              30:23 59:4 75:24        chart (6)               Circuit (3)
   225:5 232:7 242:23    capacity (5)                90:15 95:19,19         40:25 119:12,14,16      34:8 187:22 188:23
   243:12 259:17          15:4 20:9 21:16            114:23 160:17            120:3,4              Circuit's (1)
   260:3 261:4 280:22       309:20,23                178:16 193:25         check (8)                189:18
   281:1,2 289:23        care (2)                    200:1 220:18 234:9     138:7 207:7 210:20     circumstance (1)
   290:24 291:9,11,15     112:22 113:1               244:20 277:19            214:4 215:25          151:1
   314:5 317:15 320:9    careful (1)                 278:3 284:21,25          222:19 226:23        citation (1)
   323:8                  199:16                     287:11 305:10            275:3                 122:2
 canceling (2)           carefully (2)            certainty (3)            checkbox (9)            cite (1)
  189:24 281:22           73:9 201:13              100:7 165:9 207:4        174:12 195:8 201:21     252:10
 cancellation (112)      carry (1)                Certified (4)               202:19 268:24        cited (3)
  53:15 54:12 62:20       203:10                   2:21,23 330:4,5            273:7,14 281:9,10     33:24 152:11 251:1
   63:14 74:19 76:15     CAs (3)                  certify (3)              checkboxes (1)          cites (3)
   77:18 80:1,2 84:1,6    301:6,12 307:19          330:6,10,14              269:1                   128:20,22 286:16
   88:16 89:8 92:2,10    case (21)                chain (9)                checked (8)             citizen (56)
   119:7,10 120:13        5:9 7:4 9:15 10:6,20     231:1 239:10 270:4       138:2,5 174:15,17       32:13 36:11 38:18,23
   122:22 127:12            27:5 28:7 139:3          282:11,14 285:22         192:11 207:5            40:10 60:1 62:3
   139:15 140:22            160:15 171:6             299:13 309:2             208:25 210:11           65:6 67:10 116:1
   142:18 145:6             187:23 189:1 196:5       324:12                checking (3)               137:24 138:18
   152:24 153:11,20         207:22 208:1,2        chair (1)                 182:20 246:8,13           139:1,7,25 142:14
   154:3 159:6 163:1        279:14 301:3 327:1     53:3                    checkmarks (1)             143:6 144:8,10
   167:10 168:6,12,24       330:16 342:3          challenged (1)            228:24                    145:16 146:5
   175:13,14,18          cases (21)                289:14                  Chesapeake (1)             150:13,14 174:8,18
   177:14,19,24 183:8     6:15,16 18:25 22:25     challenging (1)           304:19                    175:1,9 182:20
   183:9,13,15 184:1        22:25 23:4,6,7,11      209:19                  Chesapeake's (1)           183:22 192:12
   188:12,15,16,20          23:13,25 24:9 81:19   chance (6)                305:2                     200:15,17,20
   189:5 190:22,24          115:17 195:10          59:1,2 97:20,21         Chesterfield (10)          201:21 203:3,6,8
   192:19 197:4             199:1,3,7 201:13         106:21 320:25          91:23 263:18,22           209:7,13 214:4
   202:13 204:19            323:10 324:3          change (13)                 265:15,16,20,23         216:1 261:6 268:23
   211:15,20 212:25      cast (5)                  11:17,22 14:5,6 16:11      266:1,7,9               274:2,17,18,20
   213:16 216:23          157:10 158:25 159:9        21:24,25 67:22        chief (3)                  277:25 279:3,23
   218:15 219:12            159:20 160:3             69:10 91:7 248:1       220:4 223:12 224:12       281:20 284:9,17
   221:9 222:1 226:11    categories (1)              254:1 342:5           choice (4)                 285:7,11 288:5
   226:19 227:10,19       56:21                   changed (2)               189:13 190:4,12        citizens (24)
   228:14 229:16         category (3)              13:25 66:4                 203:21                1:7 5:6 42:1 121:8,12
   230:10 231:2,6,13      51:20 115:1 290:19      changes (1)              choices (1)                122:2,15 187:6
   231:22 232:10         cause (1)                 110:1                    166:11                    189:24 201:15
   233:23 237:2 239:6     69:8                    changing (2)             choose (3)                 207:16,23 209:10
   240:22 241:19,25      caused (1)                21:4 69:15               166:5 281:9,12            209:16 246:9,14
   242:17 243:2,20        73:19                   characterization (11)    chose (2)                  280:7 284:1 292:15
   245:17,19 246:22      causes (2)                41:24 55:10,21 63:2      190:7,10                  311:25 313:11,22
   248:6,7 249:9 250:9    70:3 73:14                 93:24 98:24 99:10     Christian (20)             314:18 315:4
   253:14 254:5          caution (1)                 103:8 194:1 275:24     1:13,19 2:13 4:4 5:4   citizenship (60)
   257:16 260:20          28:4                       307:1                    5:21 6:1,9 17:15      34:14,20 49:13 56:6
   262:3,13,13,18        celebration (3)          characterized (1)           96:15,15 104:20         56:11 60:19 61:22
   264:25 272:14          89:20 90:2 91:21         194:18                     105:24,25 107:24        67:13,17 68:24
   282:19,19 283:9       celebratory (7)          characterizing (2)          286:23 328:16           69:18 83:21 93:4,4
   284:8 286:1 290:23     85:13,19 88:17,19        135:18 273:18              329:3,11 342:23         114:22 133:14


                                       TSG Reporting - Worldwide      877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 94 of 129 PageID# 5670


                                                                                                            Page 6

    139:18 142:22         clarity (2)              197:7 217:3 291:24     communication (9)        259:12 287:21,22
    144:12 145:24          176:11 185:17          columns (1)              88:3 151:11 178:3       287:25 290:5
    146:9 148:16 158:5    Clark (1)                216:24                   215:17 237:9 258:1   conclude (3)
    159:16 161:2 172:5     115:17                 come (9)                  266:19 267:2          223:15 259:25 281:17
    173:15 174:12,15      clause (1)               21:3 27:22,24 75:15      300:18               concluded (1)
    203:2,16 205:11        37:6                     87:10,16 94:24        communications (7)      287:21
    206:14 209:19,19      clean (1)                 119:6 255:23           29:22 177:6,12        concluding (1)
    246:24 259:19          115:17                 comes (2)                 237:22 244:21         114:12
    260:22 269:5          clear (9)                168:1 272:18             318:3,12             conclusion (3)
    271:24 272:25          24:16 93:11 129:12     coming (3)              company (5)             40:8 280:11 290:6
    273:6 274:11,15,21       132:4 183:14          275:2 281:3 321:22      27:9 128:6,8 295:20   conclusions (4)
    275:13 281:4             210:18 248:17        commence (1)              298:4                 40:24 188:10 244:1
    288:21 289:24            249:18 263:25         198:10                 compare (2)              289:13
    291:3,11 293:20       clearly (5)             commencement (1)         14:9 61:23            conduct (1)
    294:2,21 303:21        73:21 189:17 214:24     330:7                  compared (1)            46:7
    305:1,25 306:23          263:9 264:21         comment (1)              223:19                confidence (3)
    312:24 323:9          clerk (1)                103:12                 complaint (19)          120:23 168:5 281:18
 city (54)                 34:9                   commentary (1)           28:16 29:4,11,13,18   confidences (5)
  27:16 30:12 31:15       clerks (1)               107:6                    32:17,20,23 36:3,7    46:24 47:1,4,17 48:22
    32:12 36:2,9 37:25     34:10                  commented (3)             36:8,12,15 37:16     confident (5)
    38:6,17,22 41:7,11    click (4)                104:19,19,23             43:9 186:16 200:14    198:5,8,9 280:18
    42:9 43:5,19,25        166:20,22,24 167:1     comments (9)              253:20 292:25          281:8
    44:21 45:12 51:1,9    clicked (1)              102:25 104:6,8,10,10   complete (2)           confirm (5)
    52:22 53:20 54:3,13    175:8                    104:11,11,22           129:6 329:6            61:10 182:3 226:24
    62:9 67:6 73:18,24    client (8)                110:23                completed (2)            229:14 240:18
    80:18 115:24           46:13,15 67:2,4,6      commission (3)           128:23 214:9          confirmed (4)
    125:24 211:14,19         80:16 81:18 292:15    264:3 329:17 330:21    completely (2)          64:11 74:3 201:3
    212:19,23 213:2,8,9   clients (2)             commissioner (1)         176:19 205:23           228:13
    213:24 214:13          81:19 289:7             269:24                 completion (1)         confirming (1)
    217:7,11,17 219:1     close (3)               committed (5)            99:2                   182:2
    220:25 221:24,25       106:4,10 265:13         123:16,20 124:5        compliance (3)         confirms (1)
    223:3,6,20 224:15     CMitchell (2)             161:8,21               12:14 34:18 260:18     51:17
    224:23 230:7           16:16 331:15           Committee (3)           complicated (1)        conflict (1)
    306:14                co-counsel (3)           116:10,11 160:11        236:19                 274:3
 city's (4)                29:15 224:18 228:6     Commonwealth (34)       complying (2)          conflicting (3)
  44:6 306:19,21,23       code (2)                 67:24 72:25 73:23       177:25 260:1           145:23 146:8 148:15
 civil (3)                 293:12,12                74:23 76:21 77:12     comport (1)            conform (1)
  1:6 13:14 298:1         coerced (1)               77:19 90:20 91:14      264:16                 342:6
 claims (1)                287:6                    153:10 157:25         compound (2)           confront (1)
  41:2                    cognizant (3)             200:6 261:9 295:2      122:10 241:21          234:18
 Clara (6)                 28:5 42:14,15            297:12,19 298:3,5     compressed (1)         confronted (1)
  75:3 78:1 256:9         collaborative (3)         298:17,20,24,25        308:10                 252:8
    269:25 270:20          93:15 94:13,18           299:21 300:10         computer (1)           confused (1)
    275:22                collaboratively (1)       302:15 303:14          269:1                  53:22
 Clarification (10)        104:25                   304:1 305:20          conception (1)         confusing (2)
  34:4 82:8 87:18 91:11   collect (2)               306:14 307:19          30:1                   167:9 218:4
    197:3 203:22           81:23 91:17              308:2 313:2 314:12    concern (8)            confusion (2)
    204:22 226:16         collecting (3)            325:1                  214:18 244:7 250:18    11:5 101:13
    258:23 280:25          81:22 92:2 93:18       Commonwealth's (1)        251:20 252:19        Congress (12)
 clarify (14)             collection (3)           304:19                   289:13,22,25          116:10,18 187:11,19
  11:6 27:5 99:18          30:2 85:9 237:20       communicate (2)         concerned (4)            188:12,14,16 189:2
    145:23 146:8          collective (2)           186:22 255:10           243:9 249:24 287:12     189:9,16,25 190:7
    147:10 148:15          93:22 94:15            communicated (3)          287:18               Congress's (1)
    149:9,12,13 150:16    Columbia (2)             233:15 301:7,13        concerns (10)           187:11
    185:20 241:16          2:25 330:25            communicating (1)        34:17 40:20 214:20    Congressional (1)
    342:6                 column (3)               89:23                    214:25 250:20         188:23


                                       TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 95 of 129 PageID# 5671


                                                                                                           Page 7

 Congressman (2)           141:22 146:3              80:1 81:15 86:20      123:2 124:10,17,20     268:7 269:5,24
  116:13,20                149:22,23 150:2,4,5       103:1 119:23 130:5    124:21 125:17,20       270:17,20,21 272:1
 conjunction (1)           150:8,11,15,17,20         131:24 134:14,23      126:17 127:1,24        272:18,25 273:15
  271:16                   151:4 204:3,4,12          135:2,13,19,21,25     128:21 130:15,21       273:21 274:7,12,21
 consciously (2)           206:1 263:8               136:9,14,22 139:2     132:10,22 133:14       274:24 277:9 278:6
  262:19 263:3           continually (1)             155:7,8,17 163:23     133:15,18,19 134:2     279:3,4,10 281:11
 considered (1)           249:20                     165:5,10,20 183:5     134:16 135:14          281:12 282:12,12
  12:19                  continuation (3)            192:21 216:23         136:24 137:4,9,12      282:16,20 285:7
 considering (1)          215:14,16,18               231:2,12,22 233:22    138:3,9,15,23          286:1,17,20 291:3
  312:19                 continue (3)                266:14 304:22         139:24 141:4           291:23 293:20
 consistent (6)           196:13 267:22 289:20       315:21 322:15,17      143:17 147:6,12,15     295:18 296:8 297:8
  50:4 63:11 69:10       continued (4)               322:18                147:18,21,24           297:12,18,23 298:3
   121:9 225:11 317:2     91:13 153:19 338:1      copying (2)              150:16 151:9,18        299:1 300:10
 conspiratorial (1)        341:1                   58:2 286:20             153:14,16 154:22       301:13,17 303:14
  262:21                 continues (1)            corner (4)               155:22 156:11          304:4,21 305:9
 constitute (1)           258:2                    86:24 137:24 173:4      157:1 161:9,17,21      306:1,19 307:19
  115:1                  contradicted (11)           182:19                162:4 163:12           309:13,19 310:1
 constitutional (2)       219:4 220:1,8 221:1     corporate (5)            164:12 165:7,22,25     314:18 315:19
  13:15,22                 223:6 233:17,24         16:23 93:15 184:10      166:1,16,17,24         316:16 317:15
 construction (1)          234:3,5,8 235:15          184:12 309:22         168:2,4,5,9,13         319:9,25 322:1
  203:17                 contradiction (2)        corporately (1)          169:1,2,5 170:24       323:11,22 324:2,17
 consulted (1)            17:20 64:12              116:17                  171:16,19,20           325:23 326:8
  197:21                 contradictory (1)        corporation (2)          172:12,17 173:9,15     327:24 329:6 342:7
 contact (8)              78:7                     1:12 21:25              174:9 180:8 181:25   corrected (1)
  79:15 81:1 184:13      contrary (11)            correct (365)            182:13,25 183:4,8     137:17
   186:2,18 187:9         18:11 25:11 139:17       6:21,23 7:21 8:16       183:23 184:4,21      corrections (1)
   196:15 202:22           184:22 202:14,16          9:19 10:16 11:3,11    186:7 188:17,21       329:8
 contacted (5)             203:19 272:24             12:17 14:1 16:5       189:5 190:23 191:4   correctly (2)
  184:19 214:19 250:19     273:4,5,8                 17:6,24 18:6 25:17    192:7,13 193:10,20    120:23 261:4
   298:17,24             controversy (1)             25:19 26:10 27:17     194:24 195:16,21     correspond (1)
 contacting (2)           162:1                      27:21 29:4,23 30:13   196:19 199:22         318:10
  186:10 285:9           convenient (1)              31:5,7,10 34:15       201:25 202:2         correspondence (95)
 contain (6)              255:22                     35:14,18 36:2,11,18   204:16 205:7          16:15 52:10,22 53:5,8
  36:25 68:21 84:20      conversation (7)            37:4,8 38:11,18       206:18 207:16          57:19 61:4 68:7
   88:5 227:11 271:23     47:15 76:1 80:22 85:1      39:1 40:5 41:7,12     209:11 210:1 211:2     78:11 96:1 98:3
 contained (10)            248:16 287:20             42:1,18 43:6,13,16    211:16,21 212:25       100:25 102:8
  14:3 37:12,23 38:1       288:19                    44:2,3 48:15 50:9     213:17,21 215:15       103:22 105:3
   45:9 132:14 195:15    conversations (21)          50:14,18,20 51:12     216:8,20,25 218:7      106:13 107:14
   224:23 225:20          62:17 74:3,10,17 75:1      51:18 52:23 53:6,20   219:2,7,13 221:21      108:6 113:17
   271:24                  76:4,5,10,22 77:5         54:3 56:19 58:3,6     222:2,17 223:16        143:15 177:16
 containing (4)            81:11 142:24              58:17 59:11 60:6,7    224:24 226:12,20       212:4 215:6,14
  56:6,10 188:6 210:9      143:10,18 176:1,17        60:15,23 61:16 65:7   227:19 229:5           224:15 228:4
 contains (2)              178:10,13 186:22          66:24 67:14 68:3      230:11 232:2,11        230:16 236:3
  161:13 200:4             316:11,13                 72:19 73:6,15 78:20   233:12,23 234:4        238:14 253:5
 contemplate (1)         cooler (1)                  78:23 79:16,20 80:5   235:21 236:17          261:15 269:12
  112:11                  27:9                       81:5 82:19,23 83:4    237:4 238:10,24        277:4 282:5 285:16
 content (2)             copied (2)                  84:7,12,18 85:21      239:16 241:4 242:1     296:24 299:5 302:4
  278:10,14               105:20 303:17              86:2,17 87:25 88:6    244:8 245:6 247:24     303:6 304:14
 Contents (3)            copies (5)                  88:12 89:9,19 92:4    249:3 250:10           305:13 306:5 307:9
  156:7,8,12              51:21 79:19 86:5           92:11 96:25 97:1,3    251:21 253:16          308:19 315:14
 contest (1)               232:6 283:8               100:11 103:13,18      254:7 255:5,10,15      316:18 318:7 322:1
  200:18                 Coplon (3)                  103:20 104:12         256:1 257:9,19,23      322:10 323:15
 contested (1)            305:14,19 335:14           105:1 107:3,11        258:8,12,25 259:1      324:7 325:17
  237:14                 copy (46)                   109:2,3 110:2 114:3   260:5 261:2 262:19     331:14,20 332:1,5,9
 context (21)             50:13,16,21,22,25          118:6,12,14 122:3,6   263:2,6 264:25         332:13,17,21 333:1
  71:6 125:21 141:18       51:3 52:7 61:12           122:9,16,17,19,23     265:23 266:20          333:5,9,13,17,21


                                      TSG Reporting - Worldwide       877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 96 of 129 PageID# 5672


                                                                                                                Page 8

    334:1,8,12,16,21          122:14,23 123:17       cover (9)               6:19,20                 3:13 4:6 5:20,20 9:18
    335:1,5,9,13,17,21        123:21 124:1,6,9        111:11,12,14 118:4     Damon (11)                12:6 20:1,5,10,13
    336:1,5,9,13,17,22        127:20 128:14,18          118:12 155:20,24     44:15 285:23,25           27:19 28:4 30:22
    337:1,5 338:3,7,11        132:24 133:12             182:1 232:4            287:15,17,20,24         36:16 37:3 39:10
    338:15,19 339:1,11        139:14 142:19          Cover-up (1)              288:19 289:10           42:13,25 56:15
    339:15,19 340:1           144:2 168:19,21,21      155:21                   290:6,9                 64:24 105:9 108:17
 corroborate (3)              169:5 171:18 174:5     covered (3)             Damon's (1)               117:1,5 129:10
  140:24 141:3,6              174:5 183:8 211:14      65:9 169:24 230:6      289:16                    131:12,17,21 132:1
 corroborated (2)             211:19 212:20          coverup (3)             data (40)                 132:4 135:15,18
  62:19 63:5                  213:24 214:13           117:15 118:5 339:6     40:10 85:9 93:8,17        136:3,6 139:11
 corroborating (2)            217:11,17 219:2        create (2)                157:15 161:15           142:7,9 144:22
  141:8,9                     221:24,25 223:20        284:25 301:23            165:11 166:4,7,15       145:19 151:21
 corruption (1)               224:16,24 227:19       creating (2)              187:3 237:20            171:9,11 178:11
  319:20                      228:13 229:15,16        268:22 269:1             257:14,16,20,24         179:20,23 180:2
 Cortes (8)                   230:6,8,25 232:23      credibility (3)           258:4 260:15            181:9 191:14,19,23
  86:5 264:3 269:22           232:24 233:1,11,16      247:18 253:20 259:21     262:20 263:3 264:2      192:1 193:12 204:8
    270:8 271:6 282:12        234:13,16,25           credit (3)                264:4 268:5,14,17       210:25 221:22
    282:15 290:3              235:10 236:17,21        259:17 260:4 322:22      268:20,25 271:7,9       226:25 229:18
 Cortes's (1)                 237:6,21,23 238:8      crimes (1)                273:16,17 275:2,11      241:20 242:19
  270:19                      242:17 243:20           196:10                   275:25 276:2 288:3      257:18 276:17
 COUNCIL (1)                  244:7,18,22,25         Crites (1)                288:8,9,15 315:1        293:21 295:3,8
  1:7                         247:23 248:3 249:6      6:19                   dataset (1)               303:3 309:10 314:8
 counsel (18)                 263:17,18,22           CRR (1)                 40:25                     322:15 326:14,19
  5:17 7:13 9:14,21           265:16,20 266:7,9       2:19                   date (30)                 327:6,10,12,16,19
    10:5 14:15 17:3           266:11 275:15          crux (5)                11:16 18:11 31:7          328:1,3,7
    26:10,13,21,22 27:3       286:6 300:2,4 301:6     32:16,20,23,24 33:11     42:25 44:20 45:14     day (12)
    27:6,10,12 155:8          301:12 326:7           crystal-clear (1)         55:6 60:2 111:10      41:20 50:19 84:3
    322:17 330:14          County's (2)               225:9                    130:10 134:20           134:12 170:7
 counsels (2)               83:8 303:21              CSR (1)                   137:4,14,16 141:2       213:20 216:16,16
  26:25 27:1               couple (4)                 2:19                     193:17 197:8            257:2 320:1 329:14
 count (5)                  60:23 170:9 263:20       cultural (2)              213:16 221:20           330:19
  58:11 217:21 218:10         321:8                   95:1,6                   231:5 240:13,15,16    day-to-day (1)
    218:19 323:13          courage (1)               cured (1)                 240:17 310:1,2        22:14
 counties (19)              254:15                    208:3                    326:21 329:11         days (4)
  91:13,18 118:19,25       course (5)                curious (1)               342:4,22              9:5 10:14,15 245:8
    118:25 119:2,5,15       188:18 198:7 252:7        239:3                  dated (36)              DC (2)
    120:2 154:7,10            260:11 264:1           current (6)             12:4,15 17:1,10 30:19   2:15 3:8
    163:2 167:11           court (48)                 73:23 74:11 75:18        35:3,13 39:23 45:3    DC/DC (1)
    168:23 169:21           1:1 5:8,14,23 7:23 8:5      216:18 290:10,11       52:11 55:15 58:1      6:18
    170:19 173:24             12:7 15:18 16:19       currently (5)             61:18 78:19 82:22     deal (2)
    213:1,2                   30:24 34:9,10 52:14     40:13 160:20 230:9,9     83:12,14 87:20        73:1 288:24
 counties/jurisdictio...      57:22 68:11 89:22         312:1                  96:10 98:11 108:19    dealing (1)
  152:12                      90:3,10 102:12         cut (4)                   114:2 118:14 156:5    98:7
 counting (1)                 104:1 105:10            129:9 130:9 135:3        212:15 231:1 253:6    deals (2)
  218:23                      106:17 107:18             175:3                  309:1 325:23 331:9    33:4 226:8
 country (4)                  108:10 113:21          cycles (1)                331:18,21 334:9       Dear (1)
  176:24 201:6 206:8          153:14,15,18,25         158:6                    341:3,6,8             83:11
    242:10                    154:1,13 187:25                                dates (5)               debate (1)
 county (108)                 212:8 230:20 236:7              D              43:10 68:4 240:11,14    20:10
  61:16 64:5 66:2 77:11       238:18 253:9           D (7)                     240:18                Deborah (1)
    78:19 81:1 83:15          261:19 269:17          5:1 103:23 212:5        dating (2)              217:10
    84:1,23 85:11,14,14       285:20 299:9             215:7 332:14          84:2 159:1              December (1)
    85:21 87:7 88:17          303:11 304:18            333:10,14             David (8)               324:13
    89:8,24 90:18,24          305:17 307:13          D.C (2)                 3:21 5:13 80:7,10,15    decide (6)
    91:19 115:18 121:5        318:17 324:11          1:20 5:11                 80:21 84:24 89:14     22:25 23:4,6 24:9,20
    121:7,24,25 122:12        325:21                 D/Nevada (2)            Davis (78)                296:11


                                         TSG Reporting - Worldwide      877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 97 of 129 PageID# 5673


                                                                                                          Page 9

 decided (5)             deleting (1)              321:9 327:4 328:15     268:14                62:7,10,12 89:23
 93:8,12 94:11 153:15    260:9                     331:6 342:4          DHS (4)                   148:8,11 191:8
   286:3                 deletions (1)           depositions (3)        201:13,14 206:3           220:8 221:6 234:8
 decides (3)             290:11                  24:13 224:18 228:7       312:25                  252:15
 23:13,16,19             deliberately (1)        deputy (1)             Dianna (2)              director (29)
 deciding (3)            205:24                  297:21                 212:15,18               64:10 77:19 104:24
 23:11 24:22 25:4        deliver (3)             derivative (9)         dictate (1)               214:19,21,24
 decision (13)           319:19 320:3,22         133:2 134:6,24         29:8                      217:25 220:9,19
 23:17,21,24 25:14,19    delivered (1)             135:20 136:6,15      differ (2)                221:2,7,12 222:12
   187:11,12,19          86:12                     137:6 252:12         26:21 27:3                223:5,8,16 225:8,13
   188:25 189:16,18      delivering (1)            258:19               difference (19)           225:15 226:2,5
   190:20,21             253:21                  derived (1)            49:19 50:23 134:9,10      227:24,25 233:15
 declaration (1)         Democratic (1)          142:24                   144:3 167:21            233:17 235:15
 63:18                   116:20                  descendant (1)           169:19 189:6 242:6      244:7 251:2 259:11
 declared (65)           denial (1)              283:16                   242:7,11 248:25       directors (3)
 49:15,16 50:9 53:14     50:23                   describe (2)             254:12 257:7          17:9 64:6 295:2
   54:12 62:21 63:14     denied (2)              26:23,24                 284:10,14 296:4       disagree (39)
   63:15 64:12 65:23     50:21,24                described (5)            298:12 307:6          12:21 23:23 24:5,6
   72:15 73:3,10,25      deny (1)                47:19,21 50:8 256:22   differences (1)           25:22 32:2,7,8,9,19
   74:19 75:1,13 76:11   246:17                    271:8                164:21                    41:13 43:3 45:8
   76:15 80:2 84:2,8     denying (1)             describing (5)         different (24)            55:20 58:12 61:25
   130:24 133:19         264:4                   50:1 121:19 167:22     46:14,20 98:8,9 100:3     62:4,5 63:2 71:11
   138:4 140:2,19        department (42)           214:23 228:9           108:16,17 123:25        73:7 95:14 98:24,25
   141:14,16,18          12:14 19:10 114:17      description (4)          147:14 153:3 164:2      103:7 158:19
   142:18 152:24           169:1 196:7,14        287:19 331:3 338:2       164:18 165:12           161:10 176:19
   153:20 168:25           199:17,20 201:12        341:2                  170:19 176:5            178:15 220:6
   169:12,18 177:1,13      201:22 202:22         designated (1)           184:17 186:17           248:13 252:21,24
   177:18,23 178:7,20      220:11 223:21         223:13                   203:19 206:19           252:24 275:23
   183:10 197:5,13         224:1,4,6 247:9,12    designee (5)             209:24 225:15           276:1 294:22,24,25
   200:25 202:13           250:13,16,19,22       1:18 2:12 4:3 328:15     228:8 237:4 240:14    disagreeing (1)
   211:17 231:5            251:6,11 264:7,14       329:4                differently (3)         95:17
   252:23 272:14           268:4,13 269:23       desire (1)             42:17 119:24 225:17     disagreement (4)
   278:25 281:6,7          271:9 273:13,16,25    93:19                  difficult (1)           42:7,8 152:22 153:13
   282:23 287:24           275:12 276:7 293:1    despite (4)            40:19                   disclosure (1)
   291:15,21,22 293:7      294:17,19 305:7       90:20 242:23 259:18    digit (2)               194:17
   293:14 305:5            312:5,18,23             313:9                137:3,4                 discover (1)
   314:12,14 317:17      depends (2)             detail (1)             digits (1)              70:5
 defect (3)              205:20 318:15           86:16                  291:7                   discovered (3)
 93:3 261:8 275:10       deponent (2)            detailing (1)          Dinnan (1)              67:18 271:17 323:3
 defects (6)             329:1 330:7             77:13                  277:12                  discovery (10)
 303:21 305:1,25         deported (1)            details (1)            Diplomate (2)           117:14 118:5 139:4
   306:23 311:25         249:5                   157:21                 2:21 330:3                155:21 178:1,8,24
   323:9                 depose (1)              determination (3)      direct (20)               221:19 228:6 339:6
 defendants (3)          21:16                   93:22 133:5 188:14     16:25 33:12 36:19       discuss (2)
 1:14 3:12 281:25        deposed (3)             determinations (1)       59:16 86:7 118:16     310:16 311:21
 defending (1)           6:10 7:2 53:2           196:9                    157:17 161:17         discussed (6)
 13:17                   deposition (39)         determinative (1)        165:13 166:18         21:24 175:6,21
 define (1)              1:18 2:12 5:3,10 7:22   65:23                    173:4 179:2 191:5       233:16 304:6
 318:15                    8:3,15,25 9:23 10:7   determine (6)            217:2 245:14            311:23
 degree (5)                20:7 26:1,1 29:16     69:8 115:11 201:14       261:23 317:8          discusses (1)
 281:17 284:25 316:10      35:6,21 39:25 45:6      256:16 287:8           318:19,21 327:22      258:22
   316:12 317:25           52:4 66:13,17 102:1     313:23               directed (1)            discussing (3)
 delete (4)                200:18 207:6,19       determined (11)        298:24                  141:19 277:11 320:6
 256:16,22 260:8,12        212:13 225:25         66:20 121:8,12 122:1   direction (2)           discussion (6)
 deleted (3)               226:9 229:1,6,8         122:15 143:6 189:2   52:7 221:2              72:22 73:17 111:21
 59:19 255:25 256:5        230:4 303:1 314:14      189:10 199:3 268:5   directly (11)             167:24 254:18,20


                                      TSG Reporting - Worldwide    877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 98 of 129 PageID# 5674


                                                                                                        Page 10

 discussions (9)         16:7,11,22 17:22,25     324:5 325:22          67:3                    EAC (1)
 63:7 73:10,22 74:20     18:7 22:7 25:12       document's (1)          double-check (1)         41:1
   74:22 77:17 141:22    26:6 28:10,19 31:2    292:1                   213:4                   earlier (30)
   175:22 176:21         34:21,24 39:17        documentary (3)         double-checked (1)       13:24 69:5 70:15
 dishonest (1)           44:23 45:6 50:11      183:3,18 184:9          213:6                      88:15 89:6 91:7
 247:19                  51:5 52:19,20,21,25   documenting (2)         double-sided (1)           94:25 98:18 99:14
 dislike (1)             54:11,18 56:23 57:2   249:3 261:13            155:8                      100:15,21 101:19
 313:25                  57:4,23 58:21 60:9    documents (68)          doubt (2)                  101:22,23 102:2,5
 dismissal (1)           60:10,13,15 61:23     9:3 10:17,19 17:8       200:7 209:13               103:6 108:14
 44:4                    66:10 68:5,12 71:5      29:9 35:20 44:5       downloaded (1)             110:21 119:8
 dismissed (3)           71:14 78:16,17          51:21 52:8 57:4,7     165:5                      120:13 123:1
 43:16 44:1 249:21       79:12 83:10 88:7        60:17 61:20 66:9      dozen (1)                  145:21 175:20
 dispute (10)            92:6 96:7 97:23         67:11 68:22 70:13     322:19                     176:8,18 177:5,10
 18:8 36:21 42:6,17      99:8,24,25 100:18       70:17 80:24 81:2      DP2 (1)                    209:5 275:6
   43:4,7 162:1 194:19   101:4,8 102:13,22       88:9,20,22 89:11,21   104:19                  early (2)
   266:2 312:15          104:2 105:11,13         89:25 90:11,19,23     DPPA (2)                 117:3 316:24
 disputes (1)            106:18 107:9,19,23      91:15,17,20,25        153:15 213:13           easily (2)
 41:23                   108:11 109:11,16        133:12 140:24         draft (35)               313:1 314:24
 disputing (5)           110:25 113:22,24        141:10,17,24 143:9    58:5 59:10 61:11 65:2   Eastern (4)
 167:19 200:13 302:13    117:20 123:1 133:2      143:12 144:14           65:10,14 74:9 96:12    1:2 5:8 187:21 297:14
   302:17,18             134:5,6,24 136:7,15     145:9 150:22,24         96:16,19 98:7,14      easy (1)
 disseminate (1)         136:19 137:7 138:3      151:2 160:15            99:4,6,11,14,22        195:16
 190:1                   140:16,17 141:16        163:20 167:20           100:4,8,8,11 101:16   echoed (1)
 dissemination (1)       144:17 150:12,13        178:22 186:3,4          102:2,5,18 103:4,11    249:16
 81:24                   154:6 155:13            188:4,6,8 189:20        104:7,22,25 106:4     Edgardo (4)
 distill (1)             156:13 169:3            194:18 208:23           106:11 107:2           86:5 282:12,15 290:3
 32:20                   174:24 175:2            232:12 245:7            110:22 302:9          edit (4)
 distinct (1)            178:18 179:16           281:13,16,18          drafted (3)              60:24 102:19 107:8
 164:14                  181:6 182:6 183:22      293:22 294:3,7        309:18,20,23               318:24
 distinction (4)         192:21,23 194:5,6       302:19,22 304:10      drafts (7)              edited (2)
 133:7 135:21,24         194:21 209:4,14       DOE (1)                 30:4 97:16 103:5         59:3 67:25
   163:5                 211:22 212:1,11,18    273:25                    110:5,11,13,18        editing (2)
 distributed (3)         215:19,21 216:21      doing (12)              drag (1)                 30:3 319:7
 162:10,13 163:23        216:22 217:22         20:2 69:3 115:2         201:11                  edits (11)
 distribution (1)        218:8,21 219:8          120:18 184:14         drastic (1)              58:17,20,25 59:2
 163:6                   220:10 221:16           185:9 198:23 232:9    288:23                     103:4 106:2,7,9
 District (11)           222:4 224:19 228:8      263:10 267:18         dress (1)                  107:3,10,25
 1:1,2 2:25 5:7,8 6:20   230:12,21,22,24         284:6 292:12          204:6                   educate (1)
   34:9 187:21 297:15    233:10 235:25         DOJ (7)                 Drieband (1)             93:19
   297:17 330:25         236:8,13,14,21,23     198:22 199:8 200:24     297:24                  EDVA (2)
 division (3)            236:24 237:12           201:3 312:2 315:25    Drivers (1)              317:10 319:20
 1:3 5:9 202:22          238:11,19,20 240:3      319:20                152:25                  Effectively (2)
 DMV (27)                243:23 244:1          Don (14)                dropped (5)              10:9,10
 65:25 139:6,17          250:25 251:3,3,16     64:10 74:17 77:16,18    158:7 289:23 290:3      effort (10)
   201:20,22 202:15      252:1 253:1,10          77:25 102:24 103:9      290:13,14              77:3 79:14 86:14
   202:21 268:5,14       254:21 255:2,6          103:10,11 104:7,19    due (1)                    91:17 93:16 94:13
   269:3 271:16,17       259:12 260:1 268:9      176:2 177:7,13        13:22                      95:1 201:4 249:5
   272:18,24,25          269:9,20 275:1        Don's (3)               duly (2)                   292:21
   273:12,16,25          282:9 283:2 285:21    104:10,11,13            6:2 330:8               efforts (2)
   274:12,19 275:3,11    293:17,18,24 297:5    Donate (1)              duplicate (1)            114:22 154:5
   276:6 281:3,10        299:10,11,12          114:11                  91:18                   eight (12)
   286:10 287:1          301:18 302:23         donors (1)                                       9:8 58:14 118:19,25
 document (195)          303:12 304:5,7        114:21                            E                119:5,15 120:2
 8:6,9 10:23 11:14,19    307:14 308:24,25      doors (2)               E (9)                      152:12,14,19 157:4
   11:24 12:8,9,12,22    309:14 315:17         199:8 201:10            3:1,1 5:1,1 330:1,1        218:22
   14:11,22 15:12,19     318:18 323:12,20      double (1)                331:1 338:1 341:1     either (11)


                                    TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 99 of 129 PageID# 5675


                                                                                                             Page 11

   29:10 39:7 55:14,23       341:6                   308:19 309:1           195:20                   38:12
   169:12 180:3 256:2     electoral (1)              315:14,18 316:18      engaged (3)              et (3)
   260:9 268:11            275:15                    316:23 318:7,22        55:17 62:23 177:21       1:8 5:6,7
   310:20 311:17          electronic (3)             319:15 321:15         engagement (2)           event (3)
 elected (5)               164:13,23 165:4           322:10 323:15          327:23 328:8             284:20 290:17 317:12
  15:25 17:23 18:5        electronically (1)         324:7,12,15,23        enjoyed (1)              events (3)
   62:18 143:10            167:21                    325:17,23 331:14       91:19                    204:16 205:6 299:2
 election (101)           eligibility (2)            331:20 332:1,5,9,13   entertain (2)            eventually (5)
  20:23,25 58:9 62:7,18    56:6,11                   332:17,21 333:1,5,9    121:19 326:15            139:3 154:23 166:17
   64:6,9 65:19,21        eligible (8)               333:13,17,21 334:1    entire (6)                  199:2,2
   66:4 70:15 71:15,18     32:13 36:10 38:18,23      334:8,12,16,21         67:17 84:20 89:20       everybody (4)
   72:4,24 73:22 74:10       39:1 40:9 41:17,25      335:1,5,9,13,17,21       157:25 214:17          93:11 95:4 203:3
   74:23 75:17 76:21      Eliud (7)                  336:1,5,9,13,17,22       318:2                    313:7
   77:19 78:2,4 93:2,3     170:21,23 171:3           337:1,5 338:3,7,11    entirely (12)            everyone's (1)
   104:24 112:18,20          182:7,10 183:4          338:15,19 339:1,11     63:11 79:1 90:1,5,7,9    187:9
   113:6 115:12              184:19                  339:15,19 340:1          90:25 91:22 104:9     evidence (8)
   121:10 125:22          email (202)              emailed (8)                160:7 190:6 267:21     81:7 151:14,14
   141:19,23 142:25        16:15,23,25 17:9         99:4 100:4,11 105:19   entities (1)                183:18,21 184:9
   143:11 144:5              52:10,22 54:7 57:19     231:10 299:17          118:11                     242:21 312:14
   152:22 156:17             58:1,22 61:3 66:12      300:16 309:12         entitled (1)             evidently (1)
   158:6 159:20              66:14,18 68:7,16      emailing (1)             172:25                   49:25
   169:13 174:20,24          75:21 78:10,18,19      257:13                 entity (3)               evolved (1)
   175:22 176:21             79:16 82:3,7,9,17     emails (5)               20:22 23:19 43:25        69:7
   177:2 178:3 197:21        82:18,21 84:22         81:10,12 101:23        entries (2)              exact (3)
   214:19,21,24              85:25 89:13 95:25       287:18 288:19          138:14 283:9             11:16 64:17 108:15
   217:25 219:3 220:4        96:8 97:7 98:2,10     emphasis (1)            entry (1)                exactly (19)
   220:4,19 221:2,7,12       100:24 101:5,9,16      13:16                   283:12                   6:13 14:21 54:8 98:23
   222:12 223:5,8,12         102:8 103:22 105:3    emphasize (1)           envelope (2)                109:10 152:14
   223:16 224:12             106:13 107:14          134:4                   86:20,22                   189:12,25 219:20
   225:8,13,15 226:1,5       108:1,5,19,23,23      empirical (2)           equal (2)                   223:7 239:13 249:1
   227:23,25 233:15          111:13 113:17          91:3 93:17              10:23 13:23                252:22 259:4 263:2
   233:17,18,25 234:3        114:2,5,7,10,13,15    empirically (1)         equivocation (1)            265:12,19 293:12
   234:5,8,9 235:15          115:25 137:11,13       24:7                    64:11                      321:2
   242:10 244:8 245:1        143:3 147:18 149:5    employed (2)            Eric (1)                 examination (7)
   251:2 252:20 255:9        177:7,12,16,21         19:9 330:15             297:24                   4:1,3 6:4 8:19 67:17
   259:11 260:12             212:4,14,22 215:6     employees (1)           Erickson (12)               69:4 330:7
   265:8 275:7,12,14         221:13 223:16          20:25                   277:9,13,14,17,22,25    examined (2)
   280:23 281:6,14           230:16 231:1,5,22     encourage (2)              278:4,19 279:22        6:3 329:5
   293:12 295:2 300:6        232:5,6 236:3,16       262:1,8                   280:18,20,21          example (14)
   313:2                     238:14,22 239:5,10    ended (1)               errata (2)                25:11 27:10 30:1
 elections (52)              239:20 243:18          62:15                   329:9 342:1                40:24 46:25 47:3
  39:22 83:16 112:19         253:5 254:22 255:4    endnote (9)             error (1)                   62:9 125:23 143:2
   112:20,21,22,24,25        255:14,23 261:15       162:21,23,25 164:25     342:7                      197:23 202:9
   113:2,8,9,12 114:18       261:24 266:14,18        165:14,18 167:7,7     especially (1)              232:13 322:23,25
   116:6,13 159:1            267:1,14 269:12,22      167:10                 83:19                   examples (3)
   161:3 169:1 201:23        269:25 270:4,8,25     ends (2)                Esq (3)                   143:3 203:19 286:17
   220:9,11 223:21           271:8 277:3 279:5,9    121:16 129:11           3:5,6,13                Excel (2)
   224:2,4,6 244:7           282:4,11,11,14,15     endure (1)              essentially (5)           216:24 260:10
   247:9,12,17 250:14        283:5 285:16,22,22     199:13                  11:24 122:24 154:12     Excellent (1)
   250:16,20 251:6,11        286:2,18 287:17       enforce (1)                170:18 320:10          7:13
   251:21 260:24             289:17 296:23          312:3                  establish (8)            exception (2)
   261:8 264:7,15            299:5,13,14 301:4     enforcement (8)          37:15,19,24 38:3,5,7     58:13 329:7
   268:4,13 269:23           302:3,10 303:6,12      146:6 187:2,8 190:15      38:8,14               exchange (1)
   273:13,17 274:1           303:16 304:14,19        195:9,19 295:16       established (3)           54:7
   275:12 276:8 293:1        305:13,18,23 306:5      296:2                  37:20 41:10 71:22       exchanged (5)
   294:17,20 305:7           306:9,13 307:9,15     engage (1)              establishing (1)          97:17 110:6,14,19


                                        TSG Reporting - Worldwide     877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 100 of 129 PageID#
                                      5676

                                                                                                            Page 12

   287:19                  184:3 185:18,19        17:13,18 157:24         face (4)                 fall (1)
exclusively (2)            186:6,6 193:3,12,19   expect (1)                71:14 82:10 181:10       290:19
 97:8,10                   200:11 209:10,20       326:19                    192:21                 false (6)
excuse (9)                 210:9,13,13 211:8,9   expenditures (1)         faced (1)                 138:13 139:23 150:17
 46:18 65:20 86:1          212:3,9 215:5,11,22    22:23                    312:21                    150:25 182:24
   164:21 213:13           222:16,17 223:4       experience (9)           facing (1)                 267:21
   216:5 233:22            225:1 230:15,21        113:1,3 176:20,23        203:1                   false-positive (6)
   317:14 326:10           233:11 234:14           196:3 199:9,12         fact (59)                 283:22 284:4,7,11,21
executed (1)               235:1 236:2,8           225:12 247:14           41:19 62:2 64:19          320:18
 140:1                     238:13,19,21          experienced (1)            66:11 81:18 85:10      false-positives (7)
exercise (8)               244:11 245:13,22       176:22                    85:16 88:24 89:21       199:11 247:10 284:6
 13:13,18 55:17            253:4,10 254:24       experts (2)                90:9 91:22 93:9          284:13 288:9,11
   186:12 190:8,10         261:14,20 269:11       93:8,16                   100:20 101:23            314:25
   195:10 285:13           269:17 272:5,13       expires (2)                116:22 131:23          falsely (1)
exhibit (304)              277:1,7 278:9,13,23    329:17 330:21             151:8 152:21            285:1
 7:25 8:6,18 12:2,6,8      282:2 285:15,20       explain (10)               163:24 167:19          familiarity (1)
   15:14,19 16:9,14,20     296:21 297:4 299:4     24:24 25:1 86:15 91:9     170:5 175:17            73:2
   18:1,2 30:18,25         299:10 302:1 303:4      178:19 227:22            186:20 187:25          family (1)
   31:3 33:6 34:16         303:5,11 304:13,18      237:18 275:5,9           189:2 194:12            286:6
   35:1,6 37:8 39:19       305:12,17 306:4,10      321:9                    200:13 201:15          far (11)
   39:25 44:25 51:15       307:8,13 308:18,23    explained (1)              207:16,23 214:13        66:8 70:16 88:7 96:17
   52:4,9,16,18 55:5       314:4,11 315:3,13      313:24                    215:4 223:24 225:3       130:9 143:7 260:3
   57:2,18,23 61:1,9       315:17 316:17,22      explaining (2)             234:20 243:11            273:1 281:25
   61:12,12 64:20 65:2     317:2 318:6,18         200:21 232:5              244:1,4 251:8            297:19 321:24
   65:10,12 66:13,17       322:9,24 323:5,6,14   explains (1)               259:16 261:6,7         fast (2)
   68:1,6,12,15,18         323:20,23 324:6,11     246:21                    265:13 276:9            102:25,25
   72:11,12,15 73:2,24     324:14 325:16,21      explicitly (4)             277:24 278:4 279:3     faulty (1)
   74:13,25 75:5 76:20     331:4,8,11,14,18,20    211:14,18 223:8           287:13 288:4,24         40:10
   78:8,15 80:4 84:9       332:1,5,9,13,17,21      224:7                    290:9 292:24 294:1     Fauquier (3)
   89:17 95:23 96:6        333:1,5,9,13,17,21    explored (1)               294:20 301:22,22        238:8 242:17 243:20
   97:25 98:10 100:22      334:1,5,8,12,16,21     312:2                     304:9 312:20 317:3     February (33)
   102:7,13 103:21         335:1,5,9,13,17,21    express (4)              factor (1)                17:10 21:20 43:3,7
   104:2 105:2,11          336:1,5,9,13,17,22     251:20 253:17 289:11     259:7                     211:13 212:15
   106:12,18,21            337:1,5 338:3,7,11      289:12                 facts (2)                  213:17,21 216:16
   107:13,19 108:3,11      338:15,19 339:1,5     expressed (6)             263:12 342:6              219:9 223:17 230:7
   111:8 113:16,22,22      339:10,11,15,19        252:19 253:13 254:4     factual (2)                231:2,11 236:15
   117:11,19 119:17        340:1 341:3,5,8         254:8,11,13             161:13 267:17             238:7,23 239:15,19
   122:18,21 123:2,22    exhibits (15)           expressing (1)           failed (3)                 239:25 242:16
   124:17,19,22,22        105:15,16 106:1         244:7                    214:3 215:25 322:25       245:12 254:3
   126:11,14,19,20,23      110:4 163:7,12,18     extent (9)               failing (1)                255:15 257:9,10,15
   128:11,25 129:1,2       164:10 165:7           14:10 16:8 20:6 42:14    144:12                    257:23 261:24,25
   129:11 130:1,13         166:19 194:23           45:23 156:14           failure (2)                266:17 267:14
   131:13,16 132:6,19      298:16 331:3 338:2      169:11 233:18           49:12,16                  268:1
   132:20 134:1            341:2                   234:2                  failures (1)             federal (19)
   139:14,16 140:9,22    exist (6)               extra (1)                 189:11                   56:5,10 89:22 90:3,10
   144:18,19 154:25       97:20 151:1 251:4,17    170:9                   faint (1)                  116:6,13 154:13
   155:7,12 162:6          301:21,24             extraordinarily (2)       129:18                    161:2,3,14 195:9
   163:2 165:13,15       existed (4)              225:9 243:14            fair (9)                   308:5,13 312:3
   166:23 167:8,11,17     76:20 77:1,8 97:19     extraordinary (1)         41:5 42:3 56:14 93:24     315:8,11 317:22
   168:2,7,12 169:8,20   existence (2)            142:23                    132:1 154:18 209:2       318:13
   169:21 170:9,21,22     97:22 141:3            extremely (2)              227:2 311:21           felonies (13)
   170:23 172:7,7        existing (1)             90:21 248:19            Fairfax (4)               123:16,20 124:5
   176:15 179:1,3,11      221:17                                           64:5 171:18 183:8         156:10,10 160:23
   179:12 180:11,15      exists (1)                        F                286:6                    160:23 161:8,12,12
   181:24 182:3,5         228:5                  F (1)                    faith (1)                  161:19,19 194:2
   183:17,19,19,24       expanded (3)            330:1                     260:18                  felony (9)


                                      TSG Reporting - Worldwide      877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 101 of 129 PageID#
                                     5677

                                                                                                           Page 13

   138:12 139:21          90:14 99:17 125:12    flummoxed (1)              137:4,8 138:9,14,17       127:17 145:6,13
   140:1 142:13           142:7,9 187:13         228:10                    138:20,25 139:2,5         173:23 176:5 192:2
   145:15 157:11          227:1 261:7 300:23    fly (2)                    139:24 140:8              318:25
   161:21 182:23,25    finished (1)              97:4,5                    147:17 164:22,23       four-page (1)
felt (1)                122:8                   flying (1)                 164:24 210:25           323:12
 71:4                  firm (13)                 95:3                      221:22 241:20          fourth (8)
fertile (1)             5:22 13:10 18:23        Focht (7)                  242:19 257:18           127:16 128:17 187:22
 198:9                    22:21 79:7 80:24       180:19 191:3,11           276:17 293:21             188:23 189:18
fiction (1)               81:8 82:1 89:23          192:4,15 193:8,9     formed (1)                   191:25 318:25
 268:22                   90:2,17 111:21        Focht's (1)              175:23                      319:14
field (1)                 237:22                 192:18                 former (12)               Fox (5)
 113:5                 firm's (3)               focus (9)                63:12 64:6 65:20,21       6:19 106:1 109:8,9,20
fifth (3)               82:10 91:16 237:20       21:5 57:1 66:4,7          71:17 73:23 74:10      fraction (1)
 36:13,22 115:4        firms (1)                   69:10 133:8 134:11      75:18 93:2 104:24       290:16
fight (2)               18:25                      135:5 144:14            178:3 295:1            frankly (4)
 88:20,23              first (53)               focused (1)             forms (8)                  112:15 220:2 281:24
figure (4)              6:2,17 13:19 14:19       57:3                    56:5,10 127:22 128:1        313:5
 70:20 71:20 72:2         23:10 31:21 33:3      Foley (2)                  143:7 173:21,23        fraud (2)
   202:8                  53:14 54:1 95:10       3:11 5:22                 199:6                   195:11 196:1
file (4)                  96:19,22 97:13        folks (3)               forth (2)                 Fredericksburg (3)
 28:8 119:23 174:2        100:4,8,10 102:23      87:4 206:5 287:12       53:4 119:3                284:23,24 285:4
   198:14                 108:23 132:6 148:7    follow (10)             forum (1)                 free (3)
filed (6)                 153:22 157:3,20        47:14 91:14 204:23      327:8                     13:18,19 309:25
 43:25 115:17 186:17      164:3 189:7,8,15,19      204:25 205:1 285:6   forward (1)               freely (2)
   263:17 289:3           190:9,10 194:4           298:18,25 300:9       266:18                    47:8,23
   292:16                 198:7 202:24             307:21               forwarded (14)            Freeman (44)
files (7)                 206:14 216:4 217:6    follow-up (6)            53:5,7,14 79:25           125:5,15,16,18 126:8
 271:7,10,10,23,24        239:5,10,21 250:18     62:24 66:2 144:9          231:12 255:19,20          126:14,21 130:6,23
   312:25,25              262:7 270:4 287:7        273:23,24 299:16        255:21,24 257:11          132:9 135:14 137:9
filing (8)                287:14 288:1          followed (4)               267:2 270:20,24           137:10 139:13
 12:18 15:15,21 43:8      290:15,21 301:10       46:22 187:25 220:20       297:7                     141:17,21 142:4,16
   198:1 292:18,19        302:23 314:1             325:4                forwarding (2)               144:1,17,24 145:2,7
   331:11                 324:19,23,24          following (4)            66:14 79:5                  145:15,23 146:8,17
filling (2)            firsthand (1)             2:11 213:11 284:18     forwards (4)                 146:20,23 147:5,13
 102:24 274:15          199:19                     284:19                53:19 54:2 79:18            147:23 148:14,24
final (6)              fitness (1)              follows (4)                255:13                    149:2 151:5,18
 98:20,22 106:4,11      267:16                   6:3 239:19 323:7       found (5)                    181:14,19,21,23
   117:23 179:9        five (8)                    326:5                 77:20 118:20 260:3          191:17 202:9
financial (1)           32:11 58:14 78:4        foolproof (1)              323:10 325:1              208:21
 330:16                   98:16 115:6,25         199:3                  foundation (30)           Freeman's (5)
find (12)                 173:18 196:17         footnote (13)            1:11 5:5,7,21 7:18 8:4    134:15 136:23 137:9
 17:4 163:24 178:18    fix (5)                   121:17,17,20 122:2        8:16 11:11,17 12:4        142:21 172:12
   191:24 192:18        10:21 93:21 261:10         122:16,18 128:20        12:18 13:1,5,9,25      frequently (3)
   219:19 222:20          292:17,21                128:22,23 163:14        14:1 15:2 17:6 20:2     321:25 322:3,3
   232:5 246:1 262:6   flagged (4)                 163:20,22 165:18        21:4 22:1 31:10,14     Friday (1)
   303:18 313:21        240:7,24 241:3 243:4    forced (1)                 78:20 79:14 86:23       109:14
finding (1)            flaws (1)                 189:4                     114:15 323:10          friend (5)
 206:8                  67:19                   foregoing (2)              331:7,8                 316:1,3 319:19 320:3
findings (7)           flip (2)                  329:5 330:10           Foundation's (2)             320:23
 118:17 156:9,25        170:8 181:10            foreign (1)              11:23 326:5              friendly (1)
   159:13 161:7        Flom (2)                  278:6                  foundational (2)           89:24
   162:15 171:22        2:14 3:3                forgotten (2)            20:6 41:9                friends (1)
fine (2)               Florida (1)               277:19 278:4           four (17)                  256:3
 117:5 181:17           3:15                    form (29)                6:14 14:18,23 15:11      front (20)
finish (12)            flourish (1)              39:10 129:11 135:15       48:23 58:14 59:11       46:8 52:18 110:12,25
 7:10 46:18 67:21       114:18                     136:13,14,17,22         98:16 103:6 115:6         111:8 112:23


                                     TSG Reporting - Worldwide     877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 102 of 129 PageID#
                                      5678

                                                                                                       Page 14

  118:12 130:3          generalized (1)           171:8 172:11,22       131:2 141:10 145:9     321:6,14
  135:14 179:16         284:11                    175:4 176:25 179:1      162:7 163:19 186:3   guiding (1)
  180:6 192:3 211:6     generally (6)             180:17 182:8            186:4 188:4,6,7      70:16
  212:13 218:3,5        48:20 58:13 105:16        187:14,15,16 195:1      189:11,20,24         guys (2)
  222:16 228:18           153:4 234:17            199:2 201:4,17,18       190:11 194:20        66:24 243:4
  237:23 254:21           289:24                  203:13 219:18           198:25 208:23
full (6)                generated (3)             222:19,24 224:9         209:4,14,16 281:13             H
 107:25 194:17 215:17   73:25 272:17 290:25       227:2 272:12,16,23      281:15,18 287:1      H (3)
  216:19 265:11         generic (3)               273:2,11 285:24       GR (1)                 331:1 338:1 341:1
  319:12                183:9,13,15               290:17 297:19         52:5                   H.G (2)
fully (3)               gentlemen (1)             310:24,25 311:7,15    grand (1)              94:6 95:2
 130:21 264:19 265:4    326:10                    325:12,12 328:11      199:2                  Haake (7)
fundamental (2)         genuine (1)             goal (1)                grant (1)              261:24 263:21 265:7
 13:14 42:6             313:6                   21:4                    291:17                   266:7,15 267:13,19
fundraising (10)        George (18)             goes (6)                graph (1)              hand (5)
 114:7,10,13,15 322:1   35:12 39:23 40:4        40:13 143:7 176:20      152:19                 73:8,8 237:1 303:3
  322:8,23 323:1,21       44:15 103:15,16         198:23 246:2 285:8    graphic (4)              330:19
  323:24                  105:20 236:16         going (63)              159:24 160:1,3,4       hand-marked (1)
funny (2)                 283:12,16 284:16      7:23 20:10 24:19        gravely (1)            233:23
 48:10 94:24              284:22 285:23,25        28:17 33:2,12 36:21   248:17                 handed (18)
further (4)               286:3,19,22 341:7       39:8 42:11 53:16      great (4)              15:18 16:20 30:25
 20:3 259:21 330:10     getting (15)              56:17 69:4 70:3       73:1 90:3 201:6          39:24 52:15 61:8
  330:14                42:13 69:9 70:6 79:8      74:5 78:6 88:23         288:24                 78:14 117:18
furthest (1)              91:20 106:4,10          89:22 91:5,7,9        greater (2)              155:11 190:14
 248:21                   204:8 205:1 218:4       102:24 106:7,23       71:5 86:16               212:8 215:10
futile (1)                266:24 270:25           109:9,13 123:6        green (2)                230:20 236:7
 285:13                   295:4 300:6 312:7       131:4 134:12          191:14,25                261:19 282:8
futility (1)            give (19)                 148:25 155:14         Gregory (1)              323:19,19
 186:12                 62:24 68:19 90:12,21      170:6 172:6 173:3     217:7                  handing (6)
future (1)                91:15 143:3 170:1       174:1 187:5 191:8     grew (2)               35:5 45:5 96:5 277:6
 317:12                   189:18 191:9            198:20 199:15         158:6,17                 297:3 318:17
                          219:22 221:6            200:15,18 202:21      GRLIST (15)            hands (2)
          G               256:23 260:25           207:7 245:14          254:22 255:5,8,11,13   245:11 315:25
G (1)                     261:2 279:25            248:13 254:1 260:8      255:19,21 256:3,4    handwriting (1)
5:1                       319:11,22 322:18        260:15 267:13           257:14 261:25        232:10
gaining (1)               324:18                  275:19,25 276:2         266:15,18 270:8,22   handwritten (6)
75:6                    given (10)                279:17 286:1 295:3    gross (1)              140:4,10,18 232:2
garbled (2)             90:3 186:20 190:6         301:5,11 313:21       139:19                   233:7,22
270:2 275:23              194:4,15,20 198:24      314:8 319:19 320:3    ground (1)             handy (1)
Garden (1)                290:16,25 329:7         320:22 326:15         7:3                    211:9
323:7                   giving (4)                327:3                 group (2)              hanging (1)
Gearhart (3)            107:6 173:24 224:5      good (17)               93:7 259:15            167:7
191:3 208:9,10            227:9                 6:6,7 59:1 66:25        guarantee (2)          Hans (5)
general (36)            glad (1)                  80:25 81:2,23         198:18,19              21:24 78:1 102:25
14:15 26:9,12,21,22     243:25                    116:24 155:6          guaranteed (1)           103:19,19
  26:24 27:1,3,6,10     go (70)                   216:17 260:18         220:24                 Hanson (2)
  27:11 51:7,9 62:17    7:3 29:20 46:12,19        302:7 319:19 320:3    Guatemala (1)          3:6 191:25
  63:7,9,12,24 64:2,5     57:10 58:22 69:1,12     320:17,17,23          279:22                 happen (3)
  65:20 66:22 67:6        83:7 84:21 89:22      Gore (1)                guess (7)              47:19 70:4 116:18
  72:23 73:11,17          90:2,10 94:10         297:22                  56:17,23 72:8 218:19   happened (6)
  77:10 87:6 92:9         119:11 120:25         Gotcha (1)                243:4 248:13 291:6   47:6 67:5 84:20
  197:24 212:19           123:3,10 124:22,23    323:7                   guidance (1)             208:20 292:1
  230:25 267:23           127:6 129:2,3,18      gotten (4)              250:13                   298:23
  284:5 297:21,25         130:1,2 131:12        95:5 174:10 213:17      guide (1)              happening (6)
generalization (1)        162:25 166:13           300:2                 320:20                 71:21,21 72:6 199:18
153:2                     167:7,14 170:16,16    government (24)         guides (2)               247:16,21


                                     TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 103 of 129 PageID#
                                     5679

                                                                                                         Page 15

happens (3)             hereunto (1)           humor (1)                   221:16 224:14         69:20,24 85:16
206:9 242:10 257:1      330:18                 94:25                       290:22                 112:23 133:7
happy (30)              Herring (3)            hundreds (5)             ignore (1)                135:22 163:5 188:3
11:20,25 14:12 15:13    306:6,14 335:18        155:15 172:18,20          263:13                   188:5 189:20
  22:8,24 25:13 26:7    hey (2)                  248:8 249:11           ignoring (1)              229:25 260:7
  28:11,20 29:19        235:9 251:11           hunt (4)                  150:23                   266:23 267:6,9
  39:18 43:10 44:24     hide (3)               193:1 248:20,23          II (99)                   281:5 317:1
  49:23 50:5 51:7       259:5 261:6,7            249:1                   154:18,22 155:3,16     improve (2)
  80:23 100:18 102:4    high (3)               hyperlink (2)               155:20 156:24         289:2,4
  111:1,4 211:23        316:10,12 317:25       325:11 326:8                164:22,22 165:24     inaccurate (1)
  212:1 230:1,13        highlight (1)          hyperlinks (1)              167:2,5 168:2,13      314:10
  251:23 252:2 253:2    278:19                 325:14                      169:8,21,22 170:24   inactive (1)
  295:23                highlighted (1)        hypothetical (5)            171:9 172:17          260:5
hard (4)                277:9                  150:25 205:13,18,23         176:15 179:9         inadvertent (2)
115:25 116:18 198:23    highlighter (1)          206:13                    180:12 181:24         194:4,10
  326:12                171:14                                             183:2 184:7 185:12   inadvertently (1)
harder (1)              highlights (1)                    I                185:19,19 193:3,20    194:7
320:19                  277:24                 ID/proof (1)                194:23 195:20        incapacitated (1)
hates (1)               history (6)             246:24                     196:18 206:21         25:25
116:1                   195:14 216:19 248:10   idea (6)                    209:11 210:19        incensed (2)
HAVA (1)                  249:12 320:9 321:1    25:20 92:23 151:12         211:2,6,10 219:10     275:14 313:14
220:3                   hit (9)                   234:8 248:20             221:6,6 222:17       include (14)
head (4)                80:7,21 84:24 85:19       253:22                   224:7,24 225:3,16     163:7 215:2 221:11
26:24 27:6 234:18,21      89:14 90:22 91:25    identical (4)               226:1 227:8,12,23      225:2 233:21
header (4)                191:6 326:11          35:16,23 39:7,9            233:12,22 234:6,12     234:11,23 235:8,17
119:14,16 156:10        Hmm (1)                identification (53)         234:23 235:9,12,14     254:20 260:1
  160:22                169:25                  8:1 12:3 15:15 16:15       259:14 268:3,12        296:12 298:14,15
heading (1)             hold (3)                  30:19 35:2 39:20         270:14,16 272:13     included (18)
197:9                   52:24 108:15 320:2        45:1 52:10 57:19         276:15,21 277:8,15    75:3 82:21 84:5
headings (1)            holistic (7)              61:2 68:7 78:9           277:18 278:11          128:11 136:15
156:8                   67:23 69:3,11,18          95:24 98:1 100:23        279:2 280:14,17        169:10 180:11,13
hear (4)                  143:8,13,20             102:8 103:22 105:3       287:11 295:15,18       194:17 222:16
48:2,3 153:22 178:11    holistically (1)          106:13 107:14            296:6 301:17           223:4 233:11
heard (4)               144:13                    108:4 113:17             302:15 303:25          243:20 272:5 298:6
64:16 70:14 93:1        home (4)                  117:12 155:1 212:4       304:23 305:9           300:11 310:20
  194:19                125:7,8,11,12             215:6 230:16 236:3       306:18 307:4 308:3     311:17
heavens (2)             homes (1)                 238:14 244:12            308:6,10,10,14,16    includes (6)
110:8 128:22            286:6                     253:5 261:15             308:16,17 309:18      130:23 141:22 236:17
held (4)                hope (1)                  269:12 277:2 282:3       310:7,9 315:3          304:24 305:4 315:4
2:13 5:10 73:7,8        49:1                      285:16 296:22            317:23 339:10        including (14)
help (14)               hoppers (1)               299:5 302:2 303:6     illegal (12)             17:2 30:1 56:5,10
11:14,20 13:6 16:7      275:18                    304:14 305:13          115:11 158:25 159:3      60:22 92:2 112:3
  22:8 28:19 81:2       host (1)                  306:5 307:9 308:19       159:8 248:20,24        121:10 125:23
  88:1,21 95:19 208:7   140:13                    315:14 316:18            249:2,5,13 256:25      138:21 216:12,18
  220:3 223:13 252:1    hothead (1)               318:7 322:10             259:17,22              275:3 311:24
helped (3)              265:7                     323:15 324:7          illegally (3)           inclusion (2)
80:24 89:10,23          hours (7)                 325:17                 118:21 125:20 126:16    194:10 276:15
helpful (5)             9:6 26:16,17 84:22     identified (16)          image (2)               inclusive (1)
29:12 33:25 82:2          103:6 134:13          60:18 61:21 67:12        157:19 283:8            247:10
  154:8 179:24            326:11                  68:23 69:17,24        imagine (1)             incorporated (1)
helpfulness (1)         House (2)                 83:20 161:7,8 162:4    186:16                  11:13
111:21                  116:9,11                  196:17,21 233:5       immigration (2)         incorrect (17)
helping (1)             housed (1)                271:10 278:23          199:5 312:24            42:5 51:25 52:6 73:16
111:25                  168:7                     286:24                implying (1)              222:3,5,7,9,12
helps (1)               huge (3)               identify (6)              95:7                     223:17 247:6,7,11
154:6                   189:22,23 248:24        178:18 196:22 221:4     important (17)            258:9 274:14


                                    TSG Reporting - Worldwide      877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 104 of 129 PageID#
                                      5680

                                                                                                             Page 16

   291:18 312:17          302:14 303:25            276:7 280:10            55:18                    interrupt (2)
incorrectly (1)           306:18 310:19            281:16 284:12          instruction (1)            94:9 187:16
 290:14                   311:16 312:10            287:23 289:1            42:14                    intervening (8)
incredible (1)            314:3 315:2 317:15       312:19                 instructions (4)           73:22 205:22,25
 247:19                 indulge (1)              informed (16)             85:15 90:11,20 91:14        206:15 255:25
INDEX (1)                222:24                   143:9,20 144:13         instructs (1)                259:7,9 299:2
 4:1                    ineffective (1)            145:8 188:25 194:9      7:15                     introduce (1)
Indiana (3)              322:20                    217:22 228:13          insulated (1)              5:17
 1:12 11:13 97:3        ineligible (5)             229:15 230:8            275:10                   introduced (1)
Indianapolis (2)         34:12 37:1,12,24 38:1     235:19 236:11          insulates (1)              116:23
 87:1 97:3              infer (1)                  247:8,12 249:6          320:17                   Introduction (2)
indicate (1)             107:12                    274:10                 integrity (1)              156:9,24
 16:10                  inference (2)            inherent (2)              17:14                    invaded (1)
indicated (7)            292:6 301:23             74:1 281:15             intel (4)                  94:23
 17:22 197:23 202:15    inflammatory (1)         inherently (3)            266:23,23 267:7,9        invalid (1)
   273:14 274:2 276:8    267:21                   72:5 77:20 145:10       intended (1)               205:14
   286:10               information (133)        initial (4)               321:8                    invasion (157)
indicates (3)            11:25 14:4 33:7,22       99:6,10 167:22 325:4    intent (4)                 30:4 92:4,15,23 93:13
 121:21 237:2 301:4       40:21,22 51:3 53:19    inquiries (1)             188:23 274:6,9 291:2        93:23 94:1 95:7,10
indicating (13)           54:2,4 56:21 60:21      63:18                   intention (3)                99:16,19,22 102:18
 49:11 107:10 161:6       62:6 63:3 78:7         inquiry (8)               321:4,12,17                 104:7 107:2,8 110:2
   176:14 181:2           81:22,24,25 83:25       16:12 66:9 67:23 70:2   interest (22)                110:6 111:10
   200:10 225:4 232:9     85:11,14,17,18           75:19 221:7 224:8       1:11 5:4,6,21 7:18 8:3      117:14,21,24 118:5
   245:24 246:9,14        86:14 112:14,23          275:17                    8:16 13:25 17:6           119:22 126:17
   275:1 276:8            125:22 132:15          INS (1)                     22:1 31:10,14 78:20       132:7 139:12 142:3
indication (2)            138:14 139:17,17        312:25                     79:13 86:23 175:2         152:9 154:17,18,22
 260:17 281:2             139:20,23 140:13       INSERT (1)                  203:10 322:11             155:3,16,20 156:24
indicative (1)            141:7,21 142:24         342:5                      323:9 330:16 331:6        157:1,20 164:12,21
 267:15                   143:1,22 144:23        inside (1)                  336:18                    164:22,22 165:24
individual (19)           145:1 150:22            155:24                  interested (1)               166:6 167:2,5 168:2
 59:25 60:3 62:2 65:6     152:23 153:16          insinuates (1)            290:2                       168:9,13 169:8,10
   67:10 93:7 125:4       154:10 158:23           248:8                   interesting (1)              169:20,21,22
   146:2 149:22 150:4     160:15 161:13          insinuating (1)           193:21                      170:24 172:1,17
   154:16 168:23          163:20 176:24           249:11                  Intermittently (1)           175:6 176:15 179:9
   185:14,24 203:1        187:7,9,12,20,24,24    inspect (2)               21:1                        179:13 180:12
   216:20 247:15          188:6,15,19 189:9       44:5 46:1               internal (1)                 181:18,23,24 183:2
   276:15,21              189:14,17 190:1,2,2    inspection (22)           266:18                      184:7 185:15,18,19
individuals (62)          190:4,7,11,13           44:22 45:15,20 46:8     internally (3)               185:24 193:3,20
 13:12 17:2,18 30:7       192:16 201:14,15         48:8,17,19,25 49:5      198:22 199:1 200:24         194:23 195:20
   34:11 59:18,22         201:16 202:14,17         54:19 56:25 57:4       Internet (15)                196:18 206:21
   62:11 64:11 65:3       213:12 215:1             59:6 68:2 73:13,17      118:3 163:8 164:11          209:11 211:2,6,10
   66:20 67:9 75:2,4      218:18 219:19            74:8 75:10,14 76:17       165:2 188:13,17,21        219:10 222:17
   113:1 133:12,17,22     220:7,8 221:1,25         83:18 118:20              189:5,14 190:5,13         224:24 225:3,18
   159:20 160:6           222:6,9 223:6 225:4    inspections (1)             190:23,25 194:14          226:3,6,10,18
   161:15 169:4           225:5,11 228:25         73:20                      206:18                    227:17 233:12,21
   178:19 184:14          232:23 234:13,25       instance (7)             interpret (9)                234:12,23 235:9,11
   186:3,18,23,25         235:16,16,20 237:5      47:11 48:21 50:24        141:23 143:1,9,21           252:8,16 253:15
   194:24 214:22          237:7,11,15,24           81:20 246:17 257:3        150:23 240:15             254:6 268:3,12
   215:2 218:7,11         241:18 243:14,19         257:5                     250:10 259:16             270:14,16 272:13
   222:15 223:3,10        249:20 252:3           instances (4)               283:19                    276:15,21 277:8,15
   233:9 240:1 268:6      255:25 256:6,17,22      246:8,13,23 251:22      interpretation (6)           277:18 278:11
   268:15,17 269:4        256:23 257:7,8,10      instantly (1)             144:4,13 242:25             279:1 280:14,17
   271:18,23,25           259:5 264:17            208:20                     252:25 293:16             287:11 295:15,17
   288:22 291:1           267:18 272:18,25       instruct (1)                295:5                     296:6 301:5,17
   295:17,20 296:1        273:4,5,12,25           300:9                   interpreted (1)              302:15 303:25
   298:7,15 301:16        274:11,19 275:2        instructed (1)            292:10                      304:23 305:9,24


                                     TSG Reporting - Worldwide       877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 105 of 129 PageID#
                                      5681

                                                                                                          Page 17

   306:18 307:3 308:3    136:10                    108:11,19 109:2,24      76:17 77:8 301:4,11   kind (7)
   308:6,14 309:18      item (4)                   111:8 113:18 114:3      303:16 330:21         6:15,16 77:1 94:6
   310:7,17,20 311:17    34:6 56:8 59:16           117:11,19,22          jump (1)                  171:25 180:5 284:6
   312:10 315:3,22         239:11                  119:20,25 120:21       116:25                 Kinkade (4)
   317:23,24 318:14     items (2)                  120:23 123:2,4        jumping (1)             2:19 5:15 330:3,24
   319:4,24,25 320:4     17:12 56:19               131:15,24 154:25       53:25                  knew (8)
   321:5,5,13,20,25                                155:9,12 179:7,9      June (6)                142:3,16 225:19
   322:7,21 323:1                 J                212:15,22 213:19       114:2 232:14 279:6       226:10,18 227:17
   324:17 339:5,10      j (18)                     215:15 216:10           279:11 299:14,15        229:9,10
inventorying (1)         1:13,19 2:12 4:4 5:4      226:7 228:13          Junior (2)              knock (1)
 290:2                     6:1 17:15 34:3 56:3     229:14 230:3,6         283:13 284:16          201:10
investigate (2)            56:4,4,8,12,19          231:10,16 236:4,15    juries (1)              knocking (1)
 198:6 286:24              328:15 329:3,11         236:20,25 238:15       34:12                  199:8
investigation (8)          342:23                  238:23 239:20         jurisdiction (3)        know (139)
 157:4,24 158:3,12,15   James (21)                 255:24 256:6           31:25 154:16 223:24    7:5,5,14 9:16 11:5,22
   158:16 196:14         211:14,19 212:19,23       257:11 261:16         jurisdiction's (2)        21:17 22:10,11
   200:22                  213:1,8,9,24 214:13     266:19 277:1,7         59:23 65:4               24:14 25:1 29:10
investigative (4)          217:11,17 219:1         279:9 282:2,6,9       jurisdictions (35)        30:16 32:5 35:19,22
 196:6 198:11 296:3        220:25 221:24,25        283:4,17 284:20        58:10,15,16 68:17        35:25 36:12 39:15
   312:4                   223:3,6,19 224:15       296:21,25 297:4,7,9     73:15 111:17,18         46:15 50:1,15 51:22
investigators (2)          224:23 230:7            302:1,5 304:11          112:1,2,7,8,12          52:24 71:9 81:17
 198:10 201:11          January (19)               318:8 319:10            115:18 153:6,9,20       88:8 94:5 96:16,23
invoking (1)             31:7 35:13,17 37:10       331:21 332:6,18         154:2,8 158:21          98:20 99:6,8 100:12
 326:25                    54:15 55:5,8,14,14      333:2,6,22 334:2,13     159:17,19 168:17        103:6 109:15,16
involved (6)               55:15,15,24,24          336:14 338:2,3,4,7      169:22 172:6            116:7,8 123:3 125:8
 93:11 201:10 233:19       56:18 74:20 84:2        338:11,12,15,16,19      173:12 219:7,23         125:11,12 130:16
   234:6 237:20 313:8      253:11 255:4,14         338:20 339:1,2,5,10     220:13 230:5 237:4      131:8,15,23 136:5
involvement (1)         jca (1)                    339:11,15,16,19,20      252:18 304:4,6,8,11     136:10 142:21
 81:8                    107:8                     340:1,2               jury (1)                  151:10,10 153:24
involving (2)           JCC (4)                  Johnson's (1)            199:2                    154:4 160:12,13,14
 175:21 178:3            217:11,16,23 218:11      225:24                 Justice (7)               167:6 169:20
ironclad (1)            Jeanne (2)               join (2)                 19:10 114:16 196:7       170:13 172:20
 199:4                   180:22 191:12            18:12 21:7               196:13 199:17,20        178:6,18 185:2
irrelevant (5)          Jersey (3)               joined (5)                201:12                  193:4 199:10,12
 70:1 218:18 235:14      323:3,4 326:7            16:4 18:12 19:4 21:9   justifies (1)             205:15,16 206:25
   235:18 291:13        Jim (1)                    21:17                  91:13                    207:1,2,12 208:25
isolated (3)             303:13                  joining (1)                                       210:21 211:22
 275:6,20 276:4         Jo (3)                    19:8                             K               217:13,14 221:15
isolation (1)            191:2,3 208:8           joint (2)               Karen (1)                 222:18,22 223:22
 143:13                 job (3)                   118:8 156:2            232:13                    224:20 227:13
issue (22)               1:25 81:23 287:7        joke (3)                Kaylan (3)                228:5,16,25 229:2,9
 74:22 77:4 131:23      John (2)                  95:5 283:19 284:19     79:19 106:9 114:3         229:21 230:12
   189:20 224:3,13       6:9 297:22              Joseph (1)              keep (11)                 233:13 234:12,24
   226:21 233:20        Johnson (147)             79:19                  89:1 102:24 106:1,7       235:9 237:18
   234:18 244:18         52:11,23,25 53:1,6,18   joy (1)                   205:15 266:23           238:11 243:1
   245:1 249:16 252:4      54:2 58:2 61:1,5,9     90:9                     267:6,9,24 310:8        245:11,21 247:4
   252:14 253:22           61:12 68:8 78:8,15    judicial (1)              327:3                   248:4 251:10 252:8
   272:8,19 276:4          79:18 82:11,13,17      188:22                 Keith (4)                 255:1 256:6,11,12
   289:11 290:8,16         84:9,21 85:24 88:7    Judiciary (2)           44:15 285:23,25           256:16 257:3
   327:13                  88:14 89:13 94:17      116:9,11                 288:3                   258:15 263:7,19
issues (12)                95:9,23 96:2,6,9      jugs (1)                kept (1)                  265:1 267:19
 21:5 30:5 32:25 33:1      97:24,25 98:4,6,10     27:13                  174:2                     268:24 269:9
   188:24,24 190:16        98:10 99:4 100:6,22   July (17)               kicked (1)                270:24 271:1,2,3,4
   252:15 287:25           101:1,5,10,16          12:15 45:15 54:20      288:6                     271:5 276:23
   309:22 312:5,8          102:21 105:4,19         56:25 68:2 73:8       Kim (2)                   277:18 279:19
itching (1)                107:15,24 108:3,7       74:7,16,21 75:11,14   244:12 334:5              284:15 287:4 289:3


                                      TSG Reporting - Worldwide     877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 106 of 129 PageID#
                                      5682

                                                                                                            Page 18

  289:8 293:9,10        Latham's (1)             learn (1)                lengthy (2)               253:13 254:4,22
  302:13 308:10          235:20                   77:3                     179:16 199:24              255:4 257:13
  311:4 321:24 322:2    Latin (2)                learned (2)              let's (21)                  262:19 263:2
  326:11 327:7           1:6 5:6                  62:16 292:14             29:20 55:6 64:24        Lindberg's (2)
knowing (2)             laughed (1)              leased (1)                  92:22 104:14 129:2     255:14 257:22
187:4,4                  95:5                     326:3                      130:1 133:8 136:12    line (16)
knowledge (4)           laughter (1)             leave (2)                   156:23 172:22          16:12 75:19 96:12
14:7 160:20 199:9,12     285:1                    46:17 131:17               182:8 195:1 202:17       109:1,4 148:2
known (4)               Laura (1)                leaves (1)                  216:22 230:4             275:17 295:4
7:20 21:3 191:3          5:15                     243:4                      236:12 237:25            299:16 309:15
  267:19                law (38)                 leaving (1)                 245:10 264:18            342:8,10,12,14,16
knows (3)                5:22 12:15 13:10         120:15                     279:5                    342:18
199:18 260:20 265:14       18:23,25 20:23,25     led (3)                  letter (97)              lines (3)
                           22:21 51:2 79:7        43:5 74:4 85:12          12:4,13 30:19 31:4       147:8 148:1,13
           L               80:24 81:8 82:1,9     left (13)                   33:6 35:3,12,16,17    link (21)
L (2)                      89:23 90:1,17 91:16    48:25 73:20 74:11          36:18,19 37:7 38:6     162:7 163:2,11,13,14
 285:17 334:22             111:21 146:6             114:17,20,24 115:2       38:8,9,11,15,16,19       163:21 164:25
L-Y-T-L-E (1)              161:11,24 162:2          116:1,5,18 255:18        38:20,21,24 39:3,13      165:10,12,20 166:5
 309:5                     187:2,8,23 190:14        281:5 306:25             39:22 40:3,4,20          166:5,16,18,21,22
labeled (2)                195:8,18 237:19,22    left-hand (3)               45:3,11,14 51:15         167:12,13,17
 5:3 245:25                291:21 293:6,8         86:24 137:23 182:19        55:8,14,15 58:6,8,9      309:17 323:11
lack (4)                   294:15,16 295:16      legal (43)                  58:17 59:5,10,11      linked (1)
 34:13,19 267:15           296:2                  1:11 3:21 5:5,14,21        61:11,15 65:2,14       105:16
   274:11               lawlessness (1)             7:18 8:3,16 11:11        67:25 69:11 74:9      linking (4)
lacking (1)              114:17                     11:17,23 12:3,18         75:23,24 78:6 81:16    126:18,20 163:17
 173:15                 laws (2)                    13:1,4,9,11,24 14:1      81:18 83:2,3,7,14        167:25
landing (4)              116:1 312:3                15:1 17:6 21:4 22:1      84:10,13,16,19        links (6)
 166:9,12,14 167:14     lawsuit (16)                22:25 23:4,6 27:7,7      85:20,23,24 86:1,7     165:6 166:4,24 167:1
language (18)            27:15 30:12 36:2 43:9      27:11 31:10,14           86:8,11,13,17,19         325:8,10
 55:23 59:17 60:6,11       43:13,16,18,22,25        78:20 79:13 86:23        87:20,25 88:4,5,10    list (165)
   60:12,15,16 61:19       80:18 115:21             161:12 263:13            149:9 244:6,9,12,23    9:22 10:5 34:2 44:6
   65:3,16,18 66:23        263:17 264:2 289:3       293:2 295:5 322:11       244:25 246:22            50:8 53:15 55:20
   67:2,3,8,11 68:22       292:16 326:25            323:10 331:7,8           250:8 251:12             56:4,9,11 57:17
   321:14               lawsuits (1)                336:19                   253:20 273:21            59:7,18,22 62:1,11
Lardner (2)              263:23                  legend (2)                  305:3 327:24 328:8       62:15,20 63:14
 3:11 5:22              lawyer (11)               129:11 193:13              331:9,18 334:5           64:13 65:3 67:9
large (6)                66:16 86:14 90:16       legible (2)                 341:3,6,8                69:5,15,16 70:7
 85:14 133:2 163:6         91:16 111:24 143:4     129:15 193:14           letters (8)                 71:5,10,23 72:2,3
   176:21 180:6 296:4      237:20 264:2          legislation (1)           36:9,17 39:7 41:14         72:13,14,18,20,23
largely (3)                299:25 300:11          116:23                     43:1 55:24 68:17         72:25 73:3,5,10,13
 25:10 70:1 90:6           315:25                legitimate (2)              81:20                    73:16,24 74:1,19,25
larger (1)              lawyer's (1)              263:10,12               letting (1)                 75:5,7,10,13 77:2
 317:19                  26:23                   legwork (1)               322:18                     80:1,2 83:19 84:2
largest (1)             lawyers (9)               198:23                  level (1)                   88:16,16 89:7,8
 77:11                   19:2 22:22 25:8 80:25   Leider (26)               110:15                     119:13 121:5,11,24
Larry (5)                  81:11,12,13,19 94:4    31:4 35:4,14 39:12,12   levels (1)                  122:12 124:9,17,19
 261:24 263:21 265:7    layouts (1)                 40:3,7 41:23 44:17     195:9                      127:20,21 131:3
   267:13,19             95:18                      46:10,16,17,20,23     lied (2)                    134:6,24 136:15
late (1)                lead (1)                    47:8 48:3,4 49:2       264:2,9                    137:6 139:15 144:7
 290:11                  296:3                      62:9 63:24 66:17      limited (1)                 145:5,8 154:14
latest (1)              leading (2)                 74:17 77:25 121:11     275:10                     158:22 159:6
 109:25                  95:20 114:15               197:23 341:4          Linda (8)                   169:12 171:18
Latham (7)              leads (1)                Leider's (4)              2:19 253:12 254:4,22       192:19 196:23,24
 230:17,25 231:10        281:17                   62:19 63:5,11,13           262:18 263:2 330:3       196:25 197:14
   232:5 234:4 237:1    League (4)               length (1)                  330:24                   198:18,21 199:21
   333:18                1:6 5:5 45:19 113:7      175:21                  Lindberg (7)                199:25 200:2,4,10


                                     TSG Reporting - Worldwide       877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 107 of 129 PageID#
                                      5683

                                                                                                            Page 19

   200:11,19,23,25        143:4 245:9               71:5 82:11 91:2        lots (3)                 17:1 170:5,11,17
   202:13 203:4          litigate (2)               100:19 102:4            28:2 153:3 176:25         282:12,15
   209:21 210:14          48:12 93:18               104:14 111:2           Loudoun (2)              mark (6)
   213:2,3,8 214:14      litigated (2)              119:18 122:25           303:14,21               7:23 122:9 131:12
   215:20 218:15          153:14 187:21             123:4 152:13           Luciania (10)              309:2,5,12
   219:5,12,22 220:1,5   litigation (6)             154:24 155:18           125:4 130:6,23 132:9    marked (111)
   220:12,20,21,23        27:23 33:8,10 39:15       170:1 173:5 176:3        134:15 135:14          7:25 8:5 12:2,8 15:14
   221:9 222:13             89:12 176:23            179:18 181:2,7           141:17 144:17            15:19,25 16:14,19
   223:13,19,20,25       little (6)                 190:16 195:19            172:12 181:19            30:18,25 35:2,6,11
   224:5 238:8 240:10     11:5 129:17 137:2         201:12 207:17          LULAC (1)                  37:8 39:20,25 45:1
   241:24 243:2             154:16 158:19           211:23 212:2            342:3                     45:5 52:9,14 57:18
   250:22 255:8             159:24                  216:22 223:1           lunch (5)                  57:22 61:2,9 66:13
   271:17 284:8,13       live (1)                   225:14 229:13,23        117:2,4 151:20 152:8      68:6,11 78:9,15
   286:5,8,9,12,13        201:5                     230:13 232:4             309:25                   95:24 96:6 97:24
   290:4 297:6 298:11    living (7)                 243:23 244:15,16       Lytle (24)                 98:1 100:6,23 101:5
   300:2,3,6,8 301:6      32:13 36:11 38:18,23      245:10 251:23           308:20 309:2,4,5,5,12     102:7 103:21 104:2
   301:12 303:20            40:9 41:25 286:6        253:2 279:5 286:4        309:24 310:6             105:2,11 106:12,18
   304:23,25 305:5,24    LLC (1)                    312:5 320:25             311:16,22 313:9          107:13,18 108:4,11
   306:18,20,22 307:2     12:14                   looked (30)                314:17 315:2,9           113:16,21 117:12
   307:18 314:5,11       LLP (1)                   10:19,21 40:4 41:15       316:4,11,13,15           117:19 119:24
   317:13,14,17,18        2:14                      65:16 68:18 73:9         317:4,6 318:1,4,13       139:24 155:1,9,12
   319:22                loaded (1)                 80:2 85:20,23 87:20      336:2                    171:13 212:3,9
listed (48)               271:11                    90:24 92:10,12                                    215:5,11 228:23
 120:12 121:21,22        local (8)                  110:4,20 119:7                   M                230:15,21 236:2,8
   123:22 126:15          116:13 154:7 174:20       120:13 123:23          M (4)                      238:13,18 244:11
   127:5,12 128:5           177:2 219:3,17          128:4 133:14           306:6 308:20 335:18        253:4,9 261:14,20
   133:23 162:6,7           220:2 233:18            162:15 173:8 175:9      336:2                     269:11,17 277:2,7
   166:14 168:18         localities (3)             183:23 215:19,21       machinery (1)              282:3,9 285:15,20
   170:21,23 183:7,15     157:5 168:8 169:10        236:21 279:14,15       112:21                     296:22 297:3 299:4
   185:14,17,24 186:3    location (2)             looking (23)             mailed (5)                 299:9 302:2 303:4,5
   209:10,20 211:15       310:1,3                  56:18 61:11,24 68:1     296:7,12,15 298:2,4        303:11 304:13
   211:20 218:25         Logan (5)                  70:12 72:11 82:18      mailing (2)                305:12,17 306:4,9
   222:16 228:14          25:6 300:16 301:10        92:3 97:23 119:17      297:6 298:14               307:8,13 308:18,23
   229:15 230:10            307:16,18               134:2,3 143:7          mailings (1)               315:13,17 316:17
   234:14 235:1,10       login (1)                  144:18 152:9,19        74:5                       316:22 318:6,18
   240:5,21 242:16        207:3                     180:15,15 181:3        maintenance (13)           322:9 323:14 324:6
   258:24 291:24         logo (1)                   222:4 248:18 271:7     44:7 56:4,9,12 59:7        324:11 325:16,21
   295:17 297:11          155:25                    315:21                  83:19 131:3 134:6       marked-up (2)
   303:25 304:6,7,10     logos (1)                looks (11)                134:24 136:15           58:5,21
   312:10 314:3,17        118:11                   86:20 96:8,23 98:6,23    137:6 220:5 223:14      marking (3)
   315:3                 long (10)                  106:10 107:4           majority (1)             102:12 260:10 304:18
listing (3)               7:5 9:4 10:12 14:16       129:11 274:1           246:23                   marks (1)
 124:13 208:23 209:14       98:19 112:13            277:11 280:3           making (15)              201:20
listings (1)                174:21 208:3,10       loose (3)                50:24 59:5 63:17         markup (1)
 169:4                      248:15                 85:18 89:25 90:11        138:13 139:22           229:23
lists (19)               longer (9)               lost (1)                  161:18,22 182:24        match (5)
 44:6 59:24 60:23 65:5    33:24 88:20 97:21        154:12                   188:10 203:7            126:18 127:1 273:20
   70:23 84:6 120:7         158:22 169:24         lot (19)                  228:23 242:4 249:4        273:22 320:8
   125:25 137:8,10,11       170:4 208:17 265:8     10:19 45:22 70:9 81:2    283:19 295:25           matches (4)
   137:13 225:19            275:17                  100:21 193:23          manages (1)              140:21 319:16 320:15
   301:16 302:14         look (61)                  196:2 198:16           22:21                      321:1
   303:24 310:19          8:7 9:21 10:4,17          203:18 207:6           Manassas (1)             material (5)
   311:16 314:4             14:12 15:13 22:9        209:24 235:10,13       91:24                    138:13 139:22,23
Listserv (2)                25:13 26:7 28:11,20     258:15 275:14,24       manifested (1)             164:20 182:24
 254:14 267:2               36:3 44:24 50:5,6       290:18 291:9           42:8                     math (2)
literally (2)               51:7,14 64:19 66:11     302:21                 March (6)                120:16,17


                                       TSG Reporting - Worldwide      877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 108 of 129 PageID#
                                     5684

                                                                                                      Page 20

matter (14)            meet (9)                minute (4)              243:21,21                282:5 296:24 302:4
5:5 25:8 41:19 43:20   9:4,10 10:3,12 310:6    17:12 53:21 110:1       mix (1)                  318:8 331:21 332:6
  43:22 64:19 66:11      310:16 315:8 316:5     191:22                 246:13                   332:18 333:2,6,22
  101:22 163:24          318:10                minutes (5)             mixture (1)              334:2,13 336:14
  215:4 265:13         meeting (11)            17:9,21 21:20 216:10    104:11                   338:4,12,16,20
  286:23 292:5 304:9   17:4,6,9,19 46:11        310:23                 Mm-hmm (3)               339:2,16,20 340:2
matters (2)              315:10 317:5,9,11     mischaracterizatio...   13:2 168:14 296:18     nabbed (1)
27:7,11                  317:16,18             312:13                  moment (3)             283:15
Maureen (13)           meetings (1)            mischaracterizes (1)    68:19 88:13 324:18     name (36)
277:9,13,14,17,22,24   317:21                  221:23                  moments (3)            5:13 6:8 11:18,22
  278:4,19 279:22      member (2)              mischaracterizing (2)   41:20 194:8 205:12       13:25 16:11 20:22
  280:6,18,20,21       80:11 275:16            242:21 288:17           Monday (3)               21:24,25 49:20,23
McKiernan (5)          members (4)             misinterpretation (1)   21:15 221:4,16           116:14 125:6
244:13 250:17 251:12   116:11,17,18 275:15     249:25                  money (3)                126:23 139:8
  251:19 334:5         memorialize (1)         misinterpreted (2)      321:19 322:21 326:24     142:17 145:5 162:4
McKiernan's (1)        254:15                  186:19 258:3            months (6)               171:3,15,17,24
251:7                  memorialized (1)        misinterpreting (3)     56:7 112:14 116:10       172:12 179:23
McMullan (2)           177:7                   250:9 251:20 252:5        170:10 248:16          183:7 184:4 192:18
45:2 341:8             memory (2)              misrepresent (2)          282:22                 193:2 194:9 208:17
Meagher (2)            111:4,6                 250:1 260:15            Moorman (14)             210:9 276:22
2:14 3:3               mentalincapacity.P...   misrepresentation (1)   212:5,16,19 213:20       277:18 278:21
mean (41)              54:6                    252:19                    214:23,25 215:7,15     281:7 342:3
6:20 10:10 20:17       mention (4)             misrepresentative (1)     215:19,24 216:15     named (4)
  26:15 36:20 39:15    82:4,9 86:10 171:24     264:20                    223:7 333:10,14      162:9 180:18 277:13
  54:21,25 56:23       mentioned (3)           misrepresented (3)      morning (4)              296:1
  58:18 61:23 68:4     33:5 178:4 264:3        186:19 252:22 258:3     6:6,7 109:13 178:4     names (24)
  85:4 94:24 101:7     mentions (3)            misrepresenting (6)     motion (3)             9:13 10:6 69:6 77:25
  122:24 131:22        88:14 157:14 324:19     188:4 251:21 252:6      21:25 22:5 132:5         127:20 162:13
  158:18 159:11        Merit (2)                262:20 263:3           motivation (1)           175:12,14 187:9
  165:8 166:1 175:3    2:22 330:5               267:17                 265:22                   200:4 201:15
  177:13,18,23 178:7   mess (2)                missed (1)              motor (2)                216:18 227:9
  184:5 185:18 189:7   270:2 275:23            218:24                  202:22 203:24            233:19 240:10
  198:9 207:12 219:8   message (1)             missing (13)            Mountcastle (1)          243:21 260:9 291:5
  228:21 240:3,15      270:19                  33:17 134:18,20,23      297:20                   298:6,14,15 319:16
  250:11 258:13        met (8)                  135:4,5,7,9,10,11      move (4)                 320:8,14
  268:25 277:20        9:3,16 10:7,8,15         135:25 137:2,5         16:12 217:20 276:24    narrate (1)
  308:11 322:2           308:2,5,13            mission (7)               320:19               29:14
meaning (2)            Miami (1)               11:23 12:25 13:4 14:6   movies (1)             narrow (1)
85:6 142:25            3:15                     14:9 17:13,18          95:3                   144:14
meaningless (2)        Michael (1)             missionary (1)          MPPA (1)               narrowed (1)
214:11,15              306:13                  281:20                  213:13                 66:7
means (8)              Michele (3)             Missouri (1)            multiple (12)          National (4)
173:20,22 178:20       83:8,11 87:7            115:18                  63:6,6 64:16 73:22     28:14,22 31:17 59:7
  186:11 187:2         middle (6)              misspoke (1)              124:12,12 142:20     Nationally (1)
  240:19 263:24        7:6 70:25 160:19        200:25                    142:24 143:10        2:21
  321:10                 245:15 246:7 317:9    misstating (1)            276:3 281:14         naturalization (9)
meant (12)             midway (1)              197:1                     304:10               199:6 205:22 206:1
72:24,25 73:25 75:7    127:9                   mistake (2)                                      206:16 226:21
  128:10 198:16,16     mind (7)                42:6 65:21                        N              227:21 228:1 259:8
  198:17 265:10,11     8:18 19:25 191:21       mistaken (1)            N (36)                   259:10
  279:14 300:25          254:13 265:21         248:18                  3:1 5:1 52:11 61:4     naturalize (4)
measure (2)              266:5 327:14          Mister (1)                68:8 96:1 98:3       206:6,11 227:7
51:9 52:5              mine (3)                316:14                    100:25 105:4           291:16
media (5)              104:10 180:2 316:1      misunderstand (1)         107:15 108:6         naturalized (1)
25:22 26:3 81:25       minimizing (1)          195:24                    113:18 236:4         261:5
  309:17,21            202:20                  Mitchell (2)              238:15 261:16        nature (3)


                                    TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 109 of 129 PageID#
                                     5685

                                                                                                        Page 21

  214:23 284:5 312:6    58:16 152:16              282:23 284:17         13:12 19:3 27:1 113:4   19:22 246:22
nearly (3)              Ninety-five (1)           285:2 287:24          nonresponsive (4)       notion (2)
157:9 158:25 159:9      132:11                    291:19 303:18         131:5 132:5 258:20      283:25 302:14
necessarily (10)        Noel (26)                 312:3 317:19 326:6      264:11                novel (1)
58:24 203:18 206:13     52:23 53:1,6,18 54:2      339:7                 nonsense (1)            95:2
  207:11 211:21           58:2 79:18 94:12,16   noncitizen.PDF (1)      199:13                  November (11)
  214:15 227:5 233:3      94:16,21 95:18,19     54:6                    Nope (6)                15:25 17:23 18:6
  249:2 325:12            96:8 98:10 102:20     noncitizens (133)       18:17 185:5 205:8         19:17 107:22
necessary (1)             107:24 114:3          49:15 62:11,14 66:1,6     207:2 281:12            315:19 316:6,11,15
71:4                      212:15 236:15,25        66:21 67:5,22 69:9      293:11                  317:6,23
need (17)                 238:23 239:20           69:15 70:7,22 71:3    Norcross (7)            number (87)
7:3,4,14 16:10 31:25      255:24 257:11           71:12,16,18,22,25     80:7,10,15,21,22        5:3,9 12:23 15:20
  65:18 81:17 86:18       284:19                  72:1,3,4,14,15          84:24 89:14             16:21 18:1 31:1
  109:7 162:12 188:2    noes (1)                  73:10 75:1,13 76:11   Norfolk (1)               43:14 55:5 57:23
  191:8 213:5 229:21    268:24                    77:13 93:4 94:23      305:20                    58:12 60:12,13
  235:17 251:25         nomenclature (3)          114:23,25 116:2,5     Norfolk's (1)             61:13,19 65:11
  299:25                50:9,10,11                116:12 119:14         306:1                     68:12,22 70:15
needed (2)              non (2)                   120:2 121:6,25        northwest (1)             104:3,17 105:12
93:8 106:10             183:15 200:20             122:13 124:10         5:11                      106:19 107:19
needs (2)               Non-Citizen (11)          128:15,19 133:20      notarial (1)              108:12 113:23
281:24 289:2            54:12 62:21 63:14         156:17 157:5          330:19                    119:6 127:13 137:3
negate (1)                74:19 76:16 84:2        159:14 160:3,25       Notary (4)                137:3,20,22 147:20
290:5                     142:18 152:24           161:6,20 162:4,20     2:24 329:16 330:6,24      158:4,16 159:4
negative (1)              153:21 168:25           165:16 167:6          notate (1)                162:22,23,25
186:13                    305:5                   169:14 171:22         260:8                     163:16 168:1,5
neither (4)             non-Hispanic (1)          172:4,15 174:18       notated (1)               174:2 179:17 180:1
220:17 260:11 263:12    286:5                     175:19 176:16         237:1                     180:2,25 182:17
  330:14                noncitizen (98)           177:1 186:24          notating (1)              192:9 193:24
Nevada (1)              29:22 30:14 33:4          196:18,23,24          232:10                    212:10 215:12
6:20                      49:16 50:9 53:15        197:15,17,19,25,25    notation (12)             222:21 230:22
never (23)                55:20 62:21,23 63:1     198:4,19,21 199:22    130:23 140:3,10,18        233:8 234:13,25
43:18,22 110:15           63:16,19 64:13,13       199:25 200:1,5,12       192:22 225:2            236:8 238:19
  144:10 145:25           65:23 73:3,25 77:5      200:23 201:1,3,9        234:11,19,23 235:8      239:12 253:10
  146:2 147:23 148:3      77:17 78:3 80:2         207:16,24 208:24        235:13,17               254:19 261:20
  148:8,17,19 149:19      84:8 117:15 118:6       209:2,22 210:14       notations (6)             267:14 269:20
  149:21 150:4,16         130:24 138:4 140:2      211:21 214:15         231:23,25 232:1,2         272:22 282:10
  151:4,8 199:9           140:19 141:12,14        215:20 216:3 227:6      233:7 236:17            285:21 291:6 296:7
  223:18,18 253:19        141:16,18 145:6         243:9,12 248:9        note (4)                  297:12 299:10
  254:16 269:2            153:11 155:22           249:11,14 268:6,15    214:2 215:24 240:5        303:12 304:3,10
new (18)                  156:14,20 159:6,24      268:18 271:19           240:21                  305:18 306:10
2:14 3:7 5:10 17:13       169:18 174:14           281:22 286:9,10,13    noted (2)                 307:14 308:24
  17:17 170:7 240:1,6     177:13,18,23 178:7      286:24 287:13         52:15 329:8               313:11 315:18
  240:22 241:4,8          178:20 183:10,10        288:24 291:16,21      notes (1)                 318:19 322:4 323:8
  242:3,8,14 243:2        193:9 197:5,10,12       291:22 293:7,15       163:15                    323:21 324:12
  323:3,4 326:7           197:13 202:13           303:20 305:1,25       notice (21)               325:22
Newport (1)               206:11 209:14           306:22 312:7          7:23 8:2,14,15,19       numbered (1)
302:12                    210:1,16,24 211:17      313:10,14 314:4,6       31:25 33:6 38:8,9     101:6
News (2)                  214:7 219:22            314:12,15,24 315:5      38:11,15,16 221:20    numbers (11)
6:19 302:12               220:12,20 221:8         317:18 323:3 325:2      274:6,6,9 291:2       37:1,12,23 38:1 41:21
nice (1)                  227:10 231:6 240:8      325:6                   303:1 319:15            126:18 127:1
88:21                     240:25 242:22,24      noncitizenship (6)        320:14 331:5            159:14 162:17
night (1)                 243:9 252:23 259:2    49:15 173:1 272:5       noticed (1)               172:3 188:11
308:25                    259:6 261:4 262:13      276:9 281:3 293:14    182:7                   numerous (1)
nine (1)                  272:14 273:23         noncompliant (1)        notify (1)              65:19
218:22                    278:5,23,25 280:19    173:24                  31:15                   NVRA (6)
Nineteen (2)              280:22 281:1,6,7,8    nonprofit (4)           notifying (2)           30:13 31:23 33:14


                                     TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 110 of 129 PageID#
                                     5686

                                                                                                    Page 22

  34:18 212:25         offering (1)            38:5 39:6 40:7 41:5   168:24 169:3 170:4      327:11,20
  260:13               264:10                  41:14 43:5 44:18,20   170:18,21 171:3,10    old (1)
NW (2)                 office (12)             45:18 47:6,22 48:5    171:21 172:8,11       40:10
2:14 3:7               27:9 34:7 39:21 44:5    49:18 51:16 52:21     173:17 174:4 175:3    older (1)
                         83:15 198:18 265:8    53:16 55:2,3,22       175:12,17,25          101:11
           O             300:1 304:20          56:2 57:6,9 58:16     176:11 177:9,16       omitted (1)
O (1)                    305:20 317:10         58:22 59:10 60:5,8    178:17 179:14         205:23
5:1                      341:5                 63:21 65:1,8,9,15     180:10,14 181:13      omnibus (2)
oath (18)              officer (1)             67:8,20 69:1 71:24    181:15 182:7,8        56:13 275:19
6:22 62:13,22 63:16    223:14                  72:7,17 73:4 74:2,6   183:2,16 184:25       once (13)
  65:24 81:4 138:25    offices (3)             75:15 76:5,12,14      185:21,22 186:4       26:14 92:19 99:9
  139:6 144:7 152:6    2:13 44:21 242:11       79:3,9,18,25 80:10    190:3 191:13 192:6      151:3 153:25 166:5
  174:23,25 198:1      official (17)           80:20 81:4 82:3,11    192:11,25 193:2,7,8     168:3 210:18 227:7
  200:17 203:2 209:6   66:5 78:2 144:5         82:21 83:11,24 84:5   194:11,22 195:1,7       233:14 270:24
  209:12,20              157:10 194:21         85:20 86:10,19 87:6   195:18 198:4 200:3      300:7 322:3
Obama (1)                219:3 220:2,4         87:10,14 88:25 89:6   200:8 201:2,21        ones (8)
114:16                   223:12 224:12         90:7 92:5,19 93:10    202:7,8,10,12,18      110:20 111:24,25
object (5)               232:20 233:18,25      93:20 94:16,20 97:2   203:12 204:18           152:15 173:21
7:13 39:10 135:15        234:3,5,8,9           97:11 98:13,22 99:4   206:19 207:19           185:11 199:7
  295:3 314:9          officials (46)          99:21 100:2,13        208:5,14,15 209:18      295:17
objection (11)         62:8,18,19 63:4 65:19   101:9,21,25 102:17    210:8 211:18          ongoing (3)
144:22 145:19 204:8      65:21 70:15 71:15     102:23 103:3          212:14,22 213:1,7     74:22 77:3 92:25
  210:25 221:22          71:18 72:4,24 73:23   104:14,21 105:10      215:3,22 216:4,10     online (1)
  241:20 242:19          74:10,23 75:17        107:7 108:18          216:15,20,22          165:22
  257:18 276:17          76:21 78:4 93:2,3     109:18 111:7 112:5    217:16,19 218:17      open (2)
  293:21 295:25          121:10 125:23         115:24 116:4,20       218:19 219:16         120:15 327:4
obligations (1)          141:19,23 142:25      117:1 118:2,4         220:10 224:10         opine (3)
59:7                     143:10,11 152:22      119:20 120:11,19      227:3,13 230:24       250:17 251:6,12
obtain (7)               159:21 169:13         121:13,16,23 122:9    231:7,21 233:5        opinion (3)
85:13 86:14 88:20        174:20,24 175:22      122:21 123:13,20      236:15 238:22         116:16 148:10,11
  154:5 166:17           176:22 177:2 178:4    124:3,14,16 125:1     239:14 240:20         opportunity (4)
  298:11 313:1           187:2 197:21 220:4    125:18 126:1,3,8      241:6 242:7,12        26:2 62:24 291:2
obtained (8)             255:9 265:8 280:23    127:2,4,9,18,21,23    244:24 245:14,25        313:19
34:7 125:22 166:7,8      281:6,14 296:2        128:1,3,18 129:1,2    246:6,11,21 247:2     oppose (2)
  166:15,16,20 169:9     300:6 313:2           129:6,17 130:5,14     250:6,15 254:17,21    114:21 132:5
obtaining (2)          oh (28)                 131:4,10,21 132:1     255:13 256:15         opposed (5)
75:5 91:24             29:16 32:5 33:17        132:13,18,21 133:8    258:7,11,14,17        69:5 115:2 289:6
obvious (2)              42:22 44:19 57:8      133:9,25 134:11,14    259:15,23 262:7,11      292:18,22
237:16 267:17            71:1 82:15 86:7       134:18,21,25 135:1    262:16,23 264:5,18    opposite (1)
obviously (6)            94:20 110:8 116:7     135:10,13,23          265:24 270:7,10       145:17
39:16 67:18 136:8        119:17 131:19         136:16,17,21 137:1    271:12,15 272:4,13    oral (6)
  200:19 213:18          146:16 152:18         137:8,23 138:5,17     272:21 273:9,12,19    178:10,13,16,16
  237:14                 158:11 164:18         138:22 139:2          274:23 275:1 276:5      186:9 244:21
occur (1)                170:12 179:4,14       140:15,21,25 141:7    278:18,18 279:5       orally (2)
273:3                    239:9 244:20 246:6    141:20 142:8          280:17 285:14         185:13,23
occurred (5)             256:15 270:5 294:9    143:15,23 144:1,16    289:18,24 290:20      order (4)
26:5 86:15,16 109:7      327:13                145:11,14 150:11      293:6 298:23          70:20 189:10 204:20
  160:21               okay (413)              151:4 152:18,20       299:13 300:15           231:11
occurring (1)          7:7,17 9:8,10,20        153:5,12,18 154:15    306:3 308:15          organization (22)
196:11                   10:12,25 11:2,4,10    154:20,24 155:9,17    309:10,11,24 310:4    12:19 14:6 15:16,22
October (1)              12:13,22 15:7 17:22   156:2 157:23 158:7    310:14 311:6            16:4 19:4,9 21:5,17
325:5                    18:3,3,12 19:19       159:12 160:5 161:5    314:21 316:5            23:1,5,7,11,14,25
offer (1)                20:5,19,24 21:12,15   162:16 163:8,11,17    317:25 318:20           24:9 27:14 31:12
207:18                   29:20 31:4,12,22,23   163:25 164:20         319:18 320:24           113:4 258:4 312:21
offered (3)              32:16,22 33:1,17,20   165:1,4 166:13,22     321:3,19 322:19         331:12
78:7 264:7,14            34:23 36:19 37:21     167:1,9,13,24 168:6   324:19 326:23         organizational (3)


                                    TSG Reporting - Worldwide   877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 111 of 129 PageID#
                                      5687

                                                                                                          Page 23

  26:24 27:6,20            123:14 124:23,25      115:25 124:8 173:6      party's (1)               235:1,10 237:2
organizations (6)          126:14 127:6,9          186:17                48:6                      238:8 241:2,6,18,24
13:13 14:10 27:1 30:6      129:3,14 130:2        part (43)               pass (2)                  242:16 243:2,12,19
  114:21 156:3             132:7,14 136:11       17:21 33:3,13 34:17     102:23 190:7              243:21 247:4 254:8
organized (2)              140:8,9 144:18,19       35:20 53:10 69:19     passed (1)                256:3,23 260:21
91:17 95:18                156:23,24 159:12        69:20,22,24 89:18     252:4                     272:23 273:19
original (8)               160:22 161:11           114:24 126:15         patently (1)              275:3 276:8 278:22
82:22 135:9 136:7,9        162:15,16 163:3,11      130:8,25 131:18       267:21                    283:25 285:10
  196:8 202:23             163:13,15 165:12        132:15,18,20          paydirt (8)               286:4,9,13,16
  240:16 281:11            165:20 166:3,9,12       133:15 134:19         80:7,21 84:24 85:6,19     287:13 290:3,19,23
originally (3)             166:14,14 167:13        136:18 158:9 172:8      89:14 90:22 91:25       290:24 291:15,16
166:18 241:3 244:2         167:14,14,17,25         175:8,16 193:19,22    PDF (4)                   292:10,14 293:7
outcome (1)                171:8,11,23 172:11      214:17 229:4,8,8      84:1 301:5,12 319:12      297:11 298:11
330:17                     172:15,22 173:2,3       232:20 250:18,21      pen (1)                   306:20 307:5
Outcomes (1)               179:2 180:1,2 195:1     256:21 260:12         232:18                    311:24 313:22,25
156:18                     209:9 222:20            271:15 272:19,20      penalty (12)              314:5,11,17 316:1
outreach (2)               239:21 245:16           292:19 306:25         62:14,22 63:16 65:25      320:8
151:17 185:1               266:6 277:8,15,18       324:15                  138:12 139:22         people's (1)
outside (6)                278:17,19,21 288:1    partial (1)               142:13 144:7          294:1
19:19,23 21:2,10           301:8,10 323:7,25     136:14                    145:15 182:23,25      percent (5)
  93:16 194:1              324:19,24 331:3       partially (5)             330:8                 40:14 130:11,17
overcome (2)               338:2 341:2 342:2,8   79:1 133:19 136:25      pencil (1)                132:8,11
312:20 314:25              342:10,12,14,16,18      160:7 201:24          232:16                  perfectly (2)
overinclusive (4)        page(s) (1)             participate (1)         pending (9)             46:4,7
268:7,16,19 271:19       329:9                   289:12                  64:22,23 92:20 244:5    period (14)
overlaid (1)             pages (8)               participation (1)         262:23 311:3,14       54:15 147:13 169:24
104:21                   10:22,24 98:16          326:6                     321:11,12               170:5,19 275:6,11
overreporting (1)          155:15 179:15         particular (30)         Pennsylvania (1)          276:5,11 290:12
268:23                     245:6 324:23          8:19 13:16 24:25 25:8   326:7                     291:22 293:7 306:1
overruled (1)              325:15                  33:21 39:17 40:25     people (130)              318:2
224:15                   Palmer (14)               43:13 50:24 57:2      9:22 10:6 38:25 39:4    perjury (7)
oversimplification (1)   64:10 74:17 77:16,18      61:15 66:10 81:20       41:16 51:11 62:2      62:14,22 63:16 65:25
194:25                     77:22,25 103:10,23      129:3 130:2 133:5       66:6 70:7 71:6,25       140:1 144:8 330:9
overstatement (1)          104:7,19 176:2          144:9 179:2 196:5       75:13 77:2 79:22      permanent (1)
321:7                      177:7,13 332:14         210:6 237:8 250:17      93:2 95:8 110:14      17:14
                         paper (13)                256:13 261:13           112:20,22 120:12      person (16)
          P              105:15 162:13 163:7       264:19,24 265:4         123:22 126:21         11:7 23:15,19 77:4
P (3)                      163:23 164:3,8,9,14     272:19 286:16           127:12,24 128:1         92:25 93:15 97:17
3:1,1 5:1                  164:22,24 165:10        300:18                  138:20 143:5 144:6      217:6 228:24
p.m (16)                   165:19 180:6          particularly (1)          158:22 164:24           249:16 273:13
80:6 100:5 102:21        paperwork (1)           196:7                     168:4 169:12            274:1 278:5,5 285:1
  105:18 107:5,22        281:10                  particulars (1)           176:16 177:1 186:5      290:12
  108:20,24 109:24       paragraph (37)          311:20                    196:25 197:16,19      personal (4)
  255:15,15 283:4,4      30:10,16 31:21 32:11    parties (4)               201:8,11 202:3,3      15:4 21:16 309:20,23
  289:17 318:22            33:4 36:22,24 37:7    46:9 296:12,15            206:2 207:15,23       personalized (1)
  328:16                   40:18 55:11,18 63:3     330:15                  211:15,16,19          320:18
PAC (1)                    83:24 114:14 115:5    partners (1)              214:14 215:20         personally (7)
160:18                     115:16 118:18         271:16                    217:22 218:15,25      19:20 116:16 235:19
page (104)                 123:15 127:13,16      partnership (1)           219:6,11 221:8,21       236:11 249:18
4:3 8:20 15:24 16:2        128:17 157:3,24       20:20                     222:1 223:24            280:21 308:2
  29:21 33:13,16,18        159:13,23 162:14      parts (1)                 225:20 226:10,13      personnel (1)
  40:18 52:25 55:11        245:15,20 246:7       176:23                    226:15,18,23 227:3    298:25
  61:13 83:7 104:16        247:7 248:7 263:16    party (16)                227:17 228:2,14       petition (2)
  104:18 118:17            289:16 319:1,14,18    46:2,6,21,23,24,25        229:15 230:9,10       189:10 201:8
  119:11,13,17,19,20       323:13                  47:4,10,13,16,24        231:18 232:7,11       phenomena (1)
  120:1,25 123:7,10      paragraphs (4)            48:2,18,22,25 271:1     233:5,8 234:7,14      227:22


                                      TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 112 of 129 PageID#
                                     5688

                                                                                                     Page 24

Phillips (5)              141:21 142:3,16         165:5,5,6 190:4,12   316:21 336:12          224:20 287:7
79:19 105:21 109:2        145:22 146:7            206:17,22 209:25     PILF-ADAMS-001...      302:23
  109:18 114:3            148:14 150:11           210:15 239:1,16      212:7 333:12         places (3)
Philly (1)                152:22 153:19           244:8 262:12         PILF-ADAMS-001...    176:23 196:3,4
318:23                    155:25 160:9            265:22 323:7         106:16 332:24        plaintiff (1)
phone (7)                 172:18 173:8,12       PILF-ADAMS-000...      PILF-ADAMS-001...    208:3
137:2,3,20,21 147:20      174:7 180:7,11        299:8 335:4            103:25 332:16        plaintiffs (12)
  182:17 192:9            181:1 183:3,18        PILF-ADAMS-000...      PILF-ADAMS-001...    1:9 3:4 5:19 8:1 80:17
photo (1)                 184:8,20 187:12,20    269:16 334:20          102:11 332:12          171:6 207:25 208:2
246:24                    188:20 189:4          PILF-ADAMS-000...      PILF-ADAMS-001...      208:13,17 327:1
photocopied (1)           190:20,21 191:2       303:9 335:8            98:5 338:14            331:4
131:23                    193:8 194:12,22       PILF-ADAMS-000...      PILF-ADAMS-001...    planned (1)
photocopy (5)             195:18,25 201:16      277:5 339:14           230:19 333:20        58:9
129:6,17 131:15,22        210:14 211:13,18      PILF-ADAMS-000...      PILF-ADAMS-001...    plead (1)
  134:8                   212:3,9 213:15        285:19 334:24          324:10 337:4         293:1
Pick (1)                  215:5,19,24 217:22    PILF-ADAMS-000...      PILF-ADAMS-001...    please (23)
38:12                     218:5 219:1,9,17      45:4 341:10            323:18 336:25        5:17,24 17:4 68:19
picked (1)                221:20,24 223:3,18    PILF-ADAMS-000...      PILF-ADAMS-001...      90:14 99:17 102:24
286:5                     224:22 225:2          57:21 332:4            322:13 336:20          214:2 215:24
piece (2)                 226:10,18 227:17      PILF-ADAMS-000...      PILF-ADAMS-001...      219:15 232:5
237:6 243:14              228:14 229:9,10,15    302:6 339:22           306:8 335:20           235:25 239:7 240:5
pieces (5)                230:8,15 233:21       PILF-ADAMS-000...      PILF-ADAMS-001...      240:20 244:10
143:21 183:3,18,21        234:11,22 236:2       297:2 339:18           305:16 335:16          257:14,23 261:7
  184:9                   238:13 241:16,23      PILF-ADAMS-000...      PILF-ADAMS-001...      300:23 317:8
PILF (295)                242:15 243:19         282:7 340:4            16:18 331:17           324:18 342:5
7:20,22,25 8:6,22         244:6,11 245:11       PILF-ADAMS-000...      PILF-ADAMS-001...    plenty (1)
  11:1,2,10,18 12:2,8     251:20 253:4,11       52:13 331:23           325:20 337:8         81:19
  14:5,14,20,25 15:1      254:1,3,9,20 258:7    PILF-ADAMS-000...      PILF-ADAMS-001...    PLLC (2)
  15:6,14,19 16:4,14      260:14 261:14         108:9 339:4            244:14 334:7         20:23,25
  16:20 18:5,12,19        262:1,2,8,11 263:6    PILF-ADAMS-000...      PILF-ADAMS-002...    Plowman (1)
  19:4,8 21:7,9 22:12     264:2,8,15,17 268:3   107:17 333:4           12:5 331:10          303:13
  22:15 25:21 27:22       268:12 269:3,8,11     PILF-ADAMS-000...      PILF-ADAMS-002...    plus (2)
  28:6,7 30:18,19,25      278:23 285:15         318:9 336:16           15:17 331:13         100:19 173:19
  32:17 35:17 37:8,11     291:1 296:7,14        PILF-ADAMS-000...      PILF-ADAMS-002...    point (31)
  37:15,21 41:6,10,15     298:17,24,25 299:4    105:6 332:20           30:21 331:19         55:13,23 56:15 69:3,7
  41:16 42:9,18 43:12     301:15 302:14         PILF-ADAMS-000...      PILF-ADAMS-004...      70:14 96:23 99:2
  43:24 44:12 52:9,15     303:5,24 304:13       101:3 338:22           315:16 336:8           102:1 110:11,18
  52:18 53:3 55:15,24     305:12 306:4 307:8    PILF-ADAMS-000...      PILF-ADAMS-004...      114:1 128:12
  57:2,18,23 58:8,9       308:18 315:13         96:4 338:18            78:13 338:10           138:22,24 154:11
  59:3 60:5 61:11         316:17 318:6          PILF-ADAMS-000...      PILF-ADAMS-004...      161:18 187:8
  65:2,12 68:1,6,12       321:19 322:9          253:8 334:11           322:14 336:21          194:13 198:20
  68:18 72:12 74:13       323:14 324:6,25       PILF-ADAMS-000...      PILF-ADAMS-005...      202:21 203:5
  79:23 82:22 83:4        325:16 326:3,13,24    113:20 333:8           307:12 335:24          220:10,16 226:14
  85:21,23 86:3 87:4      328:1,2 329:3 331:3   PILF-ADAMS-000...      PILF-ADAMS-005...      246:3 249:6 250:15
  87:19 89:6,7 90:25      331:4,8,11,14,18,18   68:10 332:8            304:17 335:12          250:24 266:16
  91:20 92:1,14 93:17     331:20 332:1,5,9,13   PILF-ADAMS-000...      PILF-ADAMS-005...      327:6
  93:23 94:22 95:16       332:17,21 333:1,5,9   61:7 338:6             308:22 336:4         pointing (2)
  96:25 102:7,13          333:13,17,21 334:1    PILF-ADAMS-000...      pit (1)              72:13 129:13
  103:21 104:2 105:2      334:5,8,12,16,21      238:17 334:4           251:1                policy (11)
  105:11 106:12,18        335:1,5,9,13,17,21    PILF-ADAMS-000...      pitting (2)          184:10,12,22 185:4,6
  107:13,19 110:7,19      336:1,5,9,13,17,22    236:6 333:24           251:3,16               185:13,23 186:1,9
  111:7 112:17 113:7      337:1,5 342:3         PILF-ADAMS-000...      PJ (2)                 188:24 285:9
  113:10,16,22 114:6    PILF's (24)             261:18 334:15          309:17,21            polished (1)
  118:8 124:8 125:19    15:22 24:8,20 37:7      PILF-ADAMS-001...      place (9)            96:23
  126:9 128:24            118:3 132:19,20       215:9 333:16           76:6,8 95:8 112:25   political (2)
  130:15,22 134:1         155:18 164:23         PILF-ADAMS-001...        199:16 202:24      160:10 287:6


                                     TSG Reporting - Worldwide    877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 113 of 129 PageID#
                                     5689

                                                                                                       Page 25

poor (2)                  300:16,25 301:3,10    president (22)            99:22,24 110:23      144:9
120:18 300:24             303:7,13,17 304:15    14:15 15:6 17:23 18:5     112:18 113:11        procedures (9)
pops (1)                  307:10,16 315:19        18:13,14,19 21:18       157:10 205:11        175:23 288:10 293:13
202:25                    316:19 335:2,6,10       22:12,15 24:20 26:9     268:3,12 271:8         293:25 294:16,18
population (2)            335:22 336:10           26:12,20,23 27:2,5      275:7 330:6            294:23 312:4,6
40:14 290:23            practice (3)              27:8,12 35:12 96:25   Privacy (1)            proceedings (8)
portion (6)             18:22,22 20:18            103:17                152:25                 57:13 117:8 129:22
99:2 130:8 135:8        practices (1)           presidents (2)          private (6)              151:24 238:3
  136:11,13 137:6       44:7                    26:25,25                18:22 20:18 47:14        295:11 311:10
position (20)           practicing (1)          presumably (4)            188:8 254:18           330:11
14:14,17 18:13 26:9     20:19                   60:5 158:3,11 213:10      312:21               process (22)
  26:12 45:25 48:13     practitioner (3)        presume (1)             privately (2)          13:22 62:24 65:25
  48:15,16 51:4,22,24   19:6,18 20:16           180:13                  254:11,12                67:18 93:1 107:5
  123:7 209:1,3,5       precedent (1)           pretty (2)              privilege (5)            143:14 144:4,11
  210:15 213:11         188:22                  95:4 265:7              28:6 46:11,12 309:7      199:16,17 201:6,10
  267:16,23             preceding (1)           prevent (1)               311:20                 201:19,22 272:22
positive (1)            248:16                  292:19                  privileged (3)           273:23,24 274:5
85:8                    precise (1)             previous (15)           33:7,8 42:12             292:9,11 313:4
possession (1)          307:7                   17:22 74:4 83:6 88:8    pro (1)                processes (3)
255:24                  precisely (6)             144:20,25 151:7       5:18                   289:1,2,4
possibilities (1)       14:9 140:2 219:18         203:10 224:18         Prob (1)               produce (2)
325:14                    259:24 260:23           233:19 239:24         75:24                  97:22 252:12
possibility (8)           294:12                  260:7 285:8 323:7     probability (3)        produced (5)
120:16 121:20 227:24    preclude (1)              326:5                 316:10,12 318:1        10:20 72:15 76:19
  250:21 255:18         110:9                   previously (35)         probably (39)            97:18 308:25
  259:7 279:3 301:22    predated (1)            35:1,6,11 39:19,25      7:3 36:13 45:9 54:21   product (1)
possible (6)            74:20                     44:25 61:2,9 78:9       54:22 75:3 94:3,13   97:7
163:19 186:13 268:19    predates (1)              78:15 80:1 89:16        98:13,19,20 99:1     Professional (1)
  281:23 290:19         302:10                    95:24 97:23 98:1        105:15 110:17        2:23
  316:25                predicate (1)             100:6,23 101:4          113:25 119:9 124:2   program (1)
possibly (3)            20:2                      108:4,11 117:12,19      130:10 147:8 148:1   17:17
121:21 208:2 267:15     prejudice (2)             155:1,9,12 258:5        165:8 173:20,22      programs (1)
post-election (1)       43:17 44:2                277:2,7 282:3,9         177:20 180:20        17:13
271:9                   preliminary (2)           288:18 295:23           184:5 191:14 207:3   project (5)
posted (10)             98:15,25                  296:22 297:4 302:2      208:24 213:18        81:14 85:10 156:3
193:19 194:8 207:8      premise (5)             primarily (4)             230:4 233:8 262:14     185:9,10
  208:24 209:11,15      39:8 71:11,19 202:11    97:7,8,9,10               265:14 279:18,18     promotion (1)
  210:10,12,19,21         252:21                Prince (43)               291:6 320:4 322:19   30:3
posture (1)             preparation (3)         61:16 78:19 80:4 81:1   problem (25)           prompted (1)
198:14                  178:23 197:22 301:19      83:8,15 84:1,6,23     50:21 70:5,11 74:24    42:9
potential (11)          prepare (5)               85:11,21 87:7 88:17     75:7 93:21 124:12    pronunciation (1)
198:21 199:21,25        8:24 9:22 10:7 21:13      89:8,24 90:17,24        157:21 186:24        309:4
  200:12,23 224:4         302:20                  91:19,23 92:10          187:1 189:22         proof (1)
  240:8,25 249:25       prepared (6)              112:4 120:7 121:5       196:15 199:1 206:6   319:11
  284:12 314:23         8:21 30:8 207:6 229:5     121:24 122:12,22        209:15 226:2 259:9   propensity (1)
potentially (15)          303:2 326:17            123:5,17,21 124:1,6     261:13 268:25        250:1
58:13 60:18 61:21       preparing (3)             124:9 127:10,17,19      275:19,20 290:21     properly (1)
  67:13 68:23 69:17     35:21 102:1 178:8         128:14,18 132:24        292:21 312:22        271:11
  69:19,23,25,25        presence (1)              133:11 139:14           314:1                property (1)
  83:20 133:13 314:6    78:3                      140:22 142:19         problematic (2)        13:21
  315:4,4               present (3)               144:2                 257:1 261:9            proposition (3)
Powell (30)             3:20 46:2 84:3          printed (2)             problems (6)           37:16,19,19
17:1 31:9 58:2,22       presented (3)           164:7,9                 67:24 93:6 158:5       prosecute (4)
  79:14 83:12 86:2      17:15 58:19 94:14       prior (19)                159:16 172:5         194:23 195:10 295:16
  105:21 245:4 283:5    presenting (1)          11:22 19:8 43:8 73:2      189:23                 315:25
  297:10 299:6,17       17:17                     75:14 78:5 97:15      procedure (1)          prosecuted (4)


                                     TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 114 of 129 PageID#
                                     5690

                                                                                                     Page 26

  198:20 200:5           215:1 218:6 224:17      279:2 280:14,18       28:5,10,17,20 29:1      276:19 282:13,14
  295:21 312:11          225:8 232:24            287:11 290:24         30:9,11 36:13,16        287:5 289:9,21
prosecuting (1)          234:13,24 235:2,7       296:6 301:16          37:18,21 38:13          291:13 293:5 294:6
316:24                   235:16 238:8            302:15 304:23         39:11,15 41:8,9         296:17,20 298:21
prosecution (6)          243:19 264:3 269:4      305:9 307:3 320:5     42:11,24 43:14 45:9     300:19,24 307:7
195:16 296:1,4           271:17,25 276:9       publishing (3)          46:18 48:23 55:22       308:12 309:11
  320:20 321:6,14        304:7,9               184:7 187:8 320:8       58:25 63:21 64:21       310:3 311:3,14
prosecutions (2)       provides (2)            pull (2)                64:22,23 70:21,24       312:14,15 313:16
199:16 319:20          13:10 239:15            211:8 294:23            70:25 71:2,12,19        314:22 321:11,12
prosecutor (2)         providing (7)           pulled (2)              72:5 74:12 75:8         321:23 322:5,6
318:13,16              51:10 84:1 153:10       118:2 155:18            76:9,14,24 77:6         326:14 327:15,20
prosecutorial (2)        214:14 241:17,24      pulling (1)             79:10 82:7 84:15,15     327:21
195:20 198:13            252:11                95:9                    89:3,5 92:9,20        questioned (1)
prosecutors (16)       prudent (2)             purged (4)              99:18,21 100:10       188:10
195:25 196:6 198:6     221:10 224:9            59:23 60:3 65:4 67:9    109:12,17 110:10      questioning (1)
  199:17 200:21        pry (4)                 purport (1)             112:5 115:13 116:7    295:4
  296:7,13,13,15,16    85:18 89:10,25 90:10    232:12                  116:15 122:6,9,11     questionnaires (2)
  301:17 308:5,13      public (54)             purported (1)           135:4,6,6,16 136:2    56:6,11
  315:9,11 317:22      1:11 2:25 5:4,6,21      29:22                   137:18,24,25          questions (36)
prospect (1)             7:18 8:3,16 13:25     purporting (1)          139:25 140:6 142:2    20:3,9 22:11 29:9,19
227:21                   17:5 22:1 24:21,21    265:21                  142:6,7,9 145:24        36:14 106:23 131:9
protect (3)              24:23 25:2,5 31:10    purports (1)            146:7,10,11,21,24       133:9 134:11
153:15 256:2,23          31:14 33:21 43:20     255:6                   147:11 148:13,16        136:16 141:25
protected (3)            43:23 48:9,14,17      purpose (2)             148:20 149:4,6,14       145:7,13 149:8
152:25 199:11 213:12     78:20 79:13 86:22     188:9 263:10            149:15 150:6,7,9,10     172:1 192:6 202:8
protecting (1)           112:24 118:20         purposes (3)            150:23,25 151:3,7       203:1 205:17
13:16                    125:9 137:21          207:13 248:19 249:17    155:6 158:20            207:20 224:19
protection (2)           187:12,20,23,24       pursuant (2)            161:16 165:1            227:14 228:7,12
13:23 153:1              188:6,7,15,19,24      7:22 51:2               167:23 168:11           229:7 230:1 236:12
protects (2)             189:2,9,10,17 190:1   pursue (2)              170:1 174:15            237:17 247:13
313:7,7                  257:7 319:20          164:25 199:7            177:11,22 178:21        267:22 275:24
protocols (1)            322:11 323:9          pushing (1)             182:20 184:17           299:22 326:18,21
275:13                   329:16 330:6,24       154:13                  185:22 187:13           327:9
prove (1)                331:6 336:18          put (17)                190:3,17 193:18       quibble (4)
286:12                 publication (6)         19:7 108:2 112:23       195:13 198:8,12       99:10 153:3,13
proved (1)             30:3 164:13,15,16         131:14 158:20         199:6 200:2 201:2       185:25
51:24                    194:13 279:12           165:21 190:12         202:2 203:2 205:3     quibbling (2)
proven (1)             publish (13)              209:25 211:7 221:5    206:3,14 207:14,22    130:16 252:10
54:21                  109:21 112:12 188:12      234:4 306:3 307:24    208:15 209:24         quick (1)
provide (18)             188:16,25 189:4,9       307:25 308:1          210:2,6,22 213:14     56:16
6:24 31:25 33:20,25      189:13,19 190:4,11      315:24 324:5          215:23,23 216:5       quicker (1)
  52:7 81:15 85:16       190:22 224:22         putting (3)             218:1,10,14 219:15    276:25
  187:2,7 213:10,11    published (47)          89:1 192:23,25          219:21 221:4          quickly (2)
  235:13 246:23        111:7 112:18 113:11                             223:22 225:10         85:11 313:1
  250:23 272:24          117:24 134:1 142:3              Q             227:3,5,15,16         quietly (1)
  310:19 311:16          154:20 164:11         qualify (1)             229:11,18,19 231:8    190:15
  328:5                  165:2 168:2 176:15    114:23                  234:20,22 235:6,22    Quinn (12)
provided (43)            181:17,24 182:3,4     quantify (1)            236:10,13 244:5       64:3,4,9 74:18 76:25
86:13 88:1 121:5,24      183:3,17,18 188:20    323:8                   246:11 247:13           77:4,7,10,15,22
  122:12 124:9           190:24 191:2          question (241)          250:6 251:24            78:1 177:22
  127:10,20 128:24       200:11 211:10         7:9,10,14 9:25 10:2     253:25 254:2,25       quite (4)
  130:22 132:21,25       219:10 221:5            14:3 16:6 18:3,4      255:3,20 262:23       208:2 248:17 249:18
  138:14 139:16,20       222:13 225:16,17        19:24 20:14,15 21:6   264:22,23 265:19        268:10
  139:21,23 163:3        225:19 227:17           22:19 23:9,18,22      265:24 266:8 267:8    quote (5)
  164:24 167:12,13       234:6 252:15            24:1,11,25 25:3       268:11 269:5,7        125:19 158:2,24
  167:17 168:8,22        270:14,17 276:21        26:18,19,20 27:25     271:24 272:1,10         280:5 325:2


                                    TSG Reporting - Worldwide     877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 115 of 129 PageID#
                                      5691

                                                                                                            Page 27

quoted (1)                  149:2 152:15,17         311:18 342:5,8,10        14:13,22 15:12 16:8     111:17 112:7 119:1
259:13                      289:13 290:6            342:12,14,16,18          16:9 17:20 18:8,10      119:3,4,5 133:12
quoting (3)              reaction (4)            reasonable (3)              22:8 25:12 26:4,7       152:11 153:6,8
66:23 67:1,3              88:18,19 89:9,19        46:4,7 263:8               28:9,11 29:10 31:23     154:18 162:8
                         reactivated (1)         reasons (8)                 44:24 45:16,17,24       165:11 166:7,15
           R              246:25                  91:16 113:13 190:21        47:7 49:1,22 51:6,8     167:3 168:1 169:15
R (5)                    read (16)                  250:12 259:11            51:17 52:4 77:9         183:4 189:3 195:15
 3:1 5:1 39:23 330:1      24:4 106:22 129:7         263:13 285:13            97:12 100:19            195:19 196:8 197:2
   341:7                    143:12 162:18           314:13                   101:23 102:4,5          201:13 212:24
radar (1)                   163:19 192:22        reassess (1)                109:11 110:22,24        213:10 216:12
 221:10                     252:7 260:6 280:16    243:25                     154:9,11 171:1          239:2 244:8 245:2
radical (4)                 287:17 289:20        recalcitrant (1)            173:25 184:18           245:10,17,20
 114:17,20,24 115:2         320:2 324:18          91:18                      211:23 212:1,23         251:21 252:6
raise (5)                   327:12 329:4         recall (22)                 230:13 235:25           258:18 260:12,18
 253:20,24 289:11        reader (5)               6:13 11:18 16:3 17:17      244:10,17,20,24         262:3 286:1,4
   321:19 322:21          165:14 234:12,24          22:6 28:21,24 39:6       245:2 251:24,25         312:24 313:1
raised (8)                  235:9 265:21            44:20 45:25 77:23        253:2 268:9 302:8       317:14,14
 40:20 214:25 223:23     readers (1)                94:11 177:15 191:7       303:22 317:4          recurring (2)
   224:1,3 253:23         266:5                     211:24,25 237:21      recommendation (1)        259:9 312:13
   272:9 326:24          reading (7)                278:10,14 298:20       94:15                   redacted (3)
raises (4)                127:15 147:9 160:14       308:15 317:21         recommendations (3)       129:8,9 188:1
 247:13 267:22 289:22       239:23 242:13        receipt (2)               195:3,5,7               redistricting (1)
   290:9                    262:5 280:2           83:14 193:15            record (83)               17:14
ramifications (1)        ready (1)               receive (1)               6:8 9:14,21 10:5        Redweld (1)
 186:13                   106:1                   112:3                      24:15 43:20,23         181:8
ramp (1)                 Reagan (10)             received (21)               54:23 55:1,2,4,9,16   REF (1)
 113:5                    35:12 40:3 44:15        34:8 53:19 72:18 73:5      55:25 56:8,9 57:10     342:2
rampant (1)                 102:25 103:14,15        85:10,15 89:7            57:11,15 76:15,16     refer (9)
 261:9                      103:16 105:20           101:16 111:16,17         76:16 77:1,8 107:2     165:14 294:15 319:17
randomly (1)                285:23,25               112:2,6 168:25           117:6,10 125:9,13       319:18 320:4
 286:5                   real (2)                   176:24 192:24            129:13,18,20,23         321:25 322:7
range (3)                 106:23 286:12             193:17 244:6 258:1       130:22,25 131:2,3       323:13 324:1
 13:11 82:1 311:23       reality (3)                258:5 264:4 274:10       131:18 132:4,15,16    reference (14)
Rappahannock (10)         24:7,8 265:10          receiving (5)               137:21 140:3 147:4     88:6,12 95:1,6 123:22
 244:6,18,22,25 246:4    realize (2)              52:6 84:22 94:14           147:10 151:22           124:16,19 152:21
   247:22 248:2 249:6     81:4 169:25               262:20 263:4             152:2 155:17 158:8      156:25 161:15,17
   250:25 251:2          realizes (1)            recessed (7)                169:7 176:12,14,17      161:23 162:21
Raskin (2)                290:13                  57:13 117:8 129:22         179:7 183:14 229:9      324:16
 116:14,21               realizing (1)              151:24 238:3             230:3 238:1,4 240:7   referenced (20)
rationale (2)             163:22                    295:11 311:10            240:24 258:19,24       35:3 39:21 45:2 54:5
 186:8 190:21            really (15)             recipient (1)               259:2,17 260:3,5,21     61:3 78:10 87:24
raw (4)                   61:10 94:24 127:15      254:19                     262:16,18 295:9,13      92:17 95:25 98:2
 165:11 166:4,6,15          148:8,11 164:17      recitation (1)              308:25 310:24,25        100:24 108:5
RDR (1)                     167:9 255:17          161:23                     311:7,8,11 327:16       117:13 155:2 161:8
 2:19                       266:10 267:21        recognize (25)              327:19,21 328:12        171:22 277:3 282:4
re-ask (1)                  275:25 286:8,8,12     8:8,10,12 16:22 45:6       342:6                   296:23 302:3
 177:11                     293:3                   52:19 57:24 78:16     records (87)             references (2)
reach (23)               realm (1)                  96:7 101:6 102:17      16:24 30:2 33:15 34:7    88:8 243:24
 40:23 110:15 145:22      179:20                    104:4,6 105:13           34:19 44:22 46:1      referencing (2)
   146:2,7,16,19,22      Realtime (2)               107:20 108:13            48:9,14,17 49:2,5,8    124:7 248:10
   147:5,12 148:14        2:22 330:4                113:24 117:20,23         49:9,11,14 56:5,12    referred (4)
   149:15,21 150:4,16    reason (19)                155:13 171:3             56:18 59:6 75:19,25    161:16 198:15 199:24
   151:5,8 167:2 184:8    6:24 48:24 58:19          212:11 230:22            76:18,19 77:5,13,18     294:16
   185:14,23 186:1,2        61:24 62:5 91:21        238:20 299:11            78:3,23 79:2,5,6,8    referring (44)
reached (8)                 95:14 116:8 209:13   recollection (62)           81:9 83:4,18 92:1,5    11:1 17:25 22:18 37:3
 83:15 147:23 148:24        246:23 250:19         11:15,20 12:11 13:3        92:14,16 97:21          44:8 54:19 115:21


                                      TSG Reporting - Worldwide      877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 116 of 129 PageID#
                                     5692

                                                                                                            Page 28

  116:21,22 140:11         61:20 62:7 67:12        266:7,9,11 267:23         208:1,3 260:7         remember (39)
  140:12,13,25             68:22 74:24 101:24    registrar's (1)             271:21 272:8 290:8     6:16 9:7 11:16 14:4
  143:16 150:5,8           133:12 225:3           44:5                       302:11                   15:3 18:15,16 21:8
  158:14 159:3,6           250:20 268:5,14       registrars (10)          relating (9)                21:9,14 45:22 47:20
  167:4 194:11 208:6       271:18 303:18          63:7,10,12,25 64:2       27:7 29:22 49:14 59:6      55:5 64:15 75:22
  237:1 245:17,19          308:3 309:7             65:20 194:16 243:8        122:4 194:2 284:12       76:7 77:10 78:5
  249:9 258:7 262:12    regardless (4)             252:4 255:9               293:13 323:2             94:3,14 98:18
  263:16 264:6,10,10     48:24 126:21 242:14     registration (109)       relation (1)                109:10 124:11
  264:13,24 278:2          286:11                 28:14,23 29:23 30:15     197:21                     152:13 154:6
  279:20 289:8 291:4    regards (1)                31:17 32:12 33:5       relations (1)               177:15 212:12
  292:23 293:8,24,25     214:20                    36:10 38:17,22          81:25                      228:21 252:3 257:5
  319:4 320:24          REGION (1)                 39:22 40:9 41:25       relationship (4)            267:4 269:10
refers (10)              1:7                       49:6,6,10,12 56:5       42:16 46:8 47:9            296:10 301:18,23
 162:20 165:17 217:16   register (4)               56:10 59:8,24 60:20       272:20                   309:6 310:12
  259:22 262:6 271:6     161:1,20 202:25           65:5 68:25 70:22       relatively (2)              315:11 317:18
  275:22 300:5             243:10                  83:21 117:16 118:6      254:19 313:2            removal (1)
  317:12 320:25         registered (26)            124:12 125:13          releasable (1)            157:10
refiled (2)              2:21,22,23 40:15          127:11,22 128:5,24      152:25                  remove (3)
 43:18,22                  118:21 121:6,25         130:6,10,20 131:3      release (1)               114:22 115:3 292:4
reflect (5)                122:13 125:19           132:9,12,16,22,25       326:1                   removed (28)
 129:13 169:15,16          126:16 142:12           133:4,6,17,22 134:5    released (5)              70:7 121:7 122:1,14
  265:10 290:12            157:21 202:10           134:7,15 135:9          24:21,23 25:2,5 26:3       128:14,19 143:5
reflected (2)              206:4 217:7 226:10      136:1,7,23 138:11      relevance (1)               157:6 158:4,17
 169:8 239:17              230:9,10 241:3          138:23 155:22           206:13                     159:15 172:4
reflecting (1)             242:9,18 246:18         156:14,21 166:8        relevant (5)                173:14 174:23
 107:3                     273:20 274:3 330:3      172:18 173:1,9,13       70:2 187:3 237:8           194:9,12,21 237:3
reflects (1)               330:4                   174:1,7 181:18,25         243:14 280:11            286:25 293:15
 24:7                   registering (7)            182:4,8,10 183:5       reliability (4)             303:20 305:1,25
refresh (25)             123:17,21 124:1,6         191:1 195:14 202:1      74:1,18 281:15             306:19,20,23 307:5
 11:15,20 13:3 14:12       200:5 259:18 287:7      202:24 204:18             288:25                   325:1
  14:22 15:12 16:8      registrant (3)             205:21 206:12          reliable (3)             removing (2)
  22:8 25:12 26:6        144:9,11 288:4            214:5 216:1,12,19       72:5 77:21 145:10        209:16 288:23
  28:10 44:23 49:22     registrants (15)           217:3,5 218:6          reliance (1)             renewal (2)
  100:19 102:4           60:17 61:20 67:12         231:17 240:1,6,13       188:22                   262:3,12
  109:11 171:1             68:23 69:16 158:4       240:14,15,16,23        relied (11)              repeat (1)
  211:23 212:1,23          158:17,25 159:3,9       241:4,9 242:3,8,15      9:22 40:23 78:5          185:21
  230:13 235:25            169:13 174:14           243:3 246:25 249:4        187:22 199:12         repeated (1)
  244:10 253:1 302:8       184:13 291:9 324:3      279:15 281:11             220:23 221:13          252:17
refreshed (4)           registrar (57)             292:5 303:19 323:4        225:10 226:1          repeatedly (1)
 45:16,17 245:4          27:16 31:5 32:17          339:7 341:5               253:15 314:14          148:5
  251:25                   35:14 37:22 51:9      registrations (5)        relieved (1)             repetitive (2)
refreshes (5)              61:16 62:17 64:5       159:21,25 206:15         313:5                    314:9 326:20
 16:9 52:4 268:9           66:22 67:6 72:23        232:7 246:17           religious (1)            rephrase (1)
  303:22 317:3             73:11,18 77:11 83:8   reinvigorated (1)         13:18                    308:11
refreshing (1)             87:7 89:24 90:18       154:5                   rely (6)                 replaced (1)
 51:6                      115:22 143:4          relate (3)                71:4 93:16,17 97:7       67:11
refused (1)                197:24 211:14,19       30:10,14 172:6             145:9 225:12          report (244)
 91:15                     212:19 214:12         related (13)             relying (2)               41:1 49:20,24 50:2,4
regard (13)                219:17 230:8,25        74:21 75:19 83:19        253:14 254:6               50:7,13,17,21,22,25
 15:22 30:11 34:18,19      232:23,24 233:1,11      131:2 145:8 150:23     remained (4)                51:10 92:3,14,22
  41:11 44:6 74:18         238:8 244:18,21,25      189:20 249:15           226:11,19 227:18           95:10 96:13,16
  139:18 141:21            246:3 247:22 248:2      275:6 308:15 312:3        249:24                   97:16 98:19 99:16
  142:16 279:9 308:6       250:25 251:1,19         322:21 330:15          remaining (1)               99:22 100:9 101:10
  308:14                   252:9 253:12 254:4    relates (13)              174:14                     101:17,24 102:18
regarding (18)             258:11,14 263:22       33:6 94:5 100:1 123:5   remains (1)                 103:11 105:14,17
 27:11 34:11 60:17         265:16,20,23 266:1      168:23 207:25           201:2                      105:19,25 107:3,6,8


                                      TSG Reporting - Worldwide      877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 117 of 129 PageID#
                                     5693

                                                                                                        Page 29

107:25 109:4,7,19        301:17 303:18         represent (2)             223:15 227:7          responded (6)
110:2,6 111:10,14        304:22 305:24          27:22,24                 242:14 247:5 261:5     80:6 118:19 119:1
112:17 113:11            306:18 309:15,18      representation (1)        291:10,17                221:12 271:23
117:24 118:8,18          310:7 313:10,15,25     30:12                  reregistered (49)          289:10
119:19,22 121:1,2,2      319:4,25 320:7,19     representative (2)       203:15 214:8 217:11    responding (10)
121:14 122:22            323:3,11 324:17        44:12,13                 217:23 218:11,15       39:6 40:4 79:6,7
123:10,11 124:4          325:12,13             represented (5)           219:1,6,12,24 220:1      84:11,17 88:10
126:11,17,25 127:5    reported (4)              27:14 43:12 125:25       220:7,14 221:21          102:20 150:7 239:1
127:6,10,12 130:15     2:19 285:1 288:6          132:10 252:22           222:1,14 223:3,10     responds (5)
132:7 140:23             330:12                representing (2)          223:25 225:20          213:20 216:10,15
142:18 152:9,11,24    reporter (54)             36:1 123:8               226:13,15,19 227:4       231:16 286:19
153:11,21 154:2,3,6    2:21,22,22,23,24 5:15   Republican (1)            227:11,18 228:15      response (21)
154:21 155:16            5:23 7:23 8:5 12:7     275:16                   229:17 231:23          39:16 78:22 79:2,3,15
156:23 157:14,20         15:18 16:19 30:24     republish (1)             232:8,11,14 233:6,8      83:25 90:25 109:19
157:20 162:3,8,9         34:4 52:14 57:22       189:8                    233:10 234:7,15          119:4 194:6,7 221:6
163:3,4,6,9,12,18        68:11 82:8 87:18      republished (3)           235:1,11 237:3           239:7,16 269:4,6
164:4,6,7,14 165:5       91:11 102:12 104:1     139:15 221:13 224:7      238:9 240:2 241:7        271:25 276:10
165:21,23,24 166:6       105:10 106:17         reputation (1)            241:19 242:1,5,6         283:21 305:19
167:18 168:7,22,22       107:18 108:10          265:9                    243:22 250:21            306:13
168:24,25 169:9,17       113:21 197:3          request (59)            reregistering (1)       responses (15)
169:18 170:18            203:22 204:22          48:7,7 55:9,19 56:13    228:2                   112:1,2,3 145:23
172:15,22 173:10         212:8 226:16            56:18 57:1,3 59:6     reregisters (2)            146:9 148:15
175:13,15,18 177:4       230:20 236:7            59:11 61:19 62:1       204:14 258:18             149:10,12,13 178:1
177:14,19,24 179:1       238:18 253:9            68:22 69:5,11,15,18   reregistration (7)         178:9,24 221:19
179:10 183:8,10,11       258:23 261:19           69:24 78:23 79:2,6     204:19 205:7 224:5        225:9,10
183:15,16 184:1          269:17 280:25           81:9 82:22 83:25        233:4 240:11,13,17    responsive (7)
188:9 195:1,4,15         285:20 299:9            84:12,17 87:10,12     reregistrations (4)      194:5,16,17 289:9
197:22 198:14            303:10,11 304:18        87:15,19 88:11         220:25 221:11 225:4       292:22 313:15,18
206:21 207:7             305:17 307:13           90:25 109:19 119:1      235:20                rest (3)
209:11,21 211:15         318:17 324:11           119:4 132:22          research (5)             97:2 110:7 237:7
211:16,17,20             325:21 330:4,4,5,5      133:11,15 173:22       30:2 31:18 166:7       result (4)
212:25 213:16,23      reporting (5)              194:5,6,7,16 213:15     284:6 325:4            158:3,14,16 321:20
214:21,22 216:23       5:13,16 268:21 269:3      223:9 239:1,16        researched (1)          resulted (1)
219:11 222:1 227:4       276:7                   247:21 258:20          165:11                  312:6
227:10,19 228:15      reports (65)               260:1,13,19 262:1,2   resided (1)             results (4)
229:16 231:3,6,12      30:4 40:22 62:7 92:2      262:3,8,11,12,15       278:5                   91:3 115:11 250:1
231:13,19,22             92:10 119:7,10        requested (18)          resident (1)               252:20
232:15,21 233:23         120:13 163:1,24        49:2 51:20 55:1,2,4     144:1                  retained (1)
237:2 238:9 239:6        165:15 167:10           57:4 83:18 111:18     resistant (1)            81:16
239:25 240:6,22          168:6,12 183:13         112:8 213:23 231:3     147:11                 retention (4)
241:19,25 242:17         185:15,24 188:13        231:13 239:6 246:1    Resolution (1)           81:15,18,20 327:23
243:20 246:1,2           188:15,17,20 189:5      264:16,17 282:20       160:19                 retired (3)
247:9 248:6,7 249:9      190:22,24 193:25        282:22                resolve (1)              265:16,20 266:8
249:10,17 252:10         199:11,14 206:17      requests (5)             210:8                  retracted (1)
252:12 253:14,15         206:20 211:3           68:21 73:14 87:12      resolved (6)             287:24
254:5 257:15,17,24       226:11,20 230:11        118:20 154:16          42:18,19,19 43:4,7,8   return (1)
260:3,9,11 261:12        249:25 250:9,10       required (1)            respect (6)              307:22
262:13 264:6,11,14       252:5,8,11,16,17       246:17                  46:23 47:17 144:16     revealed (2)
264:19,24,25 265:2       272:3,4,5 275:8       requirement (1)           172:1 192:15 248:5     157:4 324:2
265:4 272:14,17          276:12 282:19,23       161:2                  respectful (1)          review (11)
276:22 278:15,24         290:10,23,25          requirements (7)         47:9                    11:15,21,25 26:2
278:25 279:12            296:15 310:17,21       60:20 61:22 67:14      respecting (3)             39:18 96:20 176:22
280:21 281:7             311:17 312:10           68:24 69:18 83:21      47:1,4 48:22              271:6,9,15 312:19
282:20,21 283:9          318:14 321:5,13,21      133:13                respond (4)             reviewed (11)
291:14,20 296:7,13       322:7,22 323:1        reregister (10)          39:13 274:15 279:8      9:3 10:24 35:19,21
298:2,4,9 299:25         325:8 326:5            206:12 220:21 221:9      291:2                    172:18 173:13


                                   TSG Reporting - Worldwide      877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 118 of 129 PageID#
                                      5694

                                                                                                         Page 30

   174:7 180:7,11        126:24,25,25 127:3      245:3,17 246:6         2:19                    running (2)
   245:6 299:12          127:3,20 128:2,4,7      247:25 248:5,13       robust (2)                198:22 200:24
reviewing (4)            128:9 130:7,9,12,18     249:15 250:4,5         139:20 227:12
 12:12 212:12 301:18     131:11,11,11            256:5,9,10,19,24      rock (1)                             S
   301:23                132:19 133:16,24        257:25 258:13,18       223:11                  S (20)
revised (2)              134:20 135:12           258:21 260:14,15      role (16)                 2:19 3:1 5:1 299:6
 58:23 60:15             136:9 137:11,23         261:22 262:4,13,17     23:2,3,11 24:22,24         303:7 304:15
revising (1)             138:6 140:4,10,15       263:9,14,18,22,23        25:2,4 26:20,23          305:14 307:10
 30:3                    140:17,21,23 141:2      264:8,15 265:3,17        27:2 85:9,17 90:1        316:19 330:3,24
revision (2)             141:15 142:4,8,11       266:15,17,25 267:1       91:1 93:16 144:11        331:1 335:2,6,10,14
 60:13,14                143:24 144:19           267:10,11,12          roll (2)                    335:22 336:10
Richmond (6)             151:12,19 152:18        269:10,21 270:9,14     44:6 304:22                338:1 341:1
 1:7 217:7 306:14,19     153:1,12 154:3          270:18,23 271:14      rolls (67)               Safe (3)
   306:21,23             156:3 157:15,19,25      271:20 272:14,23       32:12 36:10,25 37:11     326:1,3,4
Rick (1)                 158:2,4,14,15,21,24     273:4,6,7,24 274:4       37:22,25 38:17,22     sample (3)
 297:20                  159:4,5,5,7,10,25       274:8,9,13,16,18,22      40:9 41:7,11,17,25     118:19,24 157:9
ridiculous (1)           160:3,11 161:3,25       274:24,25 277:15         69:9 71:4,13,16,19    sampling (1)
 200:16                  162:3,11,21 163:4,9     277:25 278:16,16         93:4,5 114:22,23,25    325:5
right (529)              163:10 164:8            278:22 279:1,7,8,21      115:3,17 119:15       satire (1)
 12:15,20 13:17 16:1     165:17 166:10           280:5,14 281:4,20        120:2 128:20 157:6     94:25
   18:10 22:3 25:15      167:8,15,19 168:15      282:17,17,24 283:7       158:5 159:15 172:4    satirical (1)
   29:11 32:1,15,18      169:6,11,19,22,23       283:11,12,13,14,17       174:10 175:7           94:4
   33:15,20,23 34:1,17   169:24 170:4,20         283:21,24 284:1,7,9      176:22 186:24         satisfy (2)
   35:10 36:24 38:23     171:5,7,7,13,23         284:10 285:3             189:23 201:9 202:4     55:19 133:13
   40:2,15,17 41:17      172:10,19 173:4,7       286:19,21 287:2,10       206:2,7,10 209:17     satisfying (7)
   42:10 43:2 44:7       174:13,15 175:9,10      289:19 290:7,22,25       227:6 242:23           60:19 61:21 67:13
   45:11,13,21 46:12     175:13 179:4,8,11       291:12,24 294:17         243:13 272:23            68:24 69:17,25
   46:14 48:9,12,13,14   179:25 180:8,12,14      294:24 295:22            273:9,14 288:7,24        83:20
   48:16 49:3,7 51:1,2   180:20,23 181:14        297:11,18,20,22          292:3,9,10,15         Saturday (1)
   51:4,23,24 53:11,16   181:19,21,22 182:6      298:18 299:14,15         293:15 303:22          109:13
   54:24 55:1,22 56:19   182:16,21 183:1,5       299:18,19,22,23,24       305:2 306:1,19,21     saucers (1)
   56:22 58:10,24        183:19,20 187:19        300:17,20 301:3,14       306:24 307:6           95:3
   59:20 60:14,25        189:7,8,15,19,25        301:15 303:16,23         311:24 312:7          saw (16)
   61:13,19,22 64:25     190:6,8,9 192:4,5       304:2,3,20 305:6,8       313:14 314:5           49:5 73:16 74:25 80:6
   65:18 68:18 72:12     192:24 193:13,16        305:21,22 306:2,15    Romes (2)                   80:20 84:24 89:14
   76:23 77:22 78:21     194:15,18 195:4,6       306:16 307:20,24       10:8,13                    97:13 100:8 110:15
   79:1,4,23 80:3,14     195:11,12,17 197:4      309:3,11 310:11       room (4)                    110:22 123:1
   80:19 81:7 82:20      197:6,7,8,9,11,13       313:12 314:3           46:17 47:12 49:3,4         177:25 178:8,23
   83:2,3,5,9,13 84:10   199:25 201:7,7,8,9      315:12,20,22          root (1)                    184:3
   84:25 85:2,25 86:5    201:23 202:15,19        316:15 317:5,6,11      69:8                    saying (43)
   86:20,25 87:1,3,4,8   203:17 204:1,19,20      317:11 319:2,3,4,6    Rosen (4)                 44:18 53:8 56:7 70:19
   87:21 88:18,25        205:5 206:24,24         319:10,12,13,24        180:22,24 191:12,16        71:24 72:1 85:5,6
   89:15,18 92:12,13     208:12 211:11,25        320:6,10,21,23        Roughly (1)                 101:18 141:11
   92:13,15 93:12        212:21 213:19,22        321:6 323:6,23         152:14                     159:8,10 160:17
   95:11 96:20 97:4,7    213:24,25 215:21        324:3,24 325:4,6,9    rows (1)                    167:5 169:16
   97:18 98:11,12 99:7   216:6,6,13 217:1,6      325:25 326:2,3         260:9                      173:18 175:5
   99:13 100:17          217:9,12,20 218:3,8   right-hand (6)          RPR (1)                     179:12 183:22
   101:12,15 102:20      220:16 222:8,22        104:18 135:8 137:1,5    2:19                       184:20,23 193:9
   102:21 105:9,22       226:7,8 228:8,15        179:6 195:8           rule (4)                    197:18,20 202:19
   106:8,24,25 108:24    229:9 231:14,19,23    rights (9)               8:2 326:15,16 331:4        216:11,17 225:5
   111:11,19 112:9,18    232:3,4,8,13,14,17     13:15,19,21,21,22      rules (1)                   228:24 231:11
   114:6,18 115:19,20    233:2,9 236:10          21:5 190:10 298:1      7:3                        233:7 247:18,19
   118:9,22 119:1,11     238:25 239:2,4,4,4      313:7                 ruling (3)                  250:7,8,14 260:14
   119:22 120:7          239:10,11,18,23       Rizwana (3)              153:18,25 154:1            265:9 268:20
   121:23 123:12         240:2,4,10 241:2,10    79:13 82:19 84:23      rulings (1)                 284:15 294:18
   125:10 126:4,13,21    241:12 242:20         RMR (1)                  187:25                     313:10 320:16


                                    TSG Reporting - Worldwide     877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 119 of 129 PageID#
                                      5695

                                                                                                               Page 31

says (236)                  264:23 265:9            103:1,2 104:18           82:15 95:5 96:9             316:19 318:8
 8:13,15,17 12:16 13:8      267:13 271:22           106:2,20,21 108:18       98:13 101:7 113:25          322:12 323:16
   15:25 16:2 17:13,16      272:1 274:1 277:22      109:22,23 115:8,9        221:18,18 224:20            324:8 325:18
   18:7 21:23 22:2,4        283:2,17,23 285:4       116:2 120:3,4 121:8    segue (2)                     331:15 332:2,6,10
   31:8,11 32:11 34:16      286:15 287:3 288:2      121:17 122:18           26:19 152:10                 332:14,18,22 333:2
   34:24 35:15 36:15        290:2 291:20            123:18,19 124:17       self-contained (3)            333:6,10,14,18,22
   36:21,23,25 37:5         293:17 303:15,17        125:2,4 127:13,18       320:19 321:6,13              334:2,13,18,22
   38:19,20 40:7,12,16      304:25 305:3            128:3,15,16 129:18     self-declared (1)             335:2,6,10,14,18,22
   40:18 41:4 50:4,11       307:18,23 309:14        136:13,14 137:25        287:1                        336:2,6,10,14,19,23
   50:12 54:5,12,17         317:9 318:23            149:17 157:7,11,13     self-identifications (...     337:2,6 338:4,8,12
   58:4 59:21 60:15,16      319:10,21,23            157:16,22 159:1,17      268:21                       338:16,20 339:2,12
   61:17 66:20 67:15        320:11,13 324:25        159:18 160:24          self-identified (5)           339:16,20 340:2
   79:17,21 83:11,25        326:4,9                 162:19 169:20           268:6,15,18,23             sentence (13)
   84:4 86:22 87:2,9     scissors (1)               172:12 179:6,14,19       271:18                     37:6 115:7 121:16
   89:13,17 96:12,14      223:11                    182:10 191:10          self-identify (1)             158:8 162:17,19
   96:18 101:12          scope (8)                  195:11 212:13,16        273:22                       248:6,11 260:6
   102:22 105:14,25       19:19,23 21:2,10          212:17 214:10          send (12)                     262:7,9 264:19
   106:6,6 107:9,24         28:18,24 30:16 33:3     215:13 216:6,7,9        38:14 102:24 149:9           271:8
   108:1,21 109:6,18     screen (1)                 217:3,7 221:3 223:2      231:17 246:21             separate (3)
   109:24 110:3           202:23                    228:3 229:21             254:15 274:5 279:8         43:24 49:4 141:24
   111:15 114:4,15,19    seal (2)                   230:23 231:1,19          300:7 301:5,11            separately (1)
   115:7,14,15,25         329:21 330:19             236:1,9,13,14            319:11                     319:22
   116:3 118:4,15,23     Sean (2)                   238:21 239:7,7,20      sender (1)                  September (41)
   120:1,6,8,10 122:18    3:5 5:18                  239:21 240:8,23,25      86:23                       53:6,13,18 54:1,16
   122:20 126:7,12,12    season (1)                 246:9,10,11,14,18      sending (7)                   55:6 72:16 96:10,11
   127:21 128:14,16       113:6                     246:20,25 248:11        110:16 282:18,21             98:7,8,11 99:3,7,9
   128:18 129:1          second (21)                254:23,24 255:1,2        303:24 305:24               99:20,22,24 100:5,9
   138:12,16 140:18       6:17 17:12 23:9 25:3      258:5 259:19             306:17 307:2                102:6,6,21 105:18
   141:13,14,16 143:5       33:13,17 101:15         261:21 262:9,10        sends (9)                     107:4,22 108:20,24
   155:20,23 156:6          114:14 118:17           263:4 264:18            79:13 236:16 239:5           110:23 111:11,15
   157:2,3,8,18,20,22       123:14 159:13           269:10 271:11,13         270:8 273:12,16,25          112:6 117:16
   157:23 158:1,2,9,24      162:14 191:9 203:1      271:19 273:13            283:3,4                     118:14 139:13
   159:2,11,11,18,22        203:23,24 231:1         275:22 278:7 279:6     sense (3)                     264:4,8 318:22
   159:24 160:1,2,3,4       271:7 289:16 314:8      279:16 281:25           114:10 149:14 268:22         319:3,7 339:8
   161:4,22 163:1           323:25                  283:6 285:6,23         sent (109)                  Sequel (1)
   166:6,14,23 167:6,7   second-to-last (2)         286:13 287:8,9          16:16 35:17 57:20           155:21
   167:16 170:11          40:17 180:21              288:12 289:14,18         61:5 66:18 68:8           series (1)
   172:21 173:10,11      secondary (1)              301:7 302:18             78:12 96:2,19 98:4         68:16
   173:11,16 174:13       63:17                     306:10 307:15,17         99:6,9 101:1,11,22        serious (3)
   174:16 197:4,7,9,13   secret (4)                 312:12 316:1,2           102:9 103:5,11,23          198:25 253:24 292:5
   200:16 203:2 206:3     266:24 267:7,9,25         317:1 320:12             105:4 106:14              seriously (6)
   209:4,4 214:1 216:9   secretary (5)              322:18 324:13            107:15 108:7               196:1,4 262:2,9
   216:14 218:21          31:9 79:14 83:12 86:2   seeing (5)                 113:18 114:6,8              302:13,17
   219:5 221:8 223:25       86:2                   36:15 54:19 57:17         212:5 215:7 230:17        serve (1)
   231:5,20 232:13       section (3)                113:3,25                 231:2,4 236:4,25           34:12
   239:24 240:3,4,12      31:16 161:12,19         seek (2)                   238:15 239:2,25           service (1)
   240:12,20 241:1,5,8   see (162)                 62:1 153:19               241:25 255:4 257:4         90:3
   241:11,14 242:2,2      8:9 10:6 17:10,15       seeking (9)                261:16 269:14             services (2)
   242:13,21 245:16         21:22,23 22:1 28:11    37:15,18,24 65:3 67:8     270:22 273:20              12:14 13:11
   246:16 247:1,8           31:2,19 32:14 37:1      67:11 153:16             277:5 282:6 285:17        SESSION (1)
   248:5,12 249:8,9         40:1,11 41:3 50:7       154:14 206:5             296:25 299:6 300:1         152:1
   250:4 257:23             52:17 54:13 55:6      seemingly (1)              300:3 301:15 302:5        set (5)
   258:17 259:15            59:18,19 65:8 68:14    39:7                      302:14 303:7 304:3         109:20 163:25 309:25
   260:2,8,15,22            68:20 73:13 80:7      seen (15)                  304:15 305:14               310:2 330:18
   261:12 262:7 263:9       83:16,22 84:3 86:6     12:9 52:20 57:25          306:6 307:10              seven (6)
   263:13,15 264:1,18       97:24 98:6 102:15       72:20,21 78:17           308:20 315:15,18           26:16,17 58:14


                                      TSG Reporting - Worldwide       877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 120 of 129 PageID#
                                      5696

                                                                                                             Page 32

   134:13 218:22            181:12 195:8             86:10,13,13,17           165:25 168:10,19        152:2 238:1,4 295:9
   326:11                sign (3)                    87:11,17,24 88:2,6       178:5,11 180:21         295:12 311:8,11
seven-hour (1)            138:10,20 139:5            88:8,12,14,22 89:1       181:5,16 182:14         326:10 327:17
 326:15                  signature (3)               89:10 90:5 91:1,16       185:21 192:2            328:12
Seventeen (1)             138:8,12 342:23            111:24 300:12            193:11 199:23         specific (29)
 297:13                  signed (6)                  327:24                   206:20 213:14          11:25 12:11 22:23
share (2)                 137:4 138:9,17,24       skilled (1)                 218:4 223:11            26:4 40:22 43:10
 116:16 247:4               182:23 342:22          265:22                     245:18 262:5            49:23 51:6 55:16,25
shared (1)               significant (7)          Slate (2)                   272:12 277:16           56:8 75:10 76:11,12
 254:9                    23:2,3,10 24:22,24       2:14 3:3                   278:12 282:13           76:15 77:9 99:25
sharing (1)                 25:1 67:19            slightest (1)               294:9 301:8 314:22      102:2 109:21
 97:6                    similar (5)               243:11                  sort (9)                   110:11,18 154:11
Sharpe (1)                30:5 68:17 76:18,19     small (5)                 22:17 41:9 93:14          186:2 224:15 235:5
 180:18                     138:24                 118:18,24 157:9            132:3 152:10            284:12 295:20
Shawna (7)               simple (9)                  237:6 254:19             193:13 204:5            301:6,12
 31:9 58:2 283:5          9:25 23:22 26:19 69:5   snippet (2)                 207:19 324:23         specifically (18)
   300:16 301:10            79:9 112:5 146:25      280:2,5                 sorts (4)                 48:21 49:25 59:17
   303:13 307:15            149:8 299:3           solicitation (7)          70:10 175:24 199:13       62:10,12 66:19 76:7
SHEET (1)                simply (4)                322:24 323:22,24           200:16                  76:23,25 142:17
 342:1                    143:7 198:13 214:3         324:1,15,25 325:23    sought (1)                 144:17,24 212:25
Sherrod (1)                 215:25                solicitations (3)         250:13                    218:13 221:8 227:8
 6:18                    single (11)               321:20 322:8 326:25     sounds (1)                 234:17 243:23
shift (1)                 23:15,19 25:21 71:5     solo (4)                  262:21                  specificity (1)
 292:24                     92:24 93:7,15 113:4    19:6,18 20:16,17        source (4)                109:12
Shirley (1)                 123:7 286:6 291:6     Solutions (1)             60:21 232:25 256:7,9    specify (2)
 6:17                    single-sided (1)          195:5                   sources (3)               10:25 208:5
short (3)                 155:8                   solve (2)                 34:10 256:2,14          speculate (2)
 32:11 276:11 295:6      sir (13)                  186:24 187:1            South (1)                 186:16 279:17
shortcoming (1)           39:24 45:7 84:15        somebody (16)             3:14                    speculating (1)
 139:19                     234:22 236:12          45:23 59:1 65:24        Spaces (3)                271:4
shortcomings (1)            244:16 265:19            121:21 163:24          326:2,3,5               speculation (1)
 312:21                     270:14 278:10,14         180:18 200:19         Spakovsky (6)             243:15
Shorthand (2)               294:5 300:15,15          202:21 232:16          21:24 78:2 103:19       speech (1)
 2:23 330:5              sit (9)                     244:4 255:18,21          105:20 177:17          13:20
show (21)                 18:11 100:17 110:8         261:3 277:13 292:3       266:19                speed (1)
 16:10 28:16 29:4,9         151:12,19 200:15         292:8                 speak (15)                302:22
   36:12 39:17 43:10        245:3 292:13          somebody's (1)            8:21 34:21 46:13 47:7   spent (1)
   49:22 100:18             294:24                 292:4                      47:23 55:12 63:23      245:8
   130:10 228:19         site (1)                 someone's (1)               68:4 99:11 112:24     spoke (11)
   230:1 238:12           118:3                    294:20                     190:2 201:7 211:4      63:9,11,24 64:6,10
   243:25 244:9 255:6    sitting (9)              somewhat (2)                227:5 233:3             66:5 77:3 113:13
   276:24,25 279:25       9:17 25:25 53:3 99:13    201:24 313:5            speaking (11)              174:25 233:14
   286:2 302:23             101:25 110:12         soon (2)                  11:7 25:10 46:15          318:1
showed (2)                  209:9 250:7 315:12     194:19 316:25              48:21,21 105:16       spoken (1)
 63:13 177:10            situation (3)            sorry (62)                  153:4,14 201:19        281:14
showing (3)               47:19,20 150:18          9:24 19:12,15 26:11        247:14 289:24         spoof (1)
 71:6,12 275:18          situations (1)              42:12 51:13 62:18     speaks (12)               94:6
shows (10)                273:3                      63:6 66:17 69:21       8:13,17 13:6 26:15      spreadsheet (4)
 36:7 59:12 60:9,10,24   six (2)                     71:1,8 74:13 76:13       36:20 38:24 56:23      216:18,24 218:5
   82:18 183:22 248:7     8:22 58:14                 82:16 83:13 85:22        219:8 224:25            224:23
   249:10 301:19         size (1)                    88:21 92:5,6 94:8,9      236:23 237:12         squarely (2)
sick (1)                  105:7                      94:20 99:16 101:11       290:1                  252:8 265:6
 25:23                   Skadden (37)                103:16 107:22         specialist (21)          stack (4)
side (8)                  2:13 3:3 81:3,8,10,11      114:9 119:17,18        3:21 5:2,14,23 57:11     179:18 191:10 211:7
 47:12 104:18 135:8         81:11,13,16,21 82:4      122:10 127:14,18         57:14 117:6,9           222:23
   137:1,5 179:6            84:12,17 85:9,12,18      152:18 153:22,24         129:20,23 151:22      staff (1)


                                      TSG Reporting - Worldwide       877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 121 of 129 PageID#
                                      5697

                                                                                                             Page 33

   97:3                     250:13,19,22 251:2    statutes (2)              96:12 101:10 109:1,4     221:1
stake (1)                   255:9 259:11           161:2,14                   194:19 266:2          supervise (1)
 115:10                     260:24 274:24         stay (4)                    293:16 295:24          22:22
Stakes (1)                  275:16 278:25          48:25 180:24 231:7,9       299:16 309:15         supplemental (1)
 156:9                      281:6,22 287:23       staying (1)              submit (3)                170:14
stamp (1)                   288:9,22 289:2,4       296:19                   79:14 242:8 274:20      supplied (2)
 192:24                     291:21 292:2,9,14     stenographically (1)     submitted (9)             123:1 228:15
stand (13)                  292:17 293:6,7,13      330:12                   173:14 240:1,6,22       supports (1)
 58:19 144:20,25            293:19 294:15,16      step (7)                    241:3,8,14 242:3       41:1
   145:20 146:11            295:1 309:6 323:7      53:24,25 54:1 136:12       243:2                 suppose (1)
   147:2 148:18          stated (1)                  274:5 288:23 314:1    Subscribed (1)            27:18
   149:18 151:7           126:16                  steps (5)                 329:14                  supposed (3)
   175:20 176:10         statement (24)            163:16 166:21 221:10    subsequent (10)           21:19 229:4 326:17
   177:4 184:6            12:25 25:15,16,18,21       224:9 296:3            63:17 66:2,2 73:19      supposedly (2)
standing (1)                91:13 104:15          stick (1)                   75:1 198:1 240:7,16    245:8,9
 106:9                      121:23 122:15          131:19                     240:24 243:3          sure (35)
stands (3)                  124:7,7,18 138:11     stock (1)                subsequently (4)          14:21 28:3 49:9 51:2
 230:4 233:20 287:23        139:21,23 161:11       27:9                     227:7 259:19 289:23        59:3 66:12 76:3
start (12)                  176:20 247:7,11       stood (1)                   290:4                    82:15 96:24 104:15
 5:2 14:19 108:22           250:11,17 257:22       100:9                   subset (4)                  120:1 124:15 126:5
   132:3 170:22             258:5 287:6           stop (6)                  56:12 127:11,18            126:13 151:21
   181:21 196:1          statements (12)           25:16,18 114:16            128:10                   154:4,19 165:3
   198:22,23 199:8        14:9 24:21,23 25:2,5       116:2 314:8 326:12    subsets (2)                 170:3 175:25
   200:23 231:5             26:2 62:19 138:13     story (7)                 10:23 29:25                176:13 184:6 209:8
started (3)                 175:24 177:4           84:13,20 277:20,23      substantial (6)             213:4 217:16
 14:25 170:6 247:7          182:24 251:7             278:1 279:10           36:25 37:12,23 38:1        219:16 220:15
starters (1)             states (33)                 281:19                   99:1 291:14              221:11 245:23
 192:20                   1:1 5:7 19:10 29:21     straight (2)             substantially (1)           255:16 295:8
starting (4)                31:12 34:9 45:14       224:9 246:2              76:19                      302:10 308:9 310:3
 8:20 61:13 118:4           56:4 60:1 62:3 65:6   strange (1)              success (2)                 325:10
   128:2                    67:10 69:16 118:18     98:12                    91:19,24                surnames (1)
starts (1)                  121:3,14 123:15       strangely (1)            suddenly (2)              286:5
 299:15                     124:4 127:10           163:21                   90:19 206:6             surprise (1)
state (109)                 128:23 137:25         strike (16)              sue (3)                   243:10
 2:24 6:8 15:21 62:23       138:19 142:14          26:8 57:17 70:20 85:4    31:24 42:9 91:22        surprised (1)
   63:10,17 64:6,9          145:16 150:13,15         131:4 132:5 137:19    suggest (3)               96:22
   66:1 70:12 77:11,18      159:13 160:25            170:22 192:17          94:22 151:13,15         surreptitiously (1)
   85:15 90:12 91:2         182:21 183:23            234:10 243:17         suggesting (2)            313:3
   121:15 144:4,8           192:12 290:3             300:15 315:7 316:9     150:12,14               surveyed (2)
   154:11,14 161:1,3        294:19                   318:11 323:2          suing (1)                 173:11,12
   161:14 168:22         statewide (16)           strongly (1)              43:5                    Susie (1)
   174:19 177:2 195:9     104:24 153:10 154:5      161:10                  suit (1)                  305:19
   196:20 197:20            157:15,21 158:3,11    struck (5)                44:1                    suspect (2)
   199:11 203:13            158:15,16 168:15       59:17 60:6 65:7,17      Suite (1)                 193:4 205:24
   205:11 214:19,20         168:18,20,21             67:8                   5:11                    suspects (1)
   214:21,22,24 215:1       193:24 248:10         study (1)                Summary (6)               313:13
   217:24 218:13,13         282:19                 325:14                   118:17 156:9 159:12     suspicions (1)
   218:14,16 219:4,19    statisticians (1)        studying (1)                161:7 162:14           240:18
   219:21,25 220:3,5,9    176:25                   326:6                      171:22                swap (1)
   220:19,24 221:2,7     status (10)              stylization (2)          summer (2)                131:20
   221:12 222:12          15:16,22 216:19          106:2,7                  67:18 281:23            swear (1)
   223:5,7,12,14,16         217:3,5 218:6 225:6   sub (1)                  Sunday (1)                5:24
   225:8,12,14 226:1,5      286:11 287:2           55:11                    109:5                   swear/affirm (1)
   227:9,23,25 233:15       331:12                sub-bullet (1)           superscript (1)           138:12
   233:17,24 234:3,5,7   statute (1)               17:13                    162:24                  swearing (2)
   234:9 235:15 243:8     190:8                   subject (10)             superseded (1)            138:18 139:6


                                       TSG Reporting - Worldwide      877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 122 of 129 PageID#
                                      5698

                                                                                                            Page 34

sweep (1)                  112:20,20 113:8          226:2 241:7 270:1        99:5 101:19 110:21     37:9 141:1,11 175:6
 299:21                    136:11 146:3          tells (5)                   112:4 120:12,14          184:23 248:21
swore (6)                  149:22 202:17          167:2 215:19 223:14        135:19,24 144:7          261:12 282:25
 138:25 145:15,16          227:13 230:4             235:10 298:11            145:6,18,20 147:2,7      292:4
   174:23,25 182:25        238:12 252:2          temperature (2)             147:22,25 148:6,25    things (32)
sworn (4)                  294:23 302:24          70:8,9                     149:17 150:21          19:23 34:5,14 59:11
 6:2 139:21 329:14         310:6,22 311:6,15     ten (4)                     190:13 205:13            60:23 97:15 100:3
   330:8                   311:19 327:4           38:25 56:21 218:22         209:5,6,12 211:3         115:3 120:23 142:4
system (6)              talked (12)                 219:5                    226:7 288:18             142:6,15,20 144:13
 189:11 261:8 269:1      78:3 108:14 176:18      tend (1)                    295:23 300:5,7           176:25 188:1 201:6
   288:5 312:1 323:4       230:7 266:5 272:22     113:8                      314:13 321:8             205:2 227:14
systematic (1)             279:24 287:25         tended (1)               testify (11)                235:14 240:14
 67:16                     296:13,15 304:11       111:25                   8:21 30:8 100:7,14         247:14 265:9,10,12
                           304:12                tens (3)                    107:1 111:3,6            267:14,20 284:14
           T            talking (29)              10:18,21,24                244:10 303:2             292:25 294:25
T (5)                    7:11 33:16 51:11 52:1   Tepe (68)                   314:20 330:8             302:11 311:23
 330:1,1 331:1 338:1       87:14 117:1 134:25     3:5 4:5 5:18,18 6:5     testifying (7)           think (88)
   341:1                   139:9 141:20             8:5 12:7 16:19 20:4    7:17 116:9 229:10        14:2 16:6 22:11,13
tab (10)                   176:13 179:7 180:7       20:8,11 27:21 30:23      239:11 249:23            27:4 40:8 42:2
 179:19 180:17,21          180:9 185:11 186:5       35:5 37:4 43:2           288:15,16                51:14 53:21 55:12
   181:8,10,11 191:11      186:25 201:25            52:14 57:10,16,22     testimony (54)              73:4 78:17 85:7
   191:14,15,25            249:13,14,15             61:8 68:11 78:14       6:25 20:16 23:21           87:22 88:15 89:6,11
tabbed (3)                 254:13 278:9             102:12 104:1 105:7       47:12,15,16,25           89:18 92:24,25 93:5
 179:5,15 181:6            282:24 293:2,3           105:10 106:17            69:14 72:8 74:7,7        93:24 95:6,8,17
table (4)                  302:11 313:13            107:18 113:21            75:9 77:24 88:5,9        96:21 98:22,25
 105:8 156:7,8,12          316:23 317:4             116:24 117:3,18          88:13,15 89:6 90:23      105:21 108:14,16
tabs (3)                talks (3)                   129:25 131:14,19         91:4,8 93:1,25           115:4,25 117:3
 179:6 180:16 191:16     239:12 277:13 326:1        131:22 132:2             95:12,13 99:11           120:11 135:19,21
tabulation (5)          tallied (2)                 135:17,23 136:5,8        112:10 148:10,12         152:15,20 154:15
 119:9 120:12,15,24      172:15 175:15              151:20 152:4 155:6       148:18 149:18            159:5 161:11
   121:20               tally (6)                   171:12 179:22            151:5,6 152:20           167:25 170:8,11,15
take (46)                168:3 172:7,9 175:16       180:4 181:13             177:5 184:5 185:2        178:15 181:9
 7:8 8:2,7 46:13 50:5      193:22,24                191:18 193:16            185:16 193:23            183:25 188:3,5
   51:21 53:24 56:16    tallying (1)                212:8 215:10             209:20 214:12,16         190:15 191:6
   70:8 76:6,8 82:11     168:4                      237:25 238:6 253:9       214:17,18 221:23         193:11,16,22 194:5
   100:19 116:24        tape (1)                    282:8 295:6,14           233:19 244:17            194:11 195:12,24
   136:12 154:24         5:3                        311:13 326:16,23         251:18 256:20            208:7 211:12 213:1
   155:18 163:14        task (1)                    327:3,9,11 328:2,5       285:9 288:17 317:3       218:23 224:17
   165:19 173:5          195:16                     328:11                   329:5,7                  229:3 230:3 231:15
   193:25 196:3         team (7)                 term (6)                 text (1)                    245:16 248:1
   198:18,21,24 199:7    110:7,14,19 300:9,11     26:22,23 27:7 50:1,3     95:18                      252:22 253:24
   200:23 202:9 206:9      300:19,25                186:1                 thank (8)                   262:14 268:8,18
   207:9,18 209:1,3,4   telephone (1)            terminology (1)           40:18 56:14 90:4           278:1 279:24
   223:1 230:13          10:11                    132:8                      92:20 140:7 216:11       281:21,23 292:23
   237:25 253:22        tell (24)                terms (3)                   244:5 328:11             293:3 295:4 297:13
   262:1,8 292:3,8       10:22 22:20 23:9         72:17 73:4 97:6         thanking (1)                299:2 304:5 319:5
   295:6 296:2 326:21      59:14 69:2 75:21,23   terrific (2)              305:23                     320:11 328:3
   331:5                   77:7 84:13 91:12       221:3 224:16            Thanks (2)               thinking (1)
taken (6)                  142:5 151:16 207:9    territory (1)             316:25 319:11            49:25
 46:4 125:13 207:12        212:18 219:23          198:10                  theories (1)             third (31)
   208:10,12 288:22        220:13 237:19         test (2)                  189:1                    6:18 15:10 24:10,12
takes (7)                  246:6 285:11           256:19,21               thereabouts (1)             24:19 36:6,24 37:7
 23:1,5,7,11,14,25         287:16 293:12         testified (44)            132:12                     46:6,9,21,23,24
   24:9                    313:9 314:16 315:6     6:3 13:24 14:2 23:8     thereof (1)                 47:9,13,16,24 48:2
talk (22)               telling (6)                 25:11 62:13 65:2,24    30:4                       48:6,22 83:24
 44:11 92:22 97:14       130:17 144:6 205:15        70:17 73:21 89:16     thing (9)                   127:15 157:23


                                     TSG Reporting - Worldwide       877-702-9580
 Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 123 of 129 PageID#
                                      5699

                                                                                                             Page 35

   206:12 208:3             275:7,11,20 276:5     tools (1)                transparency (1)          54:1
   245:15 263:16            276:11 283:24          146:6                    188:23                  Tunner (6)
   271:1 294:13 323:6       287:10 290:16         top (8)                  traps (2)                 45:12 52:23,24 66:16
   324:19                   294:13 306:1 312:2     80:5 136:13,22 140:8     198:22 200:24              66:18,19
third-party (1)             319:8 327:7              195:5 224:9 231:21    traveling (1)            Tunner's (1)
 139:4                   timeline (4)                301:4                  25:24                    66:12
Thompson (2)              72:17 73:5 204:16       topic (6)                trepidation (2)          turn (7)
 45:2 341:8                 205:5                  29:17,21 30:8 206:19     51:10 52:5               12:22 15:24 40:18
thorough (4)             timely (1)                  233:17 302:25         tried (3)                   54:8 104:17 122:21
 67:17 69:3 188:9         79:15                   topics (2)                242:22 275:5,9             156:23
   312:19                times (25)                8:19,22                 triggered (2)            turned (5)
thoroughly (2)            6:12 15:10 25:25 26:5   topmost (86)              199:14 202:14            54:10 178:25 180:5
 80:23 187:21               43:15 48:23 176:5      16:16 52:11 57:20       triggers (1)                228:6 327:17
thought (11)                217:21 218:10            61:4 68:8 78:11        201:22                  turning (3)
 41:16 55:17 71:1           272:22 277:12,21         96:1 98:3 100:25      troubled (9)              8:18 70:22 71:3
   88:23 89:21 94:20        277:24 278:1             102:9 103:23 105:4     276:14,16,18,20         turnkey (1)
   219:18 249:4,17          279:10,20,24 280:2       106:14 107:15            279:2,14 280:13,15     198:15
   262:25 278:12            280:6,9,16 291:9         108:6 113:18 212:5       281:19                turnover (1)
thousand (4)                321:9 322:6,16           215:7 230:17 236:4    troubling (1)             99:25
 173:19,23 196:18        timing (1)                  238:15 253:6           281:21                  Turnpike (2)
   325:5                  18:5                       261:16 269:13         true (16)                 284:24 285:4
thousands (5)            tiny (3)                    277:4 282:5 285:17     37:13 84:19 116:17      tweaks (1)
 10:18,22,24 248:8        246:8,14 290:16            296:24 299:6 302:4       138:15 211:2           110:1
   249:11                tips (1)                    303:7 304:15             225:21 229:20         Twenty-five (1)
threatening (1)           198:24                     305:14 306:6             257:8 276:14 284:2     323:12
 252:11                  title (3)                   307:10 308:20            286:11 294:3          twice (6)
three (10)                94:1 154:21 292:1          315:15 316:19            301:15 320:15          24:11,15 121:21,22
 58:14 84:22 98:16       today (25)                  318:8 322:11             329:6 330:10             294:13 300:8
   115:6 127:17 173:5     6:22,25 7:17 8:22          323:16 324:8          truth (6)                two (64)
   176:5 207:25             11:1 99:13 101:25        325:18 331:15,21       79:11 151:16 248:21      14:10 15:9 33:4 55:24
   218:20 318:25            131:18 134:2,3           332:2,6,10,14,18,22      264:20,21 285:12         58:14 59:25 65:5
Thursday (3)                176:8,18 177:10          333:2,6,10,14,18,22   truthful (1)                68:2 75:8 77:25
 1:21 2:5 342:4             206:24 207:3,24          334:2,9,13,17,22       6:25                       92:12,17 98:15
Thursday's (1)              209:9 210:11,15          335:2,6,10,14,18,22   truthfully (2)              100:3 115:6 124:8
 17:4                       229:5 272:23             336:2,6,10,14,18,23    89:4 330:8                 127:17 140:24
Tierra (1)                  292:13 302:20            337:2,6 338:4,8,12    try (8)                     141:10,17 142:4,15
 217:6                      326:3,22                 338:16,20 339:2,12     7:6,12 11:6,6 91:18        143:12,21 144:14
time (73)                today's (2)                 339:16,20 340:2          210:8,17,17              151:2 155:4,7 156:3
 15:10 18:14 19:4 23:9    8:24 102:1              total (3)                trying (41)                 164:18 166:24
   23:10 24:10,12,19     told (31)                 120:5 128:15,19          20:11 24:17 29:14          167:1 183:3,18
   25:3,23,24 36:6,14     62:10,12 65:19,22       totally (3)                 38:3,5,7,14,14 48:1      184:8 189:23 196:2
   37:10 42:21,22,25        66:5 71:16,18 72:4     202:20 313:17 322:20       53:24 55:5 69:7          205:12 206:15
   45:20 51:22 52:2,3       75:18 76:25 77:12     touch (1)                   70:6,10 71:20 74:6       208:2 216:10
   53:14 54:15 55:20        77:24 90:18 109:15     185:25                     94:4,22 112:17           218:20 240:14
   61:25 72:8 80:12,14      116:11 125:24         town (1)                    113:10 126:5             241:21 248:25
   97:13 100:8 109:20       148:5 180:17           257:1                      143:19 150:3             251:3,16 258:18
   109:21,21 111:16         186:21 197:24         traffic (1)                 151:13,15 178:17         263:23 267:5
   112:6,13 116:24          211:13,18 214:13       324:24                     204:11,13,13             274:23 279:11
   136:12 139:9,10,11       215:24 217:19         transcript (10)             243:13 260:25            281:4 284:14
   139:12 142:3 145:4       219:1 223:3,9          2:11 24:4 26:15 55:12      261:2,10,11 262:6        286:16 291:4,8,8
   145:16,17 169:24         249:16 251:16            147:7 228:18,19          279:18 287:5             295:1 296:5 299:21
   170:1,4,19 183:2         315:2                    229:13,22 330:11         292:24 296:11            310:22 318:25
   199:20 203:2          tomorrow (1)             transcription (2)           312:22 314:1             324:23
   227:22 229:10          301:11                   329:6 342:7             TSG (2)                  two-sided (1)
   237:5,7 242:10        tone (2)                 transmission (1)          5:13,15                  33:17
   245:11 253:19          85:13,19                 255:25                  Tuesday (1)              type (9)


                                      TSG Reporting - Worldwide       877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 124 of 129 PageID#
                                     5700

                                                                                                        Page 36

  77:7 165:12 168:7      204:5,13,14 205:2        191:20 199:18         265:11                    70:3 71:17 77:19
  169:9,17 170:18        205:14,16 239:9          244:8 245:1 283:22    veracity (1)              78:2 92:4,15,23
  197:11 291:24,25       246:4 247:20,21          309:21 321:14         256:20                    93:13,23 94:2,22
                         249:19 250:7           useful (1)              verb (1)                  96:12,16,25 101:10
          U              255:12 264:13          66:8                    38:13                     102:18 107:8
U.S (15)                 268:10 270:2           usual (1)               verification (3)          115:19 117:14,24
121:12 122:2,15          276:19 287:5           313:13                  67:3 116:1 275:13         118:5,19,25 123:15
  143:6 173:15 175:1     294:10 298:13          usually (1)             verified (1)              124:4 139:5 142:25
  198:17 201:21          301:2                  50:10                   157:10                    143:11,11 153:7,9
  214:4 280:7,7        understanding (17)       utility (2)             verify (8)                153:10 155:22
  281:20 297:14,17     74:4 75:6 85:5 93:6      184:14 186:10           69:12 146:4 184:15        156:15 157:5 169:1
  316:23                 121:10 139:8 140:5     utilized (1)              186:11,21 187:5         187:22 200:6
ultimate (1)             143:8,13,21 145:14     312:4                     285:10 288:21           220:11 224:1,3,6
25:14                    194:3,8 275:21                                 verifying (2)             245:1 250:16 255:9
ultimately (15)          276:3,13 288:20                   V            146:4 190:16              264:7 266:12 268:4
23:13,15 52:6 53:5     understood (18)          v (2)                   VERIS (11)                268:13 269:23
  98:18 151:11 153:5   7:16 11:9 20:13 52:1     1:10 5:6                62:7 193:25 211:16        280:23 284:24
  153:8 163:15           77:6 97:6,9 110:10     vacation (1)              219:11 232:15,20        285:5 292:25
  167:20 190:9           113:15 133:21          307:22                    238:9 264:24            293:11,19 294:1,17
  218:12 288:21          146:9 180:4 181:4      Vague (1)                 271:11 275:8            294:19 295:2
  290:6 313:22           183:12 241:17,17       322:4                     286:25                  297:15,18 299:17
unable (1)               241:23 312:1           valid (7)               version (9)               299:22 303:19
51:21                  undertake (1)            203:9,17,25 204:11      64:17 80:4 84:6 98:23     319:17 323:9 324:1
unanimously (1)        312:18                     205:6,19 246:24         101:11 105:19           324:22 325:2 326:7
22:3                   unfortunate (1)          validate (1)              107:21 117:21           326:8 339:5
unaware (1)            188:2                    66:3                      260:10                Virginia's (3)
311:19                 unfortunately (1)        validated (1)           versions (1)            93:3 159:16 172:5
uncovered (1)          247:8                    63:12                   164:18                  virtually (2)
189:22                 United (22)              validity (5)            versus (2)              198:15,16
under-oath (4)         1:1,6 5:5,7 19:10 34:9   233:4 237:8,24 292:7    254:14 284:11           virtue (2)
62:25 66:3 203:4,7       60:1 62:3 65:6           292:11                video (21)              153:9 170:5
underlie (1)             67:10 69:16 123:15     validly (1)             3:21 5:2,14,23 57:11    visit (1)
165:15                   124:4 137:25           261:5                     57:14 117:6,9         97:4
underlying (4)           138:19 142:14          van (1)                   129:20,23 151:22      vitals (1)
82:17 173:21,23          145:16 150:13,15       78:1                      152:2 238:1,4 295:9   70:10
  319:15                 182:21 183:23          Vanderhulst (2)           295:12 311:8,11       volume (1)
undermines (1)           192:12                 79:20 109:2               326:10 327:17         180:6
259:21                 universally (1)          varies (1)                328:12                voluminous (1)
underneath (5)         95:4                     174:3                   videotaped (3)          98:23
157:19 159:23 160:2    unnumbered (1)           variety (17)            1:18 2:12 5:3           von (5)
  217:10 297:18        163:14                   17:2 22:16 32:24 49:8   view (9)                21:24 103:19 105:20
underplaying (1)       unsure (1)                 62:6 75:2,4,17        48:20 51:3 55:19          177:17 266:19
202:16                 229:14                     166:4 188:24            188:2 253:13,17       vote (27)
understand (57)        unusual (1)                225:11 267:17           254:5,13 280:20       39:1 40:15 116:6
9:12 18:4 20:11 21:6   256:25                     281:16 285:12         viewed (1)                118:21 121:6,25
  27:25 37:18 39:12    UOCAVA (3)                 304:7 312:8 325:13    145:10                    122:13 125:20
  39:14 48:1 54:25     279:15 280:3,12          various (5)             views (4)                 126:16 142:12
  69:14 70:19 72:7     updated (1)              44:5 154:1 161:13       254:8,10,12 290:2         161:1,3,20 202:10
  74:6 82:6,6 87:16    107:25                     175:22 275:15         violate (1)               202:25 206:4 220:3
  88:25 92:18 143:23   upper (3)                vast (2)                161:1                     223:13 226:11,14
  149:14 150:3 152:5   86:23 137:23 182:19      197:1 314:25            violation (4)             226:15,19 227:7,18
  162:12 168:10        USA (1)                  vehicles (2)            28:14,22 31:16 33:14      242:18 243:10
  171:25 173:8 176:1   317:10                   202:23 203:24           Virginia (84)             320:15
  176:7,11 181:7       use (15)                 vendor (1)              1:2 5:8 18:22 27:15     voted (5)
  193:18 198:8         27:9,13 50:1,3 95:1      27:13                     29:23 30:6,15 35:13   60:4 160:6 248:9
  201:19 202:5,12        101:10,11 132:8        vent (1)                  63:12 64:7 69:4         249:12 280:7


                                    TSG Reporting - Worldwide      877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 125 of 129 PageID#
                                     5701

                                                                                                        Page 37

voter (118)               155:22 156:21           191:20 192:23,25      28:2 176:5 207:6        well-known (2)
28:14,22 31:17 36:25      159:16 166:8 173:1      202:25 204:5            209:24 313:24         95:1 265:7
  37:11,22,25 39:21       176:22 189:21           207:17,17 210:4       we'll (7)               well-placed (1)
  41:11 44:6 49:6,9       195:14 200:6            211:7,8 217:2         98:21 106:1 131:7,19    312:20
  49:12 56:5,10 59:6      216:19 259:16,18        227:13 228:19           134:13 181:21         Wells (2)
  59:7,24 65:24 71:13     303:19 312:3 313:7      229:23,25 237:17        311:7                 94:6 95:2
  83:19 93:4 115:3        339:8                   237:18 241:22         we're (42)              went (16)
  127:22 128:4,19       VREO (2)                  256:21 261:23         7:11 56:18 57:11,14     44:4,20 45:18 47:12
  130:5,19 131:1        244:13 334:6              264:20,21 265:5         72:8 104:15 106:4       60:11 154:1 170:17
  132:8,11,16,22,25     vs (3)                    281:20 293:11           106:10 126:13           187:22 188:1
  133:4,6,6,16,21       6:18,19 342:3             294:23 312:16           129:20,23 134:1,3       219:21 227:23
  134:4,6,15 135:9      VVA (47)                  313:13 315:24           134:12,25 139:9         243:1 245:4 247:18
  136:1,23 157:6        27:23 28:6,7,13,21        318:19,21 327:15        141:20 144:18           259:11 260:23
  158:4 159:15 172:4      30:12 35:1,3,6,8,11   wanted (15)               151:22 152:5          weren't (9)
  172:18 173:9,13         36:1 37:3 39:19,25    45:19 50:13 54:23         167:25 176:13         38:13 47:23 79:6
  174:1,22 181:18,25      40:7 41:6,10,15,16      57:5,7 67:16 79:15      179:7 180:9,14          144:8 163:4 178:16
  182:4,8,10 183:5        42:10,16,18 43:5,12     107:1 144:14            181:3 186:2,5 206:7     225:25 247:12
  187:3,4 191:1           43:18,22 44:1,25        258:19,24 259:1,5       209:8 245:16            276:20
  195:11,14 196:1,10      45:6 51:15 52:3         265:2 267:24            261:10 266:6          Western (1)
  196:16 199:18           55:15,25 66:13        War (1)                   268:21,21 277:10      297:17
  201:25 202:23           80:17 103:17 118:9    94:5                      278:18 282:24         whatsoever (2)
  206:7 209:16 214:5      155:25 160:5,10,18    warranted (1)             326:15,22 327:3       196:16 259:7
  216:1,12 217:3,5        341:2,3,3,5,8         296:3                     328:12                Wheeler (7)
  231:17 240:1,6,22     VVA's (1)               Washington (14)         we've (21)              75:3 78:1 256:10
  241:4,9 242:3,8,15    43:16                   1:20 2:15 3:8 5:11      36:3 41:9,18 80:7,21      257:4 267:3 270:1
  243:3 250:22                                    277:11,21,23            84:24 87:22 89:14       270:20
  259:18 260:4,5                  W               279:10,20 280:16        92:10,11 110:20       WHEREOF (1)
  274:10 280:4,12       W (2)                     283:13,16 284:16        115:16 119:3 139:3    330:18
  281:11 288:23         230:17 333:18             284:22                  167:6 185:11          White (7)
  292:3,8,10,15         wait (9)                wasn't (28)               193:23 196:12         83:8,11 84:11,16 87:7
  303:21 304:22         7:10 17:25 41:8 53:21   38:7 42:24 48:4,6         272:22 304:11           88:11 123:2
  305:2 306:1,19,21       82:15 170:12            53:10,13 69:20 75:7     326:11                whoa (3)
  306:24 307:6            191:15 203:13           76:12 80:12 81:23     wealth (1)              204:24,24,24
  311:24 313:1,14         316:9                   93:6 119:4 122:8      201:14                  wide (6)
  314:5 320:9 321:1     waited (2)                143:12 183:9,14       web (3)                 13:11 49:8 267:17
  323:4 326:6 341:5     112:13,14                 193:22 224:13         118:2 164:1 165:20        281:16 311:23
voters (37)             waiting (3)               226:2 229:1 245:9     website (16)              312:8
27:15 30:6 32:12,13     112:11,16 322:17          254:25 255:19         109:8,20 131:25         wider (1)
  35:13 36:10,11 37:1   walk (1)                  280:15 299:3,3          155:18 164:23         67:16
  37:12,24 38:1,17,18   198:13                    321:17                  165:6 206:18,20,22    willfully (4)
  38:21,23 40:8,10      Walt (1)                water (2)                 207:13,24 208:18      138:13 139:22,22
  41:24 45:19 113:7     230:24                  27:8,13                   208:22 209:11           182:24
  146:3 149:22 150:4    want (69)               Watts (1)                 210:10,13             William (47)
  157:21 199:10         8:7 22:24 26:16 32:20   217:10                  week (5)                3:13 5:20 45:12 52:23
  240:5,21 246:8,13       39:17 46:1 49:21,25   way (29)                19:21 44:11 53:2 99:5     61:16 78:19 80:4
  248:10 250:2 300:2      50:15 54:8 59:16      19:7 30:1 39:14 42:5      228:20                  81:1 83:8,15 84:1,6
  300:3,8 313:3 323:8     61:10 69:12 87:23       58:19 67:5 85:15      weeks (9)                 84:23 85:11,21 87:7
  325:1                   88:25 89:3 94:9         99:2 146:4,4 164:24   68:2 75:8 274:23          88:17 89:8,24 90:17
votes (2)                 99:18 111:3 116:5       174:21 186:20,23        279:11 281:4 291:4      90:24 91:19,23
115:11 160:3              119:18 123:24           187:1 189:1,22          291:8,8 299:20          92:11 112:4 120:7
voting (30)               131:17 134:4 135:5      196:13 206:2 243:1    weigh (1)                 121:5,24 122:12,22
13:20 17:14 21:5          136:16,18 157:17        247:3 273:17          237:24                    123:5,17,21 124:1,6
  29:23 30:15 33:5        167:16 168:19           285:10 286:22         weight (2)                124:9 127:10,17,19
  40:14 41:7 65:4         169:25 176:3,12         287:16 288:20         203:10 288:25             128:14,18 132:24
  71:3 116:2,12           180:24 183:14           289:6 292:18 313:6    weighty (1)               133:11 139:14
  117:16 118:6            185:19 187:16         ways (5)                292:4                     140:22 142:19


                                     TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 126 of 129 PageID#
                                     5702

                                                                                                 Page 38

  144:2                  205:14                   175:11 183:25         0005586 (2)     0049765 (2)
willingness (2)         world (1)                 191:19,21 202:5       105:6 332:20    322:14 336:21
121:19 289:12           176:20                    205:1,4 221:15        0005620 (2)     0050848 (2)
willy-nilly (1)         Worlds (1)                224:22 225:2 228:3    101:3 338:22    307:12 335:24
199:15                  94:5                      229:3 240:3 255:22    0005636 (2)     0051022 (2)
wish (2)                worth (1)                 263:11 264:9 265:5    96:4 338:18     304:17 335:12
111:1 263:24            291:4                     276:19 277:12,14      0006340 (2)     0052724 (2)
withdraw (2)            wouldn't (20)             277:23 278:3,8        253:8 334:11    308:22 336:4
62:25 229:12            19:25 23:23 24:4,6      year (4)                0007214 (2)
withdrawing (1)          32:2,8 41:13 98:17     112:15 115:10 137:14    113:20 333:8              1
300:25                   103:7 110:9 158:18       137:19                0008989 (2)     1 (72)
Withdrawn (1)            175:15 207:11,12       Year's (1)              68:10 332:8     5:3 7:25 8:6 60:12,13
301:2                    224:2 225:16 256:6     170:7                   0009172 (2)       61:19 63:3 68:22
witness (23)             257:6 291:20           years (10)              238:17 334:4      122:19,21 123:22
5:24 15:6 16:20 28:5     292:11                 14:18,23 15:11 59:25    0009197 (2)       124:17,20,22
  35:5 45:5 52:15       write (5)                 65:5 174:2 267:5      236:6 333:24      139:16 140:22
  61:8 78:14 95:16      92:23 93:12,23            275:8,20 276:3        0009202 (2)       144:19 156:23,24
  117:18 129:16          253:19 279:18          Yep (2)                 261:18 334:15     162:6 163:2,3,11
  135:19 155:11         writes (2)              86:21 156:16            0013109 (2)       165:13,15,21
  212:9 215:10 245:5    271:22 286:3            yielded (1)             215:9 333:16      166:14,23 167:8,11
  277:6 282:8 303:4     writing (4)             325:5                   0013404 (2)       167:13,14,17,17
  326:17 330:18         30:2 31:13 220:22       York (20)               316:21 336:12     168:2,7,12 169:8,20
  342:1                  221:12                 2:14 3:7 5:10 194:5,6   0013471 (2)       169:21 170:9,22,23
woman (1)               written (12)              230:8,25 232:22,23    212:7 333:12      176:15 183:17,19
141:11                  75:25 77:13 88:2          233:1,11 234:13,16    0013718 (2)       184:3 185:18 186:6
Women (2)                178:2,14,18 185:4        234:25 235:9          106:16 332:24     193:3 200:11
45:19 113:7              195:4 246:20             236:17,21 237:6,21    0013951 (2)       209:10,20 210:13
wonder (1)               252:15 277:20            237:23                103:25 332:16     210:13 211:8,9
286:7                    328:7                                          0014033 (2)       222:17 223:4
Woodford (2)            wrong (22)                         Z            102:11 332:12     233:11 234:14
284:24 285:4            12:17 42:5 51:8 54:22   zero (3)                0014113 (2)       235:1 239:12 272:6
word (9)                 69:4 70:3 120:16,17     218:2,12,16            98:5 338:14       272:13 278:23
35:22 69:23,25 89:1      142:5 205:12 247:3                             0016642 (2)       314:4,11 315:3
  127:18,19 153:22       250:5 258:6 265:5,6              0             230:19 333:20     331:4 342:2,6
  281:5 309:21           267:15 272:7,7,10      0000028 (2)             0017702 (2)     1,000 (1)
words (4)                274:20 275:5,25        299:8 335:4             324:10 337:4    157:5
129:14 150:6 286:11     wrote (9)               0000044 (2)             0017710 (2)     1,045 (1)
  323:12                30:17 37:22 84:23       269:16 334:20           323:18 336:25   127:2
work (19)                102:23 232:16          0000087 (2)             0017886 (2)     1,046 (7)
18:23,25 24:13 25:8      261:25 280:1 288:1     303:9 335:8             322:13 336:20   118:20 119:6 125:19
  30:5 79:7,22 80:25     299:20                 0000246 (2)             0017952 (2)       126:9,15,25,25
  81:2,3 87:4 96:25                             285:19 334:24           306:8 335:20    1,852 (4)
  97:6 113:8 198:23              X              0000641 (2)             0017961 (2)     158:25 159:9,20
  199:1 323:8 324:1,2   x (6)                   45:4 341:10             305:16 335:16     160:6
worked (4)              1:5,15 176:12 331:1     0000733 (2)             0018373 (2)     1/01 (1)
99:19 100:20 160:10       338:1 341:1           302:6 339:22            16:18 331:17    231:5
  160:18                                        0000784 (2)             0018558 (2)     1/14/2016 (2)
working (16)                     Y              297:2 339:18            325:20 337:8    30:20 331:18
14:19,25 15:8 19:3      yeah (44)               0001980 (2)             0019105 (2)     1/25/2016 (2)
  90:17 99:23 104:25    9:16 48:1 53:1,10       282:7 340:4             244:14 334:7    35:4 341:3
  106:1,7 260:2           56:20 64:15,24        0003277 (2)             0021147 (2)     1:00 (1)
  271:15 287:12,14        68:15,19 74:15 86:4   52:13 331:23            15:17 331:13    151:23
  290:10 300:1 320:1      86:22 94:24 125:3     0005128 (2)             0027094 (2)     1:18-cv-00423 (1)
works (7)                 128:13 131:19         108:9 339:4             30:21 331:19    1:7
21:19 29:6 97:3 144:4     158:13 162:23         0005421 (2)             0046538 (2)     1:18-CV-423 (1)
  196:14 202:6            168:3 170:16 171:2    107:17 333:4            78:13 338:10    5:9


                                     TSG Reporting - Worldwide     877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 127 of 129 PageID#
                                     5703

                                                                                                     Page 39

1:25 (1)                 120:1 130:25 179:1   158969 (2)             54:15 84:3 231:2,11     2012 (2)
283:4                    179:3,11,12 180:11   1:25 342:2              238:23 239:15,25       11:13 54:16
1:37 (1)                 180:15 181:24        15th (3)                241:25 254:3           2014 (7)
152:3                    182:3,5 183:19,24    212:15 213:21 223:17    255:15 257:9,10,15     12:15 16:1 17:23 18:6
1:57 (1)                 185:19 186:6         16 (17)                 257:23 261:24,25         19:17 20:15 41:1
283:4                    193:19 199:6 206:3   67:19 170:6 173:12      266:17 267:14          2015 (10)
10 (15)                  218:22 233:5,8,9       195:1,2,3 215:5,11    268:1                  17:10 21:21 128:2,3
103:21 104:2 117:11      331:8 332:21           215:22 277:1,7                                 128:20 129:12,15
  117:19,22 119:21     12/20/2017 (2)           278:9,13 316:11                2               130:25 140:20
  119:25 277:8,15,18   324:9 337:3              331:14 333:13        2 (32)                    141:5
  278:17,19,21         12:03 (1)                339:11               3:14 12:2,6,8 29:21     2016 (50)
  332:13 339:5         117:10                 16622 (1)                30:10,16 52:25        17:1 27:14 31:7 35:14
10:22 (1)              12:19 (1)              230:22                   55:11 59:16 61:1,9      37:11 43:4,6,8
57:12                  129:21                 16th (8)                 61:13 82:12,13 84:9     45:15 53:6,18 54:16
10:30 (1)              12:36 (1)              78:19 80:6 82:19         85:24 88:7,14           55:6,7,8 58:2 61:18
57:15                  129:24                   83:10,13 88:11         118:17 123:2,4          72:9,10,16 73:2,8
100 (3)                12:37 (1)                216:17 219:10          129:15 159:12           78:6 80:15 82:23,25
171:8,12 338:19        255:15                 17 (8)                   162:15,16 163:13        96:10 107:5 111:15
102 (2)                120 (4)                170:5 230:15,21          171:23 172:15           112:18,19 113:11
159:19 332:9           159:16 163:2 167:10      296:21 297:4           331:8 338:3 342:6       114:2,18 115:12
103 (1)                  172:5                  304:11 333:17        2/1/2017 (4)              117:17 118:16
332:13                 12th (3)                 339:15               253:7 261:17 334:10       128:20 139:13
1046 (1)               83:16 140:19 141:5     17698 (1)                334:14                  212:24 239:2 275:7
120:5                  13 (8)                 324:12                 2/15/2017 (2)             275:12,14 281:24
105 (1)                53:13 72:16 107:13     177707 (1)             212:6 333:11              315:19 316:6 317:6
332:17                   107:19 172:22,23     323:21                 2/16/2017 (2)             325:5 339:8
106 (1)                  172:24 333:1         17951 (1)              215:8 333:15            2017 (17)
332:21                 13091 (1)              306:10                 2/2/2017 (4)            156:5 160:16 170:12
107 (1)                215:12                 17960 (1)              230:18 236:5 333:19       211:10,13 212:15
333:1                  133 (1)                305:18                   333:23                  219:10 230:8 238:7
108 (1)                159:16                 17th (1)               2/7/2017 (2)              253:12 257:9,11
339:1                  13464 (1)              12:15                  238:16 334:3              270:12 286:20
10th (2)               212:10                 18 (12)                2/9/2016 (2)              297:7 324:13,16
43:4 51:15             13698 (1)              1:21 2:5 228:14        39:23 341:7             2018 (1)
11 (12)                106:19                   229:15 236:2,8       2:21 (1)                325:24
105:2,11 154:25        13933 (1)                280:8 297:13 302:1   105:18                  2019 (5)
  155:10,12 170:7      104:3                    333:21 339:19        20 (9)                  1:21 2:5 5:12 330:20
  179:4,8,9 218:22     13936 (1)                342:4                39:4 147:8 218:25         342:4
  332:17 339:10        104:17                 18345 (1)                244:11 245:13,22      2022 (1)
11/21/2016 (2)         13th (5)               16:21                    297:12 329:15         330:21
316:20 336:11          53:6,18 54:2,16 55:6   18554 (1)                334:5                 20798 (2)
11/3/2016 (2)          14 (5)                 325:22                 200 (1)                 12:23,24
315:16 336:7           31:7 113:16,22 127:6   18th (2)               157:9                   20858 (2)
11/30/2017 (2)           333:5                5:12 15:25             2000 (1)                12:5 331:10
323:17 336:24          14015 (1)              19 (8)                 267:4                   20th (1)
11:52 (1)              102:14                 58:14 218:23 238:13    20005 (2)               170:11
117:7                  1440 (3)                 238:19,21 297:13     2:15 3:8                21 (5)
1100 (1)               2:14 3:7 5:10            297:13 334:1         2005 (1)                253:4,10 254:24
5:11                   14th (3)               1979 (1)               19:16                     255:6 334:8
113 (1)                35:17 55:16,24         282:10                 2006 (1)                21095 (1)
333:5                  15 (9)                 1988 (1)               53:13                   15:20
117 (1)                121:17,20 122:2,16     159:1                  2010 (3)                21104 (1)
339:5                    122:18 212:3,9       19th (6)               19:16,17 20:15          15:25
12 (32)                  331:11 333:9         270:9,11,12,17 279:6   2011 (5)                212 (1)
106:12,18,21 119:11    154 (1)                  279:11               83:21 84:3 159:17       333:9
  119:13,17,19,20      339:10                 1st (19)                 232:14 290:18         215 (1)


                                   TSG Reporting - Worldwide    877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 128 of 129 PageID#
                                     5704

                                                                                                       Page 40

  333:13                27th (3)                  15:5 19:20,24 20:6     322:24 323:5,6       30:18,25 31:3 33:6
217 (1)                 17:10 21:20 290:12        20:8 21:2,11 28:18     336:17 341:3           35:1,7,8,11 37:3,8
179:2                   28 (3)                    28:25 29:16,17       36 (4)                   162:22,23,23,25
21st (1)                305:12,18 335:13          95:16 149:20 245:5   323:14,20,23 336:22      163:20,22 164:25
330:19                  282 (1)                   302:25 328:15        37 (4)                   165:14 167:7,7,10
22 (5)                  340:1                     329:3 331:5          324:6,12,14 337:1        331:18 341:3
56:7 261:14,20          285 (1)                 302 (1)                38 (3)                 5,500 (7)
  299:10 334:12         334:21                  339:19                 325:16,22 337:5        158:6,17 159:4,7,8
23 (4)                  28th (3)                303 (1)                39 (1)                   323:10 324:2
269:11,18 299:15        114:2 282:12,15         335:5                  341:5                  5,556 (21)
  334:16                29 (6)                  304 (1)                3rd (1)                159:14,24 161:6
230 (1)                 124:23,25 144:19        335:9                  315:19                   162:4,20 165:15
333:17                    306:4,10 335:17       305 (1)                                         167:6 168:1 171:21
236 (1)                 296 (1)                 335:13                           4              172:3,6,9,14 196:18
333:21                  339:15                  306 (1)                4 (4)                    196:22 209:21,25
238 (1)                 299 (1)                 335:17                 16:14,20 302:25          210:14 278:22
334:1                   335:1                   307 (1)                  331:14                 313:10 325:1
23rd (11)               29th (7)                335:21                 4:01 (1)               5/20/2017 (2)
98:7,11 99:3,7,9,20     17:1 96:10 98:8 100:5   308 (1)                255:15                 269:15 334:19
  99:22,24 102:6          100:9 102:6,21        336:1                  4:39 (1)               5/25/2017 (2)
  110:23 299:14         2nd (1)                 30th (14)              107:22                 285:18 334:23
24 (3)                  236:15                  105:18 107:5 108:20    4:56 (1)               5/26/2017 (2)
285:15,21 334:21                                  108:24 111:11,15     100:5                  296:25 339:17
241 (1)                           3               112:6 118:14         43 (1)                 5/30/2017 (2)
285:21                  3 (15)                    139:13 309:1,12,14   269:20                 308:21 336:3
244 (1)                 15:14,19 16:9 18:2        310:10 318:22        432 (1)                5:01 (1)
334:5                     78:8,15 82:18 84:21   31 (4)                 124:14                 295:10
25 (3)                    89:13,17 160:22       308:18,23 330:21       433 (13)               5:04 (1)
299:4,10 335:1            161:11 331:11           336:1                120:7 121:6,24         295:13
253 (1)                   338:7 342:7           315 (1)                  122:13 123:16,21     5:23 (2)
334:8                   3/28/2017 (2)           336:5                    123:25 124:6,9       289:17,18
258 (1)                 282:6 340:3             316 (1)                  127:11,20,21 128:5   5:24 (1)
172:11                  3/30/2016 (2)           336:9                  434 (1)                311:9
25th (17)               16:17 331:16            318 (1)                124:15                 5:28 (1)
35:13 45:15,18 54:20    3:20 (1)                336:13                 44 (1)                 311:12
  55:15,24 68:2 73:8    107:5                   31st (3)               341:8                  5:51 (2)
  74:8,16,21 75:11,14   3:21 (1)                253:11 255:4,14        45 (1)                 328:13,16
  76:17 77:8 286:19     318:22                  32 (3)                 303:12                 50 (4)
  288:1                 3:30 (1)                315:13,17 336:5        4614 (1)               148:1 181:1,11
26 (10)                 238:2                   322 (1)                1:8                      194:13
124:23,24,25 144:19     3:43 (1)                336:17                 46297 (1)              501(c)(3) (1)
  231:18 303:5,10,12    238:5                   323 (1)                315:18                 13:10
  323:13 335:5          3:55 (1)                336:22                 48 (6)                 50275 (1)
261 (1)                 268:1                   324 (1)                129:3,4 130:2 132:7    307:14
334:12                  30 (18)                 337:1                    140:9 144:18         50s (1)
269 (1)                 107:22,23 117:17        325 (1)                486 (3)                95:3
334:16                    128:21,22,23          337:5                  171:8,12 172:11        51 (5)
26th (2)                  219:11 221:21,25      33 (4)                 49 (1)                 216:18 218:25 219:6
297:7,9                   222:15 223:2 307:8    316:17,22 317:2        181:10                   219:11 221:25
27 (7)                    307:14 319:3,7          336:9                4985 (1)               52 (1)
282:2,9 304:13,19         331:18 335:21         33131 (1)              108:12                 331:20
  325:24 335:9 340:1      339:8                 3:15                   4th (1)                52,000 (2)
27092 (1)               30(b)(1) (1)            34 (4)                 74:9                   245:6 325:15
31:1                    20:9                    318:6,18,18 336:13                            52721 (1)
277 (1)                 30(b)(6) (23)           35 (8)                           5            308:24
339:11                  1:18 2:12 4:3 5:4 8:2   228:14 229:15 322:9    5 (23)                 5278 (1)


                                      TSG Reporting - Worldwide   877-702-9580
Case 1:18-cv-00423-LO-IDD Document 160-21 Filed 05/17/19 Page 129 of 129 PageID#
                                     5705

                                                                                 Page 41

  107:19                  129:1,2 130:1,13     61:18 69:11 74:5 78:6
5422 (1)                  131:24 132:6 134:1    82:22,25 83:2,3,15
318:19                    140:9 144:18 160:2    85:24 86:1 87:20,23
5444 (1)                  173:17 331:4 332:1    88:11 262:14
105:12                    338:15 341:8
5601 (1)                7,474 (2)                        9
101:6                   159:20 160:3           9 (9)
57 (1)                  7,500 (2)              8:20 29:21 102:7,13
332:1                   158:25 159:9             108:3,11 111:8
5th (7)                 7/17/2014 (2)            332:9 339:1
58:1 68:1 74:14,16      12:4 331:9             9/11/2017 (2)
  301:4,11 303:16       7/5/2017 (4)           322:12 336:19
                        299:7 303:8 335:3,7    9/13/2016 (2)
          6             7/6/2017 (2)           52:12 331:22
6 (22)                  307:11 335:23          9/23/2016 (2)
4:5 39:19,25 52:9,16    7/7/2017 (2)           98:4 338:13
  52:18 57:2 72:15      306:7 335:19           9/29/2016 (6)
  73:2,24 74:25 75:5    70 (1)                 96:2 101:1 102:10
  76:20 80:4 92:6       120:9                    332:11 338:17,21
  97:24,25 98:6,10      702 (4)                9/30/2016 (12)
  331:20 338:11         174:6,14,18 175:9      103:24 105:5 106:15
  341:5                 7211 (1)                 107:16 108:7 318:9
6/19/2017 (2)           113:23                   332:15,19,23 333:3
277:5 339:13            764 (5)                  336:15 339:3
6/27/2017 (2)           173:8,13,18 174:6      9:02 (1)
302:5 339:21              180:10               102:21
6/28/2016 (2)           78 (1)                 9:16 (2)
113:19 333:7            338:7                  2:6 5:12
6/30/2017 (4)           7th (2)                9:55 (1)
304:16 305:15 335:11    239:19 242:16          317:10
  335:15                                       9065 (1)
6:05 (2)                          8            83:7
80:6 108:24             8 (12)                 9067 (1)
6:10 (2)                31:16 68:6,12,15,20    61:13
108:20 109:24             100:22 101:5         9135 (2)
61 (1)                    123:10,14 239:2      61:7 338:6
338:3                     332:5 338:19         9170 (1)
6337 (1)                8/10/2016 (2)          238:19
253:10                  45:3 341:9             9178 (1)
65 (1)                  8/16/2016 (4)          236:9
40:14                   61:5 78:12 338:5,9     9200 (2)
654 (1)                 8/17/2016 (2)          261:20,22
57:23                   68:9 332:7             95 (4)
657 (2)                 8/27/2018 (2)          130:10,17 132:7
57:21 332:4             325:19 337:7             338:15
68 (1)                  8/5/2016 (2)           98 (1)
332:5                   57:20 332:3            338:11
                        8:44 (1)               98(a) (1)
          7             239:21                 301:25
7 (36)                  84 (9)                 9th (1)
44:25 45:6 51:15 52:4   128:5,15,19 129:3,5    232:14
  57:18,23 61:12 65:3     130:2 132:7 140:9
  65:12,13 66:13,17       144:18
  68:1,18 72:12 74:13   8942 (1)
  95:23 96:6 100:6      68:13
  120:25 128:25         8th (15)


                                     TSG Reporting - Worldwide    877-702-9580
